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                 EXHIBIT E
                                                                               Case 2:12-md-02327 Document 639-5 Filed 06/11/13 Page 2 of 50 PageID #: 7466
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1999   800 # Consumer Scripts for GYNECARE Products                      1999-001         2/2           2/2/1999        EWH&U               All                  32                                                   ETH.MESH.02619309 ETH.MESH.02619313
       GYNECARE NEWSWEEK Ad and TVT Tension-free Vaginal Tape
1999                                                                     1999-002        2/16          2/16/1999        EWH&U               TVT
       Press Kit                                                                                                                                                 3                                                   ETH.MESH.00142765   ETH.MESH.00142768
1999   GYNECARE Product catalog                                          1999-018        6/15          6/15/1999        EWH&U               All                 4                                                    ETH.MESH.00156349   ETH.MESH.00156395
1999   GYNECARE Reimbursement Hotline Product Pointer                    1999-027        8/24          8/24/1999        EWH&U               All                 34          ETH.MESH.03456777   ETH.MESH.03456777
1999   GYNECARE Reimbursement Hotline Rolodex Card                       1999-028        8/24          8/24/1999        EWH&U               All                 34          ETH.MESH.03456778   ETH.MESH.03456779
1999   TVT Tension-Free Vaginal Tape 0 Procedure Video Script            1999-004        3/23          3/23/1999        EWH&U               TVT                  4                                                   ETH.MESH.00156658   ETH.MESH.00156663
1999   TVT Tension-Free Vaginal Tape ACOG Pre-Show Mailer                1999-006        4/20          4/20/1999        EWH&U               TVT                  4                                                   ETH.MESH.00156679   ETH.MESH.00156681
1999   TVT tension-Free Vaginal Tape Press Kit Cover                     1999-009        4/26          4/26/1999        EWH&U               TVT                  3                                                   ETH.MESH.00142786   ETH.MESH.00142786
1999   TVT Tension-Free Vaginal Tape Media Material                      1999-010        5/4           5/4/1999         EWH&U               TVT                  4                                                   ETH.MESH.00156687   ETH.MESH.00156688
1999   TVT Tension-Free Vaginal Tape Press Briefing Presentation         1999-021        7/6           7/6/1999         EWH&U               TVT                  3                                                   ETH.MESH.00142687   ETH.MESH.00142698
       Product Pointer for TVT Tension-free Vaginal Tape Patient
1999                                                                     1999-024        7/13          7/13/1999        EWH&U               TVT
       Education Brochure                                                                                                                                       34          ETH.MESH.03456775   ETH.MESH.03456776
       Twelve TVT Tension-free Vaginal Tape Golden Points - European
1999                                                                     1999-026        8/10          8/10/1999        EWH&U               TVT
       Product Pointer                                                                                                                                           3                                                   ETH.MESH.00142704   ETH.MESH.00142704
1999   NAFC - "TVT Tension-free Vaginal Tape System" Article Reprint     1999-037        9/7           9/7/1999         EWH&U               TVT
                                                                                                                                                                 4                                                   ETH.MESH.00161416   ETH.MESH.00161418
1999   TVT Tension-Free Vaginal Tape AUGS Panel Presentation             1999-042        10/6          10/6/1999        EWH&U               TVT                  4                                                   ETH.MESH.00161434   ETH.MESH.00161434
1999   TVT Tension-Free Vaginal Tape Training Follow-up Letter           1999-043        10/6          10/6/1999        EWH&U               TVT                  3                                                   ETH.MESH.00145493   ETH.MESH.00145494
1999   TVT Tension-Free Vaginal Tape Direct to Consumer Doctor Letter    1999-044        10/6          10/6/1999        EWH&U               TVT
                                                                                                                                                                 3                                                   ETH.MESH.00145496   ETH.MESH.00145496
1999   TVT Tension-Free Vaginal Tape NAPS Matte Release                  1999-045        10/6          10/6/1999        EWH&U               TVT                  4                                                   ETH.MESH.00161438   ETH.MESH.00161438
1999   TVT Tension-Free Vaginal Tape Direct-to-Consumer Ads              1999-046        10/6          10/6/1999        EWH&U               TVT                 34          ETH.MESH.03456800   ETH.MESH.03456802
1999   TVT Tension-Free Vaginal Tape Direct-to-Consumer 800# Script      1999-047       10/19         10/19/1999        EWH&U               TVT
                                                                                                                                                                 3                                                   ETH.MESH.00145498   ETH.MESH.00145498
1999   GYNECARE TVT Tension-Free Vaginal Tape Matte Release              1999-050        11/2          11/2/1999        EWH&U               TVT                  4                                                   ETH.MESH.00161438   ETH.MESH.00161438
1999   GYNECARE TVT Tension-Free Vaginal Tape Revised Detail Sheet       1999-051        11/2          11/2/1999        EWH&U               TVT
                                                                                                                                                                 4                                                   ETH.MESH.00161444   ETH.MESH.00161445
1999   GYNECARE TVT Tension-Free Vaginal Tape Revised Sales Aid          1999-052        11/2          11/2/1999        EWH&U               TVT
                                                                                                                                                                 4                                                   ETH.MESH.00161453   ETH.MESH.00161458
2000   GYNECARE Division Trainer's Manual                                2000-003        3/21          3/21/2001        EWH&U                All                34          ETH.MESH.03456817   ETH.MESH.03456852
       GYNECARE TVT Tension-free Support for Incontinence - American
2000                                                                     2000-004        4/11          4/11/2000        EWH&U               TVT
       Urological Association Convention Graphics                                                                                                               34          ETH.MESH.03456853   ETH.MESH.03456853
       GYNECARE TVT Tension-free Support for Incontinence Press
2000   Release Materials and Video News Release/B-Roll - Re-Review of    2000-005        4/11          4/11/2000        EWH&U               TVT
       Existing Materials                                                                                                                                        3                                                   ETH.MESH.00145018   ETH.MESH.00145024
2000   GYNECARE Physician Database Letter                                2000-006        4/11          4/11/2000        EWH&U               TVT                  4                                                   ETH.MESH.00160606   ETH.MESH.00160608
                                                                                                                                                                                                                     ETH.MESH.02619727   ETH.MESH.02619729
2000   GYNECARE Division Press Kit                                       2000-007        4/25          4/25/2000        EWH&U                All
                                                                                                                                                                32                                                   ETH.MESH.02619730   ETH.MESH.02619732
       GYNECARE TVT Tension-free Support for Incontinence Procedure
2000                                                                     2000-008        4/25          4/25/2000        EWH&U               TVT
       Card                                                                                                                                                      3                                                   ETH.MESH.00145104   ETH.MESH.00145105
       "Female Stress Urinary Incontinence Clinical Guidelines Panel
2000   Summary Report on Surgical Management of Female Stress            2000-011        5/30          5/30/2000        EWH&U               TVT
       Urinary Incontinence" Clinical Article                                                                                                                    4                                                   ETH.MESH.00160643   ETH.MESH.00160648
       Product Pointer for GYNECARE TVT Tension-free Support for
2000                                                                     2000-012        5/30          5/30/2000        EWH&U               TVT
       Incontinence Laminated Procedure Card                                                                                                                     3                                                   ETH.MESH.00145095   ETH.MESH.00145100
2000   American Urological Association Update/Product Pointer            2000-013        5/30          5/30/2000        EWH&U               TVT                  4                                                   ETH.MESH.00160649   ETH.MESH.00160650
       GYNECARE TVT Tension-free Support for Incontinence Patient                                                                                                                                                    ETH.MESH.00145030   ETH.MESH.00145064
2000                                                                     2000-015        6/6           6/6/2000         EWH&U               TVT
       Seminar Kit                                                                                                                                           3 and 32                                                ETH.MESH.02619720   ETH.MESH.02619721
       GYNECARE TVT Tension-free Support for Incontinence Patient
2000                                                                     2000-016        6/22          6/22/2000        EWH&U               TVT
       Education Brochure (TVT016), Patient Kit Letter and Ad Template
                                                                                                                                                                 4                                                   ETH.MESH.00160615   ETH.MESH.00160625




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       GYNECARE TVT Tension-free Support for Incontinence and                                                                                                                                                             ETH.MESH.00145068 ETH.MESH.00145082
2000   GYNECARE THERMACHICE Uterine Balloon Therapy System                    2000-017        6/22          6/22/2000        EWH&U               TVT                                                                      ETH.MESH.00160628 ETH.MESH.00160631
       Patient Web Site                                                                                                                                          3, 4 and 32                                              ETH.MESH.02619722 ETH.MESH.02619723
       Product Pointer for "Female Stress Urinary Incontinence Clinical
2000   Guidelines Panel Summary Report on Surgical Management of              2000-018        6/22          6/22/2000        EWH&U               TVT
       Female Stress Urinary Incontinence" Article                                                                                                                    3                                                   ETH.MESH.00145083   ETH.MESH.00145083
       "A Multicenter Study of Tension-free Vaginal Tape (TVT) for
2000   Surgical Treatment of Stress Urinary Incontinence" article             2000-019        6/22          6/22/2000        EWH&U               TVT
       (TVT005) - Review for Reprint                                                                                                                                  3                                                   ETH.MESH.00145084   ETH.MESH.00145088
       Promo Items, for the GYNECARE TVT and GYNECARE TC Patient
2000                                                                          2000-021        6/28          6/28/2000        EWH&U               TVT
       Website                                                                                                                                                        4                                                   ETH.MESH.00158649   ETH.MESH.00158654
       "Clinical Outcome and Changes in Connective Tissue Metabolism
2000   After Intravaginal Slingplasty in Stress Incontinence Women"           2000-022        6/28          6/28/2000        EWH&U               TVT
       Clinical Article (TVT004) - Review for Reprint
                                                                                                                                                                      4                                                   ETH.MESH.00158659   ETH.MESH.00158666
       Promotional Pad and Product Pointer for GYNECARE TVT Tension-
2000   free Support for Incontinence and GYNECARE THERMACHINCE                2000-023        7/26          7/26/2000        EWH&U               TVT
       Uterine Balloon Therapy System Patient Wed Site
                                                                                                                                                                      4                                                   ETH.MESH.00158694   ETH.MESH.00158696
       Product Pointer for GYNECARE TVT Tension-free Support for
2000                                                                          2000-024        7/26          7/26/2000        EWH&U               TVT
       Incontinence Patient Seminar Kit Availability                                                                                                                  3                                                   ETH.MESH.00143714   ETH.MESH.00143715
       GYNECARE TVT Tension-free Support for Incontinence Outline for
2000                                                                          2000-026        8/23          8/23/2000        EWH&U               TVT
       White Paper/Monograph                                                                                                                                          3                                                   ETH.MESH.00143603   ETH.MESH.00143603
       GYNECARE TVT Tension-free Support for Incontinence
2000                                                                          2000-027        8/23          8/23/2000        EWH&U               TVT
       Professional Education Program                                                                                                                                 4                                                   ETH.MESH.00158559   ETH.MESH.00158590
2000   Training Certificates for HYNECARE Professional Education              2000-025        8/23          8/23/2000        EWH&U                All                 4                                                   ETH.MESH.00158591   ETH.MESH.00158594
       Promotional Banner for GYNECARE TVT Tension-free Support for
2000   Incontinence and GYNECARE THERMACHICE Uterine Balloon                  2000-028        9/5           9/5/2000         EWH&U               TVT
       Therapy System Patient Web Site                                                                                                                                4                                                   ETH.MESH.00158669   ETH.MESH.00158673
       GYNECARE TVT Tension-free Support for Incontinence 12 Golden
2000                                                                          2000-030        9/19          9/19/2000        EWH&U               TVT
       Points                                                                                                                                                         3                                                   ETH.MESH.00143693   ETH.MESH.00143693
       1) "A Multicenter Study of Tension-free Vaginal Tape (TVT) for
       Surgical Treatment of Stress Urinary Incontinence" article
2000   (TVT005) - Review for Reprint                                          2000-032        10/3          10/3/2000        EWH&U               TVT
       2) "A three year follow up of tension free vaginal tape for surgical                                                                                                                                               ETH.MESH.00158637   ETH.MESH.00158641
       treatment of female stress urinary                                                                                                                             4                                                   ETH.MESH.00158629   ETH.MESH.00158636
       GYNECARE TVT Tension-free Support for Incontinence Brand
2000                                                                          2000-033        10/3          10/3/2000        EWH&U               TVT
       Book                                                                                                                                                           4                                                   ETH.MESH.00158612   ETH.MESH.00158628
       "A three year postoperative evaluation of tension-free vaginal
2000                                                                          2000-036       10/31         10/31/2000        EWH&U               TVT
       tape" article                                                                                                                                                  3                                                   ETH.MESH.00144849   ETH.MESH.00144851
       Product Pointer for GYNECARE TVT Tension-free Support for
2000   Incontinence and GYNECARE THERMACHICE Uterine Balloon                  2000-037       11/14         11/14/2000        EWH&U               TVT
       Therapy System Patient Web Site                                                                                                                               32                                                   ETH.MESH.02619716   ETH.MESH.02619717
       Product Pointer and "The promise of tension-free vaginal tape for
2000                                                                          2000-038       11/14         11/14/2000        EWH&U               TVT
       female SUI" Article                                                                                                                                           34          ETH.MESH.03456854   ETH.MESH.03456861
       GYNECARE TVT Tension-free Support for Incontinence Resource
2000                                                                          2000-040       12/12         12/12/2000        EWH&U               TVT
       Monograph                                                                                                                                                      4                                                   ETH.MESH.00160306   ETH.MESH.00160366
       1) "The Tension-free vaginal tape procedure for the treatment of
       stress incontinence in the female patient" article
2001   2) "Tension-free vaginal tape for SUI: Optimizing Outcomes"            2001-002        1/24          1/24/2001        EWH&U               TVT
       Clinical Article
                                                                                                                                                                                                                          ETH.MESH.00159614   ETH.MESH.00159624
       3) "A three year follow up of tension-free vaginal tape for su
                                                                                                                                                                      4                                                   ETH.MESH.00159627   ETH.MESH.00159633




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       GYNECARE TVT Tension-free Support for Incontinence
2001                                                                    2001-003        1/24          1/24/2001        EWH&U               TVT
       Professional Education Enhancements                                                                                                                      4                                                   ETH.MESH.00159636     ETH.MESH.00159719
       1) GYNECARE Secondary Sales School - Status of Sales Rep                                                                                                                                                     ETH.MESH.00159724     ETH.MESH.00159731
2001   Territory Template Presentation                                  2001-001        1/24          1/24/2001        EWH&U                All                                                                     ETH.MESH.00144386     ETH.MESH.00144439
       2) GYNECARE Secondary Sales School Pre-Test                                                                                                           4 & 32                                                 ETH.MESH.02619557     ETH.MESH.02619572
       "Tension-free vaginal tape" a minimally invasive technique for
2001                                                                    2001-005        2/7           2/7/2001         EWH&U               TVT
       treating female SUI" article (TVT017) - Review for Reprint
                                                                                                                                                                4                                                   ETH.MESH.00159572     ETH.MESH.00159583
       GYNECARE TVT Tension-free Support for Incontinence
2001                                                                    2001-006        2/7           2/7/2001         EWH&U               TVT
       Monograph                                                                                                                                                4                                                   ETH.MESH.00159585     ETH.MESH.00159601
                                                                                                                                                                                                                    ETH.MESH.00159555     ETH.MESH.00159556
       1) GYNECARE TVT Tension-free Support for Incontinence                                                                                                                                                        ETH.MESH.00159559     ETH.MESH.00159562
       Procedure Card (TVT022) - Review for Reprint                                                                                                                                                                 ETH.MESH.00161018     ETH.MESH.00161021
2001   2) "The Tension-Free Vaginal Tape Procedure for the Treatment    2001-007        2/7           2/7/2001         EWH&U               TVT                                                                      ETH.MESH.00159549     ETH.MESH.00159552
       of Stress Incontinence in the Female Patient" Abstract                                                                                                                                                       ETH.MESH.00159541     ETH.MESH.00159546
       3) "Result of the Tension-free Vaginal                                                                                                                                                                       ETH.MESH.00161011     ETH.MESH.00161011
                                                                                                                                                            4 and 32                                                ETH.MESH.02619555     ETH.MESH.02619556
2001   GYNECARE Product catalog                                         2001-004        2/7           2/7/2001         EWH&U                All                 4                                                   ETH.MESH.00161058     ETH.MESH.00161098
       GYNECARE TVT Tension-free support for Incontinence Costing
2001                                                                    2001-010        3/7           3/7/2001         EWH&U               TVT
       Model Presentation for National Training Meeting                                                                                                         4                                                   ETH.MESH.00161103     ETH.MESH.00161117
       GYNECARE TVT Tension-free Support for Incontinence Procedure
2001                                                                    2001-011        3/7           3/7/2001         EWH&U               TVT
       Video (TVT013) - Review for Reprint                                                                                                                      3                                                   ETH.MESH.00145025     ETH.MESH.00145029
                                                                                                                                                                                                                    ETH.MESH.00161022     ETH.MESH.00161022
                                                                                                                                                                                                                    ETH.MESH.00161003     ETH.MESH.00161003
       GYNECARE TVT Tension-free Support for Incontinence Resource                                                                                                                                                  ETH.MESH.00161026     ETH.MESH.00161026
2001                                                                    2001-012        3/7           3/7/2001         EWH&U               TVT
       Compendium for national Training Meeting                                                                                                                                                                     ETH.MESH.00160998     ETH.MESH.00160993
                                                                                                                                                                                                                    ETH.MESH.00161011     ETH.MESH.00161011
                                                                                                                                                                4                                                   ETH.MESH.00161017     ETH.MESH.00161017
       GYNECARE TVT Tension-free Support for Incontinence Welcome
2001                                                                    2001-013        3/7           3/7/2001         EWH&U               TVT
       and Introduction Slides for National Training Meeting
                                                                                                                                                                4                                                   ETH.MESH.00161039     ETH.MESH.00161054
2001   2001 GYNECARE Product Catalog                                    2001-008        3/7           3/7/2001         EWH&U                All                 4                                                   ETH.MESH.00161058     ETH.MESH.00161098
       GYNECARE TVT Tension-free Support for Incontinence Clinical
2001                                                                    2001-014        3/21          3/21/2001        EWH&U               TVT
       Sales Aid (TVT006R) - Review for Reprint                                                                                                                 4                                                   ETH.MESH.00161458     ETH.MESH.00161458
       GYNECARE Extended Maintenance Service Agreement (GPD012R)
2001                                                                    2001-015        4/4           4/4/2001         EWH&U                All
       - Review for Reprint                                                                                                                                    34          ETH.MESH.03456862   ETH.MESH.03456865
2001   GYNECARE TVT Tension-free Support for Incontinence Fact Sheet    2001-016        4/4           4/4/2001         EWH&U               TVT
                                                                                                                                                                4                                                   ETH.MESH.00161144     ETH.MESH.00161145
       Update to GYNECARE THERMACHOICE Uterine Balloon Therapy                                                                                                                                                      ETH.MESH.00161121     ETH.MESH.00161122
2001   System and GYNECARE TVT Tension-free Support for                 2001-018        4/18          4/18/2001        EWH&U               TVT                                                                      ETH.MESH.00161127     ETH.MESH.00161128
       Incontinence Patient Web Site and 1-800 call in number                                                                                               4 and 32                                                ETH.MESH.02619812     ETH.MESH.02619812
       GYNECARE TVT Tension-free Support for Incontinence
2001                                                                    2001-019        4/18          4/18/2001        EWH&U               TVT
       Competitive Mesh Products - Product Pointer                                                                                                              4                                                   ETH.MESH.00161131     ETH.MESH.00161132
2001   GYNECARE Unmet Needs Web Site                                    2001-020        5/2           5/1/2002         EWH&U               All                 32                                                   ETH.MESH.02619813     ETH.MESH.02619824
2001   TVT Competition Update                                           2001-021        5/2           5/1/2002         EWH&U               TVT                  4                                                   ETH.MESH.00161147     ETH.MESH.00161165
       GYNECARE TVT Tension-free Support for Incontinence Fact Sheet
2001                                                                    2001-022        5/16          5/16/2001        EWH&U               TVT
       for Press Kit                                                                                                                                            4                                                   ETH.MESH.00159419     ETH.MESH.00159420
       GYNECARE TVT Tension-free Support for Incontinence sales
2001                                                                    2001-023        5/16          5/16/2001        EWH&U               TVT
       Training Presentation                                                                                                                                    4                                                   ETH.MESH.00159423     ETH.MESH.00159430
       GYNECARE TVT Tension-free Support for Incontinence AUA
2001                                                                    2001-024        5/16          5/16/2001        EWH&U               TVT
       Duratrans                                                                                                                                                3                                                   ETH.MESH.00144219     ETH.MESH.00144219
2001   TVT Telesurgery                                                  2001-025        5/16          5/16/2001        EWH&U               TVT                  3                                                   ETH.MESH.00144228     ETH.MESH.00144230




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       GYNECARE TVT Tension-free Support for Incontinence
2001   Professional Education Binder with changes and accompanying       2001-028        6/13          6/13/2001        EWH&U               TVT
       slides                                                                                                                                                    4                                             ETH.MESH.00159434     ETH.MESH.00159465
       GYNECARE TVT Tension-free Support for Incontinence Video for
2001                                                                     2001-029        6/27          6/27/2001        EWH&U               TVT
       Physician                                                                                                                                                 3                                             ETH.MESH.00144252     ETH.MESH.00144252
       Update to GYNECARE TVT Tension-free Support for Incontinence
2001                                                                     2001-030        6/27          6/27/2001        EWH&U               TVT
       Complications                                                                                                                                             3                                             ETH.MESH.00144265     ETH.MESH.00144266
       Product Pointer for Update to GYNECARE TVT Tension-free
2001                                                                     2001-031        6/27          6/27/2001        EWH&U               TVT
       Support for Incontinence Complications                                                                                                                    3                                             ETH.MESH.00144263     ETH.MESH.00144264
       Letter to GYNECARE TVT Tension-free Support for Incontinence
2001                                                                     2001-032        6/27          6/27/2001        EWH&U               TVT
       Preceptors for Statement of Complications                                                                                                                 4                                             ETH.MESH.00159469     ETH.MESH.00159470
       GYNECARE TVT Tension-free Support for Incontinence Mesh Sales
2001                                                                     2001-033        6/27          6/27/2001        EWH&U               TVT
       Aid                                                                                                                                                       4                                             ETH.MESH.00159477     ETH.MESH.00159477
       GYNECARE TVT Tension-free Support for Incontinence Patient
2001                                                                     2001-034        6/27          6/27/2001        EWH&U               TVT
       Brochure (Resubmission of materials per FDA requirements)
                                                                                                                                                                 3                                             ETH.MESH.00144270     ETH.MESH.00144278
       GYNECARE TVT Tension-free Support for Incontinence Press
2001                                                                     2001-035        6/27          6/27/2001        EWH&U               TVT
       Material (resubmission of Fact Sheet)                                                                                                                     3                                             ETH.MESH.00144283     ETH.MESH.00144284
       "Long-term Results of the Tension-Free Vaginal Tape (TVT)
2001   Procedure for Surgical Treatment of Female Stress Urinary         2001-036        7/11          7/11/2001        EWH&U               TVT
       Incontinence" article                                                                                                                                     4                                             ETH.MESH.00159481     ETH.MESH.00159484
       "Urinary Retention Following Tension-Free Vaginal Tape
2001                                                                     2001-037        7/11          7/11/2001        EWH&U               TVT
       Procedure Incidence and Treatment" Abstract                                                                                                               3                                             ETH.MESH.00144289     ETH.MESH.00144289
       "Tension-Free Vaginal Tape (TVT) in Women with Recurrent
2001                                                                     2001-038        7/11          7/11/2001        EWH&U               TVT
       Stress Urinary Incontinence - A Long-term Follow up" article                                                                                              7                                             ETH.MESH.00311540     ETH.MESH.00311542
       "Randomized Comparison of Local Versus Epidural Anesthesia for
2001                                                                     2001-039        7/11          7/11/2001        EWH&U               TVT
       Tension-Free Vaginal Tape Operation" article                                                                                                              3                                             ETH.MESH.00144296     ETH.MESH.00144299
       GYNECARE TVT Tension-Free Support for Incontinence Sales
2001                                                                     2001-040        7/11          7/11/2001        EWH&U               TVT
       Force Update                                                                                                                                              3                                             ETH.MESH.00144304     ETH.MESH.00144331
       GYNECARE TVT Tension-Free Support for Incontinence Surgeon's
2001                                                                     2001-042        7/25          7/25/2001        EWH&U               TVT
       Resource Monograph - RESUBMISSION                                                                                                                         4                                             ETH.MESH.00161390     ETH.MESH.00161410
       "The tension-free vaginal tape procedure in women with previous
2001                                                                     2001-043        8/8           8/8/2001         EWH&U               TVT
       failed stress incontinence surgery" article                                                                                                               4                                             ETH.MESH.00161371     ETH.MESH.00151373
       GYNECARE TVT Tension-free Support for Incontinence 5-year
2001                                                                     2001-044        8/8           8/8/2001         EWH&U               TVT
       date Press Release                                                                                                                                        4                                             ETH.MESH.00161378     ETH.MESH.00161380
       GYNECARE TVT Tension-Free Support for Incontinence Consumer
2001                                                                     2001-047        9/5           9/5/2001         EWH&U               TVT
       Press Material                                                                                                                                            3                                             ETH.MESH.00145390     ETH.MESH.00145390
       Presentation on Long Term Result for GYNECARE TVT Tension-
2001                                                                     2001-048        9/5           9/5/2001         EWH&U               TVT
       Free Support for Incontinence - For Use as Sales Aid Flip Chart
                                                                                                                                                                 3                                             ETH.MESH.00145394     ETH.MESH.00145423
       GYNECARE TVT Tension-Free Support for Incontinence -
2001                                                                     2001-051        9/19          9/19/2001        EWH&U               TVT
       Commonly Asked Questions - Narration script for Audio Tape
                                                                                                                                                                 4                                             ETH.MESH.00161268     ETH.MESH.00161273
       Presentation for Summit Meeting 2001 - "TVT with Concomitant
2001                                                                     2001-053        9/19          9/19/2001        EWH&U               TVT
       Procedures" by Vince Lucente, MD                                                                                                                          3                                             ETH.MESH.00145431     ETH.MESH.00145450
       Presentation for Summit Meeting 2001 - UK Randomized Trial of
2001                                                                     2001-054        9/19          9/19/2001        EWH&U               TVT
       TVT vs. Colposuspension by Paul Hilton, MD                                                                                                                4                                             ETH.MESH.00161316     ETH.MESH.00161333
       Presentation for Summit Meeting 2001 - "Past, Present, and
2001                                                                     2001-055        9/19          9/19/2001        EWH&U               TVT
       Future of TVT" by Professor Ulf Ulmsten                                                                                                                   3                                             ETH.MESH.00145452     ETH.MESH.00145453
2001   GYNECARE Sales Audio Newsletter                                   2001-056        10/3          10/3/2001        EWH&U                All                 4                                             ETH.MESH.00160007     ETH.MESH.00160021
       GYNECARE TVT Tension-Free Support for Incontinence e-Prof Ed                                                                                                                                            ETH.MESH.00144557     ETH.MESH.00144565
2001                                                                     2001-057        10/3          10/3/2001        EWH&U               TVT
       Module                                                                                                                                                 3 and 4                                          ETH.MESH.00160022     ETH.MESH.00160094




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       "The tension-free transvaginal tape procedure in the treatment of
2001   female urinary stress incontinence: a French prospective            2001-058        10/3          10/3/2001        EWH&U               TVT
       multicentre study"                                                                                                                                          4                                                   ETH.MESH.00160000     ETH.MESH.00160006
       "Combined tension-free vaginal tape and prolapse repair under
2001   local anesthesia in patients with symptoms of both urinary          2001-059        10/3          10/3/2001        EWH&U               TVT
       incontinence and prolapse" article                                                                                                                          3                                                   ETH.MESH.00144554     ETH.MESH.00144556
       Update to GYNECARE TVT Tension-free Support for Incontinence
2001                                                                       2001-060        10/3          10/3/2001        EWH&U               TVT
       Complications                                                                                                                                               3                                                   ETH.MESH.00144548     ETH.MESH.00144548
       Additional slides for GYNECARE TVT Tension-free Support for
2001                                                                       2001-061       10/31         10/31/2001        EWH&U               TVT
       Incontinence Professional Education Program Binder                                                                                                          4                                                   ETH.MESH.00160103     ETH.MESH.00160115
       "Effect of Tension-free Vaginal Tape Procedure on Urodynamic
2001                                                                       2001-062       10/31         10/31/2001        EWH&U               TVT
       Continence Indices" Article                                                                                                                                 3                                                   ETH.MESH.00144728     ETH.MESH.00144735
       GYNECARE TVT Tension-free Support for Incontinence DTC Ad for
2001                                                                       2001-063       10/31         10/31/2001        EWH&U               TVT
       local market newspaper                                                                                                                                      3                                                   ETH.MESH.00144739     ETH.MESH.00144740
                                                                                                                                                                                                                       ETH.MESH.00144744     ETH.MESH.00144754
       GYNECARE TVT Tension-free Support for Incontinence Patient
2001                                                                       2001-064       10/31         10/31/2001        EWH&U               TVT                                                                      ETH.MESH.00160116     ETH.MESH.00160118
       Seminar Kit (TVT024) - Review for Reprint
                                                                                                                                                              3, 4, and 32                                             ETH.MESH.02619591     ETH.MESH.02619591
       GYNECARE TVT Tension-free Support for Incontinence A-Press
2001                                                                       2001-065       10/31         10/31/2001        EWH&U               TVT
       Release                                                                                                                                                    32                                                   ETH.MESH.02619592     ETH.MESH.02619594
       Radio News Journal for GYNECARE TVT Tension-free Support for
2001                                                                       2001-066       11/14         11/14/2001        EWH&U               TVT
       Incontinence                                                                                                                                                3                                                   ETH.MESH.00144799     ETH.MESH.00144800
       GYNECARE TVT Tension-free Support for Incontinence DTC
2001                                                                       2001-067       11/14         11/14/2001        EWH&U               TVT
       Advertising                                                                                                                                                 3                                                   ETH.MESH.00144798     ETH.MESH.00144798
       GYNECARE TVT Tension-free Support for Incontinence - AAGL
2001                                                                       2001-068       11/14         11/14/2001        EWH&U               TVT
       Duratrans                                                                                                                                                  32                                                   ETH.MESH.02619595     ETH.MESH.02619596
       GYNECARE TVT Tension-free Support for Incontinence
2001                                                                       2001-071       11/28         11/28/2001        EWH&U               TVT
       Presentation for Maurice Chung, MD for SLS Meeting                                                                                                          3                                                   ETH.MESH.00142280     ETH.MESH.00142296
       GYNECARE TVT Tension-free Support for Incontinence Newsletter
2001                                                                       2001-072       11/28         11/28/2001        EWH&U               TVT
       to Trained Physicians - November, 2001 Issue                                                                                                                3                                                   ETH.MESH.00142299     ETH.MESH.00142300
2001   GYNECARE DTC Awareness Building Letters                             2001-069       11/28         11/28/2001        EWH&U                All                 3                                                   ETH.MESH.00142303     ETH.MESH.00142305
2001   GYNECARE Corporate Brochure                                         2001-070       11/28         11/28/2001        EWH&U                All                34          ETH.MESH.03456866   ETH.MESH.03456869
       GYNECARE TVT Tension-free Support for Incontinence Frequently
2001                                                                       2001-073       12/12         12/12/2001        EWH&U               TVT
       asked Reimbursement Q&A                                                                                                                                     4                                                   ETH.MESH.00154564     ETH.MESH.00154564
       "Tension-free Vaginal Tape Operation: Results of the Austrian
2001                                                                       2001-074       12/12         12/12/2001        EWH&U               TVT
       Registry" Clinical article                                                                                                                                  4                                                   ETH.MESH.00154567     ETH.MESH.00154571
       "Urinary Retention after Tension-free Vaginal Tape Procedure:
2001                                                                       2001-075       12/12         12/12/2001        EWH&U               TVT
       Incidence and Treatment" Clinical article                                                                                                                   3                                                   ETH.MESH.00142252     ETH.MESH.00142256
       GYNECARE TVT Tension-free Support for Incontinence
2001                                                                       2001-076       12/12         12/12/2001        EWH&U               TVT
       Competitive Information SPARC                                                                                                                               4                                                   ETH.MESH.00154573     ETH.MESH.00154589
       GYNECARE TVT Tension-free Support for Incontinence
2001                                                                       2001-077       12/12         12/12/2001        EWH&U               TVT
       "Management of SUI" Presentation                                                                                                                           32                                                   ETH.MESH.02619115     ETH.MESH.02619158
       GYNECARE TVT Tension-free Support for Incontinence with
2001                                                                       2001-078       12/12         12/12/2001        EWH&U               TVT
       abdominal guide - preceptor material                                                                                                                        4                                                   ETH.MESH.00154592     ETH.MESH.00154623
2001   GYNECARE TVT Tension-free Support for Incontinence Journal Ad       2001-079       12/12         12/12/2001        EWH&U               TVT
                                                                                                                                                                   4                                                   ETH.MESH.00154625     ETH.MESH.00154626
2001   GYNECARE TVT Tension-free Support for Incontinence Sales Aid        2001-080       12/12         12/12/2001        EWH&U               TVT
                                                                                                                                                                   3                                                   ETH.MESH.00142268     ETH.MESH.00142273
       GYNECARE TVT Tension-free Support for Incontinence DTC
2001                                                                       2001-081       12/12         12/12/2001        EWH&U               TVT
       Awareness - Doctor                                                                                                                                          4                                                   ETH.MESH.00154628     ETH.MESH.00154629
       GYNECARE TVT Tension-free Support for Incontinence DTC
2001                                                                       2001-082       12/12         12/12/2001        EWH&U               TVT
       Awareness - Society                                                                                                                                         3                                                   ETH.MESH.00142278     ETH.MESH.00142279
       GYNECARE TVT Tension-free Support for Incontinence In-service
2002                                                                       2002-001        1/23          1/23/2002        EWH&U               TVT
       Video                                                                                                                                                       4                                                   ETH.MESH.00155918     ETH.MESH.00155926




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       GYNECARE TVT Tension-free Support for Incontinence Sales Aid
2002                                                                      2002-002        1/23          1/23/2002        EWH&U               TVT
       Revisions                                                                                                                                                  4                                                   ETH.MESH.00155928     ETH.MESH.00155935
       GYNECARE TVT Tension-free Support for Incontinence Advertising                                                                                                                                                 ETH.MESH.00155964     ETH.MESH.00155974
2002                                                                      2002-003        1/23          1/23/2002        EWH&U               TVT
       and PR Overview                                                                                                                                         3 and 4                                                ETH.MESH.00142618     ETH.MESH.00142621
       GYNECARE TVT Tension-free Support for Incontinence
2002                                                                      2002-004        2/6           2/6/2002         EWH&U               TVT
       Reimbursement Launch Presentation                                                                                                                          4                                                   ETH.MESH.00156133     ETH.MESH.00156144
2002   GYNECARE TVT Tension-free Support for Incontinence Sales Aid       2002-005        2/6           2/6/2002         EWH&U               TVT
                                                                                                                                                                  4                                                   ETH.MESH.00156152     ETH.MESH.00156157
       GYNECARE TVT Tension-free Support for Incontinence Welcome
2002                                                                      2002-006        2/6           2/6/2002         EWH&U               TVT
       Presentation for Launch Meeting                                                                                                                            4                                                   ETH.MESH.00156159     ETH.MESH.00156164
                                                                                                                                                                                                                      ETH.MESH.00156165     ETH.MESH.00156174
       GYNECARE TVT Tension-free Support for Incontinence Urology
2002                                                                      2002-007        2/6           2/6/2002         EWH&U               TVT                                                                      ETH.MESH.00142638     ETH.MESH.00142650
       Perspective Presentation
                                                                                                                                                             3, 4 and 32                                              ETH.MESH.02619213     ETH.MESH.02619215
       GYNECARE TVT Tension-free Support for Incontinence Update
2002                                                                      2002-008        2/6           2/6/2002         EWH&U               TVT
       Statement of Complications                                                                                                                                 4                                                   ETH.MESH.00156176     ETH.MESH.00156176
       GYNECARE TVT Tension-free Support for Incontinence Product
2002                                                                      2002-009        2/6           2/6/2002         EWH&U               TVT
       Overview Presentation with Abdominal Guides                                                                                                                4                                                   ETH.MESH.00156204     ETH.MESH.00156223
       GYNECARE TVT Tension-free Support for Incontinence Basics of
2002                                                                      2002-010        2/6           2/6/2002         EWH&U               TVT
       Incontinence Presentation for Jill Peters-Gee MD                                                                                                           4                                                   ETH.MESH.00156253     ETH.MESH.00156277
       GYNECARE TVT Tension-free Support for Incontinence Benefits,
2002                                                                      2002-011        2/6           2/6/2002         EWH&U               TVT
       Complications, and Long Term Data                                                                                                                          4                                                   ETH.MESH.00156295     ETH.MESH.00156307
       GYNECARE TVT Tension-free Support for Incontinence
2002                                                                      2002-012        2/6           2/6/2002         EWH&U               TVT
       Competitive Rebuttal Presentation                                                                                                                          4                                                   ETH.MESH.00156110     ETH.MESH.00156119
       GYNECARE TVT Tension-free Support for Incontinence Mesh
2002                                                                      2002-013        2/6           2/6/2002         EWH&U               TVT
       Properties and Product Positioning                                                                                                                        34          ETH.MESH.03456870   ETH.MESH.03456889
       "A randomized trial of colposuspension and TVT for primary
2002                                                                      2002-014        2/6           2/6/2002         EWH&U               TVT
       genuine stress incontinence - 2 year follow-up" Clinical Article
                                                                                                                                                                 34          ETH.MESH.03456890   ETH.MESH.03456891
       GYNECARE TVT Tension-free Support for Incontinence In-service
2002                                                                      2002-015        2/20          2/20/2002        EWH&U               TVT
       Video                                                                                                                                                      3                                                   ETH.MESH.00147320     ETH.MESH.00147325
       GYNECARE TVT Tension-free Support for Incontinence - Local
2002                                                                      2002-016        2/20          2/20/2002        EWH&U               TVT
       Advertising for Doctors                                                                                                                                    3                                                   ETH.MESH.00147326     ETH.MESH.00147327
       GYNECARE TVT Tension-free Support for Incontinence -                                                                                                                                                           ETH.MESH.00155290     ETH.MESH.00155298
2002                                                                      2002-017        3/20          3/20/2002        EWH&U               TVT
       Professional Newsletter                                                                                                                                4 and 32                                                ETH.MESH.02619209     ETH.MESH.02619209
       GYNECARE TVT Tension-free Support for Incontinence Press                                                                                                                                                       ETH.MESH.00142428     ETH.MESH.00142434
2002                                                                      2002-018        3/20          3/20/2002        EWH&U               TVT
       Material Gallup Survey                                                                                                                                 3 and 32                                                ETH.MESH.02619210     ETH.MESH.02619212
       GYNECARE TVT Tension-free Support for Incontinence Newsletter
2002                                                                      2002-021        4/3           4/3/2002         EWH&U               TVT
       - RESUBMISSION                                                                                                                                             4                                                   ETH.MESH.00155317     ETH.MESH.00155318
       Patient Marketing Flyers/Posters for ACOG (GYNECARE TVT
2002   Tension-free Support for Incontinence and GYNECARE                 2002-022        4/17          4/17/2002        EWH&U               TVT
       THERMACHOICE Urine Balloon Therapy System)                                                                                                                 4                                                   ETH.MESH.00156998     ETH.MESH.00157003
       GYNECARE TVT Tension-free Support for Incontinence Statement
2002                                                                      2002-023        5/1           5/1/2002         EWH&U               TVT
       Regarding Complications                                                                                                                                    4                                                   ETH.MESH.00156980     ETH.MESH.00156980
       "Determinants of Patient Dissatisfaction After A Tension-free
2002                                                                      2002-024        5/1           5/1/2002         EWH&U               TVT
       Vaginal Tape Procedure For Urinary Incontinence" Article
                                                                                                                                                                  4                                                   ETH.MESH.00156985     ETH.MESH.00156989
       GYNECARE TVT Tension-free Support for Incontinence Patient                                                                                                                                                     ETH.MESH.00156964     ETH.MESH.00156965
2002                                                                      2002-025        5/15          5/15/2002        EWH&U               TVT
       Mailing                                                                                                                                                    4                                                   ETH.MESH.00156966     ETH.MESH.00156967
       GYNECARE TVT Tension-free Support for Incontinence Doctor's
2002                                                                      2002-026        5/15          5/15/2002        EWH&U               TVT
       Office Poster and Brochure Holder                                                                                                                          4                                                   ETH.MESH.00156972     ETH.MESH.00156974
       GYNECARE TVT Tension-free Support for Incontinence Advance
2002                                                                      2002-027        5/15          5/15/2002        EWH&U               TVT
       Training Presentation                                                                                                                                      4                                                   ETH.MESH.00158101     ETH.MESH.00158107
2002   TVT Abdominal Guide Monograph                                      2002-028        5/15          5/15/2002        EWH&U               TVT                 32                                                   ETH.MESH.02619445     ETH.MESH.02619464




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       GYNECARE TVT Tension-free Support for Incontinence "Taming
2002                                                                     2002-029        6/26          6/26/2002        EWH&U               TVT
       an overactive bladder" New York Times Article reprint
                                                                                                                                                                32                                                   ETH.MESH.02619443     ETH.MESH.02619444
       GYNECARE TVT Tension-free Support for Incontinence product
       Pointer and Related Article "Polypropylene Mesh Tape for Stress
2002                                                                     2002-030        6/26          6/26/2002        EWH&U               TVT
       Urinary Incontinence: Complications of Urethral Erosion and
       Outlet Obstruction"                                                                                                                                       4                                                   ETH.MESH.00158075     ETH.MESH.00158077
       GYNECARE TVT Tension-free Support for Incontinence - Tips for
2002                                                                     2002-031        6/26          6/26/2002        EWH&U               TVT
       Speaking with your Physician                                                                                                                              4                                                   ETH.MESH.00158082     ETH.MESH.00158082
       GYNECARE TVT Tension-free Support for Incontinence "Lost
2002                                                                     2002-033        7/10          7/10/2002        EWH&U               TVT
       Coupler" Product Pointer                                                                                                                                  4                                                   ETH.MESH.00158041     ETH.MESH.00158041
       GYNECARE TVT Tension-free Support for Incontinence Pitch
2002                                                                     2002-034        8/21          8/21/2002        EWH&U               TVT
       Letter for Media                                                                                                                                          4                                                   ETH.MESH.00155214     ETH.MESH.00155214
       GYNECARE TVT Tension-free Support for Incontinence Dr.
2002                                                                     2002-041        9/18          9/18/2002        EWH&U               TVT
       Buchsbaum Summit Presentation                                                                                                                             3                                                   ETH.MESH.00144019     ETH.MESH.00144040
       GYNECARE TVT Tension-free Support for Incontinence Dr. Frankel
2002                                                                     2002-042        9/18          9/18/2002        EWH&U               TVT
       Presentation                                                                                                                                              3                                                   ETH.MESH.00144000     ETH.MESH.00144015
       GYNECARE TVT Tension-free Support for Incontinence Dr. Drutz
2002                                                                     2002-043        9/18          9/18/2002        EWH&U               TVT
       Summit Presentation                                                                                                                                       3                                                   ETH.MESH.00143975     ETH.MESH.00143996
       GYNECARE TVT Tension-free Support for Incontinence Dr. Berger                                                                                                                                                 ETH.MESH.00143949     ETH.MESH.00143971
2002                                                                     2002-044        9/18          9/18/2002        EWH&U               TVT
       Summit Presentation                                                                                                                                       3                                                   ETH.MESH.00143926     ETH.MESH.00143948
       GYNECARE TVT Tension-free Support for Incontinence Dr. Antar
2002                                                                     2002-045        9/18          9/18/2002        EWH&U               TVT
       Summit Presentation                                                                                                                                       4                                                   ETH.MESH.00158834     ETH.MESH.00158859
       GYNECARE TVT Tension-free Support for Incontinence Dr. Hanes
2002                                                                     2002-046        9/18          9/18/2002        EWH&U               TVT
       Summit Presentation                                                                                                                                       3                                                   ETH.MESH.00143886     ETH.MESH.00143923
       GYNECARE TVT Tension-free Support for Incontinence Dr.
2002                                                                     2002-047        9/18          9/18/2002        EWH&U               TVT
       Hessami Summit Presentation                                                                                                                               3                                                   ETH.MESH.00143867     ETH.MESH.00143822
       GYNECARE TVT Tension-free Support for Incontinence Dr.
2002                                                                     2002-048        9/18          9/18/2002        EWH&U               TVT
       Modarelli Summit Presentation                                                                                                                             3                                                   ETH.MESH.00143842     ETH.MESH.00143863
       GYNECARE TVT Tension-free Support for Incontinence Doctor
2002                                                                     2002-049        9/18          9/18/2002        EWH&U               TVT
       Summit Presentation - Copy Only                                                                                                                          34          ETH.MESH.03456892   ETH.MESH.03456892
       GYNECARE TVT Tension-free Support for Incontinence Dr. Axel
2002                                                                     2002-050        9/18          9/18/2002        EWH&U               TVT
       Arnaud MESH Presentation                                                                                                                                  4                                                   ETH.MESH.00158811     ETH.MESH.00158829
       GYNECARE TVT Tension-free Support for Incontinence Dr. Chung
2002                                                                     2002-051        9/18          9/18/2002        EWH&U               TVT
       Summit Presentation                                                                                                                                       3                                                   ETH.MESH.00143826     ETH.MESH.00143837
       GYNECARE TVT Tension-free Support for Incontinence Summit
2002                                                                     2002-052        9/18          9/18/2002        EWH&U               TVT
       Presentation "Role of Preceptor"                                                                                                                          3                                                   ETH.MESH.00143813     ETH.MESH.00143823
       GYNECARE TVT Tension-free Support for Incontinence Summit
2002                                                                     2002-053        9/18          9/18/2002        EWH&U               TVT
       Presentation on Abdominal Guides                                                                                                                         32                                                   ETH.MESH.02619573     ETH.MESH.02619586
       GYNECARE TVT Tension-free Support for Incontinence Summit
2002                                                                     2002-054        9/18          9/18/2002        EWH&U               TVT
       Workshop Presentation by Drs. Kholi and Miklos                                                                                                            3                                                   ETH.MESH.00143787     ETH.MESH.00143809
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                     2002-035        9/18          9/18/2002        EWH&U            Gynemesh
       Dr. Hale Presentation                                                                                                                                     4                                                   ETH.MESH.00158778     ETH.MESH.00158808
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                     2002-036        9/18          9/18/2002        EWH&U            Gynemesh
       Dr. Kirkemo Presentation                                                                                                                                  3                                                   ETH.MESH.00143763     ETH.MESH.00143776
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                     2002-037        9/18          9/18/2002        EWH&U            Gynemesh
       Dr. Miller Presentation                                                                                                                                   4                                                   ETH.MESH.00158763     ETH.MESH.00158773
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                     2002-038        9/18          9/18/2002        EWH&U            Gynemesh
       Overview by Paul Parisi                                                                                                                                   3                                                   ETH.MESH.00143777     ETH.MESH.00143783
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh                                                                                                                                                         ETH.MESH.00158759     ETH.MESH.00158759
2002                                                                     2002-039        9/18          9/18/2002        EWH&U            Gynemesh
       Physician Pelvic Floor Survey                                                                                                                             4                                                   ETH.MESH.00158760     ETH.MESH.00158760
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                     2002-040        9/18          9/18/2002        EWH&U            Gynemesh
       Presentation Dr. Hatangadi                                                                                                                                4                                                   ETH.MESH.00158751     ETH.MESH.00158755




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2002                                                                  2002-055        9/18          9/18/2002        EWH&U               TVT
       HER Presentation                                                                                                                                      32                                                   ETH.MESH.02619524     ETH.MESH.02619529
       New Product Development PP for GYNECARE TVT Tension-free
2002                                                                  2002-056        9/18          9/18/2002        EWH&U               TVT
       Support for Incontinence                                                                                                                              32                                                   ETH.MESH.02619512     ETH.MESH.02619523
       Survey on Incontinence for GYNECARE TVT Tension-free Support
2002                                                                  2002-058        9/18          9/18/2002        EWH&U               TVT
       for Incontinence Summit                                                                                                                                4                                                   ETH.MESH.00158741     ETH.MESH.00158742
       GYNECARE TVT Tension-free Support for Incontinence Blue Mesh
2002                                                                  2002-062        10/2          10/2/2002        EWH&U               TVT
       Shell Sheet                                                                                                                                            4                                                   ETH.MESH.00158733     ETH.MESH.00158734
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                  2002-059        10/2          10/2/2002        EWH&U            Gynemesh
       Booth Graphic                                                                                                                                          4                                                   ETH.MESH.00158736     ETH.MESH.00158736
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                  2002-060        10/2          10/2/2002        EWH&U            Gynemesh
       Sell Sheet                                                                                                                                             4                                                   ETH.MESH.00158738     ETH.MESH.00158739
       GYNECARE TVT Tension-free Support for Incontinence Patient
2002                                                                  2002-064       10/16         10/16/2002        EWH&U               TVT
       Brochure (TVT016R1) - Review for Reprint                                                                                                              32                                                   ETH.MESH.02619504     ETH.MESH.02619511
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                  2002-065       10/30         10/30/2002        EWH&U            Gynemesh
       OR Letter                                                                                                                                              4                                                   ETH.MESH.00166336     ETH.MESH.00166336
       GYNECARE TVT Tension-free Support for Incontinence Customer
2002                                                                  2002-066       10/30         10/30/2002        EWH&U               TVT
       Letter                                                                                                                                                32                                                   ETH.MESH.02619916     ETH.MESH.02619918
2002   GYNECARE Corporate Companion Brochure and Duratrans            2002-067       11/13         11/13/2002        EWH&U                All                34          ETH.MESH.03456893   ETH.MESH.03456897
2002   GEA Presentation for GYNECARE Staff that Attend AAGL           2002-068       11/13         11/13/2002        EWH&U                All                32                                                   ETH.MESH.02619906     ETH.MESH.02619915
       GYNECARE TVT Tension-free Support for Incontinence: Axel                                                                                                                                                   ETH.MESH.00144512     ETH.MESH.00144514
2002   Arnuad, MD - Meshes for Incontinence and Pelvic Floor Repair   2002-073       11/20         11/20/2002        EWH&U               TVT                                                                      ETH.MESH.00144515     ETH.MESH.00144515
       Video (for CD ROM)                                                                                                                                 3 and 32                                                ETH.MESH.02619587     ETH.MESH.02619590
       GYNECARE TVT Tension-free Support for Incontinence: Audrey
2002                                                                  2002-074       11/20         11/20/2002        EWH&U               TVT
       Solheid letter                                                                                                                                         4                                                   ETH.MESH.00159891     ETH.MESH.00159891
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                  2002-069       11/20         11/20/2002        EWH&U            Gynemesh
       Beta Launch Training Overview                                                                                                                          3                                                   ETH.MESH.00144518     ETH.MESH.00144534
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh                                                                                                                                                      ETH.MESH.00159898     ETH.MESH.00159925
2002                                                                  2002-070       11/20         11/20/2002        EWH&U            Gynemesh
       Anatomy Presentation                                                                                                                                   4                                                   ETH.MESH.00159926     ETH.MESH.00159997
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                  2002-071       11/20         11/20/2002        EWH&U            Gynemesh
       Competition Presentation                                                                                                                               4                                                   ETH.MESH.00159851     ETH.MESH.00159868
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2002                                                                  2002-072       11/20         11/20/2002        EWH&U            Gynemesh
       Selling Tips                                                                                                                                           3                                                   ETH.MESH.00144538     ETH.MESH.00144547
2003   GYNECARE.com UPDATE Website Content                            2003-001        1/22          1/22/2003        EWH&U                All                34          ETH.MESH.03456898   ETH.MESH.03456902
       GYNECARE THERMACHOICE Uterine Balloon Therapy and
2003                                                                  2003-003        2/5           2/5/2003         EWH&U               TVT
       GYNECARE TVT Tension-free Support for Incontinence DTC                                                                                                34          ETH.MESH.03456904   ETH.MESH.03456905
       GYNECARE TVT Tension-free Support for Incontinence Patient
2003                                                                  2003-004        2/5           2/5/2003         EWH&U               TVT
       Video Reprint                                                                                                                                         34          ETH.MESH.03456906   ETH.MESH.03456910
2003   GYNECARE Patient Table Top Panel                               2003-005        2/19          2/5/2003         EWH&U                All                34          ETH.MESH.03456911   ETH.MESH.03456911
       GYNECARE TVT Tension-free Support for Incontinence: Clinical
2003                                                                  2003-007        2/19          2/19/2003        EWH&U               TVT
       Binder E-reference Article                                                                                                                            34          ETH.MESH.03456942   ETH.MESH.03457080
       GYNECARE TVT Tension-free Support for Incontinence: Out Come
2003   Among Women with Primary vs. Recurrent Stress Urinary          2003-008        2/19          2/19/2003        EWH&U               TVT
       Incontinence                                                                                                                                          34          ETH.MESH.0345708    ETH.MESH.03457085
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2003                                                                  2003-009        3/12          3/12/2003        EWH&U            Gynemesh
       Anatomy & Surgical Procedure Launch Training                                                                                                          34          ETH.MESH.03457086   ETH.MESH.03457128
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2003                                                                  2003-010        3/12          3/12/2003        EWH&U            Gynemesh
       Surgeon Testimonials                                                                                                                                  34          ETH.MESH.03457129   ETH.MESH.03457186
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2003                                                                  2003-011        3/12          3/12/2003        EWH&U            Gynemesh
       Comparison Sales Tools                                                                                                                                34          ETH.MESH.03457187   ETH.MESH.03457187
       GYNECARE TVT Tension-free Support for Incontinence Press
2003                                                                  2003-017        4/2           4/2/2003         EWH&U               TVT
       Materials - Embarrassing Health Conditions Survey                                                                                                     34          ETH.MESH.03457188   ETH.MESH.03457193
       GYNECARE TVT Tension-free Support for Incontinence Blue
2003                                                                  2003-018        4/2           4/2/2003         EWH&U               TVT
       Duratrans                                                                                                                                             34          ETH.MESH.03457194   ETH.MESH.03457195




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       GYNECARE TVT Tension-free Support for Incontinence Briefing for
2003                                                                     2003-022       4/16          4/16/2003        EWH&U               TVT
       AUA Sales Reps                                                                                                                                          34          ETH.MESH.03457231    ETH.MESH.03457250
       GYNECARE TVT Tension-free Support for Incontinence Primary
2003                                                                     2003-023       4/16          4/16/2003        EWH&U               TVT
       Care Physicians Presentation                                                                                                                            34          ETH.MESH.3457251    ETH.MESH.3457284
       GYNECARE TVT Tension-free Support for Incontinence Primary
2003                                                                     2003-024       4/16          4/16/2003        EWH&U               TVT
       Didactic                                                                                                                                                34          ETH.MESH.03457285   ETH.MESH.03457298
2003   GYNECARE Reimbursement Manual                                     2003-025       4/30          4/30/2003        EWH&U                All                34          ETH.MESH.03457299   ETH.MESH.03457364
       GYNECARE TVT Tension-free Support for Incontinence Revised
2003                                                                     2003-033       5/14          5/14/2003        EWH&U               TVT
       Sales Aid (5-year)                                                                                                                                      34          ETH.MESH.03457382   ETH.MESH.03457387
       GYNECARE TVT Tension-free Support for Incontinence blue mesh
2003                                                                     2003-034       5/14          5/14/2003        EWH&U               TVT
       Sales Aid                                                                                                                                               34          ETH.MESH.03457388   ETH.MESH.03457393
       GYNECARE TVT Tension-free Support for Incontinence Resident
2003                                                                     2003-035       5/28          5/28/2003        EWH&U               TVT
       Certification                                                                                                                                           34          ETH.MESH.03457394   ETH.MESH.03457399
       Stress Urinary Incontinence/GYNECARE TVT Tension-free Support
2003                                                                     2003-036       5/28          5/28/2003        EWH&U               TVT
       for Incontinence Press Release                                                                                                                          34          ETH.MESH.03457400   ETH.MESH.03457401
       GYNECARE TVT Tension-free Support for Incontinence Body Copy
2003                                                                     2003-040       6/11          6/11/2003        EWH&U               TVT
       for Print Ad                                                                                                                                            34          ETH.MESH.03457402   ETH.MESH.03457405
       GYNECARE TVT Tension-free Support for Incontinence Preceptor
2003                                                                     2003-041       6/25          6/25/2003        EWH&U               TVT
       Letter Obturator                                                                                                                                        34          ETH.MESH.03457406   ETH.MESH.03457411
       GYNECARE TVT Tension-free Support for Incontinence with
2003                                                                     2003-042       6/25          6/25/2003        EWH&U               TVT
       Combined Surgeries Presentation                                                                                                                         34          ETH.MESH.03457412   ETH.MESH.03457417
       Primary Training Presentation for GYNECARE TVT Tension-free
2003                                                                     2003-043       6/25          6/25/2003        EWH&U               TVT
       Support for Incontinence                                                                                                                                34          ETH.MESH.03457418   ETH.MESH.03457488
       GYNECARE TVT Tension-free Support for Incontinence PCP
2003                                                                     2003-044       7/9           7/9/2003         EWH&U               TVT
       Referral Kit                                                                                                                                            34                                                                                              ETH.MESH.PM.000069
       GYNECARE TVT Tension-free Support for Incontinence with
2003                                                                     2003-045       7/9           7/9/2003         EWH&U               TVT
       Abdominal Guides CD-ROM (TVT058) - Review for Reprint                                                                                                   34                                                                                              ETH.MESH.PM.000070
       GYNECARE TVT Tension-free Support for Incontinence Follow-Up
2003                                                                     2003-046       7/9           7/9/2003         EWH&U               TVT
       Mailers                                                                                                                                                 34          ETH.MESH.03457489   ETH.MESH.03457501
       GYNECARE TVT Tension-free Support for Incontinence Patient
2003                                                                     2003-047       7/9           7/9/2003         EWH&U               TVT
       Brochure Holder (TVT052) - Review for Reprint                                                                                                           34          ETH.MESH.03457502   ETH.MESH.03457503
       GYNECARE THERMACHOICE Uterine Balloon Therapy and
2003   GYNECARE TVT Tension-free Support for Incontinence Letters to     2003-048       7/23          7/23/2003        EWH&U               TVT
       Women from Speaking of Women's Health                                                                                                                   34          ETH.MESH.03457504   ETH.MESH.03457507
       GYNECARE TVT Tension-free Support for Incontinence Primary
2003                                                                     2003-049       7/23          7/23/2003        EWH&U               TVT
       Care Education Presentation                                                                                                                             34          ETH.MESH.03457508   ETH.MESH.03457516
       GYNECARE TVT Tension-free Support for Incontinence Primary
2003                                                                     2003-050       7/23          7/23/2003        EWH&U               TVT
       Care Education Program - Regional Meeting Presentation
                                                                                                                                                               34          ETH.MESH.03457517   ETH.MESH.03457522
       GYNECARE TVT Tension-free Support for Incontinence Primary
2003                                                                     2003-051       7/23          7/23/2003        EWH&U               TVT
       Care Education Kit                                                                                                                                      34          ETH.MESH.03457523   ETH.MESH.03457536
2003   GYNECARE TVT Tension-free Support for Incontinence Sales Tools    2003-053       7/23          7/23/2003        EWH&U               TVT
                                                                                                                                                               34          ETH.MESH.03457537   ETH.MESH.03457539
       GYNECARE TVT Tension-free Support for Incontinence
2003                                                                     2003-054       7/23          7/23/2003        EWH&U               TVT
       Competitive Rebuttal Presentation                                                                                                                       34          ETH.MESH.03457540   ETH.MESH.03457547
2003   GYNECARE Blurbs                                                   2003-056       8/6           8/6/2003         EWH&U                All                34          ETH.MESH.03457548   ETH.MESH.03457548
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2003                                                                     2003-057       8/6           8/6/2003         EWH&U            Gynemesh
       Quick Coding Reference Sheet                                                                                                                            34          ETH.MESH.03457549   ETH.MESH.03457554
2003   GYNECARE corporate Identity                                       2003-059       8/20          8/20/2003        EWH&U                All                34          ETH.MESH.03457555   ETH.MESH.03457558
2003   GYNECARE.com Site Feedback Form                                   2003-060       8/20          8/20/2003        EWH&U                All                34          ETH.MESH.03457559   ETH.MESH.03457564
2003   GYNECARE Extended Warranty Agreement                              2003-061       8/20          8/20/2003        EWH&U                All                34          ETH.MESH.03457565   ETH.MESH.03457567
       GYNECARE TVT Tension-free Support for Incontinence Business
2003                                                                     2003-062       8/20          8/20/2003        EWH&U               TVT
       Reply Card For PCP Kit                                                                                                                                  34          ETH.MESH.03457568   ETH.MESH.03457569
2003   GYNECARE.com Learn About GYNECARE                                 2003-063       9/3           9/3/2003         EWH&U                All                34          ETH.MESH.03457570   ETH.MESH.03457573




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2003   GYNECARE.com Media Inquires                                       2003-064        9/3           9/3/2003        EWH&U               All                  34         ETH.MESH.03457574   ETH.MESH.03457576
2003   GYNECARE.com Frequently Asked Questions                           2003-065        9/3           9/3/2003        EWH&U               All                  34         ETH.MESH.03457577   ETH.MESH.03457579
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2003                                                                     2003-066       9/3           9/3/2003         EWH&U            Gynemesh
       White Paper - Cover Page                                                                                                                                34          ETH.MESH.03457580   ETH.MESH.03457585
2003   Phone Script for 1-888-GYNECARE                                   2003-067       9/17          9/17/2003        EWH&U                All                34          ETH.MESH.03457586   ETH.MESH.03457593
2003   GYNECARE Disclaimer for Physician Locator Printouts               2003-068       9/17          9/17/2003        EWH&U                All                34          ETH.MESH.03457594   ETH.MESH.03457596
2003   GYNECARE Website Banner Advertising                               2003-069       9/17          9/17/2003        EWH&U                All                34          ETH.MESH.03457597   ETH.MESH.03457624
2003   GYNECARE LOGO Standards and Guidelines                            2003-070       9/17          9/17/2003        EWH&U                All                34          ETH.MESH.03457625   ETH.MESH.03457695
2003   GYNECARE.com Pay Per Click Advertising                            2003-071       9/17          9/17/2003        EWH&U                All                34          ETH.MESH.03457696   ETH.MESH.03457699
2003   GYNECARE Tradedress Announcement to Doctors                       2003-072       9/17          9/17/2003        EWH&U                All                34          ETH.MESH.03457700   ETH.MESH.03457700
2003   GYNECARE Selling Pocket Folder                                    2003-073       10/1          10/1/2003        EWH&U                All                34          ETH.MESH.03457701   ETH.MESH.03457705
2003   GYNECARE jnjgateway.com Naming Structure                          2003-074       10/1          10/1/2003        EWH&U                All                34          ETH.MESH.03457706   ETH.MESH.03457707
       GYNECARE TVT Tension-free Support for Incontinence Statement
2003                                                                     2003-076      10/15         10/15/2003        EWH&U               TVT
       Regarding Complications                                                                                                                                 34          ETH.MESH.03457708   ETH.MESH.03457710
       GYNECARE TVT Tension-free Support for Incontinence AUGS &
2003                                                                     2003-077      10/15         10/15/2003        EWH&U               TVT
       Competitive Update                                                                                                                                      34          ETH.MESH.03457711   ETH.MESH.03457728
       GYNECARE TVT Tension-free Support for Incontinence
2003                                                                     2003-078      10/15         10/15/2003        EWH&U               TVT
       Midurethral Tape Procedures: Are They All The Same? Abstract
                                                                                                                                                               34          ETH.MESH.03457729   ETH.MESH.03457729
       GYNECARE TVT Tension-free Support for Incontinence
2003                                                                     2003-079      10/15         10/15/2003        EWH&U               TVT
       Professional Education Content - Refresh Slides                                                                                                         34          ETH.MESH.03457730   ETH.MESH.03457733
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2003                                                                     2003-081      10/29         10/29/2003        EWH&U               TVT
       Ad                                                                                                                                                      34          ETH.MESH.03457734   ETH.MESH.03457735
       GYNECARE TVT Tension-free Support for Incontinence Obturator -
2003                                                                     2003-082      10/29         10/29/2003        EWH&U               TVT
       Key Procedure Steps                                                                                                                                     34          ETH.MESH.03457736   ETH.MESH.03457751
       GYNECARE TVT Tension-free Support for Incontinence ICS Clinical
2003                                                                     2003-084      10/29         10/29/2003        EWH&U               TVT
       Update                                                                                                                                                  34          ETH.MESH.03457752   ETH.MESH.03457765
2003   GYNECARE Product Logo Lock Ups                                    2003-085      11/12         11/12/2003        EWH&U                All                34          ETH.MESH.03457766   ETH.MESH.03457769
2003   jnjgateway.com GYNECARE Home Pages                                2003-086      11/12         11/12/2003        EWH&U                All                34          ETH.MESH.03457770   ETH.MESH.03457775
2003   GYNECARE Trademark List - Second Use                              2003-087      11/25         11/25/2003        EWH&U                All                34          ETH.MESH.03457776   ETH.MESH.03457777
       GYNECARE TVT Tension-free Support for Incontinence Obturator
2003                                                                     2003-088      11/25         11/25/2003        EWH&U               TVT
       System Sales Aid                                                                                                                                        34          ETH.MESH.03457778   ETH.MESH.03457786
       GYNECARE TVT Tension-free Support for Incontinence Obturator
2003                                                                     2003-089      11/25         11/25/2003        EWH&U               TVT
       System Interactive CD-ROM Content                                                                                                                       34                                                                                             ETH.MESH.PM.000071
       GYNECARE TVT Tension-free Support for Incontinence 7-year
2003                                                                     2003-090      11/25         11/25/2003        EWH&U               TVT
       Data Letter to Customers                                                                                                                                34          ETH.MESH.03457787   ETH.MESH.03457788
       eLearning Module on GYNECARE TVT Tension-free Support for
2003                                                                     2003-092        21          12/10/2003        EWH&U               TVT
       Incontinence Obturator System                                                                                                                           34          ETH.MESH.03457789   ETH.MESH.03457821
       Product Pointer on GYNECARE TVT Tension-free Support for
2003                                                                     2003-093        22          12/10/2003        EWH&U               TVT
       Incontinence Nice Appraisal                                                                                                                             34          ETH.MESH.03457822   ETH.MESH.03457823
       GYNECARE TVT Tension-free Support for Incontinence Healthy
2003                                                                     2003-094        23          12/10/2003        EWH&U               TVT
       Advise Network Ad                                                                                                                                       34                                                                                             ETH.MESH.PM.000072
       GYNECARE TVT Obturator System Tension-free Support for
2003                                                                     2003-097        74          12/22/2003        EWH&U               TVT
       Incontinence Power Point Presentation                                                                                                                   34          ETH.MESH.03457824   ETH.MESH.03457829
2003   GYNECARE TVT Obturator System FAQ's                               2003-098        75          12/22/2003        EWH&U               TVT                 34          ETH.MESH.03457830   ETH.MESH.03457835
2003   GYNECARE TVT Obturator System Mesh Presentation                   2003-099        76          12/22/2003        EWH&U               TVT                 34          ETH.MESH.03457836   ETH.MESH.03457840
2003   GYNECARE TVT Obturator System FAQ's                               2003-100        77          12/22/2003        EWH&U               TVT                 34          ETH.MESH.03457841   ETH.MESH.03457846
2003   GYNECARE TVT Obturator System Positioning & Targeting             2003-101        78          12/22/2003        EWH&U               TVT                 34          ETH.MESH.03457847   ETH.MESH.03457851
2003   GYNECARE TVT Tension-free Support for Incontinence Print Ad       2003-102        79          12/22/2003        EWH&U               TVT
                                                                                                                                                               34          ETH.MESH.03457852   ETH.MESH.03457852
       GYNECARE TVT Obturator System - Procedure and Anatomy
2003                                                                     2003-103        80          12/22/2003        EWH&U               TVT
       Interactive CD ROM                                                                                                                                      34                                                                                             ETH.MESH.PM.000073
       GYNECARE TVT Obturator System - Cover for Professional
2003                                                                     2003-104        81          12/22/2003        EWH&U               TVT
       Education Binder                                                                                                                                        34          ETH.MESH.03457853   ETH.MESH.03457853




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       GYNECARE TVT Obturator System Professional Education
2004                                                                       2004-109       109           1/7/2004         EWH&U               TVT
       Presentation                                                                                                                                              32                                                   ETH.MESH.02619892     ETH.MESH.02619892
2004   GYNECARE Sales Newsletter - Volume II, Number 2/Teresa Kyle         2004-147       147           1/21/2004        EWH&U                All
                                                                                                                                                                  4                                                   ETH.MESH.00164264     ETH.MESH.00164268
       Press Release announcing the availability of the GYNECARE TVT
2004   Obturator System Tension-free Support for Incontinence/Lorie        2004-149       149           1/21/2004        EWH&U               TVT
       Gawreluk                                                                                                                                                   3                                                   ETH.MESH.00147034     ETH.MESH.00147034
       GYNECARE TVT Tension-free Support for Incontinence Advertising
2004                                                                       2004-150       150           1/21/2004        EWH&U               TVT
       / Barbara McCabe                                                                                                                                           4                                                   ETH.MESH.00164269     ETH.MESH.00164270
       GYNECARE TVT " Mechanical properties of orogynecologic
2004                                                                       2004-151       151           1/21/2004        EWH&U               TVT
       implant materials" Article for reprint / Paul Parisi                                                                                                       4                                                   ETH.MESH.00164276     ETH.MESH.00164280
                                                                                                                                                                                                                      ETH.MESH.00143255     ETH.MESH.00143256
2004   GYNECARE Sales Newsletter - Vol. II, number 3 / Teresa Kyle         2004-169       169           2/4/2004         EWH&U               TVT
                                                                                                                                                                  3                                                   ETH.MESH.00157591     ETH.MESH.00157619
       GYNECARE TVT Tension-free Support for Incontinence
2004                                                                       2004-171       171           2/4/2004         EWH&U               TVT
       Introduction / Paul Parisi                                                                                                                                 4                                                   ETH.MESH.00157621     ETH.MESH.00157624
2004   GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh Int           2004-172       172           2/4/2004         EWH&U            Gynemesh                4                                                   ETH.MESH.00157626     ETH.MESH.00157628
                                                                                                                                                                                                                      ETH.MESH.00157631     ETH.MESH.00157635
2004   INSIDE GYNECARE Newsletter Volume II, Number 4 / Teresa Kyle        2004-198       198           2/18/2004        EWH&U                All
                                                                                                                                                              4 and 32                                                ETH.MESH.02619378     ETH.MESH.02619382
       SUI/GYNECARE TVT Tension-free Support for Incontinence Press                                                                                                                                                   ETH.MESH.00157581     ETH.MESH.00157583
2004   Materials for " Body After Baby" author public relations / Jackie   2004-205       205           2/18/2004        EWH&U               TVT                                                                      ETH.MESH.00143219     ETH.MESH.00143221
       Russo-Jankewicz                                                                                                                                        4 and 32                                                ETH.MESH.02619377     ETH.MESH.02619377
       GYNECARE TVT vs. Burch Study Press Release / Jackie Russo-
2004                                                                       2004-206       206           2/18/2004        EWH&U               TVT
       Jankewicz                                                                                                                                                  3                                                   ETH.MESH.00143228     ETH.MESH.00143229
       Abstract of 7-year follow up of the Tension-free Vaginal Tape
2004                                                                       2004-207       207           2/18/2004        EWH&U               TVT
       Procedure (GYNECARE TVT Nilsson Study) / Lynn Hall                                                                                                         3                                                   ETH.MESH.00143234     ETH.MESH.00143236
       GYNECARE TVT Obturator System Tension-free Support for
2004                                                                       2004-209       209           2/18/2004        EWH&U               TVT
       Incontinence Anatomy Presentation / Kendra Munchel                                                                                                         3                                                   ETH.MESH.00143241     ETH.MESH.00143254
2004   INSIDE GYNECARE Newsletter Volume II, Number 5 / Teresa Kyle        2004-236       236           3/3/2004         EWH&U                All
                                                                                                                                                                  4                                                   ETH.MESH.00160175     ETH.MESH.00160177
       GYNECARE TVT Tension-free Support for Incontinence Patient
2004                                                                       2004-240       240           3/3/2004         EWH&U               TVT
       Brochure (TVT016R3) / Robin Osman                                                                                                                         32                                                   ETH.MESH.02619601     ETH.MESH.02619616
       GYNECARE TVT Obturator System Tension-free Support for
2004                                                                       2004-246       246           3/3/2004         EWH&U               TVT
       Incontinence Anatomy Slides / Barbara McCabe                                                                                                              34          ETH.MESH.03457854   ETH.MESH.03457859
2004   GYNECARE TVT Clinical Reprint Ward/Hilton/Barbara McCabe            2004-247       247           3/3/2004         EWH&U               TVT
                                                                                                                                                                  4                                                   ETH.MESH.00160131     ETH.MESH.00160138
2004   GYNECARE TVT Obturator System Stagram / Barbara McCabe              2004-248       248           3/3/2004         EWH&U               TVT
                                                                                                                                                                  3                                                   ETH.MESH.00144825     ETH.MESH.00144826
       GYNECARE TVT Obturator System Anatomy Presentation / Kendra
2004                                                                       2004-249       249           3/3/2004         EWH&U               TVT
       Munchel                                                                                                                                                   32                                                   ETH.MESH.02619597     ETH.MESH.02619600
       GYNECARE TVT Tension-free Support for Incontinence Coding
2004                                                                       2004-280       280           3/10/2004        EWH&U               TVT
       Sheet 2004 / Laurent Metz                                                                                                                                  4                                                   ETH.MESH.00160205     ETH.MESH.00160206
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2004                                                                       2004-283       283           3/10/2004        EWH&U            Gynemesh
       Coding Sheet 2004 / Laurent Metz                                                                                                                          32                                                   ETH.MESH.02619617     ETH.MESH.02619620
                                                                                                                                                                                                                      ETH.MESH.02619419     ETH.MESH.02619435
                                                                                                                                                                                                                      ETH.MESH.02619436     ETH.MESH.02619435
2004   GYNECARE Contracting / Lori Campbell                                2004-326       326           3/17/2004        EWH&U                All
                                                                                                                                                                                                                      ETH.MESH.02619439     ETH.MESH.02619441
                                                                                                                                                                 32                                                   ETH.MESH.02619442     ETH.MESH.02619442
       GYNECARE TVT Tension-free Support for Incontinence: Summit
2004                                                                       2004-327       327           3/17/2004        EWH&U               TVT
       Obturator System Part One / Paul Parisi                                                                                                                    4                                                   ETH.MESH.00157915     ETH.MESH.00157954
2004   GYNECARE TVT Hilton Study Summary / Paul Parisi                     2004-329       329           3/17/2004        EWH&U               TVT                  4                                                   ETH.MESH.00157958     ETH.MESH.00157968
2004   GYNECARE TVT: Are all Meshes Created Equal? / Paul Parisi           2004-330       330           3/17/2004        EWH&U               TVT                  4                                                   ETH.MESH.00157970     ETH.MESH.00157984
       GYNECARE TVT and Competitors Bibliography Review / Laurent
2004                                                                       2004-331       331           3/17/2004        EWH&U               TVT
       Metz                                                                                                                                                       4                                                   ETH.MESH.00158008     ETH.MESH.00158021




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       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2004                                                                      2004-332       332           3/17/2004        EWH&U            Gynemesh
       Clinical Study Vaginal Approach Interim Results / Giselle Bonet
                                                                                                                                                                 4                                                   ETH.MESH.00158023     ETH.MESH.00158034
2004   GYNECARE GYNEMESH PS Sales Aid / Giselle Bonet                     2004-334       334           3/17/2004        EWH&U            Gynemesh                4                                                   ETH.MESH.00157883     ETH.MESH.00157884
2004   GYNECARE GYNEMESH PS Awareness Module / Giselle Bonet              2004-335       335           3/17/2004        EWH&U            Gynemesh
                                                                                                                                                                 3                                                   ETH.MESH.00143481     ETH.MESH.00143507
2004   INSIDE GYNECARE 2.7 / Teresa Kyle                                  2004-355       355           3/31/2004        EWH&U                All                32                                                   ETH.MESH.02619402     ETH.MESH.02619418
       GYNECARE TVT Tension-free Support for Incontinence Sales Aid /
2004                                                                      2004-409       409           4/14/2004        EWH&U               TVT
       Barbara McCabe                                                                                                                                            4                                                   ETH.MESH.00160813     ETH.MESH.00160821
       GYNECARE TVT Obturator System Tension-free Support for
2004   Incontinence Sales Aid Anatomy and Cadaver Dissections / Giselle   2004-410       410           4/14/2004        EWH&U               TVT
       Bonet                                                                                                                                                     3                                                   ETH.MESH.00145268     ETH.MESH.00145286
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2004                                                                      2004-411       411           4/14/2004        EWH&U            Gynemesh
       Sales Aid / Giselle Bonet                                                                                                                                 4                                                   ETH.MESH.00160882     ETH.MESH.00160883
2004   INSIDE GYNECARE 2.8 / Teresa Kyle                                  2004-412       412           4/14/2004        EWH&U                All                 4                                                   ETH.MESH.00160970     ETH.MESH.00160971
2004   GYNECARE Convention Graphics / Teresa Kyle                         2004-413       413           4/14/2004        EWH&U                All                34          ETH.MESH.03457860   ETH.MESH.03457864
                                                                                                                                                                                                                     ETH.MESH.00145287     ETH.MESH.00145287
2004   Local marketing Info for INSIDE GYNECARE / Robin Osman             2004-450       450           4/28/2004        EWH&U                All                                                                     ETH.MESH.00160972     ETH.MESH.00160973
                                                                                                                                                            3, 4 and 32                                              ETH.MESH.02619807     ETH.MESH.02619807
       GYNECARE TVT Tension-free Support for Incontinence - "Update
2004   on suburethral slings for stress urinary incontinence" Article /   2004-487       487           5/12/2004        EWH&U               TVT
       Barbara McCabe                                                                                                                                            4                                                   ETH.MESH.00160979     ETH.MESH.00160985
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2004   Procedure Video - Dave Robinson, MD. - Rectocele Repair /          2004-488       488           5/12/2004        EWH&U            Gynemesh
       Giselle Bonet                                                                                                                                            34                                                                                              ETH.MESH.PM.000074
       GYNECARE GYNEMESH PS Procedure Video - Dave Robinson, MD. -
2004                                                                      2004-489       489           5/12/2004        EWH&U            Gynemesh
       Cystocele Repair / Giselle Bonet                                                                                                                         34                                                                                              ETH.MESH.PM.000075
       GYNECARE GYNEMESH PS Procedure Video - North Shore Long
2004   Island Jewish Health System - featuring Lawrence Lind, MD. And     2004-494       494           5/12/2004        EWH&U            Gynemesh
       Harvey Winkler, MD / Giselle Bonet                                                                                                                       34                                                                                              ETH.MESH.PM.000076
2004   INSIDE GYNECARE 2/10 - N.I.C.E. Press Release / Teresa Kyle        2004-495       495           5/12/2004        EWH&U                All
                                                                                                                                                                 4                                                   ETH.MESH.00160988     ETH.MESH.00160990
       GYNECARE TVT Tension-free Support for Incontinence Self Quiz
2004                                                                      2004-529       529           5/26/2004        EWH&U               TVT
       Poster / Robin Osman                                                                                                                                      3                                                   ETH.MESH.00147754     ETH.MESH.00147755
2004   GYNECARE TVT Local Advertising Templates / Robin Osman             2004-530       530           5/26/2004        EWH&U               TVT                  3                                                   ETH.MESH.00147762     ETH.MESH.00147765
       GYNECARE TVT Tension-free Support for Incontinence and
2004                                                                      2004-574       574           6/9/2004         EWH&U               TVT
       Competitors Bibliography Review / Laurent Metz                                                                                                            4                                                   ETH.MESH.00166416     ETH.MESH.00166429
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh                                                                                                                                                         ETH.MESH.00146323     ETH.MESH.00146323
2004                                                                      2004-592       592           6/23/2004        EWH&U            Gynemesh
       Procedure and Anatomy Overview / Giselle Bonet                                                                                                            3                                                   ETH.MESH.00146335     ETH.MESH.00146338
       GYNECARE TVT Tension-free Support for Incontinence Newsletter
2004                                                                      2004-596       596           6/23/2004        EWH&U               TVT
       - Hilton Study / Barbara McCabe                                                                                                                           4                                                   ETH.MESH.00162913     ETH.MESH.00162914
       GYNECARE Uterine Health Customer Newsletter - LSH / Teresa
2004                                                                      2004-607       607           7/7/2004         EWH&U                All
       Kyle                                                                                                                                                     34          ETH.MESH.03457865   ETH.MESH.03457867
       GYNECARE TVT Tension-free Support for Incontinence Regional
2004                                                                      2004-653       653           7/21/2004        EWH&U               TVT
       Meeting / Giselle Bonet                                                                                                                                   4                                                   ETH.MESH.00162920     ETH.MESH.00162933
                                                                                                                                                                                                                     ETH.MESH.00162936     ETH.MESH.00162945
2004   New GYNECARE TVT Abstract / Giselle Bonet                          2004-654       654           7/21/2004        EWH&U               TVT
                                                                                                                                                             4 and 32                                                ETH.MESH.02619863     ETH.MESH.02619864
       GYNECARE GYNEMESH PS non-Absorbable PROLENE Soft Mesh
2004                                                                      2004-655       655           7/21/2004        EWH&U            Gynemesh
       Competition / Giselle Bonet                                                                                                                               4                                                   ETH.MESH.00162950     ETH.MESH.00162973
2004   GYNECARE.com web site copy changes / Robin Osman                   2004-699       699           8/18/2004        EWH&U                All                34          ETH.MESH.03457868   ETH.MESH.03457885
2004   GYNECARE Prof. Ed. Mega Course Brochure / Teresa Kyle              2004-735       735            9/1/2004        EWH&U                All                 4                                                   ETH.MESH.00166850     ETH.MESH.00166853
       GYNECARE TVT Tension-free Support for Incontinence
2004                                                                      2004-739       739           9/1/2004         EWH&U               TVT
       Abbreviated Brochure / Robin Osman                                                                                                                        4                                                   ETH.MESH.00166868     ETH.MESH.00166871
2004   GYNECARE Hysteroscopy Education Program / Dharini Amin             2004-769       769           9/15/2004        EWH&U                All                34                                                                                              ETH.MESH.PM.000077




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       Product Pointer on GYNECARE TVT Tension-free Support for
2004                                                                     2004-815       815           9/29/2004        EWH&U               TVT
       Incontinence Bibliography / Laurent Metz                                                                                                                 4                                                   ETH.MESH.00166478     ETH.MESH.00166478
2004   GYNECARE TVT Bibliography / Laurent Metz                          2004-816       816           9/29/2004        EWH&U               TVT                  4                                                   ETH.MESH.00166461     ETH.MESH.00166476
       GYNECARE TVT Tension-free Support for Incontinence 60-Second
2004                                                                     2004-851       851          10/27/2004        EWH&U               TVT
       Radio Script / Robin Osman                                                                                                                               4                                                   ETH.MESH.00166582     ETH.MESH.00166582
       Broadlane GYNECARE TVT Contract Brochure / Marianne
2004                                                                     2004-852       852          10/27/2004        EWH&U               TVT
       Kaminski                                                                                                                                                32                                                   ETH.MESH.02619919     ETH.MESH.02619920
       GYNECARE TVT Obturator System Tension-free Support for
2004                                                                     2004-854       854          10/27/2004        EWH&U               TVT
       Incontinence and LSC AAGL 0411 / Paul Parisi                                                                                                             4                                                   ETH.MESH.00166585     ETH.MESH.00166593
       GYNECARE TVT Tension-free Support for Incontinence Mesh
2004                                                                     2004-872       872          11/10/2004        EWH&U               TVT
       Detail Aid / Paul Parisi                                                                                                                                 4                                                   ETH.MESH.00166479     ETH.MESH.00166495
       GYNECARE TVT Complication Rate Slide - Update to September,
2004                                                                     2004-873       873          11/10/2004        EWH&U               TVT
       2004 / /Marianne Kaminski                                                                                                                                3                                                   ETH.MESH.00147904     ETH.MESH.00147904
       GYNECARE TVT Tension-free Support for Incontinence 7-year data
2004                                                                     2004-921       921          11/24/2004        EWH&U               TVT
       Press Release / Jackie Kankewicz                                                                                                                         4                                                   ETH.MESH.00155597     ETH.MESH.00155600
       GYNECARE TVT Tension-free Support for Incontinence Patient
2004                                                                     2004-946       946           12/8/2004        EWH&U               TVT
       Brochure reprint / Robin Osman                                                                                                                           4                                                   ETH.MESH.00155619     ETH.MESH.00155627
       GYNECARE PROLIFT - The New Advance in Pelvic Reconstructive
2004                                                                     2004-948       948           12/8/2004        EWH&U              Prolift
       Surgery / Giselle Bonet                                                                                                                                  4                                                   ETH.MESH.00155660     ETH.MESH.00155676
       GYNECARE TVT Ob/Gyn December 2004 ("Seven-Year Follow-up
2004   of the Tension-Free Vaginal Tape Procedure for Treatment of       2004-949       949           12/8/2004        EWH&U               TVT
       Urinary Incontinence" article) / Paul Parisi                                                                                                             4                                                   ETH.MESH.00155678     ETH.MESH.00155681
       Lap Burch vs. GYNECARE TVT Rct ("Laparoscopic Burch
2004   Colposuspension Versus Tension-Free Vaginal Tape: A               2004-950       950           12/8/2004        EWH&U               TVT
       Randomized Trial" article) / Paul Parisi                                                                                                                 4                                                   ETH.MESH.00155683     ETH.MESH.00155692
2004   GYNECARE Portfolio Sales Aid / Teresa Kyle                        2004-963       963          12/22/2004        EWH&U                All                 4                                                   ETH.MESH.00155697     ETH.MESH.00155703
                                                                                                                                                                           ETH.MESH.03456774   ETH.MESH.03456774
2004   GYNECARE - AAGL LSH Mailer Letter / Teresa Kyle                   2004-964       964          12/22/2004        EWH&U                All
                                                                                                                                                               34          ETH.MESH.03457886   ETH.MESH.03457889
       GYNECARE PROLIFT Pelvic Floor Repair System Surgical Protocol /
2004                                                                     2004-970       970          12/22/2004        EWH&U              Prolift
       Giselle Bonet                                                                                                                                            4                                                   ETH.MESH.00155706     ETH.MESH.00155735
       GYNECARE TVT Tension-free Support for Incontinence Detail Aid /
2004                                                                     2004-973       973          12/22/2004        EWH&U               TVT
       Paul Parisi                                                                                                                                              4                                                   ETH.MESH.00155895     ETH.MESH.00155901




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2005   GYNECARE TVT* Tension-free Support for Incontinence Mesh Detail Aid (resubmit after field sales testing)/Teresa Kyle   997           1/5/2005    EWH&U TVT                4                                                        ETH.MESH.00155895    ETH.MESH.00155901
       on behalf of Paul Parisi
2005   GYNECARE PROLIFT* Pelvic Floor Repair System & Pelvic Floor Surgery Coding and Payment/Laurent Metz                    1023         1/14/2005      EWH&U Prolift          28           ETH.MESH.02342291      ETH.MESH.02342298
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Coding Sheet/Laurent Metz                                                 1024         1/14/2005      EWH&U Prolift          28           ETH.MESH.02342299      ETH.MESH.02342302
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Bibliography Review on Use of Meshes in Pelvic Floor Surgery/Laurent      1025         1/14/2005      EWH&U Prolift          28           ETH.MESH.02342303      ETH.MESH.02342320
       Metz
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Anatomic Pathway/Giselle Bonet                                            1026         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342321      ETH.MESH.02342345
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Anatomy Review/Giselle Bonet                                              1027         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342346      ETH.MESH.02342349
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Anatomy Outline/Giselle Bonet                                             1028         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342350      ETH.MESH.02342357
2005   GYNECARE PROLIFT* Pelvic Floor Repair System One Page System and Procedure Overview/Giselle Bonet                      1029         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342358      ETH.MESH.02342360
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Competitive Overview/Giselle Bonet                                        1030         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342361      ETH.MESH.02342401
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Components Overview/Giselle Bonet                                         1031         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342402      ETH.MESH.02342415
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Q&A/Giselle Bonet                                                         1032         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342416      ETH.MESH.02342446
2005   Introduction to Pelvic Organ Prolapse Surgery – The Basics Presentation/Giselle Bonet                                  1033         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342447      ETH.MESH.02342459
2005   The TVM Story – The Basics Presentation/Giselle Bonet                                                                  1034         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342460      ETH.MESH.02342501
2005   TVM Data Presentation/Giselle Bonet                                                                                    1035         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342502      ETH.MESH.02342527
2005   Review the Surgical Techniques Using Mesh Presentation/Giselle Bonet                                                   1036         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342528      ETH.MESH.02342548
2005   Graft or No Graft? Presentation/Giselle Bonet                                                                          1037         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342549      ETH.MESH.02342612
2005   Clinical Evaluation of GYNECARE GYNEMESH* PS Nonabsorbable PROLENE* Soft Mesh for Pelvic Floor Repair/Giselle          1038         1/14/2005      EWH&U      Gynemes 28               ETH.MESH.02342613      ETH.MESH.02342615
       Bonet                                                                                                                                                         h
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Sales Scenarios/Giselle Bonet                                             1039         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342616      ETH.MESH.02342624
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Competitive Attacks/Giselle Bonet                                         1040         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342625      ETH.MESH.02342640
2005   GYNECARE PROLIFT* Pelvic Floor Repair System R&D Presentation/Giselle Bonet                                            1041         1/14/2005      EWH&U      Prolift 28               ETH.MESH.02342641      ETH.MESH.02342641
2005   GYNECARE TVT* Tension-free Support for Incontinence: GYNECARE TVT and GYNECARE TVT* Obturator System                   1058         1/19/2005      EWH&U      TVT     28               ETH.MESH.02342672      ETH.MESH.02342678
       Tension-free Support for Incontinence Update/Paul Parisi
2005   GYNECARE TVT: Laparoscopic Revision/Paul Parisi                                                                        1059         1/19/2005      EWH&U      TVT         28           ETH.MESH.02342679      ETH.MESH.02342694
2005   GYNECARE TVT Complications Statement/Paul Parisi                                                                       1060         1/19/2005      EWH&U      TVT         28           ETH.MESH.02342695      ETH.MESH.02342699
2005   GYNECARE TVT: SLC Grier Complications/Paul Parisi                                                                      1061         1/19/2005      EWH&U      TVT         28           ETH.MESH.02342700      ETH.MESH.02342721
2005   GYNECARE PROLIFT* Pelvic Floor Repair Systems Sales Aid/Nancy Leclair                                                  1063         1/19/2005      EWH&U      Prolift     28           ETH.MESH.02342722      ETH.MESH.02342928
                                                                                                                                                                                 34           ETH.MESH.03457890      ETH.MESH.03458003
2005   GYNECARE TVT* Tension-free Support for Incontinence and GYNECARE THERMACHOICE Mailers for Physicians/Robin             1107          2/2/2005      EWH&U TVT              28           ETH.MESH.02342929      ETH.MESH.02342941
       Osman
2005   GYNECARE TVT Review of Health Technology Assessment Reports/Laurent Metz                                               1109          2/2/2005      EWH&U TVT     28                    ETH.MESH.02342942      ETH.MESH.02342945
2005   GYNECARE TVT Bibliography Update/Laurent Metz                                                                          1110          2/2/2005      EWH&U TVT     28                    ETH.MESH.02342926      ETH.MESH.02342966
2005   GYNECARE TVT Coding Sheet/Laurent Metz                                                                                 1111          2/2/2005      EWH&U TVT     28                    ETH.MESH.02342967      ETH.MESH.02342971
2005   GYNECARE GYNEMESH* PS Nonabsorbable PROLENE* Soft Mesh Coding Sheet/Laurent Metz                                       1113          2/2/2005      EWH&U Gynemes 28                    ETH.MESH.02342972      ETH.MESH.02342977
                                                                                                                                                                h
2005   GYNECARE TVT Case Management Reports Lucente/Paul Parisi                                                               1114          2/2/2005      EWH&U TVT     28                    ETH.MESH.02342978      ETH.MESH.02342990
2005   GYNECARE TVT Early US Experience with GYNECARE TVT* Obturator System Tension-free Support for                          1115          2/2/2005      EWH&U TVT     28                    ETH.MESH.02342991      ETH.MESH.02343001
       Incontinence/Paul Parisi
2005   GYNECARE TVT: GYNECARE TVT Obturator System Anatomical Path Video Script/Paul Parisi                                   1116          2/2/2005      EWH&U      TVT         28           ETH.MESH.02343002      ETH.MESH.02343008
2005   GYNECARE TVT and GYNECARE TVT Obturator System Update/Paul Parisi                                                      1117          2/2/2005      EWH&U      TVT         28           ETH.MESH.02343009      ETH.MESH.02343047
2005   GYNECARE TVT Mesh Brochure/Barbara McCabe                                                                              1118          2/2/2005      EWH&U      TVT         28           ETH.MESH.02343048      ETH.MESH.02343053
2005   Conceptual Advances in the Surgical Management of Genital Prolapse/Giselle Bonet                                       1121          2/2/2005      EWH&U      Prolift     28           ETH.MESH.02343054      ETH.MESH.02343067
2005   Surgical Treatment of Prolapse with Conservation of the Uterus “The TVM Technique”/Giselle Bonet                       1122          2/2/2005      EWH&U      Prolift     25                                                                                                ETH.MESH.PM.0000
                                                                                                                                                                                                                                                                                   65
2005   Failures and Complications of Vaginal Pelvic Floor Reconstructive Surgery: Is TVM (TransVaginal Mesh) the              1123          2/2/2005      EWH&U Prolift          28           ETH.MESH.02343068      ETH.MESH.02343093
       Solution?/Ophelie Berthier and Giselle Bonet




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2005   GYNECARE TVT* Tension-free Support for Incontinence and GYNECARE THERMACHOICE Patient Letters/Robin Osman        1156          2/16/2005   EWH&U TVT                28           ETH.MESH.02343094      ETH.MESH.02343098

2005   GYNECARE TVT* Obturator System Tension-free Support for Incontinence CD/Barbara McCabe                           1158         2/16/2005      EWH&U TVT              25                                                                                                ETH.MESH.PM.0000
                                                                                                                                                                                                                                                                             66
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Professional Education CD-Rom Introduction/Allison London Brown     1198          3/2/2005      EWH&U Prolift          30           ETH.MESH.02346965      ETH.MESH.02346966

2005   GYNECARE PROLIFT* Pelvic Floor Repair System Education Didactic Presentation/Allison London Brown                1199         3/2/2005       EWH&U Prolift          30           ETH.MESH.02346967      ETH.MESH.02346979
2005   Patient Questionnaire for Physicians using GYNECARE TVT* Tension-free Support for Incontinence/Robin Osman       1249         3/16/2005      EWH&U TVT              30           ETH.MESH.02346980      ETH.MESH.02346980

2005   GYNECARE PROLIFT* Pelvic Floor Repair Systems Anatomic Path/Kendra Munchel                                       1251         3/16/2005      EWH&U Prolift          30           ETH.MESH.02346981      ETH.MESH.02346991
2005   Clinical Reprint – “A nationwide analysis of complications associated with the tension-free vaginal tape (TVT)   1254         3/16/2005      EWH&U TVT              30           ETH.MESH.02346992      ETH.MESH.02346995
       procedure” (TVT049)/Barbara McCabe
2005   GYNECARE PROLIFT* Pelvic Floor Repair System NTM Breakout Guide/Allison London-Brown                             1299         3/30/2005      EWH&U      Prolift     30           ETH.MESH.02346996      ETH.MESH.02347009
2005   GYNECARE PROLIFT* Pelvic Floor Repair System NTM Training Content/Allison London-Brown                           1300         3/30/2005      EWH&U      Prolift     3                                                        ETH.MESH.00144866    ETH.MESH.00144873
2005   Urology Sales Training Module/Ted Bearor                                                                         1325         4/13/2005      EWH&U      All         30           ETH.MESH.02347010      ETH.MESH.02347039
2005   GYNECARE.com Web Pages/Robin Osman                                                                               1341         4/13/2005      EWH&U      All         30           ETH.MESH.02347040      ETH.MESH.02347050
2005   GYNECARE TVT* Tension-free Support for Incontinence Patient Education Brochure/Robin Osman                       1345         4/13/2005      EWH&U      TVT         30           ETH.MESH.02347051      ETH.MESH.02347066
2005   GYNECARE TVT* Tension-free Support for Incontinence Customer Letter/Dharini Amin                                 1346         4/13/2005      EWH&U      TVT         30           ETH.MESH.02347067      ETH.MESH.02347067
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Sales Aid CD-Rom/Allison London Brown                               1349         4/13/2005      EWH&U      Prolift     3                                                        ETH.MESH.00145862    ETH.MESH.00145876
                                                                                                                                                                                                                                    ETH.MESH.00162072    ETH.MESH.00162078
2005   GYNECARE: DUB Interactive Game for ACOG/Teresa Kyle                                                              1383         4/27/2005      EWH&U      TVT         30           ETH.MESH.02347068      ETH.MESH.02347075
2005   GYNECARE: AUA Pre-show Promotion/Teresa Kyle                                                                     1384         4/27/2005      EWH&U      TVT         30           ETH.MESH.02347076      ETH.MESH.02347077
2005   GYNECARE: ACOG Incontinence Interactive Presentation/Teresa Kyle                                                 1385         4/27/2005      EWH&U      All         30           ETH.MESH.02347078      ETH.MESH.02347085
2005   GYNECARE TVT* Tension-free Support for Incontinence “Wall of Evidence” Convention Graphic/Teresa Kyle            1386         4/27/2005      EWH&U      TVT         30           ETH.MESH.02347086      ETH.MESH.02347092
2005   EXCEPTION 4/29/05 Video Scripts for total repair with uterine conservation and total repair with hysterectomy    1397         4/27/2005      EWH&U      TVT         30           ETH.MESH.02347093      ETH.MESH.02347104
       followed by a TVT-O/Kendra Munchel                                                                                                                                  34           ETH.MESH.03458011      ETH.MESH.03458022
2005   EXCEPTION 4/29/05 Video Scripts for total repair with uterine conservation and total repair with hysterectomy    1397         4/27/2005      EWH&U TVT              30           ETH.MESH.02347093      ETH.MESH.02347104
       followed by a TVT-O/Kendra Munchel                                                                                                                                  34           ETH.MESH.03458011      ETH.MESH.03458022
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Design for CD-Rom and Jewel Case/Kendra Munchel                     1398         5/11/2005      EWH&U      Prolift     30           ETH.MESH.02347105      ETH.MESH.02347107
2005   GYNCARE PROLIFT* Pelvic Floor Repair Systems Awareness Presentation/Alison London Brown                          1427         5/25/2005      EWH&U      Prolift     3                                                        ETH.MESH.00146798    ETH.MESH.00146810
2005   GYNECARE TVT* Tension-free Support for Urinary Incontinence Patient Marketing Pilot Kit/Robin Osman              1499         6/22/2005      EWH&U      TVT         30           ETH.MESH.02347108      ETH.MESH.02347114
2005   GYNECARE TVT* Obturator System Tension-free Support for Incontinence/Nancy LeClair                               1561         7/20/2005      EWH&U      TVT         30           ETH.MESH.02347115      ETH.MESH.02347122
2005   GYNECARE TVT* Tension-free Support for Incontinence Patient Testimonial Video/Robin Osman                        1562         7/20/2005      EWH&U      TVT         30           ETH.MESH.02347123      ETH.MESH.02347135
2005   “New Surgical Technique for Treatment of Stress Urinary Incontinence TVT-Obturator: New Developments and         1563         7/20/2005      EWH&U      TVT         30           ETH.MESH.02347136      ETH.MESH.02347142
       Results”/Dharini Amin
2005   GYNECARE PROLIFT* Pelvic Floor Repair System ICS Presentation/Allison London Brown                               1568         7/20/2005      EWH&U      Prolift     32                                                       ETH.MESH.02619621    ETH.MESH.02619713
2005   GYNECARE TVT* Tension-free Support for Incontinence Patient Testimonial Video & DVD Cover/Robin Osman            1611          8/3/2005      EWH&U      TVT         30           ETH.MESH.02347143      ETH.MESH.02347144
2005   GYNECARE PROLIFT* Pelvic Floor System “Turn Key” Press Kit/Jackie Jankewicz                                      1629          8/3/2005      EWH&U      Prolift     30           ETH.MESH.02347145      ETH.MESH.02347151
2005   GYNECARE TVT* Obturator System Tension Free Support for Incontinence One Year Data Newsletter/Dharini Amin       1650         8/31/2005      EWH&U      TVT         30           ETH.MESH.02347152      ETH.MESH.02347157

2005   GYNECARE TVT* Obturator System Tension Free Support for Incontinence Sales Aid/Dharini Amin                      1651         8/31/2005      EWH&U TVT              4                                                        ETH.MESH.00161949    ETH.MESH.00161950
                                                                                                                                                                                                                                    ETH.MESH.00161953    ETH.MESH.00161954
2005   GYNECARE PROLIFT* Pelvic Floor System a Pioneer in Reconstruction Surgery Article for “ETHICON TODAY”/Teresa Kyle 1652        8/31/2005      EWH&U Prolift          30           ETH.MESH.02347158      ETH.MESH.02347159

2005   “PROLIFT Mesh (GYNECARE) For Pelvic Organ Prolapse Surgical Treatment Using the TVM Group Technique: A           1742         10/5/2005      EWH&U Prolift          30           ETH.MESH.02347160      ETH.MESH.02347161
       Retrospective Study of 687 Patients” – Abstract 121 PRODUCT POINTER/Giselle Bonet
2005   “PROLIFT Mesh (GYNECARE) For Pelvic Organ Prolapse Surgical Treatment Using the TVM Group Technique: A           1743         10/5/2005      EWH&U Prolift          30           ETH.MESH.02347162      ETH.MESH.02347162
       Retrospective Study of 96 Women of less than 50 years old” – Abstract 686 PRODUCT POINTER/Giselle Bonet




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2005   “Trans-Vaginal Mesh (TVM): An Innovating Approach To Placing Synthetic Mesh Transvaginally For Surgical Correction 1744           10/5/2005   EWH&U Prolift            30           ETH.MESH.02347163      ETH.MESH.02347166
       Of Pelvic Floor Defects – Peri-Operative Safety Results” – Abstract 406 PRODUCT POINTER/Giselle Bonet

2005   “GYNECARE TVT-O Continues to Match Track Record of GYNECARE TVT” Article for “ETHICON TODAY/BrieAnn                 1745         10/5/2005      EWH&U TVT              30           ETH.MESH.02347167      ETH.MESH.02347168
       Szatikowski
2005   Images for GYNECARE PROLIFT* Anterior Pelvic Floor Repair System Presentation/Robin Osman                           1787         10/26/2005     EWH&U Prolift          30           ETH.MESH.02347169      ETH.MESH.02347174
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Patient Brochure/Robin Osman                                           1812          11/9/2005     EWH&U Prolift          30           ETH.MESH.02347175      ETH.MESH.02347181
2005   GYNECARE TVT* Obturator System Tension-free Support for Incontinence Anatomical Considerations/Price St. Hillaire   1818         11/9/2005      EWH&U TVT              30           ETH.MESH.02347182      ETH.MESH.02347197

2005   Anatomic Considerations for GYNECARE TVT* Obturator System Tension-free Support for Incontinence Approach by        1819         11/9/2005      EWH&U TVT              3                                                        ETH.MESH.00146002    ETH.MESH.00146024
       Dr. Raders Presentation/Dharini Amin
2005   Babcock Technique Script/Price St.Hilaire                                                                           1839          11/9/2005     EWH&U All              30           ETH.MESH.02347198      ETH.MESH.02347199
2005   GYNECARE PROLIFT* Pelvic Floor Repair Systems NTM Presentation/Giselle Bonet                                        1845         11/16/2005     EWH&U Prolift          3                                                        ETH.MESH.00145965    ETH.MESH.00145988
                                                                                                                                                                                                                                       ETH.MESH.00162181    ETH.MESH.00162204
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                                                                                                                                                                                                                                       ETH.MESH.00166919    ETH.MESH.00166920
2005   GYNECARE TVT Complication Data/Dharini Amin                                                                         1859         11/23/2005     EWH&U TVT              30           ETH.MESH.02347200      ETH.MESH.02347205
2005   GYNECARE PROLIFT* Pelvic Floor Repair System Product Information Pages for J&J Gateway/Teresa Kyle                  1955         12/21/2005     EWH&U Prolift          3                                                        ETH.MESH.00148362    ETH.MESH.00148363
2005   GYNECARE TVT* Tension-free Support for Incontinence Product Information Pages for J&J Gateway/Teresa Kyle           1959         12/21/2005     EWH&U TVT              4 & 32                                                   ETH.MESH.00166875    ETH.MESH.00166881
                                                                                                                                                                                                                                       ETH.MESH.00166919    ETH.MESH.00166925
                                                                                                                                                                                                                                       ETH.MESH.02619938    ETH.MESH.02619941
2005   GYNECARE TVT PCP Patient Story Flashcard/Dharini Amin                                                               1965         12/21/2005     EWH&U      TVT         30           ETH.MESH.02347206      ETH.MESH.02347207
2005   GYNECARE TVT PCP Tri-fold Invitation/Dharini Amin                                                                   1966         12/21/2005     EWH&U      TVT         30           ETH.MESH.02347208      ETH.MESH.02347209
2005   GYNECARE TVT PCP SUI Fact Sheet/Dharini Amin                                                                        1967         12/21/2005     EWH&U      TVT         30           ETH.MESH.02347210      ETH.MESH.02347214
2005   SUI Presentation/Dharini Amin                                                                                       1970         12/21/2005     EWH&U      TVT         30           ETH.MESH.02347215      ETH.MESH.02347217
2005   GYNECARE PROLIFT System Animation for media video b-roll (patient Audience)/Jackie Jankewicz                        1971         12/21/2005     EWH&U      Prolift     34                                                                                                ETH.MESH.PM.0000
                                                                                                                                                                                                                                                                                78
2005   Bonnie Blair “Breaking the Ice about SUI” campaign video message/Jackie Jankewicz                                   1972         12/21/2005     EWH&U      TVT         30           ETH.MESH.02347218      ETH.MESH.02347218
2005   Bonnie Blair “Breaking the Ice about SUI” campaign web site/Jackie Jankewicz                                        1973         12/21/2005     EWH&U      TVT         30           ETH.MESH.02347219      ETH.MESH.02347228
2005   GYNECARE TVT/TVT-O 2006 Facility and Physician Billing Guide/Christine Maroulis                                     1978         12/21/2005     EWH&U      TVT         30           ETH.MESH.02347229      ETH.MESH.02347234
2005   GYNECARE PROLIFT System and GYNECARE GYNEMESH 2006 Facility and Physician Billing Guide/Christine Maroulis          1983         12/21/2005     EWH&U      Prolift     30           ETH.MESH.02347235      ETH.MESH.02347252

2005   GYNECARE GYNEMESH Sales Aid – Annual Review/Giselle Bonet                                                           1984         12/21/2005     EWH&U Gynemes 30                    ETH.MESH.02347253      ETH.MESH.02347254
                                                                                                                                                             h
2005   GYNECARE TVT* Obturator System Presentation at ICS for Symposium/Dharini Amin                                       1368         8/17/2005      EWH&U TVT     34                    ETH.MESH.03458004      ETH.MESH.03458010
2006   GYNECARE TVT* Tension-free Support for Incontinence General Event Invitation/Dharini Amin                           2042         1/18/2006      EWH&U TVT     4                                                                 ETH.MESH.00157153    ETH.MESH.00157154
2006   The Use of Meshes in Urogynecology: An Update/Giselle Bonet                                                         2043         1/18/2006      EWH&U All     4                                                                 ETH.MESH.00157158    ETH.MESH.00157175
2006   Gynecare.com GYNECARE PROLIFT* Pelvic Floor Repair System and Prolapse Content/Robin Osman                          2044         1/18/2006      EWH&U Prolift 3                                                                 ETH.MESH.00142905    ETH.MESH.00142929
2006   GYNECARE TVT SECUR* System Press Release and Internal Communication/Jackie Jankewicz                                2081         2/1/2006       EWH&U TVTS    4                                                                 ETH.MESH.00158367    ETH.MESH.00158368
2006   GYNECARE PROLIFT* Pelvic Floor Repair System Sales Aid – Annual Review/Giselle Bonet                                2084         2/1/2006       EWH&U Prolift 34                    ETH.MESH.03460397      ETH.MESH.03460408
2006   GYNECARE TVT SECUR System Convention Panel and Journal Ad/Allison London Brown                                      2087         2/1/2006       EWH&U TVTS    3                                                                 ETH.MESH.00143568    ETH.MESH.00143569
2006   GYNECARE TVT SECUR System Sales Aid/Allison London Brown                                                            2088         2/1/2006       EWH&U TVTS    4                                                                 ETH.MESH.00158289    ETH.MESH.00158293
                                                                                                                                                                     3                                                                 ETH.MESH.00143560    ETH.MESH.00143564
2006   GYNECARE TVT SECUR System Presentation/Allison London Brown                                                         2090          2/1/2006      EWH&U TVTS    34                    ETH.MESH.03460409      ETH.MESH.03460453




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2006   Summit Meeting Topic: Anatomic Consideration for GYNECARE TVT* Obturator System Tension-free Support for           2091          2/1/2006    EWH&U TVT                4                                                        ETH.MESH.00158148    ETH.MESH.00158183
       Incontinence Approach by Dr. James Raders/Dharini Amin                                                                                                                                                                         ETH.MESH.00158184    ETH.MESH.00158219
2006   Bonnie Blair Consumer Ads/Robin Osman                                                                              2092          2/1/2006      EWH&U TVT     34                    ETH.MESH.03460454      ETH.MESH.03460456
2006   GYNECARE TVT* Tension-free Support for Incontinence Exam Room Poster/Robin Osman                                   2093          2/1/2006      EWH&U TVT     4                                                                 ETH.MESH.00158146    ETH.MESH.00158146
2006   “A Three-year Prospective Assessment of Rectocele Repair Using Porcine Xenograft” article/Giselle Bonet            2206          3/1/2006      EWH&U TVT     32                                                                ETH.MESH.02620005    ETH.MESH.02620012
2006   GYNECARE PROLIFT* Pelvic Floor Repair System Exam Room Poster/Robin Osman                                          2220          3/8/2006      EWH&U Prolift 34                    ETH.MESH.03460457      ETH.MESH.03460458
2006   GYNECARE TVT SECUR* System Professional Education Video Script – Resubmission/Dharini Amin                         2221         3/8/2006       EWH&U TVTS    4                                                                 ETH.MESH.00169670    ETH.MESH.00169676
2006   GYNECARE TVT SECUR System – Securely in Place Script/Dharini Amin                                                  2222          3/8/2006      EWH&U TVTS    4                                                                 ETH.MESH.001696681   ETH.MESH.00169681
2006   Bonnie Blair Cut Out/Robin Osman                                                                                   2223          3/8/2006      EWH&U TVT     34                    ETH.MESH.03460459      ETH.MESH.03460459
2006   Prolapse Media Briefing Materials/Jackie Jankewicz                                                                 2231         3/15/2006      EWH&U Prolift 32                                                                ETH.MESH.02619109    ETH.MESH.02619113
2006   GYNECARE PROLIFT System Procedure CD – Yearly Review/Giselle Bonet                                                 2241         3/15/2006      EWH&U Prolift 3                                                                 ETH.MESH.00142083    ETH.MESH.00142085
2006   Professional Education Module GYNECARE GYNEMESH* PS Nonabsorbable PROLENE* Soft Mesh – Yearly                      2242         3/15/2006      EWH&U Gynemes 4                                                                 ETH.MESH.00154267    ETH.MESH.00154292
       Review/Giselle Bonet                                                                                                                                 h
2006   Professional Education Module GYNECARE PROLIFT System – Yearly Review/Giselle Bonet                                2243         3/15/2006      EWH&U Prolift 34                    ETH.MESH.03460460      ETH.MESH.03460531
2006   GYNECARE PROLIFT* Pelvic Floor Repair System Mailer & Co-op Ads/Robin Osman                                        2258         3/22/2006      EWH&U Prolift 3                                                                 ETH.MESH.00148929    ETH.MESH.00148942
2006   GYNECARE PROLIFT System Anterior Mesh Implant Product Pointer/Giselle Bonet                                        2259         3/22/2006      EWH&U Prolift 3                                                                 ETH.MESH.00148944    ETH.MESH.00148946
                                                                                                                                                                                                                                      ETH.MESH.00148949    ETH.MESH.00148950
2006   GYNECARE PROLIFT System Quick Reference/Giselle Bonet                                                              2260         3/22/2006      EWH&U Prolift 3                                                                 ETH.MESH.00148952    ETH.MESH.00148953
2006   GYNECARE GYNEMESH* PS Nonabsorbable PROLENE* Soft Mesh Procedure and Anatomy Overview (Yearly                      2261         3/22/2006      EWH&U Gynemes 3                                                                 ETH.MESH.00148962    ETH.MESH.00149013
       Review)/Giselle Bonet                                                                                                                                h
2006   GYNECARE GYNEMESH PS Quick Reference/Giselle Bonet                                                                 2262         3/22/2006      EWH&U Gynemes 4                                                                 ETH.MESH.00169723    ETH.MESH.00169725
                                                                                                                                                            h                                                                         ETH.MESH.00169689    ETH.MESH.00169692
2006   GYNECARE TVT* Tension-free Support for Incontinence Quick Reference Sheet/Dharini Amin                             2264         3/22/2006      EWH&U TVT     4                                                                 ETH.MESH.00169726    ETH.MESH.00169728
                                                                                                                                                                                                                                      ETH.MESH.00169732    ETH.MESH.00169734
2006   GYNECARE TVT Sales Aid slim jim/Dharini Amin                                                                       2265         3/22/2006      EWH&U TVT     4                                                                 ETH.MESH.00169748    ETH.MESH.00169751
2006   GYNECARE TVT SECUR* System Journal Ad – Resubmission/Dharini Amin                                                  2266         3/22/2006      EWH&U TVTS    4                                                                 ETH.MESH.00169756    ETH.MESH.00169756
2006   GYNECARE TVT SECUR System Sales Aid – Resubmission/Dharini Amin                                                    2267         3/22/2006      EWH&U TVTS    4                                                                 ETH.MESH.00169769    ETH.MESH.00169777
2006   Product Pointer - GYNECARE PROLIFT* Pelvic Floor Repair System Implant vs. Perigee Implant/Giselle Bonet           2276         3/29/2006      EWH&U Prolift 4                                                                 ETH.MESH.00169981    ETH.MESH.00169986
2006   GYNECARE GYNEMESH PS NTM Presentation/Giselle Bonet                                                                2279         3/29/2006      EWH&U Gynemes 4                                                                 ETH.MESH.00169887    ETH.MESH.00169966
                                                                                                                                                            h
2006   GYNECARE PROLIFT* Pelvic Floor Repair System Co-op Ad/Robin Osman                                                  2349          4/2/2006      EWH&U Prolift 4                                                                 ETH.MESH.00156640    ETH.MESH.00156641
2006   Prolapse Press Materials/Jackie Jankewicz                                                                          2350          4/2/2006      EWH&U Prolift 3 & 32                                                            ETH.MESH.00142736    ETH.MESH.00142737
                                                                                                                                                                                                                                      ETH.MESH.02619308    ETH.MESH.02619308
2006   POP Q Cheat Sheet/Giselle Bonet                                                                                     2351         4/2/2006      EWH&U      Prolift     34           ETH.MESH.03460532      ETH.MESH.03460539
2006   GYNECARE TVT SECUR* System Global Marketing Newsletter /Allison London Brown                                        2406        4/26/2006      EWH&U      TVTS        4                                                        ETH.MESH.00164973    ETH.MESH.00164975
2006   GYNECARE TVT SECUR System Press Release and QA (Resubmission)/Jackie Jankewicz                                      2407        4/26/2006      EWH&U      TVTS        32                                                       ETH.MESH.02619893    ETH.MESH.02619894
2006   GYNECARE PROLIFT* Pelvic Floor Repair System User Forum Summary and Guiding Document/Giselle Bonet                  2409        4/26/2006      EWH&U      Prolift     4                                                        ETH.MESH.00164988    ETH.MESH.00164994
2006   POP Q PowerPoint Presentation/Giselle Bonet                                                                         2410        4/26/2006      EWH&U      Prolift     34           ETH.MESH.03460540      ETH.MESH.03460578
2006   GYNECARE TVT* Tension-free Support for Incontinence vs. SPARC Clinical/ Price St. Hilaire                           2455        5/10/2006      EWH&U      TVT         4                                                        ETH.MESH.00166391    ETH.MESH.00166396
2006   GYNECARE TVT Exam Room Poster – Co op Version/Robin Osman                                                           2456        5/10/2006      EWH&U      TVT         3                                                        ETH.MESH.00147748    ETH.MESH.00147748
2006   ARTICLE REPRINT: Pelvic Organ Prolapse: Which Operation for which Patient?/Giselle Bonet                            2529        5/24/2006      EWH&U      Prolift     4                                                        ETH.MESH.00157106    ETH.MESH.00157114
2006   ARTICLE REPRINT: Early U.S. Experience with Vaginal Extraperitoneal Colpopexy Using a Polypropylene Graft (PROLIFT) 2530        5/24/2006      EWH&U      Prolift     4                                                        ETH.MESH.00157116    ETH.MESH.00157117
       For the Treatment of Pelvic Organ Prolapse/Giselle Bonet
2006   ARTICLE REPRINT: Anatomical Conditions for Pelvic Floor Reconstruction with Polypropylene Implant and its           2531        5/24/2006      EWH&U Prolift          4                                                        ETH.MESH.00157119    ETH.MESH.00157130
       Application for the Treatment of Vaginal Prolapse/Giselle Bonet
2006   Product Pointer: Preclinical Q&A for GYNECARE TVT SECUR* System/Dharini Amin                                        2532        5/24/2006      EWH&U TVTS             4                                                        ETH.MESH.00157132    ETH.MESH.00157133
2006   Incontinence & GYNECARE TVT* Tension-free Support for Incontinence FAQs/Robin Osman                                 2535        5/24/2006      EWH&U TVT              32                                                       ETH.MESH.02619360    ETH.MESH.02619366
2006   Prolapse & GYNECARE PROLIFT* Pelvic Floor Repair System FAQs/Robin Osman                                            2565        6/7/2006       EWH&U Prolift          3                                                        ETH.MESH.00145009    ETH.MESH.00145016
                                                                                                                                                                                                                                      ETH.MESH.00144997    ETH.MESH.00145005



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                                                                                                                                         Date                                           Bates                  Bates
2006   GYNECARE TVT* Tension-Free Support for Incontinence Complication Data/Dharini Amin                               2568           6/7/2006     EWH&U      TVT         34           ETH.MESH.03460579      ETH.MESH.03460600
2006   GYNECARE TVT SECURE* System Procedural Step Guidelines/Dharini Amin                                              2569           6/7/2006     EWH&U      TVTS        34           ETH.MESH.03460601      ETH.MESH.03460618
2006   GYNECARE TVT Global Logo/Icon/Dharini Amin                                                                       2570           6/7/2006     EWH&U      TVT         34           ETH.MESH.03460619      ETH.MESH.03460619
2006   GYNECARE TVT SECUR* System eLearning Modules/Allison London Brown                                                2590          6/21/2006     EWH&U      TVTS        4&3                                                      ETH.MESH.00167032    ETH.MESH.00167069
                                                                                                                                                                                                                                    ETH.MESH.00148417    ETH.MESH.00148419
2006   GYNECARE TVT* Tension-free Support for Incontinence – Laser cut Mesh Surgeon Evaluation Form/Price St. Hilaire   2591         6/21/2006      EWH&U TVT              4                                                        ETH.MESH.00167091    ETH.MESH.00167093
                                                                                                                                                                                                                                    ETH.MESH.00167094    ETH.MESH.00167096
                                                                                                                                                                                                                                    ETH.MESH.00167097    ETH.MESH.00167099
2006   GYNECARE TVT* Tension-free Support for Incontinence – Laser Cut Mesh Product Pointer/Price St. Hilaire           2592         6/21/2006      EWH&U TVT              4                                                        ETH.MESH.00167103    ETH.MESH.00167103
                                                                                                                                                                                                                                    ETH.MESH.00167112    ETH.MESH.00167112
                                                                                                                                                                                                                                    ETH.MESH.00167103    ETH.MESH.00167103
                                                                                                                                                                                                                                    ETH.MESH.00167112    ETH.MESH.00167112
                                                                                                                                                                                                                                    ETH.MESH.00167119    ETH.MESH.00167119
2006   GYNECARE PROLIFT* System recognized for design excellence/BrieAnn Szatkowski                                     2618         7/12/2006      EWH&U Prolift          3                                                        ETH.MESH.00147934    ETH.MESH.00147935
                                                                                                                                                                                                                                    ETH.MESH.00148022    ETH.MESH.00148023
                                                                                                                                                                                                                                    ETH.MESH.00148025    ETH.MESH.00148026
2006   GYNECARE TVT Patient Brochure/Robin Osman                                                                        2620         7/12/2006      EWH&U      TVT         4                                                        ETH.MESH.00166617    ETH.MESH.00166632
2006   GYNECARE PROLIFT* Booth Graphic/Linda Linton                                                                     2623         7/12/2006      EWH&U      Prolift     3                                                        ETH.MESH.00147952    ETH.MESH.00147953
2006   GYNECARE TVT* Obutrator System Tension-free Support for Incontinence Booth Graphic/Linda Linton                  2624         7/12/2006      EWH&U      TVT         4                                                        ETH.MESH.00166668    ETH.MESH.00166668
2006   Bonnie Blair Booth Graphic/Linda Linton                                                                          2625         7/12/2006      EWH&U      TVT         34           ETH.MESH.03460620      ETH.MESH.03460620
2006   GYNECARE TVT SECUR* System Professional Education Presentation/Dharini Ami                                       2626         7/12/2006      EWH&U      TVTS        4                                                        ETH.MESH.00147957    ETH.MESH.00147985
                                                                                                                                                                                                                                    ETH.MESH.00166670    ETH.MESH.00166683
2006   GYNECARE TVT SECUR System Objection Handlers for Sales Reps/Dharini Amin                                         2627         7/12/2006      EWH&U TVTS             4                                                        ETH.MESH.00166688    ETH.MESH.00166691
2006   GYNECARE TVT SECUR System R&D Presentation/Dharini Amin                                                          2628         7/12/2006      EWH&U TVTS             4                                                        ETH.MESH.00166692    ETH.MESH.00166705
                                                                                                                                                                                                                                    ETH.MESH.00147994    ETH.MESH.00148018
2006   GYNECARE TVT SECUR System Professional Education CD-Rom/Allison London Brown/Dharini Amin                        2629         7/12/2006      EWH&U TVTS             25                                                                                                ETH.MESH.PM.0000
                                                                                                                                                                                                                                                                             67
2006   GYNECARE TVT SECUR* Sales Aid (Resubmission)/Linda Linton                                                        2695         8/16/2006      EWH&U TVTS             4                                                        ETH.MESH.00165358    ETH.MESH.00165365
2006   GYNECARE TVT SECUR Web Site for jnjgateway.com/Linda Linton                                                      2696         8/16/2006      EWH&U TVTS             3                                                        ETH.MESH.00147399    ETH.MESH.00147400
2006   GYNECARE TVT SECUR Press Materials/Jackie Russo-Jankewicz                                                        2697         8/16/2006      EWH&U TVTS             3                                                        ETH.MESH.00147409    ETH.MESH.00147413
                                                                                                                                                                           4                                                        ETH.MESH.00165404    ETH.MESH.00165409
2006   GYNECARE TVT* Tension-free Support for Incontinence Self Quiz/Robin Osman                                        2803         9/13/2006      EWH&U TVT              32                                                       ETH.MESH.02619718    ETH.MESH.02619719
2006   GYNECARE TVT SECUR* System Website and Related Link Pages for jnjgateway.com/Linda Linton                        2805         9/13/2006      EWH&U TVTS             3                                                        ETH.MESH.00144955    ETH.MESH.00144959
                                                                                                                                                                           4                                                        ETH.MESH.00160559    ETH.MESH.00160567
2006   GYNECARE PROLIFT* Convention Panel/Linda Linton                                                                  2806         9/13/2006      EWH&U Prolift          3                                                        ETH.MESH.00144961    ETH.MESH.00144962
2006   GYNECARE TVT* Tension-free Support for Incontinence Patient Brochure/Robin Osman                                 2836         9/27/2006      EWH&U TVT              4                                                        ETH.MESH.00162841    ETH.MESH.00162856
                                                                                                                                                                                                                                    ETH.MESH.00162857    ETH.MESH.00162871
2006   GYNECARE PROLIFT* Pelvic Floor Repair System Booth Graphics/Linda Linton                                         2837          9/27/2006     EWH&U Prolift          3                                                        ETH.MESH.00146315    ETH.MESH.00146316
2006   Pelvic Organ Prolapse Pocket Reference Guide/Price St. Hillaire                                                  2842          9/27/2006     EWH&U Prolift          32                                                       ETH.MESH.02619846    ETH.MESH.02619862
2006   Renewal of GYNECARE PROLIFT* Pelvic Floor System Web Site per the content expiration project and copy            2866         10/11/2006     EWH&U Prolift          4                                                        ETH.MESH.00165414    ETH.MESH.00165417
       review/Price St. Hilaire
2006   Renewal of GYNECARE TVT* Tension-Free Support for Incontinence Web Site per the content expiration project and   2875         10/11/2006     EWH&U TVT              4                                                        ETH.MESH.00158878    ETH.MESH.00158892
       copy review/Dharini Amin
2006   GYNECARE TVT for Incontinence Web Site on gynecare.com/Robin Osman                                               2876         10/11/2006     EWH&U      TVT         3                                                        ETH.MESH.00144070    ETH.MESH.00144089
2006   AUGS Video Loop/Linda Linton                                                                                     2879         10/11/2006     EWH&U      All         34           ETH.MESH.03460621      ETH.MESH.03460639
2006   IUGA Abstract on GYNECARE PROLIFT* Family of Pelvic Floor Repair Systems/Price St. Hilaire                       2882         10/25/2006     EWH&U      Prolift     4                                                        ETH.MESH.00157094    ETH.MESH.00157096
2006   GYNECARE TVT SECUR* System Procedural Pearls and FAQ/Dharini Amin                                                2892         10/25/2006     EWH&U      TVTS        4                                                        ETH.MESH.00157028    ETH.MESH.00157035
                                                                                                                                                                                                                                    ETH.MESH.00157010    ETH.MESH.00157015




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2006   GYNECARE GYNEMESH* Slim Jim/Price St. Hilaire                                                                2894         10/25/2006   EWH&U Gynemes 4                                                              ETH.MESH.00157044    ETH.MESH.00157051
                                                                                                                                                       h
2006   TVM Technique Mesh Management & Risk Factors/ Price St. Hilaire                                              2895         10/25/2006   EWH&U Prolift  4                                                             ETH.MESH.00157085    ETH.MESH.00157091
2006   GYNECARE PROLIFT* Pelvic Floor Repair Systems Patient Brochure/Robin Osman                                   2938         11/15/2006   EWH&U Prolift  3                                                             ETH.MESH.00147236    ETH.MESH.00147251
2006   GYNECARE PROLIFT Complications/Price St. Hilaire                                                             2939         11/15/2006   EWH&U Prolift  4                                                             ETH.MESH.00165062    ETH.MESH.00165063
2006   GYNECARE TVT Tension-free Support for Incontinence Patient Ad/Robin Osman                                    2985         11/29/2006   EWH&U TVT      34                ETH.MESH.03460640      ETH.MESH.03460640
2006   Gynecare.com Conditions Page/Robin Osman                                                                     3002          12/6/2006   EWH&U All      3                                                             ETH.MESH.00149083    ETH.MESH.00149083
2006   New GYNECARE PROLIFT* Pelvic Floor Systems Sales Aid/Price St. Hilaire                                       3004          12/6/2006   EWH&U Prolift  4                                                             ETH.MESH.00161467    ETH.MESH.00161469
2006   GYNECARE PROLIFT Professional Ad/Price St. Hilaire                                                           3005          12/6/2006   EWH&U Prolift  4                                                             ETH.MESH.00161490    ETH.MESH.00161490
2006   GYNECARE TVT* Obutrator Procedure Steps/Dharini Amin                                                         3008          12/6/2006   EWH&U TVT      4                                                             ETH.MESH.00161503    ETH.MESH.00161505
2006   GYNECARE TVT Family of Products Slim Jim Brochure/Dharini Amin                                               3009          12/6/2006   EWH&U TVT      4                                                             ETH.MESH.00161512    ETH.MESH.00161513
2006   GYNECARE TVT* Tension-free Support for Incontinence/Robin Osman                                              3040         12/13/2006   EWH&U TVT      3                                                             ETH.MESH.00145812    ETH.MESH.00145818
                                                                                                                                                                                                                           ETH.MESH.00145811    ETH.MESH.00145811
                                                                                                                                                                                                                           ETH.MESH.00145807    ETH.MESH.00145810
2006   Pay Per click campaign for Gynecare.com/Jennifer Paradise                                                    3041         12/13/2006    EWH&U TVT     32                                                            ETH.MESH.02620013    ETH.MESH.02620029
2006   GYNECARE PROLIFT* Pelvic Floor Repair Systems/Price St.Hilaire                                               3068         12/20/2006    EWH&U Prolift 4                                                             ETH.MESH.00161176    ETH.MESH.00161200
2006   GYNECARE GYNEMESH* PS Nonabsorbable PROLENE* Soft Mesh in the Treatment of Pelvic Organ Prolapse             3069         12/20/2006    EWH&U Gynemes 3                                                             ETH.MESH.00143423    ETH.MESH.00143456
                                                                                                                                                     h
2006   PROLIFT 110 Patient Study Cosson/Price St. Hilaire                                                            3070        12/20/2006    EWH&U Prolift 4 & 34            ETH.MESH.03460641      ETH.MESH.03460697    ETH.MESH.00157636    ETH.MESH.00157645
2006   ETHICON Women’s Health & Urology Pre-Study Program: Module 3, Incontinence and TVT Franchise/Melissa Hoepfner 3071        12/20/2006    EWH&U TVT     4 & 34                                                        ETH.MESH.00157699    ETH.MESH.00157747
                                                                                                                                                                               ETH.MESH.03460698      ETH.MESH.03460760
2006   Regional Booth Panel for GYNECARE TVT* Family of products/Linda Linton                                       3076         12/20/2006    EWH&U TVT              32                                                   ETH.MESH.00143457    ETH.MESH.00143457
                                                                                                                                                                                                                           ETH.MESH.02619389    ETH.MESH.02619389
                                                                                                                                                                                                                           ETH.MESH.02619390    ETH.MESH.02619390
2006   New GYNECARE PROLIFT* Pelvic Floor Systems Sales Aid/Price St. Hilaire                                       3004         12/6/2006     EWH&U Prolift          4                                                    ETH.MESH.00161467    ETH.MESH.00161469
                                                                                                                                                                                                                           ETH.MESH.00145503    ETH.MESH.00145504
2007   GYNECARE TVT* Obturator Professional CD Rom/Dharini Amin                                                     3102         1/17/2007     EWH&U      TVT         4 & 34   ETH.MESH.03460761      ETH.MESH.03460798    ETH.MESH.00166108    ETH.MESH.00166126
2007   GYNECARE TVT* 2007 Facility and Physician Billing Guide/Christine Maroulis                                   3104         1/17/2007     EWH&U      TVT         32                                                   ETH.MESH.02619897    ETH.MESH.02619898
2007   GYNECARE PROLIFT* 2007 Facility and Physician Billing Guide/Christine Maroulis                               3106         1/17/2007     EWH&U      Prolift     32                                                   ETH.MESH.02619899    ETH.MESH.02619900
2007   GYNECARE PROLIFT* Pelvic Floor Repair System Print Ad/Robin Osman                                            3110         1/17/2007     EWH&U      Prolift     3                                                    ETH.MESH.00147654    ETH.MESH.00147654
                                                                                                                                                                                                                           ETH.MESH.00147655    ETH.MESH.00147657
2007   GYNECARE PROLIFT* Pelvic Floor Repair Systems Radio Ad/Robin Osman                                           3111         1/17/2007     EWH&U      Prolift     3                                                    ETH.MESH.00147662    ETH.MESH.00147663
2007   GYNECARE TVT* Family of Products Ad/Robin                                                                    3124         1/24/2007     EWH&U      TVT         4                                                    ETH.MESH.00155330    ETH.MESH.00155330
2007   GYNECARE TVT* SECURE System Co-Op Ads/ Robin Osman                                                           3133         1/31/2007     EWH&U      TVTS        4 & 34   ETH.MESH.03460799      ETH.MESH.03460800    ETH.MESH.00155335    ETH.MESH.00155336
2007   GYNECARE TVT* Self Quiz Part of Two-page Print Ad/Robin Osman                                                3134         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155352    ETH.MESH.00155352
2007   GYNECARE TVT* Tension Free Support for Incontinence gynecare.com pages/Robin Osman                           3138         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155362    ETH.MESH.00155366
2007   GYNECARE PROLIFT* gynecare.com page/Robin Osman                                                              3139         1/31/2007     EWH&U      Prolift     4                                                    ETH.MESH.00155381    ETH.MESH.00155383
2007   Summit Meeting Presentation –TVT & Mix Urinary Incontinence Study/Dharini Amin                               3141         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155397    ETH.MESH.00155412
2007   Clinical Article – Urinary Incontinence: Webber Article/Joy Hovsepian                                        3146         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155422    ETH.MESH.00155426
2007   Clinical Article –Female Sexual Functions after Surgery: TOT vs TVT-O/Joy Hovsepian                          3147         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155438    ETH.MESH.00155444
2007   Clinical Article – TVT vs Monarc: Urethral Closure Presser/Joy Hovsepian                                     3148         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155471    ETH.MESH.00155476
2007   Clinical Article – TVTO vs. TVT 1Year Follow-up/Joy Hovsepian                                                3149         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155490    ETH.MESH.00155494
2007   Clinical Article – TVT vs TVT-O rct: Professor Nilsson/Joy Hovsepian                                         3150         1/31/2007     EWH&U      TVT         4                                                    ETH.MESH.00155509    ETH.MESH.00155516
2007   GYNECARE PROLIFT* Pelvic Floor Repair Systems Radio Ad/Robin Osman                                           3162          2/7/2007     EWH&U      Prolift     3                                                    ETH.MESH.00142445    ETH.MESH.00142446
2007   GYNECARE TVT* SECUR Patient Mailer/Robin Osman                                                               3163          2/7/2007     EWH&U      TVTS        3                                                    ETH.MESH.00142449    ETH.MESH.00142451
2007   SUI Awareness Campaign Materials/Jackie Russo-Jankewicz                                                      3164          2/7/2007     EWH&U      TVT         34       ETH.MESH.03460801      ETH.MESH.03460808
2007   GYNECARE PROLAPSE* Patient Brochure/Jackie Russo-Jankewicz                                                   3165          2/7/2007     EWH&U      Prolift     4                                                    ETH.MESH.00155577    ETH.MESH.00155585
2007   Pelvic Floor Academy (PFA) Poster                                                                            3166          2/7/2007     EWH&U      Prolift     3                                                    ETH.MESH.00142458    ETH.MESH.00142458
2007   Breaking the Ice About SUI Local Market Press Release/Pitch Letters/Jackie Jankewicz                         3181         2/14/2007     EWH&U      TVT         4                                                    ETH.MESH.00160761    ETH.MESH.00160770



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2007   GYNECARE PROLIFT* Pelvic Floor Repair System Co-op Ads/Robin Osman                                          3182          2/14/2007   EWH&U Prolift            34           ETH.MESH.03460809      ETH.MESH.03460812
2007   GYNECARE TVT* Tension Free Support For Incontinence Print Co-op Ads/Robin Osman                             3185          2/14/2007   EWH&U TVT                4                                                        ETH.MESH.00160791    ETH.MESH.00160792
                                                                                                                                                                                                                               ETH.MESH.00160793    ETH.MESH.00160793
                                                                                                                                                                                                                               ETH.MESH.00160794    ETH.MESH.00160794
2007   GYNECRE PROLIFT Safety Study/Price St. Hilaire                                                              3186         2/14/2007      EWH&U Prolift          4&3                                                      ETH.MESH.00160801    ETH.MESH.00160807
                                                                                                                                                                                                                               ETH.MESH.00145221    ETH.MESH.00145221
2007   ETHICON Women’s Health & Urology Pre-Study Program – Module 3, Incontinence and TVT Franchise (Version 3)   3199         2/21/2007      EWH&U TVT              3                                                        ETH.MESH.00143321    ETH.MESH.00143368
       Melissa Hoepfner
2007   PROLAPSE/SUI Web Sites for Patients/Jackie Russo-Janckewicz                                                 3220         2/28/2007      EWH&U      Prolift     32                                                       ETH.MESH.02619921    ETH.MESH.02619937
2007   PROLAPSE Press Materials/Jackie Jankewicz                                                                   3238          3/7/2007      EWH&U      Prolift     32                                                       ETH.MESH.02619372    ETH.MESH.02619376
2007   PROLAPSE/SUI Patient Seminar Presentation/Jackie Jankewicz                                                  3239          3/7/2007      EWH&U      Prolift     3                                                        ETH.MESH.00142997    ETH.MESH.00143058
2007   GYNECARE PROFLIFT* Pelvic Floor Repair System Physician Locator Sign Up Form/Robin Osman                    3240          3/7/2007      EWH&U      Prolift     3                                                        ETH.MESH.00143121    ETH.MESH.00143122
2007   Ethicon Women’s Health & Urology Pre-Study Program – Module 4 – PROLAPSE/Melissa Hoepfner                   3285         3/21/2007      EWH&U      Prolift     3                                                        ETH.MESH.00146824    ETH.MESH.00146881
2007   PROLIFT Updated Complication Statement/Price St. Hilaire                                                    3303         3/21/2007      EWH&U      Prolift     3                                                        ETH.MESH.00147687    ETH.MESH.00147687
2007   PROLAPE* Pitch Letter/Jackie Russ-Janckewicz                                                                3304         3/21/2007      EWH&U      Prolift     3                                                        ETH.MESH.00147673    ETH.MESH.00147673
2007   PROLAPE* Pitch Letter/Jackie Russ-Janckewicz                                                                3305         3/21/2007      EWH&U      Prolift     4                                                        ETH.MESH.00166230    ETH.MESH.00166230
2007   GYNECARE TVT* SECUR Key Technical Points/Dharini Amin                                                       3310         3/21/2007      EWH&U      TVTS        4                                                        ETH.MESH.00166237    ETH.MESH.00166241
2007   Urology Times Supplement/Price St. Hilaire                                                                  3347         3/28/2007      EWH&U      All         4                                                        ETH.MESH.00155130    ETH.MESH.00155141
2007   GYNECARE PROLIFT* Surgeon Resource Monograph/Price St. Hilaire                                              3387          4/4/2007      EWH&U      Prolift     34           ETH.MESH.03460813      ETH.MESH.03460884
2007   GYNECARE TVT* SECUR System Professional Education Outline/Joy Hovsepian                                     3418         4/11/2007      EWH&U      TVTS        3                                                        ETH.MESH.00146456    ETH.MESH.00146456
2007   GYNECARE SECUR System Clinical Data//Joy Hovsepeian                                                         3419         4/11/2007      EWH&U      TVTS        3                                                        ETH.MESH.00146451    ETH.MESH.00146451
2007   GYNECARE PROLIFT Procedural DVD/Price St. Hilaire                                                           3485         4/18/2007      EWH&U      Prolift     34           ETH.MESH.03460885      ETH.MESH.03460911
2007   GYNECARE PROLIFT Awareness Presentation/Price St. Hilaire                                                   3486         4/18/2007      EWH&U      Prolift     34           ETH.MESH.03460912      ETH.MESH.03460940
2007   GYNECARE TVT* SECUR Key Technical Guide – Resubmission/Dharini Amin                                         3503         4/18/2007      EWH&U      TVTS        4                                                        ETH.MESH.00163952    ETH.MESH.00163960
2007   AUA PROLIFT Presentation/Price St. Hilaire                                                                  3570          5/9/2007      EWH&U      Prolift     3                                                        ETH.MESH.00147356    ETH.MESH.00147373
2007   Video – Pelvic Floor Repair – Dr. Douglas M. Van Drie/Bart Pattyson                                         3571          5/9/2007      EWH&U      Prolift     34           ETH.MESH.03460941      ETH.MESH.03460970
2007   GYNECARE TVT* Tension-free Support for Incontinence MUZAK on Hold/Robin Osman                               3596         5/16/2007      EWH&U      TVT         4                                                        ETH.MESH.00157860    ETH.MESH.00157865
                                                                                                                                                                                                                               ETH.MESH.00157852    ETH.MESH.00157856
2007   AUA Banner for Wall of Evidence/Giselle Bonet                                                               3600         5/16/2007      EWH&U All              32                                                       ETH.MESH.02619391    ETH.MESH.02619391
2007   Understanding the Female Patient – AUA In-Booth Presentation – Dr. Kavaler/Giselle Bonet                    3601         5/16/2007      EWH&U All              34           ETH.MESH.03460971      ETH.MESH.03460988
2007   Prof Ed Web Site Write Up – Pelvic Organ Prolapse/Ivan Raupp                                                3629         5/23/2007      EWH&U Prolift          3                                                        ETH.MESH.00143475    ETH.MESH.00143476
                                                                                                                                                                                                                               ETH.MESH.00143477    ETH.MESH.00143478
2007   GYNECARE PROLIFT 2007 Facility and Physician Billing Guide (Revised)/Christine Maroulis                     3633         5/23/2007      EWH&U      Prolift     4                                                        ETH.MESH.00157879    ETH.MESH.00157881
2007   GYNECARE PROLIFT* Convention Panel Update/Linda Linton                                                      3638         5/23/2007      EWH&U      Prolift     32                                                       ETH.MESH.02619401    ETH.MESH.02619401
2007   GYNECARE PROLIFT Systems Convention Panel/Merrill Eppedio                                                   3639         5/23/2007      EWH&U      Prolift     3                                                        ETH.MESH.00143468    ETH.MESH.00143469
2007   GYNECARE Logo Graphic/Merrill Eppedio                                                                       3640         5/23/2007      EWH&U      All         34           ETH.MESH.03460989      ETH.MESH.03460989
2007   GYNECARE TVT Family of Products Convention Panel                                                            3641         5/23/2007      EWH&U      TVT         3                                                        ETH.MESH.00143470    ETH.MESH.00143470
2007   GYNECARE TVT Tension-free Support for Incontinence Patient Brochure (not including TVT SECUR)/Robin Osman   3673         5/30/2007      EWH&U      TVTS        4                                                        ETH.MESH.00163582    ETH.MESH.00163597

2007   GYNECARE TVT Tension-free Support for Incontinence Patient Brochure (including TVT SECUR)/Robin Osman       3674         5/30/2007      EWH&U      TVTS        4                                                        ETH.MESH.00163644    ETH.MESH.00163659
2007   Pelvic Health Consumer Education Brochure Submitted as ACCEPT or REJCT/Jackie Russo Jankewicz               3697         6/6/2007       EWH&U      Prolift     34           ETH.MESH.03460990      ETH.MESH.03460997
2007   Gynecare.com On Line Survey/Lauren Taveroni                                                                 3701         6/6/2007       EWH&U      All         34           ETH.MESH.03460998      ETH.MESH.03461003
2007   PROLIFT Pelvic Floor Repair System Exam Room Poster/Robin Osman                                             3723         6/13/2007      EWH&U      Prolift     3                                                        ETH.MESH.00144978    ETH.MESH.00144978
2007   Prof Ed Web Site (Disease States) Clinical Focus Write-Up: Pelvic Organ Prolapse/Dana Matthews              3747         6/20/2007      EWH&U      Prolift     32                                                       ETH.MESH.02619305    ETH.MESH.02619307
2007   Prof Ed Web Site (Disease States) Clinical Focus Write Up: Female Urinary Incontinence/Dan Matthews         3748         6/20/2007      EWH&U      TVT         32                                                       ETH.MESH.02619301    ETH.MESH.02619304
2007   Update to www.beatprolapse.com/ Jackie Jankewicz                                                            3753         6/20/2007      EWH&U      Prolift     32                                                       ETH.MESH.02619293    ETH.MESH.02619293
2007   GYNECARE PROLIFT Patient Mailer/Robin Osman                                                                 3790         7/11/2007      EWH&U      Prolift     32                                                       ETH.MESH.02619294    ETH.MESH.02619298




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2007   GYNECARE TVT SECUR Rebuttal versus AMS MiniArc word Document, PowerPoint Summary & Clinical Articles as back   3791             7/11/2007   EWH&U TVTS               3                                                        ETH.MESH.00142711    ETH.MESH.00142712
       up support based on IUGA Abstracts/Joy Hovsepian                                                                                                                     3                                                        ETH.MESH.00142718    ETH.MESH.00142727
                                                                                                                                                                            4                                                        ETH.MESH.00156532    ETH.MESH.00156537

2007   TVT SECUR Sales Aid Brochure/Joy Hovsepian                                                                     3835            7/25/2007      EWH&U TVTS             4                                                        ETH.MESH.00166287    ETH.MESH.00166291
2007   GYNECARE PROLIFT Pelvic Floor Repair System Patient Testimonial Video/Robin Osman                              3851            8/1/2007       EWH&U Prolift          3                                                        ETH.MESH.00147704    ETH.MESH.00147704
                                                                                                                                                                            4                                                        ETH.MESH.00166276    ETH.MESH.00166285
                                                                                                                                                                            3                                                        ETH.MESH.00147702    ETH.MESH.00147703

2007   Annual Renewal and Updates to www.gynecare.com/ Lauren Taveroni                                                3853             8/1/2007      EWH&U      All         32                                                       ETH.MESH.02619901    ETH.MESH.02619905
2007   GYNECARE TVT Patient Education Model/Joy Hovsepian                                                             3864             8/8/2007      EWH&U      TVT         34           ETH.MESH.03461004      ETH.MESH.03461014
2007   GYNECARE PROLIFT Patient Testimonial DVD/Robin Osman                                                           3909            8/22/2007      EWH&U      Prolift     4                                                        ETH.MESH.00166780    ETH.MESH.00166788
2007   GYNECARE TVT SECUR Professional Education Presentation – for Medtronic/EWH&U Prof Ed Pilot Program/Dharini     3913            8/22/2007      EWH&U      TVTS        4                                                        ETH.MESH.00166789    ETH.MESH.00166800
       Amin
2007   GYNECARE TVT SECUR Professional Education Presentation/Dharini Amin                                            3914            8/22/2007      EWH&U      TVTS        4                                                        ETH.MESH.00166805    ETH.MESH.00166824
2007   Best Options, Techniques, and Coding Tips for Pelvic Prolapse Repair/Price St. Hilaire                         3932            8/29/2007      EWH&U      Prolift     4                                                        ETH.MESH.00168878    ETH.MESH.00168889
2007   What’s Happening Down There? Booth Graphics and Postcards/Megan Osorio                                         4001            9/19/2007      EWH&U      All         32                                                       ETH.MESH.02619996    ETH.MESH.02619997
2007   GYNECARE TVT Family of Products Patient Mailer/Robin Osman                                                     4022            9/26/2007      EWH&U      TVT         3                                                        ETH.MESH.00148764    ETH.MESH.00148767
2007   GYNECARE PROLIFT +M Teaser Ad/Linda Linton                                                                     4023            9/26/2007      EWH&U      Prolift     32                                                       ETH.MESH.02620000    ETH.MESH.02620001
2007   Annual Review of GYNECARE TVT SECUR* System Web Site on www.jnjgateway.com/                                    4044            10/3/2007      EWH&U      TVTS        3                                                        ETH.MESH.00148798    ETH.MESH.00148803
                                                                                                                                                                            4                                                        ETH.MESH.00168615    ETH.MESH.00168615
2007   Annual Review of GYNECARE TVT* Tension-free Support for Incontinence Web Site on www.jnjgateway.com/ Linda     4045            10/3/2007      EWH&U TVT              34
       Linton                                                                                                                                                                            ETH.MESH.03461015      ETH.MESH.03461036
2007   Annual Review of ETHICON Women’s Health & Urology Franchise Home Page, Women’s Health & Urology Microsites,    4046            10/3/2007      EWH&U All              34
       and Contact Us Form on www.jnjgateway.com/ Linda Linton                                                                                                                           ETH.MESH.03461037      ETH.MESH.03461055
2007   Annual Review of GYNECARE PROLIFT* Pelvic Floor Repair System Web Site on www.jnjgateway.com/ Linda Linton     4049            10/3/2007      EWH&U Prolift          34
                                                                                                                                                                                         ETH.MESH.03461056      ETH.MESH.03461072
2007   Prof Ed Web Site Field Sales Overview Presentation/Dana Matthews                                               4098            10/17/2007     All                    32                                                       ETH.MESH.02619531    ETH.MESH.02619554
2007   GYNECARE PROLIFT User Forum Summary and Guiding Document/Tracy Boyle                                           4102            10/17/2007     EWH&U Prolift          4                                                        ETH.MESH.00159371    ETH.MESH.00159394
2007   Anatomical Conditions for Pelvic Floor Reconstruction with Polypropylene Implant and its Application for the   4103            10/17/2007     EWH&U Prolift          3                                                        ETH.MESH.00144187    ETH.MESH.00144192
       Treatment of Vaginal Prolapse/Tracy Boyle
2007   Pelvic Organ Prolapse Pocket Reference Guide/Tracy Boyle                                                       4104            10/17/2007     EWH&U Prolift 4                                                                 ETH.MESH.00159110    ETH.MESH.00159126
2007   GYNECARE GYNEMESH* PS Nonabsorbable PROLENE* Soft Mesh in the Treatment of Pelvic Organ Prolapse/Tracy         4120            10/31/2007     EWH&U Gynemes 4                                                                 ETH.MESH.00159159    ETH.MESH.00159265
       Boyle                                                                                                                                               h
2007   GYNECARE TVT* Tension Free-free Support For Incontinence Call Center FAQs/Robin Osman                          4142             11/7/2007     EWH&U TVT     3                                                                 ETH.MESH.00146355    ETH.MESH.00146361
2007   PROLIFT Call Center FAQs/Robin Osman                                                                           4143             11/7/2007     EWH&U Prolift 3                                                                 ETH.MESH.00146364    ETH.MESH.00146371
2007   GYNECARE TVT SECUR Critical Steps Outline/Joy de los Reyes                                                     4144             11/7/2007     EWH&U TVTS    3                                                                 ETH.MESH.00146392    ETH.MESH.00146393
2007   Wal Mart Poster/flyers SUI/Devon Prutzman                                                                      4163            11/14/2007     EWH&U TVT     32                                                                ETH.MESH.02619865    ETH.MESH.02619866
2007   Wal Mart Posters/flyers Prolapse Devon Prutzman                                                                4164            11/14/2007     EWH&U Prolift 32                                                                ETH.MESH.02619867    ETH.MESH.02619868
2007   GYECARE TVT & Obtruator Quick Reference Guide/Joy de los Reyes                                                 4209            11/28/2007     EWH&U TVT     32                                                                ETH.MESH.02619836    ETH.MESH.02619837
2007   GYNECARE TVT SECUR Quick Reference Guide                                                                       4210            11/28/2007     EWH&U TVTS    4                                                                 ETH.MESH.00161892    ETH.MESH.00161894
2007   GYNECARE TVT* Quick Reference Guide                                                                            4211            11/28/2007     EWH&U TVT     3                                                                 ETH.MESH.00145736    ETH.MESH.00145737
2007   GYNECARE TVT* Tension Free Support for Incontinence Family of Products Convention Panel/Linda Linton           4289            12/19/2007     EWH&U TVT     3                                                                 ETH.MESH.00146207    ETH.MESH.00146207
2007   PROLIFT Value Dossier for US/Vanja Sikricia                                                                    4293            12/19/2007     EWH&U Prolift 3                                                                 ETH.MESH.00146270    ETH.MESH.00146308
2007   GYNECARE PROLIFT* Pelvic Floor Repair System Convention Panel/Linda Linton                                     4295            12/19/2007     EWH&U Prolift 3                                                                 ETH.MESH.00146309    ETH.MESH.00146309
2007   Clinical Article – TVT vs TVT-O rct: Professor Nilsson/Joy Hovsepian                                           3150             1/31/2007     EWH&U TVT     4                                                                 ETH.MESH.00155509    ETH.MESH.00155516
2007   ETHICON Women’s Health & Urology Pre-Study Program – Module 3, Incontinence and TVT Franchise (Version 3)      3199            2/21/2007      EWH&U Prolift 3                                                                 ETH.MESH.00143321    ETH.MESH.00143368
       Melissa Hoepfner                                                                                               (orig. 3071)




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2007   GYNECARE PROLIFT* Surgeon Resource Monograph/Price St. Hilaire                                                   3387          4/4/2007    EWH&U TVT                3                                                        ETH.MESH.00144935    ETH.MESH.00144947
                                                                                                                        (6068)
2007   GYNECARE Prolift Update on Outcome/Tracy Boyle                                                                   4148         11/7/2007      EWH&U TVT              34           ETH.MESH.03461073      ETH.MESH.03461142
2008   GYENCARE TVT Tension-free Support for Incontinence/GYNECARE PROLIFT Pelvic Floor Repair Mix and Match co op Ad 2008-0679      5/28/2008      EWH&U TVT              4                                                        ETH.MESH.00158400    ETH.MESH.00158400
       Summary Sheet/Robin Osman
2008   GYNECARE TVT 2008 Facility and Physician Billing Guide/Christine Maroulis                                        2008-0037    1/16/2008      EWH&U      TVT         32                                                       ETH.MESH.02619355    ETH.MESH.02619356
2008   GYNECARE PROLIFT 2008 Facility and Physician Billing Guide/Christine Maroulis                                    2008-0039    1/16/2008      EWH&U      Prolift     32                                                       ETH.MESH.02619357    ETH.MESH.02619359
2008   Advanced Vaginal Surgery Course 2003 Summit/Melissa Chaves                                                       2008-0080    1/23/2008      EWH&U      All         4                                                        ETH.MESH.00168690    ETH.MESH.00168721
2008   EWH&U Pelvic Floor Summit Interactive Questions: Early Experiences with Pelvic floor Devices/Tracy Boyle         2008-0081    1/23/2008      EWH&U      Prolift     3                                                        ETH.MESH.00148825    ETH.MESH.00148840
2008   Pelvic Floor Development Pathway/Tracy Boyle                                                                     2008-0082    1/23/2008      EWH&U      Prolift     4                                                        ETH.MESH.00168773    ETH.MESH.00168808
2008   Google Text Ad Buy for GYNECARE TVT, including search/Lauren Taveroni                                            2008-0110    1/30/2008      EWH&U      TVT         28           ETH.MESH.02343099      ETH.MESH.02343099
2008   GYNECARE TVT* Obturator System Tension-free Support for Incontinence 3 Year Data/Melissa Chaves                  2008-0133     2/6/2008      EWH&U      TVT         4                                                        ETH.MESH.00167954    ETH.MESH.00167966
2008   GYNECARE TVT* Obturator System Tension-free Support for Incontinence French Registry/Melissa Chaves              2008-0134     2/6/2008      EWH&U      TVT         4                                                        ETH.MESH.00167974    ETH.MESH.00167978
2008   TVT SECUR Professional Education Preceptor Slide Deck – Summit/Melissa Chaves                                    2008-0135     2/6/2008      EWH&U      TVTS        3                                                        ETH.MESH.00148625    ETH.MESH.00148662
2008   GYNECARE TVT Family of Products Ad Decade of Excellence Crystal Paperweight/Melissa Chaves                       2008-0136     2/6/2008      EWH&U      TVT         34           ETH.MESH.03458075      ETH.MESH.03458077
2008   Nilson Presentation Background 10 Years Results of the GYNECARE TVT Tension-free Support for Incontinence/Joy de 2008-0137     2/6/2008      EWH&U      TVT         4                                                        ETH.MESH.00168125    ETH.MESH.00168182
       losReyes
2008   Dr. Michael Woods Case Study Presentation – GYNECARE TVT SECUR In-Office/Joy de los Reyes                        2008-0138     2/6/2008      EWH&U      TVTS        3                                                        ETH.MESH.00148753    ETH.MESH.00148755
2008   Incontinence and Pelvic Organ Prolapse Patient Seminar Ad/Robin Osman                                            2008-0172    2/20/2008      EWH&U      All         32                                                       ETH.MESH.02619742    ETH.MESH.02619745
2008   GYNECARE TVT* Tension free Support for Incontinence Patient Seminar Ad/Robin Osman                               2008-0173    2/20/2008      EWH&U      TVT         32                                                       ETH.MESH.02619737    ETH.MESH.02619741
2008   GYNECARE PROLIFT* Pelvic Floor Repair System Patient Seminar Ad/Robin Osman                                      2008-0175    2/20/2008      EWH&U      Prolift     32                                                       ETH.MESH.02619733    ETH.MESH.02619736
2008   GYNECARE PROLIFT Quick Reference Guide/Jennifer Paradise                                                         2008-0181    2/20/2008      EWH&U      Prolift     3                                                        ETH.MESH.00145126    ETH.MESH.00145127
2008   Anatomy Review Training Module: Chapter 1 – The Normal Anatomy of Female Vaginal Suspension and Support/Tracy 2008-0183       2/20/2008      EWH&U      Prolift     32                                                       ETH.MESH.02619746    ETH.MESH.02619806
       Boyle
2008   Google Text Ad Buy for Pelvic Health General/R.J. Wicks                                                          2008-0187    2/20/2008      EWH&U      All     34               ETH.MESH.03458078      ETH.MESH.03458078
2008   Google Text Ad Buy for GYNECARE PROLIFT/R.J. Wicks                                                               2008-0189    2/20/2008      EWH&U      Prolift 34               ETH.MESH.03458079      ETH.MESH.03458081
2008   GYNECARE TVT SECUR System Co op Radio Ad/Robin Osman                                                             2008-1013    9/3/2008       EWH&U      TVTS    28               ETH.MESH.02342722      ETH.MESH.02342928
2008   GYNECARE TVT SECUR Hammock Video and Script/Joy de los Reyes                                                     2008-1014    9/3/2008       EWH&U      TVTS    28               ETH.MESH.02343103      ETH.MESH.02343128
2008   GYNECARE TVT Obturator Video and Script/Joy de los Reyes                                                         2008-1015    9/3/2008       EWH&U      TVT     28               ETH.MESH.02343129      ETH.MESH.02343131
2008   GYNECARE PROLIFT Copy for New Portfolio Web Site/Lauren Taveroni                                                 2008-1019    9/3/2008       EWH&U      Prolift 28               ETH.MESH.02343132      ETH.MESH.02343191
2008   GYNECARE TVT Copy for New Portfolio Web Site/Lauren Taverioni                                                    2008-1021    9/3/2008       EWH&U      TVT     28               ETH.MESH.02343192      ETH.MESH.02343334
2008   GYNECARE GYNMESH* PS Non-Absorbable PROLENE* Soft Mesh in the Treatment of Pelvic Organ Prolapse/Hillary         2008-1022    9/3/2008       EWH&U      Gynemes 28               ETH.MESH.02343335      ETH.MESH.02343856
       Perkins                                                                                                                                                 h
2008   PROLIFT Value Dossier for US/Vanja Sikirica                                                                      2008-1025     9/3/2008      EWH&U      Prolift 28               ETH.MESH.02343857      ETH.MESH.02343901
2008   TVT Family of Products Brochure/Melissa Chaves                                                                   2008-1035    9/10/2008      EWH&U      TVT     28               ETH.MESH.02343902      ETH.MESH.02344088
2008   TVT Family Picture/Joy de los Reyes                                                                              2008-1036    9/10/2008      EWH&U      TVT     28               ETH.MESH.02344089      ETH.MESH.02344090
2008   TVT Family Launch Tool Kit Format/Joy de los Reyes                                                               2008-1037    9/10/2008      EWH&U      TVT     28               ETH.MESH.02344091      ETH.MESH.02344094
2008   TVT Family Professional Ad/Joy de los Reyes                                                                      2008-1038    9/10/2008      EWH&U      TVT     28               ETH.MESH.02344095      ETH.MESH.02344104
2008   Facilities Management Sales Aid/Melissa Chaves                                                                   2008-1057    9/17/2008      EWH&U      All     28               ETH.MESH.02344194      ETH.MESH.02344261
2008   Incontinence Condition Copy for New Portfolio Web Site/Lauren Taveroni                                           2008-1062    9/17/2008      EWH&U      TVT     28               ETH.MESH.02344105      ETH.MESH.02344193
2008   EWH&U Patient Education Event Survey Postcard/Alyson Wess                                                        2008-1073    9/24/2007      EWH&U      All     28               ETH.MESH.02344262      ETH.MESH.02344265
2008   GYNECARE TVT Doctor Discussion Guide/Lauren Taveroni                                                             2008-1074    9/24/2007      EWH&U      TVT     28               ETH.MESH.02344266      ETH.MESH.02344268
2008   GYNECARE PROLIFT Doctor Discussion Guide/Lauren Taveroni                                                         2008-1076    9/24/2007      EWH&U      Prolift 28               ETH.MESH.02344269      ETH.MESH.02344272
2008   Comparison of Surgical Outcome of TVT and TOT for SUI with POP/Melissa Chaves                                    2008-1080    9/24/2007      EWH&U      TVT     28               ETH.MESH.02344273      ETH.MESH.02344292
2008   Dr. Gold Medium-Term Outcomes of TVT-O/Melissa Chaves                                                            2008-1081    9/24/2007      EWH&U      TVT     28               ETH.MESH.02344293      ETH.MESH.02344300
2008   Efficacy and Safety of SECUR/Melissa Chaves                                                                      2008-1082    9/24/2007      EWH&U      TVTS    28               ETH.MESH.02344301      ETH.MESH.02344325
2008   SUI and Pelvic Muscle Dysfunction After TVM/Melissa Chaves                                                       2008-1083    9/24/2007      EWH&U      TVT     28               ETH.MESH.02344326      ETH.MESH.02344334
2008   The Short-Term Efficacy and Safety of Mini-arc vs. SECUR/Melissa Chaves                                          2008-1084    9/24/2007      EWH&U      TVTS    28               ETH.MESH.02344335      ETH.MESH.02344364
2008   Vaginal Sling for SUI Under Local Anesthetic in the Office Setting/Melissa Chaves                                2008-1085    9/24/2007      EWH&U      TVT     28               ETH.MESH.02344365      ETH.MESH.02344388



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2008   World Wide Registry of TVT Tapes/Melissa Chaves                                                                 2008-1086     9/24/2007     EWH&U      TVT         28           ETH.MESH.02344389      ETH.MESH.02344412
2008   EWH&U Patient Education Program Pitch – Updated/Alyson Wess                                                     2008-1104     9/24/2007     EWH&U      All         28           ETH.MESH.02344413      ETH.MESH.02344443
2008   2008 IUGA Abstracts/Melissa Chaves                                                                              2008-1105     9/24/2007     EWH&U      TVT         28           ETH.MESH.02344444      ETH.MESH.02344530
2008   GYNECARE TVT Surgeon Profile Flashcard/Melissa Chaves                                                           2008-1106     9/24/2007     EWH&U      TVT         28           ETH.MESH.02344531      ETH.MESH.02344579
2008   Perioperative Complications and Early Follow Up with 100 TVT SECUR Procedures/Melissa Chaves                    2008-1107     9/24/2007     EWH&U      TVTS        28           ETH.MESH.02344580      ETH.MESH.02344617
2008   GYNEARE TVT Objection Handling Statements/Melissa Chaves                                                        2008-1108     9/24/2007     EWH&U      TVT         28           ETH.MESH.02344618      ETH.MESH.02344700
2008   EWH&U Medical Request/Linda Linton                                                                              2008-112      1/30/2008     EWH&U      All         28           ETH.MESH.02344701      ETH.MESH.02344706
2008   GYNECRE TVT SECUR* System Complications Update/Melissa Chaves                                                   2008-113      1/30/2008     EWH&U      TVTS        28           ETH.MESH.02344707      ETH.MESH.02344733
2008   PROLAPSE Copy for New Portfolio Web Site/Lauren Taveroni                                                        2008-1130     10/8/2008     EWH&U      Prolift     28           ETH.MESH.02344734      ETH.MESH.02344775
2008   Nilsson Pod cast/Melissa Chaves                                                                                 2008-1135     10/8/2008     EWH&U      TVT         28           ETH.MESH.02344776      ETH.MESH.02344806
2008   Minisling Abstract Overview/Melissa Chaves                                                                      2008-1136     10/8/2008     EWH&U      TVT         28           ETH.MESH.02344807      ETH.MESH.02344868
2008   EWH&U Capabilities Presentation/Dharini Admin                                                                   2008-1138     10/8/2008     EWH&U      All         28           ETH.MESH.02344869      ETH.MESH.02344948
2008   GYNECARE TVT* Tension-free Support Complications Update/Melissa Chaves                                          2008-114      1/30/2008     EWH&U      TVT         28           ETH.MESH.02344949      ETH.MESH.02344963
2008   GYNECARE TVT* Obturator System Tension-free Support for Incontinence: Evolution and Clinical Updates/Melissa    2008-115      1/30/2008     EWH&U      TVT         28           ETH.MESH.02344964      ETH.MESH.02345278
       Chaves
2008   GYNECARE TVT* Obturator System tension-free Support for Incontinence Complications Update/Melissa Chaves        2008-116     1/30/2008      EWH&U TVT              28           ETH.MESH.02345279      ETH.MESH.02345288

2008   GYNECARE PROLIFT* Pelvic Floor Repair System Complications Update/Melissa Chaves                                2008-117      1/30/2008     EWH&U      Prolift     28           ETH.MESH.02345289      ETH.MESH.02345299
2008   The MiniArc Single-Incision Sling System for Female SUI Early Results/Melissa Chaves                            2008-1170    10/15/2008     EWH&U      TVT         28           ETH.MESH.02345300      ETH.MESH.02345306
2008   Are There Healthcare Utilization Benefits to a Less Invasive Sling/Melissa Chaves                               2008-1171    10/15/2008     EWH&U      TVT         28           ETH.MESH.02345307      ETH.MESH.02345313
2008   EWH&U Urinary Incontinence Deck for Assisted Living/Jason Goodbody                                              2008-1177    10/15/2008     EWH&U      TVT         28           ETH.MESH.02345314      ETH.MESH.02345454
2008   2008 Incontinence & Pelvic Floor Summit Feedback Form/Melissa Chaves                                            2008-118      1/30/2008     EWH&U      All         28           ETH.MESH.02345455      ETH.MESH.02345541
2008   Charles Hanes, MD Case Study – Summit 2008/Melissa Chaves                                                       2008-119      1/30/2008     EWH&U      TVT         28           ETH.MESH.02345542      ETH.MESH.02345550
2008   Pelvic Organ PROLAPSE Patient Brochure/Robin Osman                                                              2008-1202    10/22/2008     EWH&U      Prolift     28           ETH.MESH.02345551      ETH.MESH.02345626
2008   EWH&U Capabilities Presentation/Dharini Amin                                                                    2008-1209    10/22/2008     EWH&U      All         28           ETH.MESH.02345627      ETH.MESH.02345751
2008   EWH&U Patient Brochure Holder/Robin Osman                                                                       2008-1247    10/29/2008     EWH&U      All         28           ETH.MESH.02345752      ETH.MESH.02345753
2008   GYNECARE TVT TM Retropubic E-Mail/RJWicks                                                                       2008-1250    10/29/2008     EWH&U      TVT         28           ETH.MESH.02345754      ETH.MESH.02345759
2008   Eprint of Eleven Years Prospective Follow Up of the TVT Procedure for Treatment of SUI/Melissa Chaves           2008-1275     11/5/2008     EWH&U      TVT         28           ETH.MESH.02345760      ETH.MESH.02345772
2008   2008 ICS Abstracts/Melissa Chaves                                                                               2008-1297    11/12/2008     EWH&U      TVT         28           ETH.MESH.02345773      ETH.MESH.02345802
2008   Minisling Abstract Overview III/Melissa Chaves                                                                  2008-1298    11/12/2008     EWH&U      TVT         4                                                        ETH.MESH.00155219    ETH.MESH.00155232
2008   GYNECARE PROLIFT+M Pelvic Floor Repair System – Sales Detail Aid/Jonathan Meek                                  2008-1328    11/19/2008     EWH&U      Prolift     3                                                        ETH.MESH.00142398    ETH.MESH.00142407
2008   GYNECARE PROLIFT +M Pelvic Floor Repair System Launch Training Presentation/Jonathan Meek                       2008-1329    11/19/2008     EWH&U      Prolift     4                                                        ETH.MESH.00155238    ETH.MESH.00155253
                                                                                                                                                                                                                                   ETH.MESH.00155256    ETH.MESH.00155271
2008   PROLIFT +M FlashCard/Hillary Perkins                                                                            2008-1330    11/19/2008     EWH&U      Prolift     4                                                        ETH.MESH.00155276    ETH.MESH.00155288
2008   EWH&U Page in Direct Customer Guide/Linda Linton                                                                2008-1356    12/10/2008     EWH&U      All         34           ETH.MESH.03458023      ETH.MESH.03458067
2008   GYNECARE TVT Family of Products Patient Brochure/Robin Osman                                                    2008-1359    12/10/2008     EWH&U      TVT         4                                                        ETH.MESH.00161969    ETH.MESH.00161984
2008   EWH&U Community Health Systems Pitch Letter/Melissa Muguruza                                                    2008-1364    12/10/2008     EWH&U      All         34           ETH.MESH.03458068      ETH.MESH.03458074
2008   GYNECARE PROLIFT +M Pelvic Floor Repair System Sales Detail Aid/Jonathan Meek                                   2008-1396    12/17/2008     EWH&U      Prolift     4                                                        ETH.MESH.00165801    ETH.MESH.00165806
2008   One Year Anatomic and Quality of Life Outcomes After the PROLIFT Procedure for Treatment of Post hysterectomy   2008-1399    12/17/2008     EWH&U      Prolift     4                                                        ETH.MESH.00165832    ETH.MESH.00165837
       PROLAPSE/Hillary Perkins
2008   PROLIFT +M Sales Training Deck/Hillary Perkins                                                                  2008-1401    12/17/2008     EWH&U Prolift          4                                                        ETH.MESH.00165841    ETH.MESH.00165868
                                                                                                                                                                                                                                   ETH.MESH.00165878    ETH.MESH.00165905
                                                                                                                                                                                                                                   ETH.MESH.00165909    ETH.MESH.00165936
2008   PROLIFT/Polyform CAD Image/Scott Jones                                                                          2008-1402    12/17/2008     EWH&U Prolift          4                                                        ETH.MESH.00165939    ETH.MESH.00165940
2008   GYNECRE PROLIFT Data 2004-2007 Ethicon Women’s Health & Urology the Netherlands/Tracy Boyle                     2008-248     2/27/2008      EWH&U Prolift          3                                                        ETH.MESH.00146031    ETH.MESH.00146074
                                                                                                                                                                          4                                                        ETH.MESH.00162569    ETH.MESH.00162612
2008   GYNECARE TVT* Tension Free Support for Incontinence Mix and Match co op Ads/Robin Osman                         2008-249     2/27/2008      EWH&U TVT              3                                                        ETH.MESH.00146076    ETH.MESH.00146084
2008   GYNECARE PROLIFT* Pelvic Floor Repair System Mix and Match co op Ads/Robin Osman                                2008-250     2/27/2008      EWH&U Prolift          3                                                        ETH.MESH.00146099    ETH.MESH.00146111
2008   GYNECARE TVT Quick Reference Guide/Jennifer Paradise                                                            2008-256     2/27/2008      EWH&U TVT              4                                                        ETH.MESH.00162640    ETH.MESH.00162643



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2008   TVT SECUR: 100 Teaching Operations with a Novel Anti-Incontinence Procedure Abstract/Joy de los Reyes                2008-282     3/5/2008      EWH&U      TVTS        34           ETH.MESH.03458082      ETH.MESH.03458086
2008   Short Term Assessment of TVT SECUR for Treatment of Female SUI Abstract/Joy De los Reyes                             2008-283     3/5/2008      EWH&U      TVTS        34           ETH.MESH.03458087      ETH.MESH.03458089
2008   GYNEARE TVT Obturator 3 year Data Presentation/Melissa Chaves                                                        2008-286     3/5/2008      EWH&U      TVT         34           ETH.MESH.03458090      ETH.MESH.03458103
2008   3 Year TVT Obturator Product Pointer/Melissa Chaves                                                                  2008-287     3/5/2008      EWH&U      TVT         34           ETH.MESH.03458104      ETH.MESH.03458105
2008   PROLIFT: An Innovation Delivery System for Transvaginal Placement of Synthetic Grafts for the Repair of Pelvic Organ 2008-289     3/5/2008      EWH&U      Prolift     34
       Prolapse/Scott Jones                                                                                                                                                                ETH.MESH.03458106      ETH.MESH.03458115
2008   GYNECARE TVT* Tension-free Support for Incontinence Local TV Ad/Robin Osman                                          2008-333    3/12/2008      EWH&U TVT              34           ETH.MESH.03458116      ETH.MESH.03458122
2008   Anatomy Review Training Module: Chapter 2 – The Anatomy of Vaginal PROLAPSE and Clinical Correlations/Tracy          2008-334    3/12/2008      EWH&U Prolift          32                                                       ETH.MESH.02619946    ETH.MESH.02619995
       Boyle
2008   GYNECARE TVT Family of Products Patients Brochure/Robin Osman                                                        2008-360    3/19/2008      EWH&U      TVT         34           ETH.MESH.03458123      ETH.MESH.03458172
2008   Down There Roundtable Materials (SUI) /Devon Prutzman                                                                2008-394    3/26/2008      EWH&U      TVT         32                                                       ETH.MESH.02619869    ETH.MESH.02619871
2008   Down There Roundtable Materials (Pelvic Health) Devon Prutzman                                                       2008-395    3/26/2008      EWH&U      Prolift     32                                                       ETH.MESH.02619872    ETH.MESH.02619873
2008   Down There Repair Roundtable Materials (Prolapse)/ Devon Prutzman                                                    2008-397    3/26/2008      EWH&U      Prolift     32                                                       ETH.MESH.02619874    ETH.MESH.02619876
2008   TVT Procedural Steps/Melissa Chaves                                                                                  2008-446    4/9/2008       EWH&U      TVT         34           ETH.MESH.03458173      ETH.MESH.03458176
2008   TVT Abdominal Procedural Steps/Melissa Chaves                                                                        2008-447    4/9/2008       EWH&U      TVT         32                                                       ETH.MESH.02619114    ETH.MESH.02619114
2008   GYNECARE TVT Obtrurator Prof Ed Deck/Melissa Chaves                                                                  2008-448    4/9/2008       EWH&U      TVT         34           ETH.MESH.03458177      ETH.MESH.03458229
2008   TVTO vs. TVT Clinical/Melissa Chaves                                                                                 2008-449    4/9/2008       EWH&U      TVT         34           ETH.MESH.03458230      ETH.MESH.03458251
2008   The Impact of Tension-free Vaginal Tape on Overactive Bladder Symptoms in Women with Stress Urinary Incontinence: 2008-450       4/9/2008       EWH&U      TVT         34
       Significance of Detrusor Over activity/ Melissa Chaves                                                                                                                              ETH.MESH.03458252      ETH.MESH.03458263
2008   TVT for ISD Clinical 5 Year/Melissa Chaves                                                                           2008-451     4/9/2008      EWH&U TVT     34                    ETH.MESH.03458264      ETH.MESH.03458271
2008   TVTO Midterm Menahem Clinical/Melissa Chaves                                                                         2008-452     4/9/2008      EWH&U TVT     34                    ETH.MESH.03458272      ETH.MESH.03458281
2008   GYNECARE TVT Family of Products Convention Panel/Linda Linton                                                        2008-457     4/9/2008      EWH&U TVT     34                    ETH.MESH.03458282      ETH.MESH.03458284
2008   GYNECARE TVT SECUR Tension-Free Support for Incontinence Ad for AUA/Linda Linton                                     2008-458     4/9/2008      EWH&U TVTS    34                    ETH.MESH.03458285      ETH.MESH.03458287
2008   GYNECARE PROLIFT* Pelvic Floor Repair System Ad for AUA/Linda Linton                                                 2008-459     4/9/2008      EWH&U Prolift 34                    ETH.MESH.03458288      ETH.MESH.03458290
2008   GYNECARE PROSIMA Combined Pelvic Floor Repair System/Jonathan Meek                                                   2008-460     4/9/2008      EWH&U Prosima 34                    ETH.MESH.03458291      ETH.MESH.03458294
2008   Communications to PROSIMA to investigators regarding the delay of the pre market activities/David Robinson           2008-467     4/9/2008      EWH&U Prosima 34                    ETH.MESH.03458295      ETH.MESH.03458297
2008   Joint GYNECARE TVT/GYNECARE PROLIFT Co –op Mailer/Robin Osman                                                        2008-496    4/16/2008      EWH&U TVT     34                    ETH.MESH.03458298      ETH.MESH.03458328
2008   Joint GYNECARE TVT/GYNECARE PROLIFT Co-op Print Ad/Robin Osman                                                       2008-497    4/16/2008      EWH&U TVT     34                    ETH.MESH.03458329      ETH.MESH.03458348
2008   GYNECARE TVT* SECURE Tension-free Support for Incontinence Local TV Ad/Robin Osman                                   2008-498    4/16/2008      EWH&U TVTS    34                    ETH.MESH.03458349      ETH.MESH.03458350
2008   TVTO Showel Ad/Melissa Chaves                                                                                        2008-500    4/16/2008      EWH&U TVT     34                    ETH.MESH.03458351      ETH.MESH.03458352
2008   TVT 7 Year Data/Melissa Chaves                                                                                       2008-501    4/16/2008      EWH&U TVT     34                    ETH.MESH.03458353      ETH.MESH.03458356
2008   GYNECARE GYNEMEHS PS Convention Panel/Linda Linton                                                                   2008-536    4/23/2008      EWH&U Gynemes 34
                                                                                                                                                             h                             ETH.MESH.03458357      ETH.MESH.03458358
2008   What’s Happening Convention Panel/Linda Linton                                                                      2008-538     4/23/2008      EWH&U All     34                    ETH.MESH.03458359      ETH.MESH.03458359
2008   GYNECARE TVT* Tension-free Support for Incontinence/GYNECARE PROLFIT* Pelvic Floor Repair System Patient            2008-542     4/23/2008      EWH&U TVT     34
       Ads/Robin Osman                                                                                                                                                                     ETH.MESH.03458360      ETH.MESH.03458365
2008   GYNECARE TVT* Tension-free Support for Incontinence Patient Seminar Ads/Robin Osman                                 2008-543     4/23/2008      EWH&U      TVT         34           ETH.MESH.03458366      ETH.MESH.03458377
2008   GYNECARE PROLIFT* Pelvic Floor Repair System Patient Seminar Ads/Robin Osman                                        2008-545     4/23/2008      EWH&U      Prolift     34           ETH.MESH.03458378      ETH.MESH.03458389
2008   PROLIFT Qualitative Research: Letter of Introduction/Tracy Boyle                                                    2008-546     4/23/2008      EWH&U      Prolift     34           ETH.MESH.03458390      ETH.MESH.03458390
2008   GYNECARE TVT* SECUR Procedural Kit/Joy de los Reyes                                                                 2008-547     4/23/2008      EWH&U      TVTS        34           ETH.MESH.03458391      ETH.MESH.03458434
2008   Combined GYNECARE TVT Prof Ed Slide Deck/Melissa Chaves                                                             2008-570     4/30/2008      EWH&U      TVT         34           ETH.MESH.03458435      ETH.MESH.03458462
2008   GYNECARE TVT * Tension-free Support for Incontinence Patient Mailer Without GYNECARE SECUR/Robin Osman              2008-580     4/30/2008      EWH&U      TVTS        34
                                                                                                                                                                                           ETH.MESH.03458463      ETH.MESH.03458470
2008   GYNECARE TVT* Obturator Procedural Steps/ Melissa Chaves                                                            2008-582     4/30/2008      EWH&U TVT              34           ETH.MESH.03458471      ETH.MESH.03458476
2008   Does Vaginal Anti-Incontinence Surgery Affect Sexual Satisfaction? A Comparison of TVT and Burch-                   2008-613     5/14/2008      EWH&U TVT              34
       Colposuspension/Melissa Chaves                                                                                                                                                      ETH.MESH.03458477      ETH.MESH.03458488
2008   Variation of the Obturator Foramen and Pubic Arch of the Female Bony Pelvis/Melissa Chaves                          2008-614     5/14/2008      EWH&U TVT              32                                                       ETH.MESH.02619998    ETH.MESH.02619999
2008   Sexual Function After Transobturator Tape Procedure for Stress Urinary Incontinence/Melissa Chaves                  2008-615     5/14/2008      EWH&U TVT              34           ETH.MESH.03458489      ETH.MESH.03458500




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2008   Efficacy and Safety of a Novel Disposable Intravaginal Device for Treating of Stress Urinary Incontinence/Melissa   2008-616       5/14/2008   EWH&U TVT                34
       Chaves                                                                                                                                                                               ETH.MESH.03458501      ETH.MESH.03458506
2008   GYNECARE PROLIFT Pelvic Floor Repair System Mix and Match co op Ad Summary Sheet/Robin Osman                        2008-635      5/21/2008      EWH&U Prolift          34           ETH.MESH.03458507      ETH.MESH.03458511
2008   GYNECARE TVT Tension-free Support for Incontinence Mix and Match co op Ad Summary Sheet/Robin Osman                 2008-636      5/21/2008      EWH&U TVT              34           ETH.MESH.03458512      ETH.MESH.03458514
2008   GYNECARE TVT SECUR Tension-free Support for Incontinence Mix and Match co op Ad Summary Sheet/Robin Osman           2008-637      5/21/2008      EWH&U TVTS             34
                                                                                                                                                                                            ETH.MESH.03458515      ETH.MESH.03458517
2008   GYNECARE TVT Tension-free Support for Incontinence Complications Update/Melissa Chaves                              2008-641      5/21/2008      EWH&U TVT              34           ETH.MESH.03458518      ETH.MESH.03458520
2008   GYNECARE TVT SECUR System Complications Update/Melissa Chaves                                                       2008-642      5/21/2008      EWH&U TVTS             34           ETH.MESH.03458521      ETH.MESH.03458522
2008   GYNECARE TVT Obturator System Tension-free Support for Incontinence Complications Update/Melissa Chaves             2008-643      5/21/2008      EWH&U TVT              34
                                                                                                                                                                                            ETH.MESH.03458523      ETH.MESH.03458524
2008   GYNECARE PROLIFT Pelvic Floor Repair System Complications Update/Melissa Chaves                                       2008-644    5/21/2008      EWH&U Prolift          34           ETH.MESH.03458525      ETH.MESH.03458527
2008   TVT Millions Patient Ad/Melissa Chaves                                                                                2008-645    5/21/2008      EWH&U TVT              34           ETH.MESH.03458528      ETH.MESH.03458529
2008   Prospective Comparison of the “inside-out” and “outside-in” Transobturator-Tape procedures for the Treatment of       2008-646    5/21/2008      EWH&U TVT              34
       Female Stress Urinary Incontinence/Melissa Chaves                                                                                                                                    ETH.MESH.03458530      ETH.MESH.03458541
2008   GYNECARE PROLIFT Pelvic Floor Support System In Hold Message/Robin Osman                                              2008-665    5/28/2008      EWH&U      Prolift     34           ETH.MESH.03458542      ETH.MESH.03458545
2008   Annual Review and Renewal of www.whatshappeningdownthere.com/ Lauren Taveroni                                         2008-677    5/28/2008      EWH&U      All         34           ETH.MESH.03458546      ETH.MESH.03458651
2008   GYNECARE TVT Tension-free Support for Incontinence On Hold Message/Robin Osman                                        2008-678    5/28/2008      EWH&U      TVT         34           ETH.MESH.03458652      ETH.MESH.03458655
2008   GYNECARE TVT Tension-free Support for Incontinence/GYNECARE PROLIFT Pelvic Floor Repair System Mix and Match 2008-679             5/28/2008      EWH&U      TVT         34
       Co op Ad Summary Sheet/Robin Osman                                                                                                                                                   ETH.MESH.03458656      ETH.MESH.03458658
2008   GYNECARE TVT Family “Bouncy Ball” Professional Ad/Joy de los Reyes                                                    2008-687     6/4/2008      EWH&U      TVT         34           ETH.MESH.03458659      ETH.MESH.03458665
2008   TVT Obturator French Registry/Melissa Chaves                                                                          2008-735    6/18/2008      EWH&U      TVT         32                                                       ETH.MESH.02619367    ETH.MESH.02619371
2008   A Comprehensive Review of Suburethral Sling Procedure Complications/Melissa Chaves                                    2008-736    6/18/2008      EWH&U      TVT         34           ETH.MESH.03458666      ETH.MESH.03458703
2008   EWH&U Employer Outreach Overview/Alyson Wess                                                                          2008-739    6/18/2008      EWH&U      All         34           ETH.MESH.03458704      ETH.MESH.03458716
2008   Severe Bleeding from Internal Obturator Muscle Following Tension-free Vaginal Tape SECUR Hammock Approach             2008-761    6/25/2008      EWH&U      TVTS        34
       Procedure/Melissa Chaves                                                                                                                                                             ETH.MESH.03458717      ETH.MESH.03458719
2008   Transobturator Vaginal Tape Inside Out Procedure for Stress Urinary Incontinence: Results 102 Patients/Melissa        2008-762    6/25/2008      EWH&U TVT              34
       Chaves                                                                                                                                                                               ETH.MESH.03458720      ETH.MESH.03458724
2008   Advanced Pelvic Floor Course Level 1 Invitation/Eric Globerman                                                        2008-765    6/25/2008      EWH&U Prolift          34           ETH.MESH.03458725      ETH.MESH.03458727
2008   Advanced Pelvic Floor Course Level 2 Invitation/Eric Globerman                                                        2008-766    6/25/2008      EWH&U Prolift          34           ETH.MESH.03458728      ETH.MESH.03458730
2008   GYNECARE PROLIFT & GYNECARE TVT SECUR Pelvic Floor Repair Systems & Tension-free Vaginal Tape Preceptorship           2008-768    6/25/2008      EWH&U Prolift          34
       Invitation/Eric Globerman                                                                                                                              TVTS                          ETH.MESH.03458731      ETH.MESH.03458735
2008   GYNECARE PROLIFT & GYNECARE TVT Obturator Pelvic Floor Repair Systems & Tension-free Vaginal Tape                     2008-769    6/25/2008      EWH&U Prolift          34
       Preceptorship Invitation/Eric Globerman                                                                                                                                              ETH.MESH.03458736      ETH.MESH.03458738
2008   GYNECARE PROLIFT Pelvic Floor Repair Systems Preceptorship Invitation/Eric Globerman                                  2008-770    6/25/2008      EWH&U      Prolift     34           ETH.MESH.03458739      ETH.MESH.03458741
2008   Stayfree e-Blast with GYNECARE TVT Tension-free Support for Incontinence/Robin Osman                                  2008-814    7/9/2008       EWH&U      TVT         32                                                       ETH.MESH.02619885    ETH.MESH.02619889
2008   Eleven Years Prospective Follow Up of the TVT Procedure for Treatment of SUI/Melissa Chaves                           2008-817    7/9/2008       EWH&U      TVT         34           ETH.MESH.03458742      ETH.MESH.03458746
2008   A Prospective Trial Comparing TVT and TVTO for the Surgical Treatment of Female SUI: A 1 Year Follow Up/Melissa       2008-818    7/9/2008       EWH&U      TVT         34
       Chaves                                                                                                                                                                               ETH.MESH.03458747      ETH.MESH.03458751
2008   Monarc TOT Sling for the Treatment of SUI: Interim Results of a US Multi-Center Prospective Study on 112              2008-819     7/9/2008      EWH&U TVT              32                                                       ETH.MESH.02619883    ETH.MESH.02619884
       Patients/Melissa Chaves
2008   The Use of synthetic Sub-Urethral Slings in the Treatment of Female SUI/Melissa Chaves                                2008-820     7/9/2008      EWH&U      TVT         34           ETH.MESH.03458752      ETH.MESH.03458760
2008   TPT for Incontinence: a 3 year Follow Up/Melissa Chaves                                                               2008-821     7/9/2008      EWH&U      TVT         34           ETH.MESH.03458761      ETH.MESH.03458764
2008   TOT North Queensland Experience/Melissa Chaves                                                                        2008-822     7/9/2008      EWH&U      TVT         34           ETH.MESH.03458765      ETH.MESH.03458768
2008   Vaginal Wall Erosion After TOT Procedure/Melissa Chaves                                                               2008-823     7/9/2008      EWH&U      TVT         32                                                       ETH.MESH.02619880    ETH.MESH.02619882
2008   Retropubic Compared with TOT Placement in Treatment of UI/Melissa Chaves                                              2008-824     7/9/2008      EWH&U      TVT         34           ETH.MESH.03458769      ETH.MESH.03458776
2008   Is Transobturator Tape as Effective as Tension-free Vaginal Tape in Patients with Borderline Maximum Urethral Closure 2008-825     7/9/2008      EWH&U      TVT         34
       Pressure/Melissa Chaves                                                                                                                                                              ETH.MESH.03458777      ETH.MESH.03458782
2008   1 Year Combined Results from 2 Prospective Studies on Monarc/Melissa Chaves                                           2008-826     7/9/2008      EWH&U TVT              32                                                       ETH.MESH.02619877    ETH.MESH.02619878
2008   12 Month Follow up data on 138 Patients Implanted with Monarc/Melissa Chaves                                          2008-827     7/9/2008      EWH&U TVT              34           ETH.MESH.03458783      ETH.MESH.03458783



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2008   What’s Happening Down There Flyer/Devon Prutzman                                                                  2008-828       7/9/2008     EWH&U      All         34           ETH.MESH.03458784      ETH.MESH.03458784
2008   EWH&U Professional Education Surveys/Patti Logan                                                                  2008-829       7/9/2008     EWH&U      All         34           ETH.MESH.03458785      ETH.MESH.03458811
2008   GYNECARE PROLIFT Pelvic Floor Repair System and Competition/Tracy Boyle                                           2008-830       7/9/2008     EWH&U      Prolift     34           ETH.MESH.03458812      ETH.MESH.03458884
2008   GYNECARE PROLIFT® Physician Education Letter/Linda Linton                                                         2008-858      7/23/2008     EWH&U      Prolift     34           ETH.MESH.03458885      ETH.MESH.03458890
2008   GYNECARE TVT TM Physician Education Letter/Linda Linton                                                           2008-860      7/23/2008     EWH&U      TVT         34           ETH.MESH.03458891      ETH.MESH.03458894
2008   A New Minimally Invasive Technique Without Needles for the Surgical Treatment of SUI/Melissa Chaves               2008-862      7/23/2008     EWH&U      TVT         34           ETH.MESH.03458895      ETH.MESH.03458918
2008   3 Year Outcomes of Uretex Urethral Support System for the Treatment of SUI/Melissa Chaves                         2008-863      7/23/2008     EWH&U      TVT         34           ETH.MESH.03458919      ETH.MESH.03458935
2008   Long Term Efficacy of TVT in the Management of SUI in Women:: Efficacy at 5 and 7 year Follow Up/Melissa Chaves   2008-864      7/23/2008     EWH&U      TVT         34
                                                                                                                                                                                         ETH.MESH.03458936      ETH.MESH.03458950
2008   Needles – A New Technique for Correction of Urinary Incontinence/Melissa Chaves                                2008-865        7/23/2008      EWH&U      TVT         34           ETH.MESH.03458951      ETH.MESH.03458981
2008   TVT vs SPARC: Comparison of Outcomes for 2 Midurethral Tape Procedure/Melissa Chaves                           2008-866        7/23/2008      EWH&U      TVT         34           ETH.MESH.03458982      ETH.MESH.03459039
2008   TVTS for the Surgical Management of Female SUI/Melissa Chaves                                                  2008-867        7/23/2008      EWH&U      TVTS        34           ETH.MESH.03459040      ETH.MESH.03459043
2008   On – Hold Message E- Mail Push – GYNECARE TVT TM Tension-free Support for Incontinence/Robin Osman             2008-868        7/23/2008      EWH&U      TVT         34           ETH.MESH.03459044      ETH.MESH.03459048
2008   On Hold Message E Mail Push – GYNECARE TVT TM Tension-free Support for Incontinence – LSH – GYNECARE PROLIFT 2008-869          7/23/2008      EWH&U      TVT         34
       Pelvic Floor Repair System/Robin Osman                                                                                                                                            ETH.MESH.03459049      ETH.MESH.03459054
2008   On Hold Message E Mail Push – GYNECARE TVT TM Tension-free Support for Incontinence – GYNECARE PROLIFT® Pelvic 2008-870        7/23/2008      EWH&U TVT              34
       Floor Repair System/Robin Osman                                                                                                                                                   ETH.MESH.03459055      ETH.MESH.03459061
2008   On Hold Message E Mail Push – GYNECARE PROLIFT® Pelvic Floor Repair System /GYNECARE TVT Tension-free Support 2008-876         7/23/2008      EWH&U Prolift          34
       for Incontinence – GYNECARE THERMACHOICE® Uterine Balloon Therapy System/Robin Osman                                                                                              ETH.MESH.03459062      ETH.MESH.03459066
2008   On Hold Message E Mail Push – GYNECARE PROLIFT® Pelvic Floor Repair System – LSH/Robin Osman                   2008-877        7/23/2008      EWH&U Prolift          34           ETH.MESH.03459067      ETH.MESH.03459073
2008   On Hold Message E Mail Push – GYNECARE PROLIFT® Pelvic Floor Repair System/GYNECARE THERMACHICE® Uterine       2008-879        7/23/2008      EWH&U Prolift          34
       Balloon Therapy System/Robin Osman                                                                                                                                                ETH.MESH.03459074      ETH.MESH.03459081
2008   On Hold Message E Mail Push – GYNECARE PROLIFT® Pelvic Floor Repair System/Robin Osman                         2008-880        7/23/2008      EWH&U Prolift          34           ETH.MESH.03459082      ETH.MESH.03459086
2008   TVT Dossier for US/Vanja Sikirica                                                                              2008-918        7/30/2008      EWH&U TVT              4                                                        ETH.MESH.00167310    ETH.MESH.00167352
2008   TVT Dossier for US/Vanja Sikirica                                                                              2008-918        7/30/2008      EWH&U TVT              4                                                        ETH.MESH.00167310    ETH.MESH.00167352
                                                                                                                      (dupe)
2008   Update Patient Brochure on www.whatshappeningdownthere.com SUI/RJ Wicks                                        2008-956        8/13/2008      EWH&U      TVT     34               ETH.MESH.03459087      ETH.MESH.03459104
2008   Update Patient Brochure on www.whatshappeningdownthere.com PROLAPSE/RJWicks                                    2008-957        8/13/2008      EWH&U      Prolift 32                                                           ETH.MESH.02619895    ETH.MESH.02619895
2008   TVT Family – AUGS Panel/Joy de los Reyes                                                                       2008-971        8/20/2008      EWH&U      TVT     34               ETH.MESH.03459105      ETH.MESH.03459105
2008   GYNECARE TVT Family of Products and 11.5 Year Data AUGS Insertion Card/Joy de los Reyes                        2008-972        8/20/2008      EWH&U      TVT     34               ETH.MESH.03459106      ETH.MESH.03459109
2008   AUGS Pelvic Floor Panel/Linda Linton                                                                           2008-979        8/20/2008      EWH&U      Prolift 34               ETH.MESH.03459110      ETH.MESH.03459110
2008   AUGS Corporate Graphic Panel/Linda Linton                                                                      2008-980        8/20/2008      EWH&U      All     34               ETH.MESH.03459111      ETH.MESH.03459203
2008   Gynemesh Brochure/Hilllary Perkins                                                                             2008-989        8/27/2008      EWH&U      Gynemes 34
                                                                                                                                                                h                        ETH.MESH.03459204      ETH.MESH.03459210
2008   TVT 11.5 Year Data Press Release/Devon Prutzman                                                                   2008-995     8/27/2008      EWH&U      TVT     34               ETH.MESH.03459211      ETH.MESH.03459220
2009   Boston Scientific Solyx Sales Aid/Melissa Chaves                                                                  2009-152     2/18/2009      EWH&U      TVT     34               ETH.MESH.03459667      ETH.MESH.03459702
2009   GYNECARE TVT Family of Products 2009 Regional Meeting/Melissa Chaves                                              2009-153     2/18/2009      EWH&U      TVT     34               ETH.MESH.03459703      ETH.MESH.03459765
2009   PROLIFT +M Web Ex Awareness 2/17/09/Hillary Perkins                                                               2009-175     2/25/2009      EWH&U      Prolift 2                                                            ETH.MESH.00015357    ETH.MESH.00015375
2009   PROLIFT +M Press Release/Devon Prutzman                                                                           2009-182     2/25/2009      EWH&U      Prolift 34               ETH.MESH.03459766      ETH.MESH.03459772
2009   Product Pages for GYNECARE GYNEMESH on ethicon360.com/Alyson Wess                                                 2009-245     3/4/2009       EWH&U      Gynemes 34
                                                                                                                                                                h                        ETH.MESH.03459773      ETH.MESH.03459813
2009   Product Pages for PROLIFT on ethicon360.com/Alyson Wess                                                           2009-246      3/4/2009      EWH&U      Prolift 34               ETH.MESH.03459814      ETH.MESH.03459849
2009   Product Pages for GYNECARE PROLIFT +M on ethicon360.com/Alysonh Wess                                              2009-247      3/4/2009      EWH&U      Prolift 34               ETH.MESH.03459850      ETH.MESH.03459941
2009   Product Pages for GYNECARE TVT Family of Products including TVT Obturator and TVT Retropubic on                   2009-248      3/4/2009      EWH&U      TVT     34
       ehticon360.com/Alyson Wess                                                                                                                                                        ETH.MESH.03459942      ETH.MESH.03460010
2009   Product Pages for GYNECARE TVT SECUR on ethicon360.com/Alyson Wess                                                2009-249     3/4/2009       EWH&U      TVTS        34           ETH.MESH.03460011      ETH.MESH.03460084
2009   PROLIFT +M Brochure/Scott Jones                                                                                   2009-253     3/4/2009       EWH&U      Prolift     34           ETH.MESH.03460085      ETH.MESH.03460108
2009   GYNECARE PROLIFT+M Ten Word Description/Robin Osman                                                               2009-254     3/4/2009       EWH&U      Prolift     14                                                       ETH.MESH.00765507    ETH.MESH.00765507
2009   Analysis of Mesh Properties Table/Hillary Perkins                                                                 2009-307     3/11/2009      EWH&U      Prolift     34           ETH.MESH.03460109      ETH.MESH.03460115



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Year   SUBMISSION TITLE/SUBMITTER                                                                    CR Item #   Copy Approval   Business Brand         Production   PDF Production Start   PDF Production End   TIFF Start Bates     TIFF End Bates      Native Media Bates
                                                                                                                      Date                                           Bates                  Bates
2009   TVT Competitive User Guide/Melissa Chaves                                                     2009-318      3/11/2009     EWH&U      TVT         34           ETH.MESH.03460116      ETH.MESH.03460119
2009   Competitive Sales Aid PPT/Melissa Chaves                                                      2009-319      3/11/2009     EWH&U      TVT         34           ETH.MESH.03460120      ETH.MESH.03460171
2009   TVT Family of Products Competitive Sales Aid/Melissa Chaves                                   2009-320      3/11/2009     EWH&U      TVT         19                                                       ETH.MESH.01186068    ETH.MESH.01186072
2009   PROLIFT +M White Paper/Hillary Perkins                                                        2009-366      3/18/2009     EWH&U      Prolift     34           ETH.MESH.03460172      ETH.MESH.03460256
2009   PROLIFT +M Panel – AUA/Hillary Perkins                                                        2009-425       4/1/2009     EWH&U      Prolift     34           ETH.MESH.03460257      ETH.MESH.03460264
2009   PROLIFT +M Print Ad/Hillary Perkins                                                           2009-46       1/21/2009     EWH&U      Prolift     34           ETH.MESH.03459221      ETH.MESH.03459222
2009   SUI Patient Template Letter/Jason Goodbody                                                    2009-466      4/15/2009     EWH&U      TVT         34           ETH.MESH.03460265      ETH.MESH.03460266
2009   GYNECARE TVT Office Poster/Lauren Taveroni                                                    2009-469      4/15/2009     EWH&U      TVT         34           ETH.MESH.03460267      ETH.MESH.03460269
2009   The Science of What’s Left Behind Abbreviated Mesh Presentation/Melissa Chaves                2009-471      4/15/2009     EWH&U      TVT         34           ETH.MESH.03460270      ETH.MESH.03460318
2009   Solyx Competitive Rebuttals/Melissa Chaves                                                    2009-472      4/15/2009     EWH&U      TVT         34           ETH.MESH.03460319      ETH.MESH.03460323
2009   The Schedule of What’s Left Behind Presentation/Melissa Chaves                                2009-473      4/15/2009     EWH&U      TVT         34           ETH.MESH.03460324      ETH.MESH.03460396
2009   PRLIFT +M Investigator Meeting Slides/Hillary Perkins                                         2009-68       1/28/2009     EWH&U      Prolift     34           ETH.MESH.03459223      ETH.MESH.03459478
2009   Update on PROSIMA/Hillary Perkins                                                             2009-69       1/28/2009     EWH&U      Prosima     34           ETH.MESH.03459479      ETH.MESH.03459531
2009   PROLIFT +M Pelvic Floor Summit Presentation/Jonathan Meek                                     2009-75       1/28/2009     EWH&U      Prolift     34           ETH.MESH.03459532      ETH.MESH.03459559
2009   GYNECARE TVT Family of Products Panel Discussion/Melissa Chaves                               2009-77       1/28/2009     EWH&U      TVT         34           ETH.MESH.03459560      ETH.MESH.03459598
2009   TVT Registry/Melissa Chaves                                                                   2009-78       1/28/2009     EWH&U      TVT         34           ETH.MESH.03459599      ETH.MESH.03459638
2009   R&D Perspective: The Journey from PROLIFT to PROLIFT M Presentation/Clifford Volpe            2009-83       1/28/2009     EWH&U      Prolift     34           ETH.MESH.03459639      ETH.MESH.03459666




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Task Name                                         Task Number         Name of File Pulled                                     Path                                             Type                        Owner                    Role             Start Date  End Date Duration Start Date End Date       Duration      Brand       Production          Start Bates          End Bates
PROLIFT+M Hydrodissection video Blackberry        PROM-015-11-1/13    1 - PROM-015-11_Dissctn_HYDRO BB_CA.flv                 PROLIFT+M Hydrodissection video          (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing 11 Jan 2011   21 Jan     10    11 Jan 2011   28 Jan        17        Gyenecare                  23 ETH.MESH.02229014   ETH.MESH.02229014
                                                                                                                              Blackberry                                    Submission                                                                             2011                           2011                     Prolift
PROLIFT+M Blunt Dissection video for Blackberry   PROM-035-11-1/13    1 - PROM-035-11_Dissctn_BLUNT BB_CA.flv                 PROLIFT+M Blunt Dissection video for     (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing 11 Jan 2011   21 Jan     10    11 Jan 2011   28 Jan                                             23 ETH.MESH.02229015   ETH.MESH.02229015
                                                                                                                              Blackberry                                    Submission                                                                             2011                           2011
PROLIFT+M Sharp Dissection Video for Blackberry   PROM-036-11-1/13    1 - PROM-036-11_Dissctn_SHARP BB_CA.flv                 PROLIFT+M Sharp Dissection Video for     (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing 11 Jan 2011   21 Jan     10    11 Jan 2011   28 Jan        17        Gyenecare                  23 ETH.MESH.02229016   ETH.MESH.02229016
                                                                                                                              Blackberry                                    Submission                                                                             2011                           2011                     Prolift
GYNECARE TVT EXACT animation for Blackberry       TVTE-061-11-1/13    1 - TVTE-061-11_HCP_ANIM_PROCED_BB_CA.flv               GYNECARE TVT EXACT animation for         (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing 25 Jan 2011   02 Feb     8     23 Jan 2011   02 Feb        10       Gynecare TVT                23 ETH.MESH.02229017   ETH.MESH.02229017
Revised                                                                                                                       Blackberry Revised                            Submission                                                                             2011                           2011
GYNECARE TVT EXACT video for third party          TVTE-132-11-3/12    1 - TVTE-132-11_PROCEDURE LIVE_Web_CA.flv               GYNECARE TVT EXACT video for third       (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing   08 Mar      18 Mar     10      08 Mar      28 Mar        19       Gynecare TVT                23 ETH.MESH.02229018   ETH.MESH.02229018
webistes                                                                                                                      party webistes                                Submission                                                                  2011       2011                2011       2011
2011 AAGL EWHU Video Loop                         GPD-368-11-11/12    AAGL_LOOP_2011_V3.flv                                   2011 AAGL EWHU Video Loop                (ETHUS) Digital Content          Joseph Steele     (ETHUS) EWHU US Marketing 11 Oct 2011 04 Nov       24    11 Oct 2011 04 Nov          24        Gyenecare                  23 ETH.MESH.02229019   ETH.MESH.02229019
                                                                                                                                                                            Submission                                                                             2011                           2011                     Prolift
2011 ACOG Branded Video Loop                      GPD-186-11-4/13     ACOG_2011_Loop.flv                                      2011 ACOG Branded Video Loop             (ETHUS) Digital Content           Tiffany Frey     (ETHUS) EWHU US Marketing 19 Apr 2011   27 Apr     8     19 Apr 2011 01 May          12        Gyenecare                  23 ETH.MESH.02229020   ETH.MESH.02229020
                                                                                                                                                                            Submission                                                                             2011                           2011                    Prosima
AUGS TVT/PROLIFT Videos                           GPD-0186-09-9/11    AUGS TVTPROLIFT Videos.zip                              AUGS TVT/PROLIFT Videos                  (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing 11 Sep 2009 23 Sep       12    11 Sep 2009 23 Sep          12        Gyenecare                  23 ETH.MESH.02229021   ETH.MESH.02229021
                                                                                                                                                                            Submission                                                                             2009                           2009                     Prolift
EWHU NTM Opening video                            GPD-128-10-2/12     GPD-128-10_BODY_AND_LIFE_CA.wmv                         EWHU NTM Opening video                   (ETHUS) Digital Content        Rhonda Peebles      (ETHUS) EWHU US Marketing 16 Feb 2010 26 Feb       10    16 Feb 2010 26 Feb          10        Gyenecare                  23 ETH.MESH.02229022   ETH.MESH.02229022
                                                                                                                                                                            Submission                                                                             2010                           2010                     Prolift
Home-Study Anatomy Module                         GPD-133-11-2/13     GPD-133-11_Anatomy eMod_CA.zip                          Home-Study Anatomy Module                (ETHUS) Digital Content          Davina Kullar       (ETHUS) EWHU WW Sales 01 Feb 2011 30 Mar         57    30 Jan 2011 31 Mar          59         Gyencare                  23 ETH.MESH.02229023   ETH.MESH.02229023
                                                                                                                                                                            Submission                                              Training                       2011                           2011                   Gynemesh
Pre-Study Prolapse Module                         GPD-161-11-4/13     GPD-161-11_Prolapse eMod.zip                            Pre-Study Prolapse Module                (ETHUS) Digital Content          Davina Kullar       (ETHUS) EWHU WW Sales     29 Mar      11 May     43      28 Mar      19 May        52         Gyencare                  23 ETH.MESH.02229024   ETH.MESH.02229024
                                                                                                                                                                            Submission                                              Training            2011       2011                2011       2011                   Gynemesh
ACOG Multi-brand Product Video                    GPD-253-10-5/12     GPD-253-10_ACOG_LOOP_CA.wmv                             ACOG Multi-brand Product Video           (ETHUS) Digital Content           Tiffany Frey     (ETHUS) EWHU US Marketing 27 Apr 2010 12 May       15    26 Apr 2010 12 May          16       Gynecare TVT                23 ETH.MESH.02229025   ETH.MESH.02229025
                                                                                                                                                                            Submission                                                                             2010                           2010
IC & PF Convention loop                           GPD-439-10-9/12     GPD-439-10_IC_PF_Full Convention Video Loop_CA.mov      IC & PF Convention loop                  (ETHUS) Digital Content        Jennifer Paradise   (ETHUS) EWHU US Marketing 14 Sep 2010 29 Sep       15    14 Sep 2010 28 Sep          14        Gyenecare                  23 ETH.MESH.02229026   ETH.MESH.02229026
                                                                                                                                                                            Submission                                                                             2010                           2010                     Prolift
IC & PF experience what's new vide                GPD-440-10-9/12     GPD-440-10_Shortened Convention Video Loop_CA.wmv       IC & PF experience what's new vide       (ETHUS) Digital Content        Jennifer Paradise   (ETHUS) EWHU US Marketing 14 Sep 2010 29 Sep       15    14 Sep 2010 28 Sep          14        Gyenecare                  23 ETH.MESH.02229027   ETH.MESH.02229027
                                                                                                                                                                            Submission                                                                             2010                           2010                     Prolift
Annual Review and Renewal of                      GPD-516-10-3/12     GPD-516-10 Clinical Expertise Final_CA.zip              Annual Review and Renewal of             (ETHUS) Digital Content         Susan Chilcoat      (ETHUS) EWHU US Prof. Ed 12 Oct 2010   23 Feb    134    11 Oct 2010 23 Mar          163       Gyenecare                  23 ETH.MESH.02229028   ETH.MESH.02229028
www.clinicalexpertise.com                                                                                                     www.clinicalexpertise.com                     Submission                                                                             2011                           2011                     Prolift
Prosima and Prolift Carey and Cosson              GPD-525-10-10/12    GPD-525-10 Carey-Cosson_CA_FINAL.zip                    Prosima and Prolift Carey and Cosson     (ETHUS) Digital Content           Kevin Frost      (ETHUS) EWHU US Marketing 12 Oct 2010 22 Dec       71    12 Oct 2010   06 Jan        86        Gyenecare                  23 ETH.MESH.02229029   ETH.MESH.02229029
                                                                                                                                                                            Submission                                                                             2010                           2011                     Prolift
2010 AAGL Multi-brand Booth Loop                  GPD-533-10-11/12    GPD-533-10_AAGL_LOOP_CA.flv                             2010 AAGL Multi-brand Booth Loop         (ETHUS) Digital Content           Tiffany Frey     (ETHUS) EWHU US Marketing 19 Oct 2010 03 Nov       15    18 Oct 2010 11 Nov          24        Gyenecare                  23 ETH.MESH.02229030   ETH.MESH.02229030
                                                                                                                                                                            Submission                                                                             2010                           2010                     Prolift
PROLIFT procedural video DVD                      GPS023              Gynecare Prolift.zip                                    PROLIFT procedural video DVD             (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing 09 Feb 2010 24 Feb       15    08 Feb 2010 24 Feb          16        Gyenecare                  23 ETH.MESH.02229031   ETH.MESH.02229031
                                                                                                                                                                            Submission                                                                             2010                           2010                     Prolift
GYNECARE TVT ABBREVO Procedural DVD               TVTA-541-10-11/12   GYNECARE TVT ABBREVO Procedural DVD FINAL.zip           GYNECARE TVT ABBREVO Procedural          (ETHUS) Digital Content        Jennifer Paradise   (ETHUS) EWHU US Marketing 26 Oct 2010 05 Nov       10    25 Oct 2010 11 Nov          17       Gynecare TVT                23 ETH.MESH.02229032   ETH.MESH.02229032
                                                                                                                              DVD                                           Submission                                                                             2010                           2010
GYNECARE TVT ABBREVO WII Game for AAGL            TVTA-544-10-11/11   GYNECARE TVT ABBREVO WII Game for AAGL_FINAL.zip        GYNECARE TVT ABBREVO WII Game for        (ETHUS) Digital Content        Jennifer Paradise   (ETHUS) EWHU US Marketing 26 Oct 2010 05 Nov       10    25 Oct 2010 11 Nov          17       Gynecare TVT                23 ETH.MESH.02229033   ETH.MESH.02229033
                                                                                                                              AAGL                                          Submission                                                                             2010                           2010
GYNECARE TVT EXACT Video Animation for            TVTE-013-1-01/13    GYNECARE TVT EXACT Video Animation for Blackberry.flv   GYNECARE TVT EXACT Video Animation       (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing 04 Jan 2011   14 Jan     10    04 Jan 2011   18 Jan        14       Gynecare TVT                23 ETH.MESH.02229034   ETH.MESH.02229034
Blackberry                                                                                                                    for Blackberry                                Submission                                                                             2011                           2011
IUGA Video Loop                                   GPD-404-10-8/12     ICS_IUGA_LOOP_Copy_Fixes_FULL_CA.wmv                    IUGA Video Loop                          (ETHUS) Digital Content          Joseph Lanza           (ETHUS) EWHU WW      10 Aug 2010 20 Aug       10    10 Aug 2010 20 Aug          10        Gyenecare                  23 ETH.MESH.02229035   ETH.MESH.02229035
                                                                                                                                                                            Submission                                             Marketing                       2010                           2010                     Prolift
GYNECARE PROLIFT Procedure Animation Video        PRO-0102-09-6/11    Prolift Revisions.wmv                                   GYNECARE PROLIFT Procedure               (ETHUS) Digital Content        Lauren Taveroni     (ETHUS) EWHU US Marketing 16 Jun 2009   26 Jun     10    15 Jun 2009   30 Jun        15        Gyenecare                  23 ETH.MESH.02229036   ETH.MESH.02229036
and E-mail Note                                                                                                               Animation Video and E-mail Note               Submission                                                                             2009                           2009                     Prolift
AUGS Symposium Video                              PROM-016-10-1/12    PROM-016-1_AUG_SYMP_VIDEO_FINAL_2-1-10.wmv              AUGS Symposium Video                     (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing 05 Jan 2010   05 Feb     31    05 Jan 2010   10 Feb        36        Gyenecare                  23 ETH.MESH.02229037   ETH.MESH.02229037
                                                                                                                                                                            Submission                                                                             2010                           2010                     Prolift
PROLIFT NTM Intro Video                           PROM-124-10-2/12    PROM-124-10_PROLIFT NTM VIDEO_CA.wmv                    PROLIFT NTM Intro Video                  (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing 16 Feb 2010 26 Feb       10    16 Feb 2010 26 Feb          10        Gyenecare                  23 ETH.MESH.02229038   ETH.MESH.02229038
                                                                                                                                                                            Submission                                                                             2010                           2010                     Prolift
Think Again Roll Out Video                        PROM-333-10-7/12    PROM-333-10_THINK_AGAIN_CA.wmv                          Think Again Roll Out Video               (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing 29 Jun 2010 14 Jul 2010  15    28 Jun 2010 15 Jul 2010     17        Gyenecare                  23 ETH.MESH.02229039   ETH.MESH.02229039
                                                                                                                                                                            Submission                                                                                                                                     Prolift
Laparoscopic View of PROLIFT Procedure (Dr.       PROM-390-11-12/12 PROM-390-11_LapView_Prolift_Lucente_Raders_CA.flv         Laparoscopic View of PROLIFT Procedure   (ETHUS) Digital Content        Brian Luscombe      (ETHUS) EWHU US Marketing   22 Nov      09 Dec      17      18 Nov       13 Dec      25        Gyenecare                  23 ETH.MESH.02229040   ETH.MESH.02229040
Lucente & Dr. Raders)                                                                                                         (Dr. Lucente & Dr. Raders)                    Submission                                                                  2011       2011                 2011        2011                   Prolift
Dissection Video                                  PROM-432-10-9/12    PROM-432_10_PROLIFT_M_Dissection_Video_FINAL_CA.wmv     Dissection Video                         (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing 07 Sep 2010   29 Sep      22    07 Sep 2010    29 Sep      22        Gyenecare                  23 ETH.MESH.02229041   ETH.MESH.02229041
                                                                                                                                                                            Submission                                                                             2010                             2010                   Prolift
PROLIFT+M Procedure E-module                      PROM-572-10-11/11 PROM-572-10_PROLIFT PROCEDURE MODULE_CA.zip               PROLIFT+M Procedure E-module             (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing   09 Nov      15 Dec      36       09 Nov      14 Dec      35        Gyenecare                  23 ETH.MESH.02229042   ETH.MESH.02229042
                                                                                                                                                                            Submission                                                                  2010       2010                  2010       2010                   Prolift
Prosima Education CD                              PROS-0065-09-6/11   PROS-0065-09_Education CD_CA.zip                        Prosima Education CD                     (ETHUS) Digital Content         Jonathan Meek          (ETHUS) EWHU WW         19 May      05 Jun      17       19 May      10 Jun      22        Gyenecare                  23 ETH.MESH.02229043   ETH.MESH.02229043
                                                                                                                                                                            Submission                                             Marketing            2009       2009                  2009       2009                  Prosima
GYNECARE PROSIMA Short Procedure video for        PROS-014-11-1/13    PROS-014-11_Shrtned_Procedure_V6_BB_CA.flv              GYNECARE PROSIMA Short Procedure         (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing 04 Jan 2011   28 Jan      24     04 Jan 2011   28 Jan      24        Gyenecare                  23 ETH.MESH.02229044   ETH.MESH.02229044
Blackberry                                                                                                                    video for Blackberry                          Submission                                                                             2011                             2011                  Prosima
Proisma 2011 NTM Role Play                        PROM-042-11-1/13    PROS-042-11_NTM Role Play_CA.wmv                        Proisma 2011 NTM Role Play               (ETHUS) Digital Content           Kevin Frost      (ETHUS) EWHU US Marketing 18 Jan 2011   02 Feb      15     14 Jan 2011   31 Jan      17        Gyenecare                  23 ETH.MESH.02229045   ETH.MESH.02229045
                                                                                                                                                                            Submission                                                                             2011                             2011                  Prosima
Prosima Biomechanics DVD                          PROS-062-11-1/13    PROS-062-11_Biomechanics_CA.flv                         Prosima Biomechanics DVD                 (ETHUS) Digital Content           Kevin Frost      (ETHUS) EWHU US Marketing 28 Jan 2011   04 Feb      7      28 Jan 2011   04 Feb       7        Gyenecare                  23 ETH.MESH.02229046   ETH.MESH.02229046
                                                                                                                                                                            Submission                                                                             2011                             2011                  Prosima




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Task Name                                      Task Number         Name of File Pulled                                       Path                                            Type                       Owner                     Role            Start Date End Date        Duration Start Date End Date        Duration      Brand       Production          Start Bates          End Bates
Prosima Biomechancs DVD Cover Label            PROS-062-11-1/13    PROS-062-11_Biomechanics_FINAL.zip                        Prosima Biomechancs DVD Cover Label    (ETHUS) Printed Material          Kevin Frost      (ETHUS) EWHU US Marketing 15 Feb 2011 25 Feb             10    14 Feb 2011 02 Mar           16        Gyenecare                  23 ETH.MESH.02229047   ETH.MESH.02229047
                                                                                                                                                                          Submission                                                                           2011                                  2011                     Prosima
Prosima AIDiNC Selling Guide Audio Recording   PROS-067-11-1/13    PROS-067-11_AIDiNC_Selling_Guide_CA.mp3                   Prosima AIDiNC Selling Guide Audio      (ETHUS) Digital Content          Kevin Frost      (ETHUS) EWHU US Marketing 25 Jan 2011  11 Feb            17    25 Jan 2011   16 Feb         22        Gyenecare                  23 ETH.MESH.02229048   ETH.MESH.02229048
                                                                                                                             Recording                                    Submission                                                                           2011                                  2011                     Prosima
Prosima energizer Video                        PROS-072-11-1/13    PROS-072-11_SPLASH_V8_CA.flv                              Prosima energizer Video                 (ETHUS) Digital Content          Kevin Frost      (ETHUS) EWHU US Marketing 25 Jan 2011  04 Feb            10    24 Jan 2011   04 Feb         11        Gyenecare                  23 ETH.MESH.02229049   ETH.MESH.02229049
                                                                                                                                                                          Submission                                                                           2011                                  2011                     Prosima
PROSIMA Pelvic Model Video                     PROS-089-11-2/13    PROS-089-11_Pelvic_Model_RolePlay_CA.flv                  PROSIMA Pelvic Model Video              (ETHUS) Digital Content     Bartholomew (Bart)     (ETHUS) EWHU US Prof. Ed 08 Feb 2011 25 Feb             17    07 Feb 2011 02 Mar           23        Gyenecare                  23 ETH.MESH.02229050   ETH.MESH.02229050
                                                                                                                                                                          Submission                  Pattyson                                                 2011                                  2011                     Prosima
GYNECARE PROSIMA BIOMECHANICS video for        PROS-131-11-3/12    PROS-131-11_Biomechanics_Prosima_CA.flv                   GYNECARE PROSIMA BIOMECHANICS           (ETHUS) Digital Content        Linda Linton       (ETHUS) EWHU US Marketing    01 Mar    23 Mar            22    28 Feb 2011 28 Mar           27        Gyenecare                  23 ETH.MESH.02229051   ETH.MESH.02229051
third party sites                                                                                                            video for third party sites                  Submission                                                                 2011      2011                                  2011                     Prosima
GYNECARE PROSIMA Patient Testimonial Video -   PROS-210-11-6/13    PROS-210-11_LT_WTE_01_Patient_02_V8_CA.wmv                GYNECARE PROSIMA Patient Testimonial    (ETHUS) Digital Content       Lauren Taveroni     (ETHUS) EWHU US Marketing   31 May     29 Jun           29       29 May    19 Jul 2011      51        Gyenecare                  23 ETH.MESH.02229052   ETH.MESH.02229052
"One Woman's Story"                                                                                                          Video - "One Woman's Story"                  Submission                                                                 2011      2011                       2011                                Prosima

GYNECARE PROSIMA - Patient Testimonial Video   PROS-211-11-7/13    PROS-211-11_WTE_01_Patient_01_Testi_V12_CA.wmv            GYNECARE PROSIMA - Patient             (ETHUS) Digital Content        Lauren Taveroni     (ETHUS) EWHU US Marketing 12 Jul 2011 27 Jul 2011       15      11 Jul 2011 28 Jul 2011     17        Gyenecare                  23 ETH.MESH.02229053   ETH.MESH.02229053
(My Pelvic Floor Repair)                                                                                                     Testimonial Video (My Pelvic Floor          Submission                                                                                                                                           Prosima
                                                                                                                             Repair)
GYNECARE PROSIMA Patient Video - What to       PROS-216-11-7/13    PROS-216-11_Prosima What to Expect _V9_CA.wmv             GYNECARE PROSIMA Patient Video -        (ETHUS) Digital Content       Lauren Taveroni     (ETHUS) EWHU US Marketing 19 Jul 2011   31 Aug          43      18 Jul 2011   02 Sep        46        Gyenecare                  23 ETH.MESH.02229054   ETH.MESH.02229054
Expect from your Procedure                                                                                                   What to Expect from your Procedure           Submission                                                                            2011                                  2011                    Prosima
Prosima VSD Removal Case Series                PROS-276-11-7/13    PROS-276-11_PROSIMA_CASE_SERIES_V12_FINAL.zip             Prosima VSD Removal Case Series         (ETHUS) Digital Content          Kevin Frost      (ETHUS) EWHU US Marketing 19 Jul 2011 29 Jul 2011       10      18 Jul 2011   02 Aug        15        Gyenecare                  23 ETH.MESH.02229055   ETH.MESH.02229055
                                                                                                                                                                          Submission                                                                                                                  2011                    Prosima
Prosima AAGL Short Procedural Video            PROS-532-10-11/12   Prosima AAGL Short Procedural Video.zip                   Prosima AAGL Short Procedural Video     (ETHUS) Digital Content          Kevin Frost      (ETHUS) EWHU US Marketing 19 Oct 2010   29 Oct          10      19 Oct 2010 04 Nov          16        Gyenecare                  23 ETH.MESH.02229056   ETH.MESH.02229056
                                                                                                                                                                          Submission                                                                            2010                                  2010                    Prosima
GYNECARE TVT Procedure Animation Video and E- TVT-0101-09-6/??     TVT.wmv                                                   GYNECARE TVT Procedure Animation        (ETHUS) Digital Content       Lauren Taveroni     (ETHUS) EWHU US Marketing 16 Jun 2009 01 Jul 2009       15      15 Jun 2009 01 Jul 2009     16       Gynecare TVT                23 ETH.MESH.02229057   ETH.MESH.02229057
mail Note                                                                                                                    Video and E-mail Note                        Submission
Pre-Study Incontinence                        TVT-160-11-4/13      TVT-160-11_Incontinence eMod.zip                          Pre-Study Incontinence                  (ETHUS) Digital Content         Davina Kullar       (ETHUS) EWHU WW Sales     29 Mar        18 May        50        28 Mar      23 May        56       Gynecare TVT                23 ETH.MESH.02229058   ETH.MESH.02229058
                                                                                                                                                                          Submission                                             Training            2011         2011                     2011       2011
GYNECARE TVT ABBREVO Mesh video for            TVTA-017-11-1/13    TVTA-017-11_Msh Plcmnt_BB_CA.wmv                          GYNECARE TVT ABBREVO Mesh video for     (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 18 Jan 2011     28 Jan        10      17 Jan 2011   31 Jan        14       Gynecare TVT                23 ETH.MESH.02229059   ETH.MESH.02229059
BlackBerry                                                                                                                   BlackBerry                                   Submission                                                                              2011                                2011
GYNECARE TVT ABBREVO Advanced Anatomy          TVTA-027-11-1/13    TVTA-027-11_AAC eModule_CA.zip                            GYNECARE TVT ABBREVO Advanced           (ETHUS) Digital Content       Jennifer Paradise   (ETHUS) EWHU US Marketing   04 Jan 2011   19 Jan        15      04 Jan 2011   28 Jan        24       Gynecare TVT                23 ETH.MESH.02229060   ETH.MESH.02229060
emodule                                                                                                                      Anatomy emodule                              Submission                                                                              2011                                2011
GYNECARE TVT ABBREVO NTM Opening video         TVTA-044-11-1/13    TVTA-044-11_Splash_Trng_Kickoff_CA.wmv                    GYNECARE TVT ABBREVO NTM Opening        (ETHUS) Digital Content       Jennifer Paradise   (ETHUS) EWHU US Marketing   18 Jan 2011   28 Jan        10      17 Jan 2011   31 Jan        14       Gynecare TVT                23 ETH.MESH.02229061   ETH.MESH.02229061
                                                                                                                             video                                        Submission                                                                              2011                                2011
GYNECARE TVT ABBREVO 2 day video NTM           TVTA-045-11-1/13    TVTA-045-11_2 day video NTM_CA.wmv                        GYNECARE TVT ABBREVO 2 day video        (ETHUS) Digital Content       Jennifer Paradise   (ETHUS) EWHU US Marketing   18 Jan 2011   02 Feb        15      17 Jan 2011   31 Jan        14       Gynecare TVT                23 ETH.MESH.02229062   ETH.MESH.02229062
                                                                                                                             NTM                                          Submission                                                                              2011                                2011
GYNECARE TVT ABBREVO Generic SIS mesh          TVTA-056-11-1/13    TVTA-056-11_SIS Msh Plcmnt_BB_CA.wmv                      GYNECARE TVT ABBREVO Generic SIS        (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing   18 Jan 2011   28 Jan        10      17 Jan 2011   31 Jan        14       Gynecare TVT                23 ETH.MESH.02229063   ETH.MESH.02229063
placement for BlackBerry                                                                                                     mesh placement for BlackBerry                Submission                                                                              2011                                2011
GYNECARE TVT ABBREVO Generic O Mesh            TVTA-057-11-1/13    TVTA-057-11_GEN O Msh Plcmnt_BB_CA.wmv                    GYNECARE TVT ABBREVO Generic O          (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing   18 Jan 2011   28 Jan        10      17 Jan 2011   31 Jan        14       Gynecare TVT                23 ETH.MESH.02229064   ETH.MESH.02229064
Placement for Blackberry                                                                                                     Mesh Placement for Blackberry                Submission                                                                              2011                                2011
TVT ABBREVO Anatomic Dissection Video          TVTA-138-11-3/13    TVTA-138-11_DISSECTION_V4_CA.flv                          TVT ABBREVO Anatomic Dissection         (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW           15 Mar      30 Mar        15        15 Mar      31 Mar        16       Gynecare TVT                23 ETH.MESH.02229065   ETH.MESH.02229065
                                                                                                                             Video                                        Submission                                            Marketing              2011       2011                     2011       2011
TVT ABBREVO Dissection Video                   TVTA-233-11-6/13    TVTA-233-11_ABBREVO_TVT_O_DISSECTION_V9_CA.wmv            TVT ABBREVO Dissection Video            (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW         07 Jun 2011   15 Jun         8      03 Jun 2011   17 Jun        14       Gynecare TVT                23 ETH.MESH.02229066   ETH.MESH.02229066
                                                                                                                                                                          Submission                                            Marketing                         2011                                2011
TVT ABBREVO Dissection Photos                  TVTA-234-11-6/13    TVTA-234-11_Anatomic_Dissection_Photos_CA.exe             TVT ABBREVO Dissection Photos           (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW         07 Jun 2011   17 Jun        10      03 Jun 2011   22 Jun        19       Gynecare TVT                23 ETH.MESH.02229067   ETH.MESH.02229067
                                                                                                                                                                          Submission                                            Marketing                         2011                                2011
TVT ABBREVO Flynn Procedure Video              TVTA-243-11-7/13    TVTA-243-11_ABBREVO_LIVE_DENVER_V8_2_CA.wmv               TVT ABBREVO Flynn Procedure Video       (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW         14 Jun 2011   29 Jun        15      10 Jun 2011   29 Jun        19       Gynecare TVT                23 ETH.MESH.02229068   ETH.MESH.02229068
                                                                                                                                                                          Submission                                            Marketing                         2011                                2011
TVT ABBREVO Animated Procedure Video           TVTA-252-11-6/13    TVTA-252-11_TVT ABBREVO Animated Procedure Video_CA.wmv   TVT ABBREVO Animated Procedure          (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW         21 Jun 2011 01 Jul 2011     10      14 Jun 2011 05 Jul 2011     21       Gynecare TVT                23 ETH.MESH.02229069   ETH.MESH.02229069
                                                                                                                             Video                                        Submission                                            Marketing
TVT ABBREVO Live and Animated Procedure Video TVTA-285-11-7/13     TVTA-285-11_LIVE_Animation_V4_CA.wmv                      TVT ABBREVO Live and Animated           (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW        19 Jul 2011    17 Aug        29      18 Jul 2011  21 Aug         34       Gynecare TVT                23 ETH.MESH.02229070   ETH.MESH.02229070
                                                                                                                             Procedure Video                              Submission                                            Marketing                         2011                               2011
TVT ABBREVO Prof Ed Digital Library DVD-ROM    TVTA-293-11-8/13    TVTA-293-11_Digital Library_CA.zip                        TVT ABBREVO Prof Ed Digital Library     (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW        26 Jul 2011    19 Aug        24      26 Jul 2011  24 Aug         29       Gynecare TVT                23 ETH.MESH.02229071   ETH.MESH.02229071
                                                                                                                             DVD-ROM                                      Submission                                            Marketing                         2011                               2011
GYNECARE TVT ABBREVO Procedure Video           TVTA-400-10-8/12    TVTA-400-10ABBREVO_PROCEDURE_CA.wmv                       GYNECARE TVT ABBREVO Procedure          (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW       10 Aug 2010     20 Aug        10     09 Aug 2010 20 Aug           11       Gynecare TVT                23 ETH.MESH.02229072   ETH.MESH.02229072
                                                                                                                             Video                                        Submission                                            Marketing                         2010                               2010
GYNECARE TVT ABBREVO live procedure            TVTA-517-10-10/12   TVTA-517-10_Live Procedure Riachi_CA.wmv                  GYNECARE TVT ABBREVO live procedure     (ETHUS) Digital Content       Jennifer Paradise   (ETHUS) EWHU US Marketing 12 Oct 2010     22 Oct        10     12 Oct 2010   25 Oct         13       Gynecare TVT                23 ETH.MESH.02229073   ETH.MESH.02229073
                                                                                                                                                                          Submission                                                                              2010                               2010
TVT EXACT Procedure Video                      TVTE-189-10-4/12    TVTE-189-10_TVT_EXACT_Procedure_CA.wmv                    TVT EXACT Procedure Video               (ETHUS) Digital Content          Stale Kvitle         (ETHUS) EWHU WW         06 Apr 2010   16 Apr        10     06 Apr 2010   19 Apr         13       Gynecare TVT                23 ETH.MESH.02229074   ETH.MESH.02229074
                                                                                                                                                                          Submission                                            Marketing                         2010                               2010
TVT EXACT animated procedure                   TVTE-190-10-4/12    TVTE-190-10_HCP_ANIMATION_CA.wmv                          TVT EXACT animated procedure            (ETHUS) Digital Content          Stale Kvitle         (ETHUS) EWHU WW         06 Apr 2010   16 Apr        10     06 Apr 2010   19 Apr         13       Gynecare TVT                23 ETH.MESH.02229075   ETH.MESH.02229075
                                                                                                                                                                          Submission                                            Marketing                         2010                               2010
TVT EXACT PROCEDURAL DVD                       TVTE-264-10-5/13    TVTE-264-10_TVTEXACT_Video_CA.zip                         TVT EXACT PROCEDURAL DVD                (ETHUS) Digital Content          Stale Kvitle         (ETHUS) EWHU WW         28 Apr 2010 8 May 2010      11     28 Apr 2010 8 May 2010       10       Gynecare TVT                23 ETH.MESH.02229076   ETH.MESH.02229076
                                                                                                                                                                          Submission                                            Marketing
TVT EXACT Procedure DVD with Live Patient      TVTE-390-10-8/12    TVTE-390-10_Procedure DVD with Live Patient_CA.wmv        TVT EXACT Procedure DVD with Live        (ETHUS) Presentation         Rhonda Peebles      (ETHUS) EWHU US Marketing 03 Aug 2010     15 Dec        134    03 Aug 2010    15 Dec        134      Gynecare TVT                23 ETH.MESH.02229077   ETH.MESH.02229077
                                                                                                                             Patient                                      Submission                                                                              2010                                2010
TVT O Key Steps Flashcard                      TVTO-015-10-1/12    TVTO 015 10_TVT O Keysteps.zip                            TVT O Key Steps Flashcard              (ETHUS) Printed Material        Sheelu Samuel          (ETHUS) EWHU WW         12 Jan 2010   03 Feb        22      12 Jan 2010   04 Feb        23       Gynecare TVT                23 ETH.MESH.02229078   ETH.MESH.02229078
                                                                                                                                                                          Submission                                           Marketing                          2010                                2010




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                 4/10/2012                                                                                                                                                                                                                                                                                                     SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
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                                                                                                                                                                                    In re Pelvic Mesh Litigation
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Task Name                                      Task Number         Name of File Pulled                                 Path                                                 Type                       Owner                   Role             Start Date End Date     Duration Start Date End Date    Duration      Brand       Production          Start Bates          End Bates
TVT Obturator Patient Video: "What to Expect   TVTO-097-11-3/13    TVTO-097-11_Preparing_OBT_V7_CA.wmv                 TVT Obturator Patient Video: "What to        (ETHUS) Digital Content        Lauren Taveroni   (ETHUS) EWHU US Marketing 22 Feb 2011 09 Mar          15    21 Feb 2011 09 Mar       16       Gynecare TVT                23 ETH.MESH.02229079   ETH.MESH.02229079
from your Procedure"                                                                                                   Expect from your Procedure"                       Submission                                                                          2011                             2011
TVT NTM video                                  TVTO-126-10-2/12    TVTO-126-10_TVT-O NTM VIDEO_CA.wmv                  TVT NTM video                                (ETHUS) Digital Content        Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010 26 Feb          10    16 Feb 2010 26 Feb       10       Gynecare TVT                23 ETH.MESH.02229080   ETH.MESH.02229080
                                                                                                                                                                         Submission                                                                          2010                             2010
EWHU Clinical-Set 2-Falconer: Perioperative    PRO-0304-09-12/10   132_Falconer_Perioperative Morbidity.pdf            EWHU Clinical-Set 2-Falconer:                (ETHUS) Digital Content           Scott Jones    (ETHUS) EWHU US Marketing    17 Nov    23 Dec         36      15 Nov    06 Jan       52        Gyenecare                  23 ETH.MESH.02229081   ETH.MESH.02229086
Morbidity (clinical article)                                                                                           Perioperative Morbidity (clinical article)        Submission                                                                2009      2009                    2009     2010                    Prolift

Employer Occupational Health Nurse Outreach    WH-GPD-0027-09-     2009 AAOHN.pdf                                      Employer Occupational Health Nurse            (ETHUS) Digital Content      Melissa Muguruza   (ETHUS) EWHU US Marketing     05 May      22 May     17       05 May      21 May     16         Gyencare                  23 ETH.MESH.02229087   ETH.MESH.02229087
Offer Letter                                   4/11                                                                    Outreach Offer Letter                              Submission                                                                 2009       2009                 2009       2009                Gynemesh
EWH&U Professional Education Webinar Series    GPD-0093-09-6/10    3943_EWHU Webinar_v2R_CA.pdf                        EWH&U Professional Education Webinar         (ETHUS) Printed Material        Eric Globerman    (ETHUS) EWHU US Prof. Ed   09 Jun 2009   27 Jun     18     08 Jun 2009   25 Jun     17        Gyenecare                  23 ETH.MESH.02229088   ETH.MESH.02229088
                                                                                                                       Series                                             Submission                                                                            2009                            2009                  Prolift
GYNECARE TVT ABBREVO Key Steps Flash Card      TVTA-398-10-8/12    Abbrevo Flash Card Panel TVTA 398 10.pdf            GYNECARE TVT ABBREVO Key Steps               (ETHUS) Printed Material        Sheelu Samuel        (ETHUS) EWHU WW         10 Aug 2010   20 Aug     10    09 Aug 2010    20 Aug     11       Gynecare TVT                23 ETH.MESH.02229089   ETH.MESH.02229090
                                                                                                                       Flash Card                                         Submission                                         Marketing                          2010                            2010




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                 4/10/2012                                                                                                                                                                                                                                                                                            SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
                                                                                                               Case 2:12-md-02327 Document 639-5 Filed 06/11/13 Page 32 of 50 PageID #: 7496
                                                                                                                                                                                            In re Pelvic Mesh Litigation
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Task Name                                    Task Number           Name of File Pulled                                           Path                                               Type                        Owner                      Role             Start Date End Date     Duration Start Date End Date       Duration      Brand       Production          Start Bates          End Bates
GYNECARE TVT ABBREVO Nomenclature flash card TVTA-463-10-10/12     Abbrevo Nomenclature flash card TVTA 463 10.pdf               GYNECARE TVT ABBREVO Nomenclature           (ETHUS) Presentation          Jennifer Paradise    (ETHUS) EWHU US Marketing 28 Sep 2010   13 Oct         15    22 Sep 2010 13 Oct          21       Gynecare TVT                23 ETH.MESH.02229091   ETH.MESH.02229091
                                                                                                                                 flash card                                      Submission                                                                              2010                             2010
”About Us” Content on ethicon360.com Specialties WH-GPD-0005-09-   About Us Final Version.pdf                                    ”About Us” Content on ethicon360.com       (ETHUS) Digital Content          Jennifer Haby     (ETHUS) Production Managers 14 Apr 2009 02 May          18    14 Apr 2009 06 May          22        Gyencare                   23 ETH.MESH.02229092   ETH.MESH.02229093
and Medical Areas for ethicon360.com             4/10                                                                            Specialties and Medical Areas for               Submission                                                                              2009                             2009                     Gynemesh
                                                                                                                                 ethicon360.com
Click Vision Flash Presentation                WH-PROM-0013-09- Click Vision Revisions 5-4-09.pdf                                Click Vision Flash Presentation             (ETHUS) Digital Content        Hillary Perkins    (ETHUS) EWHU US Marketing 21 Apr 2009      23 May      32    21 Apr 2009   27 May         36        Gyenecare                  23 ETH.MESH.02229094   ETH.MESH.02229123
                                               4/10                                                                                                                               Submission                                                                               2009                            2009                      Prolift
PROLIFT Clinical Compendium                    PROM-0075-09-4/11 Clinical Compendium_PROLIFT_CA.pdf                              PROLIFT Clinical Compendium                 (ETHUS) Digital Content        Hillary Perkins     (ETHUS) EWHU US Marketing 02 Jun 2009     12 Jun      10    02 Jun 2009   15 Jun         13        Gyenecare                  23 ETH.MESH.02229124   ETH.MESH.02229125
                                                                                                                                                                                  Submission                                                                               2009                            2009                      Prolift
Annual Review and Renewal of                   EP-0070-09-10/10    EP-0070-09_clinicalexpertise website.pdf                      Annual Review and Renewal of                (ETHUS) Digital Content        Susan Chilcoat        (ETHUS) EWHU US Prof. Ed 01 Sep 2009    14 Oct      43    01 Sep 2009   21 Oct         50        Gyenecare                  23 ETH.MESH.02229126   ETH.MESH.02229151
clinicalexpertise.com                                                                                                            clinicalexpertise.com                            Submission                                                                               2009                            2009                      Prolift
Prof Ed Survey Template                        EP-0168-09-12/11    EP-0168-09_Prof Ed Survey Template Immediate Course 2010_CA   Prof Ed Survey Template                    (ETHUS) Printed Material     Patricia (Patti) Logan     (ETHUS) EP US Prof. Ed    08 Dec 2009 18 Dec      10    07 Dec 2009 22 Dec           15         Gyencare                  23 ETH.MESH.02229152   ETH.MESH.02229153
                                                                   FINAL.pdf                                                                                                      Submission                                                                               2009                            2009                    Gynemesh
ETHICON Latex Letter                           EP-017-10-1/12      EP-017-10_Latex Letter Revised Jan 2010_CA FINAL.pdf          ETHICON Latex Letter                       (ETHUS) Printed Material        SHERI DORAN            (ETHUS) EP US Marketing    12 Jan 2010 03 Feb      22    11 Jan 2010   10 Feb         30         Gyencare                  23 ETH.MESH.02229154   ETH.MESH.02229154
                                                                                                                                                                                  Submission                                                                               2010                            2010                    Gynemesh
3 Month Post Event Survey                      EP-0174-09-12/10    EP-0174-09_2010 3 Month Post Event Survey_CA FINAL.pdf        3 Month Post Event Survey                   (ETHUS) Digital Content     Patricia (Patti) Logan     (ETHUS) EP US Prof. Ed    08 Dec 2009 18 Dec      10    08 Dec 2009 22 Dec           14         Gyencare                  23 ETH.MESH.02229155   ETH.MESH.02229156
                                                                                                                                                                                  Submission                                                                               2009                            2009                    Gynemesh
ETHICON Suture/Mesh MRI Letter                 EP-042-10- 2/12     EP-042-10_ETHICON Suture_Mesh MRI Letter_CA_FINAL.pdf         ETHICON Suture/Mesh MRI Letter             (ETHUS) Printed Material       Martin Weisberg      (ETHUS) EP US Medical Affairs 26 Jan 2010 17 Feb      22    22 Jan 2010   18 Feb         27         Gyencare                  23 ETH.MESH.02229157   ETH.MESH.02229157
                                                                                                                                                                                  Submission                                                                               2010                            2010                    Gynemesh
ClinicalExpertise.com General Pages            ETH-005-11          ETH-005-12_ClinicalExpertisecom General Pages_CA.pdf          ClinicalExpertise.com General Pages         (ETHUS) Digital Content       Stephani (Layli)           (ETHUS) Mentor US       16 Dec 2011 16 Jan      31    16 Dec 2011   17 Jan         32        Gyenecare                  23 ETH.MESH.02229158   ETH.MESH.02229219
                                                                                                                                                                                  Submission                    Sobhani                   Marketing                        2012                            2012                      Prolift
ClinicalExpertise.com NEW SITE                 ETH-006-12          ETH-006-12_CLinical Expertise New Site_RevE_CA.pdf            ClinicalExpertise.com NEW SITE              (ETHUS) Digital Content       Stephani (Layli)           (ETHUS) Mentor US       16 Dec 2011 20 Jan      35    16 Dec 2011   23 Jan         38        Gyenecare                  23 ETH.MESH.02229220   ETH.MESH.02229330
                                                                                                                                                                                  Submission                    Sobhani                   Marketing                        2012                            2012                      Prolift
EWHU Market Development Materials List         GPD-0055-09-6/11    EWHU Market Development Materials ListCA.pdf                  EWHU Market Development Materials          (ETHUS) Printed Material       Lauren Taveroni      (ETHUS) EWHU US Marketing 08 Jun 2009     24 Jun      16    09 Jun 2009   22 Jun         13        Gyenecare                  23 ETH.MESH.02229331   ETH.MESH.02229331
                                                                                                                                 List                                             Submission                                                                               2009                            2009                      Prolift
EWH&U Market Development Sell Sheet            GPD-0054-09-4/11    EWHU Market Development Sell SheetCA.pdf                      EWH&U Market Development Sell Sheet        (ETHUS) Printed Material       Lauren Taveroni      (ETHUS) EWHU US Marketing 08 Jun 2009     19 Jun      11    09 Jun 2009   23 Jun         14        Gyenecare                  23 ETH.MESH.02229332   ETH.MESH.02229332
                                                                                                                                                                                  Submission                                                                               2009                            2009                      Prolift
FAD Physican Profile Fax update                WH-GPD-0038-09-     FAD Permission Fax 5-19-09.pdf                                FAD Physican Profile Fax update            (ETHUS) Printed Material         Linda Linton       (ETHUS) EWHU US Marketing       19 May    08 Jun      20      19 May      05 Jun         17        Gyenecare                  23 ETH.MESH.02229333   ETH.MESH.02229333
                                               4/11                                                                                                                               Submission                                                                      2009     2009                 2009       2009                      Prolift
Find A Doc Invite, Update, Confirm             GPD-345-10-7/12     FAD invite update for CA.pdf                                  Find A Doc Invite, Update, Confirm          (ETHUS) Digital Content         Linda Linton       (ETHUS) EWHU US Marketing 06 Jul 2010 16 Jul 2010     10    02 Jul 2010 23 Jul 2010      21        Gyenecare                  23 ETH.MESH.02229334   ETH.MESH.02229337
                                                                                                                                                                                  Submission                                                                                                                                         Prolift
Featured Products on home Page of              WH-GPD-0021-09-     Featured Products on Home Page of ethicon360.pdf              Featured Products on home Page of           (ETHUS) Digital Content         Gwenn Noel        (ETHUS) EWHU US Marketing 28 Apr 2009   15 May         17    28 Apr 2009    14 May        16        Gyenecare                  23 ETH.MESH.02229338   ETH.MESH.02229339
ethicon360.com                                 4/10                                                                              ethicon360.com                                   Submission                                                                            2009                                2009                     Prolift
Pelvic Floor Advisory Board Save the Date      WH-PRO-0016-09-     Female Surgeon Summit - Save the date.pdf                     Pelvic Floor Advisory Board Save the         (ETHUS) Presentation        Evelyn (Lynn) Hall   (ETHUS) EWHU US Marketing 28 Apr 2009   15 May         17    28 Apr 2009    14 May        16        Gyenecare                  23 ETH.MESH.02229340   ETH.MESH.02229340
                                               4/11                                                                              Date                                             Submission                                                                            2009                                2009                     Prolift
Garris Paper                                   PRO-278-10-5/12     Garris abstract.pdf                                           Garris Paper                               (ETHUS) Printed Material          Scott Jones      (ETHUS) EWHU US Marketing   04 May      19 May         15       03 May      20 May        17        Gyenecare                  23 ETH.MESH.02229341   ETH.MESH.02229341
                                                                                                                                                                                  Submission                                                                 2010       2010                     2010       2010                     Prolift
PROM-TVTO Preceptorship                        WH-GPD-0045-09-     GPD-0045-09 PROM TVTO Preceptorship.pdf                       PROM-TVTO Preceptorship                    (ETHUS) Printed Material        Eric Globerman      (ETHUS) EWHU US Prof. Ed   19 May      10 Jun         22       19 May      10 Jun        22        Gyenecare                  23 ETH.MESH.02229342   ETH.MESH.02229342
                                               4/11                                                                                                                               Submission                                                                 2009       2009                     2009       2009                     Prolift
Prof Ed Bulletin                               GPD-0089-09-7/11    GPD-0089-09_EWHU_all_regions2_CA.pdf                          Prof Ed Bulletin                           (ETHUS) Printed Material      Michala Kouskova       (ETHUS) EP WW Prof. Ed  09 Jun 2009 17 Jul 2009      38     09 Jun 2009 21 Jul 2009     42         Gyencare                  23 ETH.MESH.02229343   ETH.MESH.02229354
                                                                                                                                                                                  Submission                                                                                                                                       Gynemesh
Revised FAD Profile Fax with Group Name        GPD-0090-09-6/11    GPD-0090-09_FAD Permission Fax GroupCA.pdf                    Revised FAD Profile Fax with Group         (ETHUS) Printed Material         Linda Linton      (ETHUS) EWHU US Marketing 09 Jun 2009    26 Jun        17     09 Jun 2009   22 Jun        13        Gyenecare                  23 ETH.MESH.02229355   ETH.MESH.02229355
                                                                                                                                 Name                                             Submission                                                                             2009                               2009                     Prolift
Murphy Time to Rethink- Leader Document        GPD-014-12          GPD-014-12_Murphy Time to Rethink_ Leader Document_CA.pdf     Murphy Time to Rethink- Leader              (ETHUS) Digital Content       Brian Luscombe      (ETHUS) EWHU US Marketing 06 Jan 2012    18 Jan        12     06 Jan 2012   19 Jan        13        Gyenecare                  23 ETH.MESH.02229356   ETH.MESH.02229356
                                                                                                                                 Document                                         Submission                                                                             2012                               2012                     Prolift
EWH&U Company Descriptions for Convention      GPD-019-11-1/13     GPD-019-11_EWHU Description for Convention Guides_CA.pdf      EWH&U Company Descriptions for              (ETHUS) Digital Content         Robin Osman       (ETHUS) EWHU US Marketing 04 Jan 2011    14 Jan        10     03 Jan 2011   18 Jan        15         Gyencare                  23 ETH.MESH.02229357   ETH.MESH.02229357
Guides                                                                                                                           Convention Guides                                Submission                                                                             2011                               2011                   Gynemesh
J&J Hill Day Graphic                           GPD-026-11-1/13     GPD-026-11_899312_J&J Hill Day_CA.pdf                         J&J Hill Day Graphic                       (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 04 Jan 2011    14 Jan        10     04 Jan 2011   14 Jan        10       Gynecare TVT                23 ETH.MESH.02229358   ETH.MESH.02229358
                                                                                                                                                                                  Submission                                                                             2011                               2011
POP Patient Brochure                           GPD_037-10-1/12     GPD-037-10_Patient Prolapse Brochure_CA.pdf                   POP Patient Brochure                       (ETHUS) Printed Material          Kevin Frost      (ETHUS) EWHU US Marketing 25 Oct 2011    04 Nov        10     21 Oct 2011   09 Nov        19        Gyenecare                  23 ETH.MESH.02229359   ETH.MESH.02229378
                                                                                                                                                                                  Submission                                                                             2011                               2011                     Prolift
Prolapse Patient Brochure 2010                 GPD-037-10-1/12     GPD-037-10_Prolapse Brchr_486975A01_CA.pdf                    Prolapse Patient Brochure 2010             (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 26 Jan 2010    05 Feb        10     26 Jan 2010   10 Feb        15        Gyenecare                  23 ETH.MESH.02229379   ETH.MESH.02229398
                                                                                                                                                                                  Submission                                                                             2010                               2010                     Prolift
Course 08 -Statistics & Clinical Studies       GPD-041-11-1/13     GPD-041-11_Statistics_Clinical_Studies_CA.pdf                 Course 08 -Statistics & Clinical Studies    (ETHUS) Digital Content         Davina Kullar      (ETHUS) EWHU WW Sales     01 Feb 2011   30 Mar        57     30 Jan 2011   31 Mar        59        Gyencare                   23 ETH.MESH.02229399   ETH.MESH.02229568
                                                                                                                                                                                  Submission                                            Training                         2011                               2011                   Gynemesh
Global ProfEd Bulletin                         GPD-048-10-2/12     GPD-048-10_EWHU_All_CA.pdf                                    Global ProfEd Bulletin                      (ETHUS) Digital Content      Michala Kouskova       (ETHUS) EP WW Prof. Ed   02 Feb 2010   17 Feb        15    02 Feb 2010    19 Feb        17        Gyencare                   23 ETH.MESH.02229569   ETH.MESH.02229588
                                                                                                                                                                                  Submission                                                                             2010                               2010                   Gynemesh
EWHU Services Detail Aid 2010                  GPD-049-10-4/12     GPD-049-10_EWHU Detail Aid_CA.pdf                             EWHU Services Detail Aid 2010              (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 13 Apr 2010    21 May        38    07 Apr 2010    24 May        47        Gyencare                   23 ETH.MESH.02229589   ETH.MESH.02229608
                                                                                                                                                                                  Submission                                                                             2010                               2010                   Gynemesh
Convention Lead Form                           GPD-081-11-2/13     GPD-081-11_Lead form_CA.pdf                                   Convention Lead Form                       (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 01 Feb 2011    09 Feb         8     28 Jan 2011   16 Feb        19        Gyenecare                  23 ETH.MESH.02229609   ETH.MESH.02229609
                                                                                                                                                                                  Submission                                                                             2011                               2011                     Prolift
Global ProfEd Bulletin -winter- EWHU           GPD-082-11-2/13     GPD-082-11_EWHU ProfEd Bulltn_CA.pdf                          Global ProfEd Bulletin -winter- EWHU        (ETHUS) Digital Content      Michala Kouskova     (ETHUS) EWHU WW Prof. Ed 25 Jan 2011     04 Feb        10     24 Jan 2011   07 Feb        14        Gyencare                   23 ETH.MESH.02229610   ETH.MESH.02229620
                                                                                                                                                                                  Submission                                                                             2011                               2011                   Gynemesh
EWH&U Header - J&J Hill Day                    GPD-087-11-2/13     GPD-087-11_Hill Day EWHU Header_CA.pdf                        EWH&U Header - J&J Hill Day                (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 08 Feb 2011    16 Feb         8    04 Feb 2011    18 Feb        14        Gyencare                   23 ETH.MESH.02229621   ETH.MESH.02229621
                                                                                                                                                                                  Submission                                                                             2011                               2011                   Gynemesh
ACOG Pre-Convention Mailer                     GPD-099-11-3/13     GPD-099-11_ACOG Premailer_CA.pdf                              ACOG Pre-Convention Mailer                 (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 15 Feb 2011    02 Mar        15    14 Feb 2011    09 Mar        23        Gyencare                   23 ETH.MESH.02229622   ETH.MESH.02229623
                                                                                                                                                                                  Submission                                                                             2011                               2011                   Gynemesh




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Task Name                                        Task Number         Name of File Pulled                                   Path                                            Type                      Owner                      Role          Start Date End Date   Duration Start Date End Date   Duration     Brand     Production          Start Bates          End Bates
ACOG Puzzle                                      GPD-100-11-3/13     GPD-100-11_ACOG Puzzle Piece_CA.pdf                   ACOG Puzzle                            (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing 15 Feb 2011 25 Feb        10    14 Feb 2011 02 Mar      16       Gyencare                 23 ETH.MESH.02229624   ETH.MESH.02229624
                                                                                                                                                                        Submission                                                                         2011                           2011                Gynemesh
Marketing 2011 Q1 Roadmap                        GPD-109-11-3/13     GPD-109-11_Mktg Roadmap Q1 2011_CA.pdf                Marketing 2011 Q1 Roadmap                (ETHUS) Presentation            Kevin Frost    (ETHUS) EWHU US Marketing 22 Feb 2011 11 Mar        17    21 Feb 2011 16 Mar      22       Gyencare                 23 ETH.MESH.02229625   ETH.MESH.02229633
                                                                                                                                                                        Submission                                                                         2011                           2011                Gynemesh
Letter: patient education tools for preceptors   GPD-117-11-3/13     GPD-117-11_preceptor mailing ltr-LT_CA.pdf            Letter: patient education tools for    (ETHUS) Printed Material      Melissa Muguruza   (ETHUS) EWHU US Marketing    01 Mar    11 Mar       10      01 Mar    14 Mar      12       Gyencare                 23 ETH.MESH.02229634   ETH.MESH.02229634
                                                                                                                           preceptors                                   Submission                                                               2011      2011                  2011     2011                Gynemesh
SGS Symposium Poster                             GPD-123-11-3/13     GPD-123-11_Symp Poster_CA.pdf                         SGS Symposium Poster                   (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing    15 Mar    30 Mar       15      11 Mar    28 Mar      16       Gyenecare                23 ETH.MESH.02229635   ETH.MESH.02229635
                                                                                                                                                                        Submission                                                               2011      2011                  2011     2011                  Prolift
SGS Schedule Flyer                               GPD-124-11-3/13     GPD-124-11_SGS FLYER_CA.pdf                           SGS Schedule Flyer                     (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing    15 Mar    30 Mar       15      11 Mar    28 Mar      16       Gyenecare                23 ETH.MESH.02229636   ETH.MESH.02229637
                                                                                                                                                                        Submission                                                               2011      2011                  2011     2011                  Prolift
EWHU Services Resource Grid 2010                 GPD-129-10-6/12     GPD-129-10_EWHU Resource Guide 2010_CA.pdf            EWHU Services Resource Grid 2010       (ETHUS) Printed Material       Lauren Taveroni   (ETHUS) EWHU US Marketing 13 Apr 2010  11 Jun       59    07 Apr 2010 16 Jun      70       Gyenecare                23 ETH.MESH.02229638   ETH.MESH.02229639
                                                                                                                                                                        Submission                                                                         2010                           2010                  Prolift
EWH&U Manual Lead Form For Conventions           GPD-133-10-3/12     GPD-133-10_Lead form_CA.pdf                           EWH&U Manual Lead Form For             (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing    02 Mar    12 Mar       10      01 Mar    25 Mar      23       Gyencare                 23 ETH.MESH.02229640   ETH.MESH.02229640
                                                                                                                           Conventions                                  Submission                                                               2010      2010                  2010     2010                Gynemesh
Find-A-Doctor Physician Consent Form             GPD-136-10-3/12     GPD-136-10_FAD Consent Form CA.pdf                    Find-A-Doctor Physician Consent Form   (ETHUS) Printed Material         Linda Linton    (ETHUS) EWHU US Marketing    02 Mar    12 Mar       10      02 Mar    15 Mar      12       Gyencare                 23 ETH.MESH.02229641   ETH.MESH.02229641
                                                                                                                                                                        Submission                                                               2010      2010                  2010     2010                Gynemesh
EWH&U 1-888-GYNECARE Phone Script                GPD-0139-09-8/11    GPD-0139-09_Gynecare IVR FlowV072009_CA.pdf           EWH&U 1-888-GYNECARE Phone Script      (ETHUS) Printed Material       Lauren Taveroni   (ETHUS) EWHU US Marketing 11 Aug 2009 21 Aug        10    06 Aug 2009 21 Aug      15       Gyencare                 23 ETH.MESH.02229642   ETH.MESH.02229644
                                                                                                                                                                        Submission                                                                         2009                           2009                Gynemesh
Patient Program Advertisement                    GPD-0144-09         GPD-0144-09_PH_full_CA.pdf                            Patient Program Advertisement          (ETHUS) Printed Material      Melissa Muguruza   (ETHUS) EWHU US Marketing 18 Aug 2009 02 Sep        15    17 Aug 2009 03 Sep      17       Gyenecare                23 ETH.MESH.02229645   ETH.MESH.02229645
                                                                                                                                                                        Submission                                                                         2009                           2009                  Prolift
Advanced Pelvic Floor Course Invite PROM-PROS    GPD-0162-09-12/11   GPD-0162-09_485062D03.pdf                             Advanced Pelvic Floor Course Invite    (ETHUS) Printed Material        Andrew Meek       (ETHUS) EWHU US Prof. Ed 01 Dec 2009 23 Dec        22      28 Nov    06 Jan      39       Gyenecare                23 ETH.MESH.02229646   ETH.MESH.02229646
                                                                                                                           PROM-PROS                                    Submission                                                                         2009                  2009     2010                  Prolift
Pelvic Organ Prolapse Primary Care Awareness     GPD-140-11-3/13     GPD-140-11_PCP POP_CA.pdf                             Pelvic Organ Prolapse Primary Care       (ETHUS) Presentation        Melissa Muguruza   (ETHUS) EWHU US Marketing    15 Mar    30 Mar       15      15 Mar    13 May      59       Gyenecare                23 ETH.MESH.02229647   ETH.MESH.02229667
Education Presentation                                                                                                     Awareness Education Presentation             Submission                                                               2011      2011                  2011     2011                  Prolift
SGS Hospitality Suite Poster                     GPD-143-11-3/13     GPD-143-11_Hosp Suite Poster_CA.pdf                   SGS Hospitality Suite Poster           (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing    15 Mar    30 Mar       15      15 Mar    28 Mar      13       Gyenecare                23 ETH.MESH.02229668   ETH.MESH.02229668
                                                                                                                                                                        Submission                                                               2011      2011                  2011     2011                  Prolift
EWU&U Convention Panel                           GPD-144-10-4/12     GPD-144-10_489668B01.pdf                              EWU&U Convention Panel                 (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing    23 Mar    02 Apr       10      22 Mar    07 Apr      16       Gyencare                 23 ETH.MESH.02229669   ETH.MESH.02229669
                                                                                                                                                                        Submission                                                               2010      2010                  2010     2010                Gynemesh
Pelvic Floor Convention Panel                    GPD-147-10-4/12     GPD-147-10_489668C01.pdf                              Pelvic Floor Convention Panel          (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing    23 Mar    02 Apr       10      22 Mar    07 Apr      16       Gyenecare                23 ETH.MESH.02229670   ETH.MESH.02229670
                                                                                                                                                                        Submission                                                               2010      2010                  2010     2010                  Prolift
EWHU Portfolio Catalog                           GPD-150-11-6/13     GPD-150-11_EWHU Portfolio_CA.pdf                      EWHU Portfolio Catalog                 (ETHUS) Printed Material       Lauren Taveroni   (ETHUS) EWHU US Marketing 12 Apr 2011  22 Jun       71    07 Apr 2011 23 Jun      77       Gyencare                 23 ETH.MESH.02229671   ETH.MESH.02229685
                                                                                                                                                                        Submission                                                                         2011                           2011                Gynemesh
SAMPLE CMS-1500 CLAIM FORM FOR PHYSICIAN         GPD-163-10-4/12     GPD-163-10_sample cms 1500 form_CA.pdf                SAMPLE CMS-1500 CLAIM FORM FOR         (ETHUS) Printed Material         Scott Wolven            (ETHUS) HE&R         16 Mar    30 Apr       45      15 Mar    05 May      51       Gyencare                 23 ETH.MESH.02229686   ETH.MESH.02229687
SERVICES                                                                                                                   PHYSICIAN SERVICES                           Submission                                                               2010      2010                  2010     2010                Gynemesh
Kari Nieminen Sales Aid                          GPD-170-10-4/12     GPD-170-10_Nieminen Quote_CA.pdf                      Kari Nieminen Sales Aid                (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW         23 Mar    09 Apr       17      22 Mar    14 Apr      23       Gyenecare                23 ETH.MESH.02229688   ETH.MESH.02229688
                                                                                                                                                                        Submission                                           Marketing           2010      2010                  2010     2010                  Prolift
Faix Sales Aid                                   GPD-171-10-4/12     GPD-171-10_Faix Quote_CA.pdf                          Faix Sales Aid                         (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW         23 Mar    09 Apr       17      22 Mar    14 Apr      23       Gyencare                 23 ETH.MESH.02229689   ETH.MESH.02229689
                                                                                                                                                                        Submission                                           Marketing           2010      2010                  2010     2010                Gynemesh
Lantsch Sales Aid                                GPD-172-10-4/12     GPD-172-10_Lantzsch Quote_CA.pdf                      Lantsch Sales Aid                      (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW         23 Mar    09 Apr       17      22 Mar    14 Apr      23       Gyencare                 23 ETH.MESH.02229690   ETH.MESH.02229690
                                                                                                                                                                        Submission                                           Marketing           2010      2010                  2010     2010                Gynemesh
Montefiore Sales Aid                             GPD-173-10-4/12     GPD-173-10_Montefiore Quote_CA.pdf                    Montefiore Sales Aid                   (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW         23 Mar    09 Apr       17      22 Mar    14 Apr      23       Gyencare                 23 ETH.MESH.02229691   ETH.MESH.02229691
                                                                                                                                                                        Submission                                           Marketing           2010      2010                  2010     2010                Gynemesh
Rane Sales Aid                                   GPD-174-10-4/12     GPD-174-10_Rane Quote_CA.pdf                          Rane Sales Aid                         (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW         23 Mar    09 Apr       17      22 Mar    14 Apr      23       Gyenecare                23 ETH.MESH.02229692   ETH.MESH.02229692
                                                                                                                                                                        Submission                                           Marketing           2010      2010                  2010     2010                  Prolift
AAGL Gobo                                        GPD-0175-09-9/11    GPD-0175-09_4x4_gobo.pdf                              AAGL Gobo                               (ETHUS) Digital Content         Robin Osman     (ETHUS) EWHU US Marketing 08 Sep 2009 18 Sep        10    08 Sep 2009 22 Sep      14       Gyencare                 23 ETH.MESH.02229693   ETH.MESH.02229693
                                                                                                                                                                        Submission                                                                         2009                           2009                Gynemesh
AAGL Final Program Ad EWH&U/EES                  GPD-0177-09-9/11    GPD-0177-09_AAGL_ProgramAd_CA.pdf                     AAGL Final Program Ad EWH&U/EES         (ETHUS) Digital Content         Robin Osman     (ETHUS) EWHU US Marketing 08 Sep 2009 23 Sep        15    07 Sep 2009 22 Sep      15       Gyencare                 23 ETH.MESH.02229694   ETH.MESH.02229694
                                                                                                                                                                        Submission                                                                         2009                           2009                Gynemesh
AAGL Schedule 2                                  GPD-0199-09-10/11   GPD-0199-09_AAGL_Panels_R4.pdf                        AAGL Schedule 2                         (ETHUS) Digital Content         Robin Osman     (ETHUS) EWHU US Marketing 06 Oct 2009  23 Oct       17    05 Oct 2009 28 Oct      23       Gyenecare                23 ETH.MESH.02229695   ETH.MESH.02229695
                                                                                                                                                                        Submission                                                                         2009                           2009                  Prolift
AAGL Pre-show Mailer                             GPD-0215-09-11/11   GPD-0215-09_postcard FIN.pdf                          AAGL Pre-show Mailer                   (ETHUS) Printed Material          Scott Jones    (ETHUS) EWHU US Marketing 20 Oct 2009 04 Nov        15    19 Oct 2009 08 Jan      81       Gyenecare                23 ETH.MESH.02229696   ETH.MESH.02229697
                                                                                                                                                                        Submission                                                                         2009                           2010                  Prolift
AAGL In-Booth Flyer                              GPD-0218-09-11/11   GPD-0218-09_AAGL_flyer_3.pdf                          AAGL In-Booth Flyer                    (ETHUS) Printed Material          Scott Jones    (ETHUS) EWHU US Marketing 20 Oct 2009  30 Oct       10    20 Oct 2009 04 Nov      15       Gyenecare                23 ETH.MESH.02229698   ETH.MESH.02229698
                                                                                                                                                                        Submission                                                                         2009                           2009                  Prolift
Sze Sales Aid                                    GPD-175-10-4/12     GPD-175-10_Sze Quote_CA.pdf                           Sze Sales Aid                          (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW         23 Mar    09 Apr       17      22 Mar    14 Apr      23       Gyenecare                23 ETH.MESH.02229699   ETH.MESH.02229699
                                                                                                                                                                        Submission                                           Marketing           2010      2010                  2010     2010                  Prolift
Changes in Dyspareunia after PFR                 GPD-180-10-4/12     GPD-180-10-Dyspareunia and PFR_CA.pdf                 Changes in Dyspareunia after PFR       (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW         23 Mar    07 Apr       15      23 Mar    08 Apr      16       Gyenecare                23 ETH.MESH.02229700   ETH.MESH.02229701
                                                                                                                                                                        Submission                                           Marketing           2010      2010                  2010     2010                  Prolift
POP Template Ad Full                             GPD-182-11-4/13     GPD-182-11_POP Ad-Full_CA.pdf                         POP Template Ad Full                   (ETHUS) Printed Material       Jason Goodbody    (ETHUS) EWHU US Marketing 19 Apr 2011 13 May        24    19 Apr 2011 19 May      30       Gyencare                 23 ETH.MESH.02229702   ETH.MESH.02229702
                                                                                                                                                                        Submission                                                                         2011                           2011                Gynemesh
POP Template Ad Qtr                              GPD-183-11-4/13     GPD-183-11_POP Ad-Qtr_CA.pdf                          POP Template Ad Qtr                    (ETHUS) Printed Material       Jason Goodbody    (ETHUS) EWHU US Marketing 19 Apr 2011 13 May        24    19 Apr 2011 19 May      30       Gyencare                 23 ETH.MESH.02229703   ETH.MESH.02229703
                                                                                                                                                                        Submission                                                                         2011                           2011                Gynemesh
MRI of coitus                                    GPD-194-11-5/13     GPD-194-11_MRI of Coitus_CA.pdf                       MRI of coitus                          (ETHUS) Printed Material        Mary O'Connell     (ETHUS) EWHU WW Sales 26 Apr 2011 06 May          10    26 Apr 2011 09 May      13       Gyenecare                23 ETH.MESH.02229704   ETH.MESH.02229708
                                                                                                                                                                        Submission                                            Training                     2011                           2011                  Prolift
Pinnacle SGS                                     GPD-195-11-5/13     GPD-195-11_Pinnacle SGS_CA.pdf                        Pinnacle SGS                           (ETHUS) Printed Material        Mary O'Connell     (ETHUS) EWHU WW Sales 26 Apr 2011 06 May          10    26 Apr 2011 12 May      16       Gyenecare                23 ETH.MESH.02229709   ETH.MESH.02229710
                                                                                                                                                                        Submission                                            Training                     2011                           2011                  Prolift




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EWHU Product Cross Reference                      GPD-202-11-5/13     GPD-202-11_EWHU Product Cross Ref_CA.pdf                           EWHU Product Cross Reference            (ETHUS) Printed Material       Tiffany Crawford   (ETHUS) EWHU US Marketing 26 Apr 2011 06 May       10    26 Apr 2011 12 May          16       Gyencare                 23 ETH.MESH.02229711   ETH.MESH.02229713
                                                                                                                                                                                       Submission                                                                           2011                           2011                  Gynemesh
ACOG Book Give-Away Puzzle Piece                  GPD-206-10-4/12     GPD-206-10_Book Give-away Puzzle Piece_CA.pdf                      ACOG Book Give-Away Puzzle Piece        (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing 13 Apr 2010   27 Apr     14    08 Apr 2010   28 Apr        20       Gyenecare                23 ETH.MESH.02229714   ETH.MESH.02229717
                                                                                                                                                                                       Submission                                                                           2010                           2010                   Prosima
2011 Q2 EWHU Prof Ed Global Bulletin              GPD-206-11-5/13     GPD-206-11_Gbl ProfEd Bulletin_CA.pdf                              2011 Q2 EWHU Prof Ed Global Bulletin     (ETHUS) Digital Content        Timothy Mauri         (ETHUS) EP US Prof. Ed   03 May     13 May     10      03 May      19 May        16       Gyenecare                23 ETH.MESH.02229718   ETH.MESH.02229746
                                                                                                                                                                                       Submission                                                                 2011      2011                2011       2011                    Prolift
ACOG Book Give-Away Pre-Mailer                    GPD-207-10-4/12     GPD-207-10_Book Give away Pre-mailer_CA.pdf                        ACOG Book Give-Away Pre-Mailer          (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing 13 Apr 2010   24 Apr     11    08 Apr 2010   28 Apr        20       Gyenecare                23 ETH.MESH.02229747   ETH.MESH.02229748
                                                                                                                                                                                       Submission                                                                           2010                           2010                   Prosima
Annual Review and Renewal of                      GPD-212-11-5/12     GPD-212-11_Annual Review and Renewal of pelvichealthsolution_CA.pdf Annual Review and Renewal of            (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing    03 May     21 Sep    141    28 Apr 2011 27 Sep          152      Gyenecare                23 ETH.MESH.02229749   ETH.MESH.02229842
www.pelvichealthsolutions.com                                                                                                             www.pelvichealthsolutions.com                Submission                                                                 2011      2011                           2011                    Prolift
100 Word EWH&U Company Profile for                GPD-220-10-5/12     GPD-220-10_EWHU Descrip ConvenGuides-100word_CA.pdf                 100 Word EWH&U Company Profile for     (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing 20 Apr 2010   30 Apr     10    16 Apr 2010 05 May          19       Gyencare                 23 ETH.MESH.02229843   ETH.MESH.02229843
Conventions                                                                                                                               Conventions                                  Submission                                                                           2010                           2010                  Gynemesh
EWH&U Medical Information Request Fax Form        GPD-222-10-5/12     GPD-222-10_EWHU_MIR-FAX FORM_CA.pdf                                 EWH&U Medical Information Request       (ETHUS) Digital Content         Robin Osman      (ETHUS) EWHU US Marketing 20 Apr 2010   30 Apr     10    16 Apr 2010 05 May          19       Gyencare                 23 ETH.MESH.02229844   ETH.MESH.02229844
                                                                                                                                          Fax Form                                     Submission                                                                           2010                           2010                  Gynemesh
Faix paper                                        GPD-229-10-5/12     GPD-229-10_Faix_MRI sexual Intercourse second Exper_CA.pdf          Faix paper                             (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       20 Apr 2010  30 Apr     10    19 Apr 2010 05 May          16       Gyenecare                23 ETH.MESH.02229845   ETH.MESH.02229859
                                                                                                                                                                                       Submission                                           Marketing                       2010                           2010                    Prolift
Bony Landmarks Workshop                           GPD-229-11-7/13     GPD-229-11_Bony Landmarks Workshop_CA.pdf                          Bony Landmarks Workshop                  (ETHUS) Digital Content         Davina Kullar      (ETHUS) EWHU WW Sales 07 Jun 2011 08 Jul 2011    31    06 Jun 2011 12 Jul 2011     36       Gyenecare                23 ETH.MESH.02229860   ETH.MESH.02229879
                                                                                                                                                                                       Submission                                            Training                                                                              Prolift
Montefiore clinical paper                         GPD-230-10-5/12     GPD-230-10_Montefiore_Functional results of Bilateral SSF_CA.pdf   Montefiore clinical paper               (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       20 Apr 2010  30 Apr     10    19 Apr 2010 05 May          16       Gyenecare                23 ETH.MESH.02229880   ETH.MESH.02229884
                                                                                                                                                                                       Submission                                           Marketing                       2010                           2010                    Prolift
Nieminen Paper                                    GPD-231-10-5/12     GPD-231-10_Nieminen_anatomic and functional success after          Nieminen Paper                          (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       20 Apr 2010  30 Apr     10    19 Apr 2010 05 May          16       Gyenecare                23 ETH.MESH.02229885   ETH.MESH.02229892
                                                                      SSF CA.pdf                                                                                                       Submission                                           Marketing                       2010                           2010                    Prolift
Rane clinical paper                               GPD-232-10-5/12     GPD-232-10_Rane_MRI of 3 PFR procedures_CA.pdf                     Rane clinical paper                     (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       20 Apr 2010  30 Apr     10    19 Apr 2010 05 May          16       Gyenecare                23 ETH.MESH.02229893   ETH.MESH.02229897
                                                                                                                                                                                       Submission                                           Marketing                       2010                           2010                    Prolift
Sze clinical paper                                GPD-233-10-5/12     GPD-233-10_Sze_MRI after SCP and SSF_CA.pdf                        Sze clinical paper                      (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       20 Apr 2010  30 Apr     10    19 Apr 2010 05 May          16       Gyenecare                23 ETH.MESH.02229898   ETH.MESH.02229903
                                                                                                                                                                                       Submission                                           Marketing                       2010                           2010                    Prolift
Global ProfEd Bulletin 2nd Qtr                    GPD-234-10-5/12     GPD-234-10_EWHU_prof ed bulletin_CA.pdf                            Global ProfEd Bulletin 2nd Qtr           (ETHUS) Digital Content      Michala Kouskova       (ETHUS) EP WW Prof. Ed  20 Apr 2010  30 Apr     10    19 Apr 2010 05 May          16       Gyenecare                23 ETH.MESH.02229904   ETH.MESH.02229917
                                                                                                                                                                                       Submission                                                                           2010                           2010                    Prolift
AAGL Banner ad and logo links for OBGYNNews       GPD-0240-09-11/10   GPD-0240-09_AAGL Banner Ad and logo links.pdf                      AAGL Banner ad and logo links for        (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing     03 Nov    13 Nov     10      02 Nov      17 Nov        15       Gyenecare                23 ETH.MESH.02229918   ETH.MESH.02229919
                                                                                                                                         OBGYNNews                                     Submission                                                                 2009      2009                2009       2009                    Prolift
PROLIFT/TVT AAGL Poster                           GPD-0246-09-11/11   GPD-0246-09_Prolift-TVT.pdf                                        PROLIFT/TVT AAGL Poster                 (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing     03 Nov    13 Nov     10      02 Nov      18 Nov        16       Gyenecare                23 ETH.MESH.02229920   ETH.MESH.02229920
                                                                                                                                                                                       Submission                                                                 2009      2009                2009       2009                    Prolift
Minor Updates to ethicon360.com November 2009 GPD-0258-09-12/10       GPD-0258-09_Updates to ethicon360 11-2009.pdf                      Minor Updates to ethicon360.com          (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing     17 Nov    18 Dec     31      16 Nov      23 Dec        37       Gyencare                 23 ETH.MESH.02229921   ETH.MESH.02229937
                                                                                                                                         November 2009                                 Submission                                                                 2009      2009                2009       2009                  Gynemesh
NTM Main Tent PFR Deck                            GPD-0309-09-12/11   GPD-0309-09_NTM Main Tent PFR Slides.pdf                           NTM Main Tent PFR Deck                   (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing     17 Nov    30 Nov     13      17 Nov      14 Dec        27       Gyencare                 23 ETH.MESH.02229938   ETH.MESH.02229950
                                                                                                                                                                                       Submission                                                                 2009      2009                2009       2009                  Gynemesh
Prolapse Patient Brochure 2009                    GPD-0328-09-12/11   GPD-0328-09_ProlapseBrch486576A02.pdf                              Prolapse Patient Brochure 2009          (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 08 Dec 2009   20 Jan     43    04 Dec 2009   20 Jan        47       Gyenecare                23 ETH.MESH.02229951   ETH.MESH.02229970
                                                                                                                                                                                       Submission                                                                           2010                           2010                    Prolift
EWHU Post Event Thank You Letter 2010             GPD-235-10-5/12     GPD-235-10_post event thank you ltr_CA.pdf                         EWHU Post Event Thank You Letter 2010   (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 20 Apr 2010   30 Apr     10    20 Apr 2010 05 May          15       Gyencare                 23 ETH.MESH.02229971   ETH.MESH.02229971
                                                                                                                                                                                       Submission                                                                           2010                           2010                  Gynemesh
EWHU Patient Event Announcement Template - 2 GPD-236-10-5/12          GPD-236-10_Evnt Ancmnt-pink visual_CA.pdf                          EWHU Patient Event Announcement         (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 27 Apr 2010 12 May       15    27 Apr 2010 14 May          17       Gyencare                 23 ETH.MESH.02229972   ETH.MESH.02229973
women pink visual                                                                                                                        Template - 2 women pink visual                Submission                                                                           2010                           2010                  Gynemesh
EWHU Patient Event Announcement Template - 3 GPD-237-10-5/12          GPD-237-10_Evnt Ancmnt-3 women_CA.pdf                              EWHU Patient Event Announcement         (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 27 Apr 2010 12 May       15    27 Apr 2010 14 May          17       Gyencare                 23 ETH.MESH.02229974   ETH.MESH.02229975
women visual                                                                                                                             Template - 3 women visual                     Submission                                                                           2010                           2010                  Gynemesh
EWHU Patient Event Announcement Template - 1 GPD-238-10-5/12          GPD-238-10_Evnt Ancmnt-curly hair_CA.pdf                           EWHU Patient Event Announcement         (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 27 Apr 2010 12 May       15    27 Apr 2010 14 May          17       Gyencare                 23 ETH.MESH.02229976   ETH.MESH.02229977
woman curly hair visual                                                                                                                  Template - 1 woman curly hair visual          Submission                                                                           2010                           2010                  Gynemesh
EWHU Patient Event Announcement Template - 2 GPD-239-10-5/12          GPD-239-10_Evnt Ancmnt-striped visual_CA.pdf                       EWHU Patient Event Announcement         (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 27 Apr 2010 12 May       15    27 Apr 2010 14 May          17       Gyencare                 23 ETH.MESH.02229978   ETH.MESH.02229979
women striped visual                                                                                                                     Template - 2 women striped visual             Submission                                                                           2010                           2010                  Gynemesh
EWHU Patient Event Announcement Template - 2 GPD-240-10-5/12          GPD-240-10_Evnt Ancmnt-brown visual_CA.pdf                         EWHU Patient Event Announcement         (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 27 Apr 2010 12 May       15    27 Apr 2010 14 May          17       Gyencare                 23 ETH.MESH.02229980   ETH.MESH.02229981
women brown visual                                                                                                                       Template - 2 women brown visual               Submission                                                                           2010                           2010                  Gynemesh
EWHU Patient Event Announcement Graphic      GPD-241-10-5/12          GPD-241-10_ Evnt Ancmnt Graphic Options_CA.pdf                     EWHU Patient Event Announcement         (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 27 Apr 2010 12 May       15    27 Apr 2010 14 May          17       Gyencare                 23 ETH.MESH.02229982   ETH.MESH.02229982
Options                                                                                                                                  Graphic Options                               Submission                                                                           2010                           2010                  Gynemesh
EWHU Product Cross Reference_Update_June2011 GPD-242-11-6/13          GPD-242-11_EWHU Product Cross Ref_Update_CA.pdf                    EWHU Product Cross                      (ETHUS) Printed Material       Tiffany Crawford   (ETHUS) EWHU US Marketing 14 Jun 2011   29 Jun     15    09 Jun 2011   29 Jun        20       Gyencare                 23 ETH.MESH.02229983   ETH.MESH.02229985
                                                                                                                                         Reference Update June2011                     Submission                                                                           2011                           2011                  Gynemesh
EWHU Patient Event Announcement Template - 2      GPD-243-10-5/12     GPD-243-10_Evnt Ancmnt-white visual_CA.pdf                         EWHU Patient Event Announcement         (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 27 Apr 2010 21 May       24    27 Apr 2010 24 May          27       Gyencare                 23 ETH.MESH.02229986   ETH.MESH.02229987
women white visual                                                                                                                       Template - 2 women white visual               Submission                                                                           2010                           2010                  Gynemesh
Annual Review and Renewal of                      GPD-246-10-5/11     GPD-246-10_PHS_Complete_CA.pdf                                     Annual Review and Renewal of             (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing 27 Apr 2010   11 Jun     45    23 Apr 2010   18 Jun        56       Gyenecare                23 ETH.MESH.02229988   ETH.MESH.02230072
www.pelvichealthsolutions.com                                                                                                            www.pelvichealthsolutions.com                 Submission                                                                           2010                           2010                    Prolift
IUGA Program Ad                                   GPD-269-10-5/12     GPD-269-10_IUGA_Ad_CA.pdf                                          IUGA Program Ad                         (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing    04 May     26 May     22    28 Apr 2010 27 May          29       Gyenecare                23 ETH.MESH.02230073   ETH.MESH.02230073
                                                                                                                                                                                       Submission                                                                 2010      2010                           2010                    Prolift
POP Transparencies Workshop                       GPD-269-11-7/13     GPD-269-11_POP Transparencies Workshop_CA.pdf                      POP Transparencies Workshop               (ETHUS) Presentation           Davina Kullar      (ETHUS) EWHU WW Sales    19 Jul 2011  21 Sep     64    18 Jul 2011   22 Sep        66       Gyencare                 23 ETH.MESH.02230074   ETH.MESH.02230107
                                                                                                                                                                                       Submission                                            Training                       2011                           2011                  Gynemesh
eClinical Compendium - Sales Rep Laptop Version   GPD-271-10-9/11     GPD-271-10eClinical Compendium_Sales Rep Version_Final CA.pdf      eClinical Compendium - Sales Rep         (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing    04 May     24 Sep    143    30 Apr 2010 28 Sep          151      Gyenecare                23 ETH.MESH.02230108   ETH.MESH.02230585
                                                                                                                                         Laptop Version                                Submission                                                                 2010      2010                           2010                    Prolift
Find A Doctor Invite update confirmation          GPD-277-11-8/12     GPD-277-11_Find A Doctor Physician Invitation_CA.pdf               Find A Doctor Invite update              (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing 05 Jul 2011   03 Aug     29    05 Jul 2011   04 Aug        30       Gyenecare                23 ETH.MESH.02230586   ETH.MESH.02230589
                                                                                                                                         confirmation                                  Submission                                                                           2011                           2011                    Prolift




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                     4/10/2012                                                                                                                                                                                                                                                                                                     SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
                                                                                                                  Case 2:12-md-02327 Document 639-5 Filed 06/11/13 Page 35 of 50 PageID #: 7499
                                                                                                                                                                                               In re Pelvic Mesh Litigation
                                                                                                                                                                                                In Use Copy Review Index
                                                                                                                                                                                              2009-2011 (GGM Blue Files)




Task Name                                          Task Number        Name of File Pulled                                            Path                                               Type                      Owner                      Role             Start Date End Date Duration Start Date End Date         Duration      Brand       Production          Start Bates          End Bates
Ethicon Logo Letter                                GPD-288-11-8/12    GPD-288-11_ClinicalExp Registration Email_CA.pdf               Ethicon Logo Letter                        (ETHUS) Digital Content        Susan Chilcoat      (ETHUS) EWHU US Prof. Ed   19 Jul 2011 03 Aug     15     18 Jul 2011  04 Aug          17         Gyencare                  23 ETH.MESH.02230590   ETH.MESH.02230590
                                                                                                                                                                                     Submission                                                                            2011                           2011                     Gynemesh
EWH&U 50 Word Company Description for              GPD-302-11-8/13    GPD-302-11_EWHU 50 Word Descrip Convntn Guides_CA.pdf          EWH&U 50 Word Company Description          (ETHUS) Digital Content         Robin Osman       (ETHUS) EWHU US Marketing 09 Aug 2011 24 Aug       15    04 Aug 2011 26 Aug            22         Gyencare                  23 ETH.MESH.02230591   ETH.MESH.02230591
Convention Guides                                                                                                                    for Convention Guides                           Submission                                                                            2011                           2011                     Gynemesh
2011_AUGS_Poster_Roy                               GPD-304-11-8/13    GPD-304-11_Roy_AUGS-Poster_CA.pdf                              2011_AUGS_Poster_Roy                      (ETHUS) Printed Material         Heidi Waters            (ETHUS) HE&R        09 Aug 2011 19 Aug       10    05 Aug 2011 23 Aug            18       Gynecare TVT                23 ETH.MESH.02230592   ETH.MESH.02230598
                                                                                                                                                                                     Submission                                                                            2011                           2011
EWHU Paperless Lead System                         GPD-307-11-9/13    GPD-307-11_Convention Lead System EWHU_CA.pdf                  EWHU Paperless Lead System                 (ETHUS) Digital Content         Robin Osman       (ETHUS) EWHU US Marketing 23 Aug 2011 07 Sep       15    15 Aug 2011 13 Sep            29         Gyencare                  23 ETH.MESH.02230599   ETH.MESH.02230612
                                                                                                                                                                                     Submission                                                                            2011                           2011                     Gynemesh
End of Year patient letter template                GPD-310-11-9/13    GPD-310-11_End of year_CA.pdf                                  End of Year patient letter template       (ETHUS) Printed Material       Jason Goodbody      (ETHUS) EWHU US Marketing 16 Aug 2011 07 Sep       22    16 Aug 2011 09 Sep            24       Gynecare TVT                23 ETH.MESH.02230613   ETH.MESH.02230613
                                                                                                                                                                                     Submission                                                                            2011                           2011
IUGA Congress Bag Flyer                            GPD-320-10-6/12    GPD-320-10_494306-IUGA BagFlyer_CA.pdf                         IUGA Congress Bag Flyer                   (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 15 Jun 2010 28 Jul 2010  43    11 Jun 2010 30 Jul 2010       49        Gyenecare                  23 ETH.MESH.02230614   ETH.MESH.02230615
                                                                                                                                                                                     Submission                                                                                                                                      Prolift
EWH&U Portfolio Presentation                       GPD-320-11-9/13    GPD-320-11_EWHU_products_CA.pdf                                EWH&U Portfolio Presentation                (ETHUS) Presentation           Dharini Amin      (ETHUS) EWHU US Marketing 23 Aug 2011   02 Sep        10   18 Aug 2011   12 Sep        25         Gyencare                  23 ETH.MESH.02230616   ETH.MESH.02230640
                                                                                                                                                                                     Submission                                                                            2011                             2011                   Gynemesh
AUGS Booth Wall Panel_ Committed to Evidence-      GPD-323-11-9/13    GPD-323-11_AUGS EWHU Panel_CA.pdf                              AUGS Booth Wall Panel_ Committed to       (ETHUS) Printed Material       Brian Luscombe      (ETHUS) EWHU US Marketing 23 Aug 2011 08 Sep          16   22 Aug 2011 09 Sep          18         Gyencare                  23 ETH.MESH.02230641   ETH.MESH.02230641
Based Medicine                                                                                                                       Evidence-Based Medicine                         Submission                                                                            2011                             2011                   Gynemesh
2011 Q3 EWHU Prof Ed Bulletin                      GPD-325-11-9/13    GPD-325-11_EWHU Prof Ed Q3_CA.pdf                              2011 Q3 EWHU Prof Ed Bulletin              (ETHUS) Digital Content        Timothy Mauri         (ETHUS) EP US Prof. Ed 23 Aug 2011 02 Sep          10   23 Aug 2011 13 Sep          21         Gyencare                  23 ETH.MESH.02230642   ETH.MESH.02230669
                                                                                                                                                                                     Submission                                                                            2011                             2011                   Gynemesh
eClinical Compendium Annual Review                 GPD-328-11-9/12    GPD-328-11-9-12 for Copy Approval eClinicalCompendium_CA.pdf   eClinical Compendium Annual Review         (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 06 Sep 2011   21 Oct        45   02 Sep 2011   25 Oct        53        Gyenecare                  23 ETH.MESH.02230670   ETH.MESH.02231327
                                                                                                                                                                                     Submission                                                                            2011                             2011                     Prolift
IUGA Booth Panels                                  GPD-332-10-7/12    GPD-332-10_IUGA Booth Panels_CA.pdf                            IUGA Booth Panels                         (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 06 Jul 2010 23 Jul 2010     17   24 Jun 2010 29 Jul 2010     35         Gyencare                  23 ETH.MESH.02231328   ETH.MESH.02231341
                                                                                                                                                                                     Submission                                                                                                                                    Gynemesh
Cover letter for "Beyond the Product" detail aid   GPD-334-10-7/12    GPD-334-10_Dear Sales Reps_CA.pdf                              Cover letter for "Beyond the Product"     (ETHUS) Printed Material      Melissa Muguruza     (ETHUS) EWHU US Marketing 29 Jun 2010 14 Jul 2010     15   28 Jun 2010 15 Jul 2010     17         Gyencare                  23 ETH.MESH.02231342   ETH.MESH.02231342
                                                                                                                                     detail aid                                      Submission                                                                                                                                    Gynemesh
IUGA Posters, Signs & Flyers                       GPD-335-10-7/12    GPD-335-10_Posters & Signs_CA.pdf                              IUGA Posters, Signs & Flyers              (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 13 Jul 2010   06 Aug        24   12 Jul 2010   13 Aug        32        Gyenecare                  23 ETH.MESH.02231343   ETH.MESH.02231347
                                                                                                                                                                                     Submission                                                                            2010                             2010                     Prolift
Pelvic Floor Anatomical Structures                 GPD-347-11-11/12   GPD-347-11_PelvicFloor_AnatomicStructures_CA.pdf               Pelvic Floor Anatomical Structures         (ETHUS) Digital Content       Jennifer Paradise   (ETHUS) EWHU US Marketing 04 Oct 2011   18 Nov        45   03 Oct 2011   29 Nov        57        Gyenecare                  23 ETH.MESH.02231348   ETH.MESH.02231358
                                                                                                                                                                                     Submission                                                                            2011                             2011                     Prolift
PROLIFT+M & PROSIMA Stand-Up Sign                  GPD-352-10-7/12    GPD-352-10_Prolift_M_Prosima_Stand_Up Sign_CA_FINAL.pdf        PROLIFT+M & PROSIMA Stand-Up Sign         (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 20 Jul 2010 30 Jul 2010     10   15 Jul 2010   02 Aug        18        Gyenecare                  23 ETH.MESH.02231359   ETH.MESH.02231359
                                                                                                                                                                                     Submission                                                                                                             2010                     Prolift
IUGA Poster, Flyer and Lab Directions              GPD-354-10-7/12    GPD-354-10_Flyer-Poster-WaterBottle-Lab Sign_CA.pdf            IUGA Poster, Flyer and Lab Directions     (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 27 Jul 2010     06 Aug      10   23 Jul 2010   10 Aug        18        Gyenecare                  23 ETH.MESH.02231360   ETH.MESH.02231370
                                                                                                                                                                                     Submission                                                                              2010                           2010                     Prolift
Management of Pelvic Organ Prolapser               GPD-362-10-8/12    GPD-362-10_Management_Pelvic Organ_Prolapse_CA_FINAL.pdf       Management of Pelvic Organ Prolapser        (ETHUS) Presentation          Jonathan Meek          (ETHUS) EWHU WW         20 Jul 2010 30 Jul 2010   10   16 Jul 2010   03 Aug        18        Gyenecare                  23 ETH.MESH.02231371   ETH.MESH.02231401
                                                                                                                                                                                     Submission                                            Marketing                                                        2010                     Prolift
Pelvic Floor Repair Family Landing Page            GPD-363-10-8/11    GPD-363-10_Pelvic Floor Repair_CA.pdf                          Pelvic Floor Repair Family Landing Page    (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 20 Jul 2010    27 Aug       38   19 Jul 2010   27 Aug        39         Gyencare                  23 ETH.MESH.02231402   ETH.MESH.02231402
                                                                                                                                                                                     Submission                                                                             2010                            2010                   Gynemesh
IUGA PFR Symposium                                 GPD-364-10-8/12    GPD-364-10_IUGA_PFR_Symposium_CA.pdf                           IUGA PFR Symposium                          (ETHUS) Presentation          Jonathan Meek            (ETHUS) EWHU WW      20 Jul 2010 30 Jul 2010    10   19 Jul 2010   03 Aug        15        Gyenecare                  23 ETH.MESH.02231403   ETH.MESH.02231426
                                                                                                                                                                                     Submission                                             Marketing                                                       2010                     Prolift
AUGS Program Ad                                    GPD-369-10-8/12    GPD-369-10_495001_AUGS Prgm Ad_CA.pdf                          AUGS Program Ad                           (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 27 Jul 2010    06 Aug       10   26 Jul 2010   12 Aug        17        Gyenecare                  23 ETH.MESH.02231427   ETH.MESH.02231427
                                                                                                                                                                                     Submission                                                                             2010                            2010                     Prolift
Global ProfEd Bulletin - summer-EWHU               GPD-371-10-8/12    GPD-371-10Global ProfEd Bulletin - summer-EWHU_CA.pdf          Global ProfEd Bulletin - summer-EWHU       (ETHUS) Digital Content      Michala Kouskova      (ETHUS) EWHU WW Prof. Ed 27 Jul 2010    29 Sep       64   27 Jul 2010   18 Oct        83        Gyenecare                  23 ETH.MESH.02231428   ETH.MESH.02231437
                                                                                                                                                                                     Submission                                                                             2010                            2010                     Prolift
2010 Q3-Q4 US Marketing Roadmap                    GPD-379-10-8/12    GPD-379-10 2010 Q3-Q4 US Mktg Roadmap_CA.pdf                   2010 Q3-Q4 US Marketing Roadmap           (ETHUS) Printed Material          Tiffany Frey     (ETHUS) EWHU US Marketing 03 Aug 2010 13 Aug          10   02 Aug 2010   20 Aug        18         Gyencare                  23 ETH.MESH.02231438   ETH.MESH.02231452
                                                                                                                                                                                     Submission                                                                             2010                            2010                   Gynemesh
Bony Pelvis Landmarks Workshop                     GPD-380-11-11/13   GPD-380-11_BonyLandmarks_wLeaderGuide_CA.pdf                   Bony Pelvis Landmarks Workshop            (ETHUS) Printed Material        Mary O'Connell        (ETHUS) EWHU WW Sales 25 Oct 2011 23 Nov           29   25 Oct 2011   29 Nov        35        Gyenecare                  23 ETH.MESH.02231453   ETH.MESH.02231467
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FDA Update Pelvic Mesh                             GPD-381-11-11/13   GPD-381-11_Training slides FDA Update_CA.pdf                   FDA Update Pelvic Mesh                      (ETHUS) Presentation            Kevin Frost      (ETHUS) EWHU US Marketing 25 Oct 2011 04 Nov          10   24 Oct 2011   04 Nov        11        Gyenecare                  23 ETH.MESH.02231468   ETH.MESH.02231483
                                                                                                                                                                                     Submission                                                                             2011                            2011                     Prolift
Customer Registration Email for                    GPD-382-11-11/13   GPD-382-11_Customer__Email_Register_CEcom_CA.pdf               Customer Registration Email for            (ETHUS) Digital Content        Susan Chilcoat       (ETHUS) EWHU US Prof. Ed   01 Nov      11 Nov       10   27 Oct 2011   16 Nov        20         Gyencare                  23 ETH.MESH.02231484   ETH.MESH.02231485
clinicalexpertise.com                                                                                                                clinicalexpertise.com                           Submission                                                                 2011        2011                            2011                   Gynemesh
New Ethicon Gynecare Logos (3 variations)          GPD-384-11/11/13   GPD-384-11_GYNECARE_Logos_CA.pdf                               New Ethicon Gynecare Logos (3             (ETHUS) Printed Material         Katie Cheng             (ETHUS) EWHU WW        01 Nov      23 Nov       22     01 Nov      30 Nov        29         Gyencare                  23 ETH.MESH.02231486   ETH.MESH.02231486
                                                                                                                                     variations)                                     Submission                                             Marketing           2011        2011                 2011       2011                   Gynemesh
AUGS Panels                                        GPD-406-10-8/12    GPD-406-10 AUGS Panels_CA.pdf                                  AUGS Panels                               (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 24 Aug 2010 03 Sep          10   19 Aug 2010   17 Sep        29        Gyenecare                  23 ETH.MESH.02231487   ETH.MESH.02231491
                                                                                                                                                                                     Submission                                                                             2010                            2010                     Prolift
Prolapse Patient Brochure 2010 - Spanish Version   GPD-410-10-8/12    GPD-410-10_Prolapse Patient Brochure 2010_Spanish_CA.pdf       Prolapse Patient Brochure 2010 -          (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 02 Sep 2010 17 Sep          15   02 Sep 2010   20 Sep        18        Gyenecare                  23 ETH.MESH.02231492   ETH.MESH.02231511
                                                                                                                                     Spanish Version                                 Submission                                                                             2010                            2010                     Prolift
PFR PE invitations                                 GPD-410-11-6/13    GPD-410-11_PROLIFT-M Preceptorship_CA.pdf                      PFR PE invitations                         (ETHUS) Digital Content         Robert Zipfel       (ETHUS) EWHU US Prof. Ed   29 Nov      16 Dec       17     23 Nov      05 Jan        43        Gyenecare                  23 ETH.MESH.02231512   ETH.MESH.02231512
                                                                                                                                                                                     Submission                                                                 2011        2011                 2011       2012                     Prolift
Prolapse Exam Room Poster 2010                     GPD-423-10-9/12    GPD-423-10_4629_POP_ExamPoster2010_CA.pdf                      Prolapse Exam Room Poster 2010            (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 07 Sep 2010 17 Sep          10   03 Sep 2010   20 Sep        17        Gyenecare                  23 ETH.MESH.02231513   ETH.MESH.02231513
                                                                                                                                                                                     Submission                                                                             2010                            2010                     Prolift
AUGS TVT Door drop                                 GPD-427-10-9/12    GPD-427-10_AUGS_TVT_Door_Drop_496124A01_CA.pdf                 AUGS TVT Door drop                        (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 31 Aug 2010 15 Sep          15   31 Aug 2010   15 Sep        15       Gynecare TVT                23 ETH.MESH.02231514   ETH.MESH.02231515
                                                                                                                                                                                     Submission                                                                             2010                            2010
EWHU 3-way Brochure Holder with Logo               GPD-469-10-10/12   GPD-469-10_EWHU_3 Way_Brochure_Holder_CA.pdf                   EWHU 3-way Brochure Holder with Logo      (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 05 Oct 2010    15 Oct       10   28 Sep 2010   19 Oct        21        Gyencare                   23 ETH.MESH.02231516   ETH.MESH.02231516
                                                                                                                                                                                     Submission                                                                             2010                            2010                   Gynemesh
EWH&U Stand-Up Sign                                GPD-482-10-10/12   GPD-482-10_EWH_U Stand-Up Sign_CA.pdf                          EWH&U Stand-Up Sign                       (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 05 Oct 2010    15 Oct       10   05 Oct 2010   19 Oct        14        Gyencare                   23 ETH.MESH.02231517   ETH.MESH.02231517
                                                                                                                                                                                     Submission                                                                             2010                            2010                   Gynemesh




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                     4/10/2012                                                                                                                                                                                                                                                                                                       SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
                                                                                                                 Case 2:12-md-02327 Document 639-5 Filed 06/11/13 Page 36 of 50 PageID #: 7500
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                                                                                                                                                                                          2009-2011 (GGM Blue Files)




Task Name                                          Task Number        Name of File Pulled                                      Path                                                 Type                      Owner                     Role             Start Date     End Date   Duration Start Date    End Date   Duration      Brand       Production          Start Bates          End Bates
AAGL Posters                                       GPD-483-10-10/12   GPD-483-10_496954_AAGL Posters_CA.pdf                    AAGL Posters                                (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 05 Oct 2010      03 Nov       29    05 Oct 2010    03 Nov      29        Gyenecare                  23 ETH.MESH.02231518   ETH.MESH.02231521
                                                                                                                                                                                 Submission                                                                               2010                              2010                  Prosima
AAGL Flyers                                        GPD-484-10-10/12   GPD-484-10_496954Flyer_CA.pdf                            AAGL Flyers                                 (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 05 Oct 2010      20 Oct      15     05 Oct 2010    22 Oct      17        Gyenecare                  23 ETH.MESH.02231522   ETH.MESH.02231525
                                                                                                                                                                                 Submission                                                                               2010                              2010                  Prosima
PFR Banner Ad                                      GPD-488-10-10/11   GPD-488-10_PFR Banner Ad 101910_CA.pdf                   PFR Banner Ad                                (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 05 Oct 2010      20 Oct      15     04 Oct 2010    20 Oct      16        Gyenecare                  23 ETH.MESH.02231526   ETH.MESH.02231526
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
Dyspareunia and PFR Flip chart                     GPD-490-10-10/12   GPD-490-10_497963_Dyspareunia-PFR FlipChart_CA.pdf       Dyspareunia and PFR Flip chart              (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       05 Oct 2010      10 Nov      36     05 Oct 2010    12 Nov      38        Gyenecare                  23 ETH.MESH.02231527   ETH.MESH.02231536
                                                                                                                                                                                 Submission                                            Marketing                          2010                              2010                   Prolift
TVT EXACT/TVT ABBREVO Flyer for AAGL               GPD-494-10-10/12   GPD-494-10_TVT EXACT_TVT ABBREVO Flyer for AAGL_CA.pdf   TVT EXACT/TVT ABBREVO Flyer for AAGL        (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 12 Oct 2010      29 Oct      17     08 Oct 2010    02 Nov      25       Gynecare TVT                23 ETH.MESH.02231537   ETH.MESH.02231538
                                                                                                                                                                                 Submission                                                                               2010                              2010
AAGL Booth Panels                                  GPD-XXX-XX-XXXX    GPD-495-10_496954 PANELS_CA.pdf                          AAGL Booth Panels                           (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 12 Oct 2010      03 Nov      22     06 Oct 2010    03 Nov      28         Gyencare                  23 ETH.MESH.02231539   ETH.MESH.02231547
                                                                                                                                                                                 Submission                                                                               2010                              2010                 Gynemesh
AAGL Tent Card                                     GPD-496-10-10/12   GPD-496-10_AAGL Tent Card for In the Mix Event_CA.pdf    AAGL Tent Card                              (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 12 Oct 2010      22 Oct      10     06 Oct 2010    21 Oct      15         Gyencare                  23 ETH.MESH.02231548   ETH.MESH.02231548
                                                                                                                                                                                 Submission                                                                               2010                              2010                 Gynemesh
Headers and Grid Wall                              GPD-518-10-11/12   GPD-518-10_AAGL Headers_Grid Wall_CA.pdf                 Headers and Grid Wall                       (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 19 Oct 2010      29 Oct      10     18 Oct 2010    01 Nov      14         Gyencare                  23 ETH.MESH.02231549   ETH.MESH.02231550
                                                                                                                                                                                 Submission                                                                               2010                              2010                 Gynemesh
AAGL Circular Header                               GPD-524-10-10/12   GPD-524-10_AAGL Circular Header_CA.pdf                   AAGL Circular Header                        (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 19 Oct 2010      29 Oct      10     18 Oct 2010    01 Nov      14         Gyencare                  23 ETH.MESH.02231551   ETH.MESH.02231551
                                                                                                                                                                                 Submission                                                                               2010                              2010                 Gynemesh
Opt-In Permission Form                             GPD-534-10-11/12   GPD-534-10_Opt in permission form_CA.pdf                 Opt-In Permission Form                      (ETHUS) Printed Material         Linda Linton      (ETHUS) EWHU US Marketing 19 Oct 2010      03 Nov      15     18 Oct 2010    11 Nov      24        Gyenecare                  23 ETH.MESH.02231552   ETH.MESH.02231552
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
Barber Paper Definition of POP                     GPD-543-10-11/12   GPD-543-10_Barber_Paper Definition of POP_CA.pdf         Barber Paper Definition of POP              (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       26 Oct 2010      10 Nov      15     26 Oct 2010    12 Nov      17        Gyenecare                  23 ETH.MESH.02231553   ETH.MESH.02231555
                                                                                                                                                                                 Submission                                            Marketing                          2010                              2010                   Prolift
AAGL Flyers                                        GPD-547-10-11/12   GPD-547-10_497697_Flyers_CA.pdf                          AAGL Flyers                                 (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 28 Oct 2010      03 Nov       6     28 Oct 2010    03 Nov       6        Gyenecare                  23 ETH.MESH.02231556   ETH.MESH.02231559
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
AAGL Electronic Invites                            GPD-548-10-11/12   GPD-548-10_497697_ElecInvite_CA.pdf                      AAGL Electronic Invites                      (ETHUS) Digital Content         Robin Osman       (ETHUS) EWHU US Marketing 28 Oct 2010      03 Nov       6     28 Oct 2010    03 Nov       6        Gyenecare                  23 ETH.MESH.02231560   ETH.MESH.02231560
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
PAGS Panels                                        GPD-549-10-11/12   GPD-549-10_498094_PAGS Panels_CA.pdf                     PAGS Panels                                 (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing   02 Nov         17 Nov      15       02 Nov       17 Nov      15        Gyenecare                  23 ETH.MESH.02231561   ETH.MESH.02231562
                                                                                                                                                                                 Submission                                                                2010           2010                 2010         2010                   Prolift
Find A Doctor Consent Form                         GPD-553-10-11/12   GPD-553-10_FAD Consent Form_CA.pdf                       Find A Doctor Consent Form                  (ETHUS) Printed Material         Linda Linton      (ETHUS) EWHU US Marketing   02 Nov         12 Nov      10       02 Nov       14 Nov      12         Gyencare                  23 ETH.MESH.02231563   ETH.MESH.02231563
                                                                                                                                                                                 Submission                                                                2010           2010                 2010         2010                 Gynemesh
Pelvic Floor Patient Questionnaire                 GPD-554-10-11/12   GPD-554-10_Patient Questionnaire_CA.pdf                  Pelvic Floor Patient Questionnaire          (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW         02 Nov         24 Nov      22       02 Nov       29 Nov      27         Gyencare                  23 ETH.MESH.02231564   ETH.MESH.02231565
                                                                                                                                                                                 Submission                                            Marketing           2010           2010                 2010         2010                 Gynemesh
SUI POP Patient Flip Chart                         GPD-557-10-12/12   GPD-557-10_SUI_POP_Flipchart_CA.pdf                      SUI POP Patient Flip Chart                  (ETHUS) Printed Material      Melissa Muguruza     (ETHUS) EWHU US Marketing 07 Dec 2010      15 Dec       8     06 Dec 2010    21 Dec      15        Gyenecare                  23 ETH.MESH.02231566   ETH.MESH.02231587
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
Global Professional Education - fall               GPD-569-10-11/12   GPD-569-10_Global_Professional_Education_fall_CA.pdf     Global Professional Education - fall         (ETHUS) Digital Content      Michala Kouskova     (ETHUS) EWHU WW Prof. Ed 26 Oct 2010       10 Nov      15     25 Oct 2010    15 Nov      21        Gyenecare                  23 ETH.MESH.02231588   ETH.MESH.02231600
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
ANATOMY PRE-Study eModule                          GPD-576-10-12/11   GPD-576-10_Anatomy_CA.pdf                                ANATOMY PRE-Study eModule                    (ETHUS) Digital Content         Davina Kullar       (ETHUS) EWHU WW Sales     11 Nov         22 Dec      41       11 Nov       07 Jan      57         Gyencare                  23 ETH.MESH.02231601   ETH.MESH.02231829
                                                                                                                                                                                 Submission                                             Training           2010           2010                 2010         2011                 Gynemesh
MARKET AND CUSTOMER e-Module Home Study            GPD-577-10-12/11   GPD-577-10_Mkt and Cust emod_CA.pdf                      MARKET AND CUSTOMER e-Module                 (ETHUS) Digital Content         Davina Kullar       (ETHUS) EWHU WW Sales     11 Nov         09 Mar      118      11 Nov       09 Mar      118        Gyencare                  23 ETH.MESH.02231830   ETH.MESH.02232008
                                                                                                                               Home Study                                        Submission                                             Training           2010           2011                 2010         2011                 Gynemesh
Selling and Territory Planning Pre_study eModule   GPD-578-10-12/11   GPD-578-10_Integrity_Sllg_and_Territory_Plng_CA.pdf      Selling and Territory Planning Pre_study     (ETHUS) Digital Content         Davina Kullar       (ETHUS) EWHU WW Sales     11 Nov         22 Dec      41       11 Nov       07 Jan      57         Gyencare                  23 ETH.MESH.02232009   ETH.MESH.02232111
                                                                                                                               eModule                                           Submission                                             Training           2010           2010                 2010         2011                 Gynemesh
Fellows Textbook letter                            GPD-588-10-12/12   GPD-588-10_Textbook_letter_CA.pdf                        Fellows Textbook letter                     (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing   30 Nov         10 Dec      10       30 Nov       13 Dec      13        Gyenecare                  23 ETH.MESH.02232112   ETH.MESH.02232112
                                                                                                                                                                                 Submission                                                                2010           2010                 2010         2010                   Prolift
EWHU Crocs for Sales Force                         GPD-589-10-12/12   GPD-589-10_EWHU Crocs_CA.pdf                             EWHU Crocs for Sales Force                  (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing   30 Nov         10 Dec      10       30 Nov       13 Dec      13       Gynecare TVT                23 ETH.MESH.02232113   ETH.MESH.02232113
                                                                                                                                                                                 Submission                                                                2010           2010                 2010         2010
Pelvic Floor Repair Patient questionnairre CD      GPD-590-10-12/12   GPD-590-10_Questionnaire CD_Label_CA.pdf                 Pelvic Floor Repair Patient                 (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW         30 Nov         10 Dec      10       30 Nov       13 Dec      13        Gyencare                   23 ETH.MESH.02232114   ETH.MESH.02232114
                                                                                                                               questionnairre CD                                 Submission                                            Marketing           2010           2010                 2010         2010                 Gynemesh
AAGL Banner Ad                                     GPD-610-10-12/11   GPD-610-10_AAGL Banner Ad_CA.pdf                         AAGL Banner Ad                               (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 07 Dec 2010      17 Dec      10     07 Dec 2010    20 Dec      13        Gyenecare                  23 ETH.MESH.02232115   ETH.MESH.02232116
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
EWHU-EES Banner Ad                                 GPD-611-10-12/11   GPD-611-10_EWHU-EES Outcomes Banner Ad_CA.pdf            EWHU-EES Banner Ad                           (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 07 Dec 2010      17 Dec      10     07 Dec 2010    20 Dec      13        Gyenecare                  23 ETH.MESH.02232117   ETH.MESH.02232118
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift
Patient Counseling Flip Chart for SUI and POP      GPD-005-11-1/13    GPD_005_11_Patient Flipchart_CA.pdf                      Patient Counseling Flip Chart for SUI and   (ETHUS) Printed Material      Melissa Muguruza     (ETHUS) EWHU US Marketing 03 Jan 2011      28 Jan      25     03 Jan 2011    31 Jan      28        Gyenecare                  23 ETH.MESH.02232119   ETH.MESH.02232140
                                                                                                                               POP                                               Submission                                                                               2011                              2011                   Prolift
Bony landmarks Workshop Leaders Guide              GPD-229-11-10/13   GPD_229_11_BonyLandmarks_LeaderGuide_CA.pdf              Bony landmarks Workshop Leaders             (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales 04 Oct 2011        21 Oct      17     04 Oct 2011    26 Oct      22        Gyenecare                  23 ETH.MESH.02232141   ETH.MESH.02232148
                                                                                                                               Guide                                             Submission                                             Training                          2011                              2011                   Prolift
EWHU SLD Magnetic Timelines                        GPD-289-11-10/13   GPD_289_11_Magnetic Timeline_CA.pdf                      EWHU SLD Magnetic Timelines                   (ETHUS) Presentation           Davina Kullar       (ETHUS) EWHU WW Sales 27 Sep 2011        19 Oct      22     22 Sep 2011    20 Oct      28        Gyencare                   23 ETH.MESH.02232149   ETH.MESH.02232307
                                                                                                                                                                                 Submission                                             Training                          2011                              2011                 Gynemesh
POP Patient Education Presentation                 GPD-339-11-11/13   GPD_339_11_POP Patient 2011_CA.pdf                       POP Patient Education Presentation            (ETHUS) Presentation         Jason Goodbody      (ETHUS) EWHU US Marketing 04 Oct 2011      18 Nov      45     04 Oct 2011    29 Nov      56        Gyencare                   23 ETH.MESH.02232308   ETH.MESH.02232334
                                                                                                                                                                                 Submission                                                                               2011                              2011                 Gynemesh
EWHU Clinical Article: Murphy: Time to Rethink     GPD-393-11-12/13   GPD_393_11_Murphy_Time to Rethink_CR.pdf                 EWHU Clinical Article: Murphy: Time to       (ETHUS) Digital Content       Brian Luscombe      (ETHUS) EWHU US Marketing     29 Nov       16 Dec      17       28 Nov       05 Jan      38        Gyenecare                  23 ETH.MESH.02232335   ETH.MESH.02232339
                                                                                                                               Rethink                                           Submission                                                                  2011         2011                 2011         2012                   Prolift
Bony Landmarks Worksheet & Answersheet             GPD-406-11-6/13    GPD_406_11_Bony_Landmarks_Wksht_AswSht_CA.pdf            Bony Landmarks Worksheet &                  (ETHUS) Printed Material        Mary O'Connell        (ETHUS) EWHU US Sales    06 Dec 2011    14 Dec       8     06 Dec 2011    14 Dec       8        Gyenecare                  23 ETH.MESH.02232340   ETH.MESH.02232346
                                                                                                                               Answersheet                                       Submission                                             Training                          2011                              2011                   Prolift
Prolapse Waiting Room Slim Jim                     GPD-445-10-11/12   GPD_445-10_497808C_WR SlimJim_CA.pdf                     Prolapse Waiting Room Slim Jim              (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 19 Oct 2010      03 Nov      15     18 Oct 2010    05 Nov      18        Gyenecare                  23 ETH.MESH.02232347   ETH.MESH.02232348
                                                                                                                                                                                 Submission                                                                               2010                              2010                   Prolift




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Task Name                                          Task Number          Name of File Pulled                                                 Path                                                 Type                       Owner                      Role             Start Date End Date   Duration Start Date End Date    Duration      Brand       Production          Start Bates          End Bates
GYNECARE TVT-O Slim Jim                            TVTO-422-10-9/12     Gynecare TVT O Slim Jim TVTO 442 10.pdf                             GYNECARE TVT-O Slim Jim                     (ETHUS) Printed Material       Jennifer Paradise    (ETHUS) EWHU US Marketing 31 Aug 2010 15 Sep         15    30 Aug 2010 16 Sep        17      Gynecare TVT                23 ETH.MESH.02232349   ETH.MESH.02232354
                                                                                                                                                                                              Submission                                                                             2010                           2010
Poster submission of the Accepted abstract         WH-PRO-0018-09-      ISPOR Prolift Lit Review Poster and Handout_v4_CRC.pdf              Poster submission of the Accepted             (ETHUS) Presentation           Jennifer Haby     (ETHUS) Production Managers 28 Apr 2009 15 May        17    28 Apr 2009 14 May       16        Gyenecare                  23 ETH.MESH.02232355   ETH.MESH.02232357
(previously copy approved CR 2009-20) to the       4/11                                                                                     abstract (previously copy approved CR             Submission                                                                             2009                           2009                    Prolift
ISPOR                                                                                                                                       2009-20) to the ISPOR
Ethicon Overlay Presentation Speaker Notes         JJWM-015-12          JJWM-015-12_Ethicon Overlay Customer Deck IU_CA.pdf                 Ethicon Overlay Presentation Speaker          (ETHUS) Presentation          Sharon Wrenn       (ETHUS) JJWM US Marketing 03 Jan 2012     11 Jan      8     03 Jan 2012   04 Jan      1        Gyenecare                  23 ETH.MESH.02232358   ETH.MESH.02232380
Internal Use                                                                                                                                Notes Internal Use                                Submission                                                                              2012                            2012                  Prolift
Ethicon Overlay Customer Presentation              JJWM-016-12          JJWM-016-12_Ethicon Overlay Customer Deck_CA.pdf                    Ethicon Overlay Customer Presentation         (ETHUS) Presentation          Sharon Wrenn       (ETHUS) JJWM US Marketing 03 Jan 2012     11 Jan      8     03 Jan 2012   04 Jan      1        Gyenecare                  23 ETH.MESH.02232381   ETH.MESH.02232403
                                                                                                                                                                                              Submission                                                                              2012                            2012                  Prolift
Ethicon Overlay Deck                               JJWM-380-11-12/12    JJWM-380-11_Ethicon Overlay Customer Deck CC6 CA.pdf                Ethicon Overlay Deck                          (ETHUS) Presentation          Sharon Wrenn       (ETHUS) JJWM US Marketing 06 Dec 2011     23 Dec     17    05 Dec 2011    03 Jan     29        Gyenecare                  23 ETH.MESH.02232404   ETH.MESH.02232426
                                                                                                                                                                                              Submission                                                                              2011                            2012                  Prolift
Ethicon Overlay Speaker Notes                      JJWM-381-11-12/12    JJWM-381-11_Ethicon Overlay Customer Deck CC6 IU_CA.pdf             Ethicon Overlay Speaker Notes                 (ETHUS) Presentation          Sharon Wrenn       (ETHUS) JJWM US Marketing 06 Dec 2011     23 Dec     17    05 Dec 2011    03 Jan     29        Gyenecare                  23 ETH.MESH.02232427   ETH.MESH.02232449
                                                                                                                                                                                              Submission                                                                              2011                            2012                  Prolift
Keywords and Search Terms for EWH&U on             WH-GPD-0004-09-   Key Words and Search EWHU Products.pdf                                 Keywords and Search Terms for EWH&U          (ETHUS) Digital Content         Jennifer Haby     (ETHUS) Production Managers 14 Apr 2009   30 Apr     16    14 Apr 2009    01 May     17         Gyencare                  23 ETH.MESH.02232450   ETH.MESH.02232451
ethicon360.com                                     4/10                                                                                     on ethicon360.com                                 Submission                                                                              2009                            2009                Gynemesh
Fax Linking Approval Documents                     WH-GPD-0012-09-   Linking Letter fax with CR comments 5-5-09.pdf                         Fax Linking Approval Documents              (ETHUS) Printed Material         Linda Linton      (ETHUS) EWHU US Marketing 21 Apr 2009     08 May     17    21 Apr 2009    07 May     16        Gyenecare                  23 ETH.MESH.02232452   ETH.MESH.02232454
                                                   4/11                                                                                                                                       Submission                                                                              2009                            2009                  Prolift
USING CURRENT INVENTORY - MORC-0142-09-            MORC-0142-09-9/11 MORC-0142-09_Hyst_Span-Eng_Bro_CA.pdf                                  USING CURRENT INVENTORY - MORC-             (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 09 Aug 2011     19 Aug     10    04 Aug 2011    24 Aug     20       Gynecare TVT                23 ETH.MESH.02232455   ETH.MESH.02232490
9/11 - Hysterectomy Spanish Patient Brochure                                                                                                0142-09-9/11 - Hysterectomy Spanish               Submission                                                                              2011                            2011
                                                                                                                                            Patient Brochure
Email to Sales Force re: New PFR Products          PRO-0035-09-6/11     New products msg for the fieldCA.pdf                                Email to Sales Force re: New PFR            (ETHUS) Printed Material          Scott Jones      (ETHUS) EWHU US Marketing   12 May        25 Jun     44      12 May       24 Jun     43        Gyenecare                  23 ETH.MESH.02232491   ETH.MESH.02232496
                                                                                                                                            Products                                          Submission                                                                2009          2009               2009         2009                  Prolift
PHS Rep Training Deck                              WH-GPD-0011-09-      PHS Rep training deck 4-30-09.pdf                                   PHS Rep Training Deck                         (ETHUS) Presentation           Linda Linton      (ETHUS) EWHU US Marketing 21 Apr 2009     08 May     17    21 Apr 2009    06 May     15        Gyenecare                  23 ETH.MESH.02232497   ETH.MESH.02232513
                                                   4/11                                                                                                                                       Submission                                                                              2009                            2009                  Prolift
Pinnacle SGS Abstract                              PRO-277-10-5/12      Pinnacle SGS abstract.pdf                                           Pinnacle SGS Abstract                       (ETHUS) Printed Material          Scott Jones      (ETHUS) EWHU US Marketing   04 May        19 May     15       03 May      20 May     17        Gyenecare                  23 ETH.MESH.02232514   ETH.MESH.02232514
                                                                                                                                                                                              Submission                                                                 2010         2010                 2010       2010                  Prolift
Pinnacle One Pager - User Guide                    PROM-0077-09-4/11 Pinnacle_One_Pager_User_Guide_6-12CA.pdf                               Pinnacle One Pager - User Guide             (ETHUS) Printed Material        Hillary Perkins    (ETHUS) EWHU US Marketing 02 Jun 2009     12 Jun     10     02 Jun 2009   16 Jun     14        Gyenecare                  23 ETH.MESH.02232515   ETH.MESH.02232520
                                                                                                                                                                                              Submission                                                                              2009                            2009                  Prolift
POP-Q Review Slides                                PROM-0078-09-6/11 POPQ reviewCA.pdf                                                      POP-Q Review Slides                           (ETHUS) Presentation            Scott Jones      (ETHUS) EWHU US Marketing 02 Jun 2009     12 Jun     10     02 Jun 2009   15 Jun     13        Gyenecare                  23 ETH.MESH.02232521   ETH.MESH.02232524
                                                                                                                                                                                              Submission                                                                              2009                            2009                  Prolift
EWHU Clinical-Lucente: Early US Experience (Prolift PRO-0268-09-12/10   PRO-0268-09_Lucente_Early US Experience.pdf                         EWHU Clinical-Lucente: Early US              (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing     17 Nov      30 Nov     13       15 Nov      04 Dec     19        Gyenecare                  23 ETH.MESH.02232525   ETH.MESH.02232525
- clinical abstract)                                                                                                                        Experience (Prolift - clinical abstract)          Submission                                                                  2009        2009                2009        2009                  Prolift
EWHU Clinical-Jacquetin: Transvaginal Repair of     PRO-0269-09-12/10   PRO-0269-09_GPS018.pdf                                              EWHU Clinical-Jacquetin: Transvaginal        (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing     17 Nov      30 Nov     13       15 Nov      04 Dec     19        Gyenecare                  23 ETH.MESH.02232526   ETH.MESH.02232535
Genital Prolapse (GPS018 - clinical article)                                                                                                Repair of Genital Prolapse (GPS018 -              Submission                                                                  2009        2009                2009        2009                  Prolift
                                                                                                                                            clinical article)
EWHU Clinical-Lucente: Short-term Results of the   PRO-0306-09-12/10    PRO-0306-09_Lucente_ShorttermResults of the Prolift.pdf             EWHU Clinical-Lucente: Short-term           (ETHUS) Digital Content           Scott Jones      (ETHUS) EWHU US Marketing     17 Nov      09 Dec     22       15 Nov      21 Dec     36        Gyenecare                  23 ETH.MESH.02232536   ETH.MESH.02232536
Prolift (GPS026 - clinical abstract)                                                                                                        Results of the Prolift (GPS026 - clinical        Submission                                                                   2009        2009                2009        2009                  Prolift
                                                                                                                                            abstract)
PROLIFT Stand-Up Sign                              PRO-0326–09-12/11    PRO-0326-09_4243_PRO_Standup.pdf                                    PROLIFT Stand-Up Sign                       (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 08 Dec 2009     22 Jan     45    04 Dec 2009    27 Jan     54        Gyenecare                  23 ETH.MESH.02232537   ETH.MESH.02232537
                                                                                                                                                                                              Submission                                                                              2010                            2010                  Prolift
EWHU Summary/Positioning-                          PRO-057-10-3/12      PRO-057-10_Altman Summary_Positioning_CA.pdf                        EWHU Summary/Positioning-                    (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 15 Feb 2010     19 Mar     32    15 Feb 2010    25 Mar     37        Gyenecare                  23 ETH.MESH.02232538   ETH.MESH.02232540
Altman:Perioperative Morbidity                                                                                                              Altman:Perioperative Morbidity                    Submission                                                                              2010                            2010                  Prolift
EWHU Summary/Positioning- Sanses: Anatomic         PRO-081-10-3/12      PRO-081-10_Sanses_Summary_Positioning_CA.pdf                        EWHU Summary/Positioning- Sanses:            (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 16 Feb 2010     19 Mar     31    15 Feb 2010    25 Mar     37        Gyenecare                  23 ETH.MESH.02232541   ETH.MESH.02232544
Outcomes                                                                                                                                    Anatomic Outcomes                                 Submission                                                                              2010                            2010                  Prolift
DeTayrac Anatomic Study Abstract                   PRO-101-10-2/12      PRO-101-10_De Tayrac Pinnacle Article_CA.pdf                        DeTayrac Anatomic Study Abstract            (ETHUS) Printed Material          Scott Jones      (ETHUS) EWHU US Marketing 09 Feb 2010     24 Feb     15    08 Feb 2010    23 Feb     15        Gyenecare                  23 ETH.MESH.02232545   ETH.MESH.02232545
                                                                                                                                                                                              Submission                                                                              2010                            2010                  Prolift
Miller short term outcomes abstract                PRO-102-10-2/12      PRO-102-10_Miller Pinnacle Article_CA.pdf                           Miller short term outcomes abstract         (ETHUS) Printed Material          Scott Jones      (ETHUS) EWHU US Marketing 09 Feb 2010     24 Feb     15    08 Feb 2010    24 Feb     16        Gyenecare                  23 ETH.MESH.02232546   ETH.MESH.02232547
                                                                                                                                                                                              Submission                                                                              2010                            2010                  Prolift
Miller and Lotze Cadaveric Study                   PRO-103-10-2/12      PRO-103-10_Miller and Lotze Pinnacle article_CA.pdf                 Miller and Lotze Cadaveric Study            (ETHUS) Printed Material          Scott Jones      (ETHUS) EWHU US Marketing 09 Feb 2010     24 Feb     15    08 Feb 2010    24 Feb     16        Gyenecare                  23 ETH.MESH.02232548   ETH.MESH.02232549
                                                                                                                                                                                              Submission                                                                              2010                            2010                  Prolift
EWHU Summary/Positioning- Muphy-Early US       PRO-109-10-3/12          PRO-109-10_Murphy_Sales Rep Positioning_CA.pdf                      EWHU Summary/Positioning- Muphy-             (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 16 Feb 2010     19 Mar     31    15 Feb 2010    25 Mar     37        Gyenecare                  23 ETH.MESH.02232550   ETH.MESH.02232550
Experience                                                                                                                                  Early US Experience                               Submission                                                                              2010                            2010                  Prolift
EWHU Summary/Positioning- Fatton: Transvaginal PRO-116-10-3/12          PRO-116-10_Fatton_Transvaginal Repair_SalesRep Positioning_CA.pdf   EWHU Summary/Positioning- Fatton:            (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 16 Feb 2010     24 Mar     36    15 Feb 2010    25 Mar     37        Gyenecare                  23 ETH.MESH.02232551   ETH.MESH.02232551
Repair                                                                                                                                      Transvaginal Repair                               Submission                                                                              2010                            2010                  Prolift
EWHU Summary/Positioning- van Raalte: Short-   PRO-119-10-3/12          PRO-119-10_van Raalte_Short Term Results_Sales Rep                  EWHU Summary/Positioning- van Raalte:        (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 16 Feb 2010     19 Mar     31    15 Feb 2010    25 Mar     37        Gyenecare                  23 ETH.MESH.02232552   ETH.MESH.02232552
term Results of the Prolift(TM)                                         Positioning_CA.pdf                                                  Short-term Results of the Prolift(TM)             Submission                                                                              2010                            2010                  Prolift

EWHU Clinical Article: Withagen - Trocar-Guided    PRO-137-11-3/13      PRO-137-11-Withagen_Trocar-Guided Msh vs Convent Rpr_CA.pdf         EWHU Clinical Article: Withagen - Trocar-    (ETHUS) Digital Content       Brian Luscombe      (ETHUS) EWHU US Marketing 15 Mar          25 Mar     10      14 Mar       28 Mar     14        Gyenecare                  23 ETH.MESH.02232553   ETH.MESH.02232561
Mesh vs Colporrhaphy                                                                                                                        Guided Mesh vs Colporrhaphy                       Submission                                                              2011            2011               2011         2011                  Prolift
Prolapse Web Article with images                   PRO-166-10-3/11      PRO-166-10-prolapse article_CA.pdf                                  Prolapse Web Article with images             (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 15 Mar          26 Mar     11      15 Mar       02 Apr     18        Gyenecare                  23 ETH.MESH.02232562   ETH.MESH.02232566
                                                                                                                                                                                              Submission                                                              2010            2010               2010         2010                  Prolift
PROLIFT - Van Raalte abstract                      PRO-189-11-5/13      PRO-189-11_Van Raalte_Short term results Prolift Abstract_CA.pdf    PROLIFT - Van Raalte abstract               (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales 26 Apr 2011       06 May     10    26 Apr 2011    09 May     13        Gyenecare                  23 ETH.MESH.02232567   ETH.MESH.02232567
                                                                                                                                                                                              Submission                                             Training                         2011                            2011                  Prolift
PROLIFT van Raalte SGS                             PRO-190-11-5/13      PRO-190-11_Van Raalte_SGS Prolift 1 year_CA.pdf                     PROLIFT van Raalte SGS                      (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales 26 Apr 2011       06 May     10    26 Apr 2011    09 May     13        Gyenecare                  23 ETH.MESH.02232568   ETH.MESH.02232573
                                                                                                                                                                                              Submission                                             Training                         2011                            2011                  Prolift
TVM technique for pelvic organ prolapse repair     PRO-191-11-5/13      PRO-191-11_French_Trnsvag mesh tech POP Rpr_CA.pdf                  TVM technique for pelvic organ prolapse     (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales 26 Apr 2011       06 May     10    26 Apr 2011    09 May     13        Gyenecare                  23 ETH.MESH.02232574   ETH.MESH.02232580
                                                                                                                                            repair                                            Submission                                             Training                         2011                            2011                  Prolift




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                  4/10/2012                                                                                                                                                                                                                                                                                                                 SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
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                                                                                                                                                                                                    In re Pelvic Mesh Litigation
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                                                                                                                                                                                                   2009-2011 (GGM Blue Files)




Task Name                                         Task Number         Name of File Pulled                                               Path                                                 Type                       Owner                   Role               Start DateEnd Date Duration Start Date End Date        Duration     Brand     Production          Start Bates          End Bates
SEO Prolapse Web Article                          PRO-199-10-4/11     PRO-199-10_SEO Prolapse Web article_CA.pdf                        SEO Prolapse Web Article                     (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing     30 Mar    09 Apr     10       29 Mar      13 Apr         15      Gyenecare                23 ETH.MESH.02232581   ETH.MESH.02232585
                                                                                                                                                                                          Submission                                                                  2010     2010                2010        2010                    Prolift
eClinical Compendium: Withagen                    PRO-204-11-5/13     PRO-204-11_Withagen_Trocar Gded Mesh_Obstet Gynecol_Sum-          eClinical Compendium: Withagen               (ETHUS) Digital Content       Brian Luscombe     (ETHUS) EWHU US Marketing     03 May    13 May     10       03 May      19 May        16       Gyenecare                23 ETH.MESH.02232586   ETH.MESH.02232588
Summary Positioning                                                   Rep CA.pdf                                                        Summary Positioning                               Submission                                                                  2011     2011                2011        2011                    Prolift
eClinical Compendium: Altman NEJM Clinical        PRO-225-11-6/13     PRO-225-11_Altman article Sum-Rep_CA.pdf                          eClinical Compendium: Altman NEJM            (ETHUS) Digital Content       Brian Luscombe     (ETHUS) EWHU US Marketing     31 May    10 Jun     10       26 May      14 Jun        19       Gyenecare                23 ETH.MESH.02232589   ETH.MESH.02232591
Summary                                                                                                                                 Clinical Summary                                  Submission                                                                  2011     2011                2011        2011                    Prolift
EWHU Clinical: Altman Prolift vs Anterior         PRO-217-11-6/13     PRO-271-11_Altman_Ant Col vs Trnsvag Mesh POP NEJM_CA.pdf         EWHU Clinical: Altman Prolift vs Anterior   (ETHUS) Printed Material       Brian Luscombe     (ETHUS) EWHU US Marketing     17 May    25 May     8        13 May      27 May        14       Gyenecare                23 ETH.MESH.02232592   ETH.MESH.02232602
Colporrhaphy                                                                                                                            Colporrhaphy                                      Submission                                                                  2011     2011                2011        2011                    Prolift
Murphy Abstract                                   PRO-279-10-5/12     PRO-279-10_Murphy Lucente Sexual Function Abstract_CA.pdf         Murphy Abstract                             (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing     04 May    26 May     22       03 May      27 May        24       Gyenecare                23 ETH.MESH.02232603   ETH.MESH.02232604
                                                                                                                                                                                          Submission                                                                  2010     2010                2010        2010                    Prolift
EWHU Summary- Altman: Perioperative Morbidity PRO-290-10-06/12        PRO-290-10_PRO_Altman Summary_Revised_3_CA.pdf                    EWHU Summary- Altman: Perioperative          (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing   01 Jun 2010 30 Jun     29       28 May    01 Jul 2010     34       Gyenecare                23 ETH.MESH.02232605   ETH.MESH.02232606
(REVISED)                                                                                                                               Morbidity (REVISED)                               Submission                                                                           2010                2010                                Prolift
GYNECARE PROLIFT IFU update on ethicon360.com PRO-294-11-8/12         PRO-294-11_PROLIFT IFU update on e360_CA.pdf                      GYNECARE PROLIFT IFU update on               (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing 26 Jul 2011   17 Aug     22     26 Jul 2011   21 Aug        26       Gyenecare                23 ETH.MESH.02232607   ETH.MESH.02232684
                                                                                                                                        ethicon360.com                                    Submission                                                                           2011                            2011                    Prolift
Prosima Journal Ad for AAGL                       PRO-397-10-8/12     PRO-397-10_PROSIMA Program Ad_CA.pdf                              Prosima Journal Ad for AAGL                 (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 10 Aug 2010 20 Aug       10    10 Aug 2010 24 Aug           14       Gyenecare                23 ETH.MESH.02232685   ETH.MESH.02232685
                                                                                                                                                                                          Submission                                                                           2010                            2010                   Prosima
Think Again Module 1                              PRO-399-10-8/12     PRO-399-10_Think Again_Module 1_CA.pdf                            Think Again Module 1                         (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing 10 Aug 2010 01 Sep       22    09 Aug 2010 02 Sep           24       Gyenecare                23 ETH.MESH.02232686   ETH.MESH.02232767
                                                                                                                                                                                          Submission                                                                           2010                            2010                    Prolift
PROLIFT +M White Paper Highlights                 WH-PROM-0034-09- PROLIFT M White Paper Highlights.pdf                                 PROLIFT +M White Paper Highlights           (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing   12 May      29 May     17       12 May      01 Jun        20       Gyenecare                23 ETH.MESH.02232768   ETH.MESH.02232770
                                                  4/11                                                                                                                                    Submission                                                                2009       2009                2009        2009                    Prolift
Kaiser One Page on PROLIFT +M                     PROM-0069-09-7/11 PROLIFT M_Kaiser One PagerCA.pdf                                    Kaiser One Page on PROLIFT +M               (ETHUS) Printed Material        Hillary Perkins   (ETHUS) EWHU US Marketing   26 May    22 Jul 2009 57        26 May      05 Aug        71       Gyenecare                23 ETH.MESH.02232771   ETH.MESH.02232772
                                                                                                                                                                                          Submission                                                                2009                           2009        2009                    Prolift
Professional Education - PROLIFT                  PROM-0082-09-4/11 PROLIFTM Professional Education_CA.pdf                              Professional Education - PROLIFT              (ETHUS) Presentation          Hillary Perkins   (ETHUS) EWHU US Marketing 02 Jun 2009   12 Jun     10    02 Jun 2009    15 Jun        13       Gyenecare                23 ETH.MESH.02232773   ETH.MESH.02232801
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
Kaiser One Page on PROLIFT                        WH-PRO-0066-09-   PROLIFT_Kaiser One Pager_CA.pdf                                     Kaiser One Page on PROLIFT                  (ETHUS) Printed Material        Hillary Perkins   (ETHUS) EWHU US Marketing   26 May      11 Jun     16       26 May      19 Jun        24       Gyenecare                23 ETH.MESH.02232802   ETH.MESH.02232803
                                                  6/11                                                                                                                                    Submission                                                                2009       2009                2009        2009                    Prolift
Preceptorship Invite P + M                        PROM-0040-09-4/11 PROM-0040-09full.pdf                                                Preceptorship Invite P + M                  (ETHUS) Printed Material        Eric Globerman     (ETHUS) EWHU US Prof. Ed   19 May      06 Jun     18       19 May      10 Jun        22       Gyenecare                23 ETH.MESH.02232804   ETH.MESH.02232804
                                                                                                                                                                                          Submission                                                                2009       2009                2009        2009                    Prolift
Pinnacle Rebuttal Guide                           PROM-0056-09-4/11 PROM-0056-09_ProliftM_SalesAid_R6.pdf                               Pinnacle Rebuttal Guide                     (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing 02 Jun 2009   19 Jun     17    02 Jun 2009    23 Jun        21       Gyenecare                23 ETH.MESH.02232805   ETH.MESH.02232805
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
Professional Education - Prolapse Disease State   PROM-0079-09-4/11 PROM-0079-09 PROLIFT M Professional Education_Disease State FINAL   Professional Education - Prolapse             (ETHUS) Presentation          Hillary Perkins   (ETHUS) EWHU US Marketing 02 Jun 2009   12 Jun     10    02 Jun 2009    15 Jun        13       Gyenecare                23 ETH.MESH.02232806   ETH.MESH.02232819
                                                                    CA.pdf                                                              Disease State                                     Submission                                                                           2009                            2009                    Prolift
Professional Education - Material Science         PROM-0080-09-4/11 PROM-0080-09 PROLIFT M Professional Education_Material              Professional Education - Material             (ETHUS) Presentation          Hillary Perkins   (ETHUS) EWHU US Marketing 02 Jun 2009   12 Jun     10    02 Jun 2009    15 Jun        13       Gyenecare                23 ETH.MESH.02232820   ETH.MESH.02232832
                                                                    Science FINAL CA.pdf                                                Science                                           Submission                                                                           2009                            2009                    Prolift
Professional Education - Complication Handling    PROM-0081-09-4/11 PROM-0081-09 PROLIFT M Professional Education_Post Op               Professional Education - Complication         (ETHUS) Presentation          Hillary Perkins   (ETHUS) EWHU US Marketing 02 Jun 2009   12 Jun     10    02 Jun 2009    15 Jun        13       Gyenecare                23 ETH.MESH.02232833   ETH.MESH.02232845
                                                                    Complications FINAL CA.pdf                                          Handling                                          Submission                                                                           2009                            2009                    Prolift
PROLIFT+M Tissue Ingrowth Animation               PROM-0105-09-8/11 PROM-0105-09_Tissue_Ingrowth_SB-Script_CA.pdf                       PROLIFT+M Tissue Ingrowth Animation          (ETHUS) Digital Content        Jonathan Meek         (ETHUS) EWHU WW       16 Jun 2009 07 Aug       52    16 Jun 2009 12 Aug           57       Gyenecare                23 ETH.MESH.02232846   ETH.MESH.02232853
                                                                                                                                                                                          Submission                                           Marketing                       2009                            2009                    Prolift
Advanced User Prof Ed Deck                        PROM-0125-09-8/11 PROM-0125-09_PROLIFT M_Advanced User Deck_2009_CA.pdf               Advanced User Prof Ed Deck                    (ETHUS) Presentation          Hillary Perkins   (ETHUS) EWHU US Marketing 14 Jul 2009   14 Aug     31     14 Jul 2009   17 Aug        34       Gyenecare                23 ETH.MESH.02232854   ETH.MESH.02232874
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
Sales Training - Competitive Overview             PROM-0126-09-8/10 PROM-0126-09_ProliftM_Competitive Overview_Final_CA.pdf             Sales Training - Competitive Overview         (ETHUS) Presentation          Hillary Perkins   (ETHUS) EWHU US Marketing 14 Jul 2009   21 Aug     38     14 Jul 2009   21 Aug        38       Gyenecare                23 ETH.MESH.02232875   ETH.MESH.02232907
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
AUGS Pre-show mailer                              PROM-0147-09        PROM-0147-09_AUGS Pre-show Mailer.pdf                             AUGS Pre-show mailer                        (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing 18 Aug 2009 02 Sep       15    17 Aug 2009 03 Sep           17       Gyenecare                23 ETH.MESH.02232908   ETH.MESH.02232909
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
AUGS Symposium Flyer                              PROM-0148-09        PROM-0148-09_AUGS_Symp_Flyer.pdf                                  AUGS Symposium Flyer                        (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing 18 Aug 2009 02 Sep       15    17 Aug 2009 03 Sep           17       Gyenecare                23 ETH.MESH.02232910   ETH.MESH.02232910
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
AUGS Advertisement for PROLIFT_M                  PROM-0149-09        PROM-0149-09_ethigo_aug_prg_ad_CA.pdf                             AUGS Advertisement for PROLIFT_M            (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing 18 Aug 2009 04 Sep       17    17 Aug 2009 08 Sep           22       Gyenecare                23 ETH.MESH.02232911   ETH.MESH.02232911
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
AUGS Convention Flyer                             PROM-0153-09-9/11 PROM-0153-09_41254_ethigo_augs_flyer_CA.pdf                         AUGS Convention Flyer                       (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing 25 Aug 2009 18 Sep       24    24 Aug 2009 22 Sep           29       Gyenecare                23 ETH.MESH.02232912   ETH.MESH.02232913
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
AUGS Convention Panels                            PROM-0154-09-9/11 PROM-0154-09_41254_ethigo_conv_pan_lo7_CA.pdf                       AUGS Convention Panels                      (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing 25 Aug 2009 11 Sep       17    24 Aug 2009 10 Sep           17       Gyenecare                23 ETH.MESH.02232914   ETH.MESH.02232915
                                                                                                                                                                                          Submission                                                                           2009                            2009                    Prolift
PROLIFT +M Advanced User Dinner Invitation        PROM-0160-09-9/11 PROM-0160-09_ECN_481498A02_CA.pdf                                   PROLIFT +M Advanced User Dinner             (ETHUS) Printed Material        Hillary Perkins   (ETHUS) EWHU US Marketing 01 Sep 2009 11 Sep       10    31 Aug 2009 16 Sep           16       Gyenecare                23 ETH.MESH.02232916   ETH.MESH.02232916
                                                                                                                                        Invitation                                        Submission                                                                           2009                            2009                    Prolift
Boukerrou clinical paper to support PROLIFT+M     PROM-0178-09-9/11 PROM-0178-09_Boukerrou_Study biomech_properties.pdf                 Boukerrou clinical paper to support         (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       08 Sep 2009 18 Sep       10    08 Sep 2009 22 Sep           14       Gyenecare                23 ETH.MESH.02232917   ETH.MESH.02232922
                                                                                                                                        PROLIFT+M                                         Submission                                           Marketing                       2009                            2009                    Prolift
Cobb paper for PROLIFT+M                          PROM-0179-09-9/11 PROM-0179-09_Cobb.pdf                                               Cobb paper for PROLIFT+M                    (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       08 Sep 2009 18 Sep       10    08 Sep 2009 22 Sep           14       Gyenecare                23 ETH.MESH.02232923   ETH.MESH.02232929
                                                                                                                                                                                          Submission                                           Marketing                       2009                            2009                    Prolift
Klinge clinical paper to support PROLIFT+M        PROM-0180-09-9/11 PROM-0180-09_Klinge_Impact_of_pore_size.pdf                         Klinge clinical paper to support            (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       08 Sep 2009 18 Sep       10    08 Sep 2009 22 Sep           14       Gyenecare                23 ETH.MESH.02232930   ETH.MESH.02232936
                                                                                                                                        PROLIFT+M                                         Submission                                           Marketing                       2009                            2009                    Prolift
Klosterhalfen paper to support PROLIFT+M          PROM-0181-09-9/11 PROM-0181-09_Klosterhafen_Lightweight_Meshes.pdf                    Klosterhalfen paper to support              (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       08 Sep 2009 18 Sep       10    08 Sep 2009 22 Sep           14       Gyenecare                23 ETH.MESH.02232937   ETH.MESH.02232951
promotion                                                                                                                               PROLIFT+M promotion                               Submission                                           Marketing                       2009                            2009                    Prolift
Rubod clinical paper to support PROLIFT+M         PROM-0182-09-9/11 PROM-0182-09_Rubod_Biomechanical Prop Vag Tissue2.pdf               Rubod clinical paper to support             (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       08 Sep 2009 18 Sep       10    08 Sep 2009 22 Sep           14       Gyenecare                23 ETH.MESH.02232952   ETH.MESH.02232957
                                                                                                                                        PROLIFT+M                                         Submission                                           Marketing                       2009                            2009                    Prolift
EWHU Clinical Article: Sanses - Anatomic          PROM-0183-09-9/11 PROM-0183-09_Sanses_Anatomic Outcomes Prolift vs USLS and           EWHU Clinical Article: Sanses - Anatomic    (ETHUS) Printed Material       Brian Luscombe     (ETHUS) EWHU US Marketing 12 Jul 2011 22 Jul 2011  10     11 Jul 2011 27 Jul 2011     16       Gyenecare                23 ETH.MESH.02232958   ETH.MESH.02232965
Outcomes                                                            SCP CA.pdf                                                          Outcomes                                          Submission                                                                                                                                   Prolift




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Task Name                                          Task Number       Name of File Pulled                                            Path                                               Type                       Owner                      Role            Start Date End Date        Duration Start Date End Date       Duration      Brand        Production          Start Bates          End Bates
AUGS Symposium Presentation                        PROM-0185-09-9/11 PROM-0185-09_AUGS Symp Pres.pdf                                AUGS Symposium Presentation                 (ETHUS) Presentation            Scott Jones       (ETHUS) EWHU US Marketing 11 Sep 2009 23 Sep             12    11 Sep 2009 22 Sep           11       Gyenecare                   23 ETH.MESH.02232966   ETH.MESH.02233012
                                                                                                                                                                                    Submission                                                                            2009                                2009                       Prolift
GYNECARE PROLIFT Google Text Ads                   PROM-0188-09-9/10 PROM-0188-09_Prolift Google ads_CA.pdf                         GYNECARE PROLIFT Google Text Ads           (ETHUS) Digital Content         Linda Linton       (ETHUS) EWHU US Marketing 15 Sep 2009 25 Sep             10    15 Sep 2009 29 Sep          14        Gyenecare                   23 ETH.MESH.02233013   ETH.MESH.02233015
                                                                                                                                                                                    Submission                                                                            2009                                2009                       Prolift
AAGL Pelvic Floor Poster                           PROM-0198-09-      PROM-0198-09_AAGL_Poster_R3.pdf                               AAGL Pelvic Floor Poster                  (ETHUS) Printed Material          Scott Jones       (ETHUS) EWHU US Marketing 20 Oct 2009  30 Oct            10    16 Oct 2009 04 Nov          19        Gyenecare                   23 ETH.MESH.02233016   ETH.MESH.02233016
                                                   10/11                                                                                                                            Submission                                                                            2009                                2009                       Prolift
Pelvic Organ Prolapse Panels                       PROM-0208-09-      PROM-0208-09_PROLIFTM_all.pdf                                 Pelvic Organ Prolapse Panels               (ETHUS) Digital Content         Robin Osman        (ETHUS) EWHU US Marketing 13 Oct 2009  30 Oct            17    08 Oct 2009 04 Nov          27        Gyenecare                   23 ETH.MESH.02233017   ETH.MESH.02233019
                                                   10/11                                                                                                                            Submission                                                                            2009                                2009                       Prolift
GYNECARE PROLFT+M Sales Training Deck              PROM-0236-09-      PROM-0236-09_ProLift Sales Train annotated PPTver2003.pdf     GYNECARE PROLFT+M Sales Training            (ETHUS) Presentation          Jonathan Meek           (ETHUS) EWHU WW          03 Nov    18 Dec            45    30 Oct 2009 23 Dec          54        Gyenecare                   23 ETH.MESH.02233020   ETH.MESH.02233125
                                                   11/11                                                                            Deck                                            Submission                                             Marketing            2009      2009                                2009                       Prolift
GYNECARE PROLIFT+M Professional Education          PROM-0237-09-      PROM-0237-09_ProliftM Prof Ed PPTver2003.pdf                  GYNECARE PROLIFT+M Professional             (ETHUS) Presentation          Jonathan Meek           (ETHUS) EWHU WW          03 Nov    18 Nov            15    30 Oct 2009 23 Nov          24        Gyenecare                   23 ETH.MESH.02233126   ETH.MESH.02233187
Deck                                               11/11                                                                            Education Deck                                  Submission                                             Marketing            2009      2009                                2009                       Prolift
NTM PFR Quiz                                       PROM-099-10-2/12   PROM-099-10_PROLIFT QuizNTM_CA.pdf                            NTM PFR Quiz                                (ETHUS) Presentation            Scott Jones       (ETHUS) EWHU US Marketing 09 Feb 2010 19 Feb             10    08 Feb 2010 23 Feb          15        Gyenecare                   23 ETH.MESH.02233188   ETH.MESH.02233207
                                                                                                                                                                                    Submission                                                                            2010                                2010                       Prolift
Instrumentation of the Pelvis                      PROM-100-10-2/12   PROM-100-10_Deep Pass Steps_CA.pdf                            Instrumentation of the Pelvis               (ETHUS) Presentation            Scott Jones       (ETHUS) EWHU US Marketing 09 Feb 2010 19 Feb             10    08 Feb 2010 23 Feb          15        Gyenecare                   23 ETH.MESH.02233208   ETH.MESH.02233214
                                                                                                                                                                                    Submission                                                                            2010                                2010                       Prolift
EWHU Clinical Summary_Positioning - Milani:    PROM-135-11-3/13       PROM-135-11_Milani_Trocar Guided Mesh_CA.pdf                  EWHU Clinical Summary_Positioning -        (ETHUS) Digital Content       Brian Luscombe       (ETHUS) EWHU US Marketing   15 Mar     30 Mar            15      11 Mar    30 Mar          18        Gyenecare                   23 ETH.MESH.02233215   ETH.MESH.02233217
Trocar Guided                                                                                                                       Milani: Trocar Guided                           Submission                                                                  2011      2011                       2011     2011                       Prolift
GYNECARE PROLIFT Pelvic Floor Repair System,   PROM-155-10-4/12       PROM-155-10_2010 prolift reimbursement primer_CA.pdf          GYNECARE PROLIFT Pelvic Floor Repair      (ETHUS) Printed Material         Scott Wolven              (ETHUS) HE&R          16 Mar    09 Apr           24       12 Mar    14 Apr          32        Gyenecare                   23 ETH.MESH.02233218   ETH.MESH.02233220
GYNECARE PROLIFT+M Pelvic Floor Repair System,                                                                                      System, GYNECARE PROLIFT+M Pelvic               Submission                                                                  2010      2010                       2010     2010                       Prolift
GYNECARE GYNEMESH PS, Nonabsorbable                                                                                                 Floor Repair System, GYNECARE
PROLENE Soft Mesh - 2010 FACILITY AND                                                                                               GYNEMESH PS, Nonabsorbable PROLENE
PHYSICIAN BILLING GUIDE                                                                                                             Soft Mesh - 2010 FACILITY AND
                                                                                                                                    PHYSICIAN BILLING GUIDE

Cobb article - Mesh properties analysis            PROM-192-11-5/13   PROM-192-11_Cobb_Mesh Prop Analysis_CA.pdf                    Cobb article - Mesh properties analysis   (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales      26 Apr 2011   06 May        10    26 Apr 2011    09 May        13        Prolene Soft                23 ETH.MESH.02233221   ETH.MESH.02233227
                                                                                                                                                                                   Submission                                              Training                          2011                               2011                  Polypropylene
                                                                                                                                                                                                                                                                                                                                          Mesh
PROLIFT+M article                                  PROM-193-11-5/13   PROM-193-11_ProliftM_CA.pdf                                   PROLIFT+M article                         (ETHUS) Printed Material        Mary O'Connell        (ETHUS) EWHU WW Sales 26 Apr 2011       06 May        10    26 Apr 2011   09 May         13         Gyenecare                  23 ETH.MESH.02233228   ETH.MESH.02233244
                                                                                                                                                                                    Submission                                              Training                         2011                              2011                       Prolift
Prolift PCP education letter template              PROM-210-10-4/12   PROM-210-10_Prolift_PCP Letter Template_CA FINAL.pdf          Prolift PCP education letter template     (ETHUS) Printed Material       Jason Goodbody       (ETHUS) EWHU US Marketing 13 Apr 2010     30 Apr        17    13 Apr 2010   03 May         20         Gyenecare                  23 ETH.MESH.02233245   ETH.MESH.02233246
                                                                                                                                                                                    Submission                                                                               2010                              2010                       Prolift
PROLIFT On Hold Message                            PROM-211-10-6/12   PROM-211-10_On Hold Message Prolift_CA.pdf                    PROLIFT On Hold Message                   (ETHUS) Printed Material       Jason Goodbody       (ETHUS) EWHU US Marketing 13 Apr 2010     25 Jun        73    13 Apr 2010   28 Jun         76         Gyenecare                  23 ETH.MESH.02233247   ETH.MESH.02233248
                                                                                                                                                                                    Submission                                                                               2010                              2010                       Prolift
Prolapse Press Kit                                 PROM-227-10-5/12   PROM-227-10_POP Press Kit_CA.pdf                              Prolapse Press Kit                        (ETHUS) Printed Material     Jacqueline Jankewicz   (ETHUS) EWHU US Marketing 13 Apr 2010     04 Jun        52    12 Apr 2010   08 Jun         57         Gyenecare                  23 ETH.MESH.02233249   ETH.MESH.02232449
                                                                                                                                                                                    Submission                                                                               2010                              2010                       Prolift
Clinical ePrint: Ozog- Shrinkage & Biomechanical   PROM-228-11-6/13   PROM-228-11_Ozog_Shrinkage of lightweight synthetics_CA.pdf   Clinical ePrint: Ozog- Shrinkage &         (ETHUS) Digital Content       Brian Luscombe       (ETHUS) EWHU US Marketing 07 Jun 2011     15 Jun         8    01 Jun 2011   17 Jun         16         Gyenecare                  23 ETH.MESH.02233251   ETH.MESH.02233260
Evaluation                                                                                                                          Biomechanical Evaluation                        Submission                                                                               2011                              2011                       Prolift
PROLIFT+M Convention Panel - AUA                   PROM-265-10-5/12   PROM-265-10_AUA_ProliftM_CA.pdf                               PROLIFT+M Convention Panel - AUA          (ETHUS) Printed Material         Robin Osman        (ETHUS) EWHU US Marketing   04 May        14 May        10    28 Apr 2010 17 May           19         Gyenecare                  23 ETH.MESH.02233261   ETH.MESH.02233261
                                                                                                                                                                                    Submission                                                                 2010          2010                              2010                       Prolift
Sign for Pelvic Floor Simulator                    PROM-303-11-8/13   PROM-303-11_Pelvic Floor Simulator_CA.pdf                     Sign for Pelvic Floor Simulator           (ETHUS) Printed Material         Robin Osman        (ETHUS) EWHU US Marketing 09 Aug 2011     26 Aug        17    04 Aug 2011 29 Aug           25         Gyenecare                  23 ETH.MESH.02233262   ETH.MESH.02233262
                                                                                                                                                                                    Submission                                                                               2011                              2011                       Prolift
Think Again Sales Aid                              PROM-317-10-6/12   PROM-317-10_492764-Think Again_CA.pdf                         Think Again Sales Aid                     (ETHUS) Printed Material          Scott Jones       (ETHUS) EWHU US Marketing 01 Jun 2010     16 Jun        15      28 May      16 Jun         19         Gyenecare                  23 ETH.MESH.02233263   ETH.MESH.02233265
                                                                                                                                                                                    Submission                                                                               2010                   2010       2010                       Prolift
Swift Article                                      PROM-318-10-6/12   PROM-318-10_Swift_POSST Dist-Defin-Cond_CA.pdf                Swift Article                              (ETHUS) Digital Content          Scott Jones       (ETHUS) EWHU US Marketing 01 Jun 2010     11 Jun        10    01 Jun 2010   11 Jun         10         Gyenecare                  23 ETH.MESH.02233266   ETH.MESH.02233277
                                                                                                                                                                                    Submission                                                                               2010                              2010                       Prolift
Think Again Annotated Sales Aid                    PROM-323-10-6/12   PROM-323-10_Annt TG Sales Aid_CA.pdf                          Think Again Annotated Sales Aid             (ETHUS) Presentation            Scott Jones       (ETHUS) EWHU US Marketing 15 Jun 2010     30 Jun        15    14 Jun 2010 01 Jul 2010      17         Gyenecare                  23 ETH.MESH.02233278   ETH.MESH.02233283
                                                                                                                                                                                    Submission                                                                               2010                                                         Prolift
Ozog: Clinical Summary & Rep Positioning-          PROM-327-11-10/13 PROM-327-11_Ozog-Clinical Summary_Rep Positioning_CA.pdf       Ozog: Clinical Summary & Rep               (ETHUS) Digital Content       Brian Luscombe       (ETHUS) EWHU US Marketing 13 Sep 2011     21 Oct        38    12 Sep 2011    20 Oct        38         Gyencare                   23 ETH.MESH.02233284   ETH.MESH.02233286
Shrinkage and Biomechanical Evaluation                                                                                              Positioning- Shrinkage and                      Submission                                                                               2011                               2011                    Gynemesh
                                                                                                                                    Biomechanical Evaluation
Ozog: Clinical Summary & Rep Positioning-          PROM-379-11-10/13 PROM-327_Ozog_Summary_RepPosition_CA.pdf                       Ozog: Clinical Summary & Rep              (ETHUS) Printed Material       Brian Luscombe       (ETHUS) EWHU US Marketing 18 Oct 2011     04 Nov        17     21 Oct 2011   10 Nov        20        Gyencare                    23 ETH.MESH.02233287   ETH.MESH.02233289
Shrinkage and Biomechanical Evaluation                                                                                              Positioning- Shrinkage and                     Submission                                                                                2011                               2011                   Gynemesh
                                                                                                                                    Biomechanical Evaluation
Prof Ed Customized Plan                            PROM-336-10-7/12   PROM-336-10-7-12_CA.pdf                                       Prof Ed Customized Plan                   (ETHUS) Printed Material        Andrew Meek          (ETHUS) EWHU US Prof. Ed   29 Jun 2010 21 Jul 2010     22     29 Jun 2010 23 Jul 2010     24        Gyenecare                   23 ETH.MESH.02233290   ETH.MESH.02233290
                                                                                                                                                                                    Submission                                                                                                                                           Prolift
Prof Ed Brochure                                   PROM-337-10-7/12   PROM-337-10-7-12_CA.pdf                                       Prof Ed Brochure                          (ETHUS) Printed Material        Andrew Meek          (ETHUS) EWHU US Prof. Ed   29 Jun 2010 14 Jul 2010     15     29 Jun 2010 20 Jul 2010     21        Gyenecare                   23 ETH.MESH.02233291   ETH.MESH.02233292
                                                                                                                                                                                    Submission                                                                                                                                           Prolift
Updated image for Prolapse Types page on           PROM-377-10-8/12   PROM-377-10_Cystocele image_CA.pdf                            Updated image for Prolapse Types page      (ETHUS) Digital Content         Linda Linton       (ETHUS) EWHU US Marketing 27 Jul 2010     06 Aug        10     27 Jul 2010   10 Aug        14        Gyenecare                   23 ETH.MESH.02233293   ETH.MESH.02233293
Pelvichealthsolutions.com                                                                                                           on Pelvichealthsolutions.com                    Submission                                                                               2010                               2010                     Prolift
AUGS Bag Drop_Prolift_M                            PROM-424-10-9/12   PROM-424-10_AUGS Bag Drop Prolift_M_496121A01_CA.pdf          AUGS Bag Drop_Prolift_M                    (ETHUS) Digital Content          Scott Jones       (ETHUS) EWHU US Marketing 31 Aug 2010     10 Sep        10    31 Aug 2010    14 Sep        14        Gyenecare                   23 ETH.MESH.02233294   ETH.MESH.02233294
                                                                                                                                                                                    Submission                                                                               2010                               2010                     Prolift
Think Again Anatomy Module                         PROM-428-10-9/11   PROM-428-10_Think Again_Critical Anatomy Module_CA.pdf        Think Again Anatomy Module                 (ETHUS) Digital Content          Scott Jones       (ETHUS) EWHU US Marketing 07 Sep 2010     06 Oct        29    07 Sep 2010    06 Oct        29        Gyenecare                   23 ETH.MESH.02233295   ETH.MESH.02232449
                                                                                                                                                                                    Submission                                                                               2010                               2010                     Prolift
Dissection Flashcard                               PROM-429-10-9/12   PROM-429-10_Dissection Flashcard_496727A01_CA.pdf             Dissection Flashcard                      (ETHUS) Printed Material          Scott Jones       (ETHUS) EWHU US Marketing 07 Sep 2010     29 Sep        22    07 Sep 2010    28 Sep        21        Gyenecare                   23 ETH.MESH.02233311   ETH.MESH.02233312
                                                                                                                                                                                    Submission                                                                               2010                               2010                     Prolift




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                                                                                                                                                                                            2009-2011 (GGM Blue Files)




Task Name                                          Task Number          Name of File Pulled                                     Path                                                  Type                       Owner                    Role            Start Date End Date Duration Start Date End Date         Duration     Brand     Production          Start Bates          End Bates
Think Again Ad                                     PROM-430-10-9/12     PROM-430-10_Think Again Ad_CA.pdf                       Think Again Ad                                (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing 07 Sep 2010 29 Sep      22    07 Sep 2010 30 Sep             23      Gyenecare                23 ETH.MESH.02233313   ETH.MESH.02233313
                                                                                                                                                                                   Submission                                                                           2010                          2010                      Prolift
Think Again Inline Tipper                          PROM-431-10-9/12     PROM-431-10_Think Again Inline Tipper_Ad_CA.pdf         Think Again Inline Tipper                     (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing 07 Sep 2010 29 Sep      22    07 Sep 2010 30 Sep            23       Gyenecare                23 ETH.MESH.02233314   ETH.MESH.02233314
                                                                                                                                                                                   Submission                                                                           2010                          2010                      Prolift
Dissection White Paper                             PROM-473-10-10/12 PROM-473-10_497165_White Paper_CA.pdf                      Dissection White Paper                        (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing 28 Sep 2010   15 Oct    17    28 Sep 2010   20 Oct          22       Gyenecare                23 ETH.MESH.02233315   ETH.MESH.02233315
                                                                                                                                                                                   Submission                                                                           2010                          2010                      Prolift
Anterior Procedure Flashcard                       PROM-513-10-10/12 PROM-513-10_497568_Anterior_CA.pdf                         Anterior Procedure Flashcard                  (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing 12 Oct 2010   27 Oct    15    11 Oct 2010 01 Nov            21       Gyenecare                23 ETH.MESH.02233316   ETH.MESH.02233317
                                                                                                                                                                                   Submission                                                                           2010                          2010                      Prolift
Posterior Procedure Flashcard                      PROM-514-10-10/12 PROM-514-10_497568_Posterior_CA.pdf                        Posterior Procedure Flashcard                 (ETHUS) Digital Content          Scott Jones     (ETHUS) EWHU US Marketing 12 Oct 2010   27 Oct    15    11 Oct 2010 01 Nov            21       Gyenecare                23 ETH.MESH.02233318   ETH.MESH.02233319
                                                                                                                                                                                   Submission                                                                           2010                          2010                      Prolift
Gynecare PROLIFT+M 12 month data                   PROM-540-10-11/12 PROM-540-10_Milani_PROLIFTM 12 month data_CA.pdf           Gynecare PROLIFT+M 12 month data             (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       26 Oct 2010 10 Nov      15    25 Oct 2010 12 Nov            18       Gyenecare                23 ETH.MESH.02233320   ETH.MESH.02233327
                                                                                                                                                                                   Submission                                           Marketing                       2010                          2010                      Prolift
Gynecare PROLIFT+M Success Flashcard               PROM-545-10-11/12 PROM-545-10_497986_Success Flashcard_CA.pdf                Gynecare PROLIFT+M Success Flashcard         (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       26 Oct 2010 19 Nov      24    26 Oct 2010 29 Nov            34       Gyenecare                23 ETH.MESH.02233328   ETH.MESH.02233329
                                                                                                                                                                                   Submission                                           Marketing                       2010                          2010                      Prolift
Gynecare Prolift+M reprint carrier                 PROM-555-10-11/12 PROM-555-10_498214 Rprt Carrier_CA.pdf                     Gynecare Prolift+M reprint carrier           (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW          02 Nov     24 Nov    22      02 Nov      29 Nov          27       Gyenecare                23 ETH.MESH.02233330   ETH.MESH.02233331
                                                                                                                                                                                   Submission                                           Marketing            2010       2010               2010       2010                      Prolift
Prosima 2 Year Data                                PROS-374-10-8/12     PRO_374-10_PROSIMA 2-Year Data_ca.pdf                   Prosima 2 Year Data                            (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       27 Jul 2010   18 Aug    22    26 Jul 2010   19 Aug          24       Gyenecare                23 ETH.MESH.02233333   ETH.MESH.02233345
                                                                                                                                                                                   Submission                                           Marketing                       2010                          2010                     Prosima
Prosima Revised Webinar Deck                       PROS-375-10-8/12     PRO_375_PROSIMA Revised Webinar Deck_CA.pdf             Prosima Revised Webinar Deck                   (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       27 Jul 2010   18 Aug    22    27 Jul 2010   19 Aug          23       Gyenecare                23 ETH.MESH.02233346   ETH.MESH.02233366
                                                                                                                                                                                   Submission                                           Marketing                       2010                          2010                     Prosima
Click Vision Email                                 WH-PROM-0033-09- ProLiftM clickVision.pdf                                    Click Vision Email                            (ETHUS) Digital Content        Hillary Perkins   (ETHUS) EWHU US Marketing   12 May      29 May    17      12 May      01 Jun          20       Gyenecare                23 ETH.MESH.02233367   ETH.MESH.02233367
                                                   4/10                                                                                                                            Submission                                                                2009       2009               2009       2009                      Prolift
PROLIFT +M content on ethicon360.com               PROM-574-10-11/11 PROM-574-10_PROLIFTM on ethicon360_CA.pdf                  PROLIFT +M content on ethicon360.com          (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing    09 Nov     10 Dec    31      09 Nov      15 Dec          36       Gyenecare                23 ETH.MESH.02233368   ETH.MESH.02233368
                                                                                                                                                                                   Submission                                                                2010       2010               2010       2010                      Prolift
Gynecare Prolift+M New Product Request Form        PROM-606-10-12/12 PROM-606-10_ProliftM New Product Request Form_CA.pdf       Gynecare Prolift+M New Product               (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       07 Dec 2010   14 Jan    38    06 Dec 2010   14 Jan          39       Gyenecare                23 ETH.MESH.02233369   ETH.MESH.02233369
                                                                                                                                Request Form                                       Submission                                           Marketing                       2011                          2011                      Prolift
Prosima E-Blast No 1                               PROS-002-11-3/13     PROS-002-11_PROOF_of_success_CA.pdf                     Prosima E-Blast No 1                          (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 01 Feb 2011 11 Mar      38    01 Feb 2011 16 Mar            42       Gyenecare                23 ETH.MESH.02233370   ETH.MESH.02233371
                                                                                                                                                                                   Submission                                                                           2011                          2011                     Prosima
Prosima 2011 e-Sales Aid                           PROS-003-11-1/13     PROS-003-11_eSalesAid_CA.pdf                            Prosima 2011 e-Sales Aid                      (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 18 Jan 2011   02 Feb    15    17 Jan 2011   31 Jan          14       Gyenecare                23 ETH.MESH.02233372   ETH.MESH.02233391
                                                                                                                                                                                   Submission                                                                           2011                          2011                     Prosima
PROSIMA AIDiNC Selling Guide                       PROS-004-11-1/13     PROS-004-11_AIDiNC Selling Guide_CA.pdf                 PROSIMA AIDiNC Selling Guide                 (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 04 Jan 2011   14 Jan    10    03 Jan 2011   14 Jan          11       Gyenecare                23 ETH.MESH.02233392   ETH.MESH.02233407
                                                                                                                                                                                   Submission                                                                           2011                          2011                     Prosima
GYNECARE PROSIMA VSD Patient information slim- PROS-0133-09-7/11 PROS-0133-09_Proisma_Brochure_3R_CA.pdf                        GYNECARE PROSIMA VSD Patient                 (ETHUS) Printed Material        Jonathan Meek         (ETHUS) EWHU WW       07 Jul 2009 31 Jul 2009 24    07 Jul 2009   06 Aug          30       Gyenecare                23 ETH.MESH.02233408   ETH.MESH.02233409
jim                                                                                                                             information slim-jim                               Submission                                           Marketing                                                     2009                     Prosima
GYNECARE PROSIMA Sales Mtg Brief               PROS-0191-09-10/11 PROS-0191-09_Prosima DM Brief_CA.pdf                          GYNECARE PROSIMA Sales Mtg Brief               (ETHUS) Presentation          Jonathan Meek         (ETHUS) EWHU WW       22 Sep 2009   02 Oct    10    22 Sep 2009   07 Oct          15       Gyenecare                23 ETH.MESH.02233410   ETH.MESH.02233416
                                                                                                                                                                                   Submission                                           Marketing                       2009                          2009                     Prosima
PROSIMA New Product Request Form                   PROS-0196-09-10/11 PROS-0196-09_New Product Request Form_Prosima_2009.pdf    PROSIMA New Product Request Form             (ETHUS) Printed Material          Scott Jones     (ETHUS) EWHU US Marketing 29 Sep 2009   09 Oct    10    29 Sep 2009   09 Oct          10       Gyenecare                23 ETH.MESH.02233417   ETH.MESH.02233417
                                                                                                                                                                                   Submission                                                                           2009                          2009                     Prosima
Prosima Prof Ed Deck Oct 09                        PROS-0210-09-10/11 PROS-0210-09_PROSIMA Surgical Technique_US.pdf            Prosima Prof Ed Deck Oct 09                    (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       06 Oct 2009   21 Oct    15    06 Oct 2009   21 Oct          15       Gyenecare                23 ETH.MESH.02233418   ETH.MESH.02233438
                                                                                                                                                                                   Submission                                           Marketing                       2009                          2009                     Prosima
Prosima US Training - 1 year clinical data (3/3)   PROS-0211-09-10/11 PROS-0211-09_PROSIMA 1 yr clinical data-US training.pdf   Prosima US Training - 1 year clinical data     (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       10 Oct 2009   16 Oct    6     12 Oct 2009   16 Oct           4       Gyenecare                23 ETH.MESH.02233439   ETH.MESH.02233451
                                                                                                                                (3/3)                                              Submission                                           Marketing                       2009                          2009                     Prosima
Prosima US Training -Background and history (2 of PROS-0212-09-10/11 PROS-0212-09_PROSIMA Background and Hx _US training.pdf    Prosima US Training -Background and            (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       10 Oct 2009   16 Oct    6     12 Oct 2009   16 Oct           4       Gyenecare                23 ETH.MESH.02233452   ETH.MESH.02233367
3)                                                                                                                              history (2 of 3)                                   Submission                                           Marketing                       2009                          2009                     Prosima
Prosima Prof Ed Deck 2011                         PROS-218-11-5/13   PROS-218-11_PROSIMA Prof Ed Deck_CA.pptx                   Prosima Prof Ed Deck 2011                      (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing   17 May      10 Jun    24      13 May      14 Jun          32       Gyenecare                23 ETH.MESH.02233468   ETH.MESH.02233538
                                                                                                                                                                                   Submission                                                                2011       2011               2011       2011                     Prosima
Prosima New Product Request Form 2                 PROS-0235-09-10/11 PROS-0235-09_New Product Request Form_Prosima_2009.pdf    Prosima New Product Request Form 2           (ETHUS) Printed Material    Thomas (Tom) Affeld       (ETHUS) EWHU WW       29 Oct 2009 02 Nov      4     29 Oct 2009 04 Nov             6       Gyenecare                23 ETH.MESH.02233539   ETH.MESH.02233539
                                                                                                                                                                                   Submission                                           Marketing                       2009                          2009                     Prosima
Prosima US Training Launch Deck                    PROS-0238-09-11/11 PROS-0238-09_53307 Prosima sales PPTver2003.pdf           Prosima US Training Launch Deck                (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW          03 Nov     11 Nov    8     30 Oct 2009 17 Nov            18       Gyenecare                23 ETH.MESH.02233540   ETH.MESH.02233625
                                                                                                                                                                                   Submission                                           Marketing            2009       2009                          2009                     Prosima
Prosima Convention Panel-SUFU                      PROS-031-10-1/12     PROS-031-10 Prosima Convention Panel.pdf                Prosima Convention Panel-SUFU                (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 26 Jan 2010   05 Feb    10    26 Jan 2010   10 Feb          15       Gyenecare                23 ETH.MESH.02233599   ETH.MESH.02233599
                                                                                                                                                                                   Submission                                                                           2010                          2010                     Prosima
Prosima Webinar Invitation                         PROS-0321-09-12/11 PROS-0321-09_Prosima Webcast.ppt                          Prosima Webinar Invitation                   (ETHUS) Printed Material        Andrew Meek        (ETHUS) EWHU US Prof. Ed    24 Nov     16 Dec    22      24 Nov      16 Dec          22       Gyenecare                23 ETH.MESH.02233605   ETH.MESH.02233605
                                                                                                                                                                                   Submission                                                                2009       2009               2009       2009                     Prosima
PROSIMA AAGL Poster                                PROS-0244-09-11/11 PROS-0244-09_Prosima.pdf                                  PROSIMA AAGL Poster                          (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing    03 Nov     13 Nov    10      02 Nov      18 Nov          16       Gyenecare                23 ETH.MESH.02233626   ETH.MESH.02233626
                                                                                                                                                                                   Submission                                                                2009       2009               2009       2009                     Prosima
Prosima Sales Aid Training Deck                    PROS-0248-09-11/11 PROS-0248-09_Sales Aid Guide.pdf                          Prosima Sales Aid Training Deck                (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW          10 Nov     23 Dec    43      09 Nov      23 Dec          44       Gyenecare                23 ETH.MESH.02233627   ETH.MESH.02233633
                                                                                                                                                                                   Submission                                           Marketing            2009       2009               2009       2009                     Prosima
Prosima Launch Sales Aid                           PROS-0249-09-11/11 PROS-0249-09-1111_Launch Sales Aid.pdf                    Prosima Launch Sales Aid                     (ETHUS) Printed Material    Thomas (Tom) Affeld       (ETHUS) EWHU WW          10 Nov     23 Dec    43      09 Nov      23 Dec          44       Gyenecare                23 ETH.MESH.02233634   ETH.MESH.02233636
                                                                                                                                                                                   Submission                                           Marketing            2009       2009               2009       2009                     Prosima
PROSIMA New Product Listing 2                      PROS-228-10-5/12     PROS-228-10_PROSIMA New Product Listing 3_CA.doc        PROSIMA New Product Listing 2                (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing 20 Apr 2010   30 Apr    10    19 Apr 2010 05 May            16       Gyenecare                23 ETH.MESH.02233637   ETH.MESH.02233637
                                                                                                                                                                                   Submission                                                                           2010                          2010                     Prosima
Prosima eBlast #2                                  PROS-232-11-6/13     PROS-232-11_Proof_of_success_v12_CA.pdf                 Prosima eBlast #2                             (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 14 Jun 2011 06 Jul 2011 22    10 Jun 2011 06 Jul 2011       26       Gyenecare                23 ETH.MESH.02233638   ETH.MESH.02233639
                                                                                                                                                                                   Submission                                                                                                                                  Prosima
Prosima Prof Ed Deck Revised Module 4              PROS-244-11-6/13     PROS-244-11_PROSIMA PE Deck_M4_CA.pptx                  Prosima Prof Ed Deck Revised Module 4          (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 14 Jun 2011 06 Jul 2011   22    10 Jun 2011 11 Jul 2011     31       Gyenecare                23 ETH.MESH.02233640   ETH.MESH.02233650
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Task Name                                        Task Number        Name of File Pulled                                                      Path                                              Type                      Owner                     Role            Start Date End Date   Duration    Start Date End Date   Duration     Brand     Production          Start Bates          End Bates
One Year Clinical Outcomes                       PROS-0251-09-11/11 PROS-0251-09_PROSIMA 1yr outcomes-US training.pdf                        One Year Clinical Outcomes                 (ETHUS) Presentation          Aaron Kirkemo      (ETHUS) EWHU US Medical     10 Nov    16 Nov       6          10 Nov    16 Nov       6       Gyenecare                23 ETH.MESH.02233651   ETH.MESH.02233673
                                                                                                                                                                                            Submission                                            Affairs             2009      2009                    2009      2009                 Prosima
Prosima Launch Min Tent Deck                     PROS-0252-09-11/11 PROS-0252-09_PROSIMA Nov Sales Mtg.pdf                                   Prosima Launch Min Tent Deck               (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW          10 Nov    25 Nov      15          10 Nov    30 Nov      20       Gyenecare                23 ETH.MESH.02233674   ETH.MESH.02233692
                                                                                                                                                                                            Submission                                          Marketing             2009      2009                    2009      2009                 Prosima
Prosima Preceptorship Invitation                 PROS-0310-09-12/11 PROS-0310-09_485062B03.pdf                                               Prosima Preceptorship Invitation         (ETHUS) Printed Material        Andrew Meek        (ETHUS) EWHU US Prof. Ed 09 Dec 2009 23 Dec       14          28 Nov    23 Dec      25       Gyenecare                23 ETH.MESH.02233693   ETH.MESH.02233693
                                                                                                                                                                                            Submission                                                                          2009                    2009      2009                 Prosima
GYNECARE PROSIMA VSD Patient Brochure 2009       PROS-0320-09-12/11 PROS-0320-09 VSD Slim Jim_485630.pdf                                     GYNECARE PROSIMA VSD Patient             (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 01 Dec 2009 16 Dec       15          30 Nov    16 Dec      16       Gyenecare                23 ETH.MESH.02233696   ETH.MESH.02233697
                                                                                                                                             Brochure 2009                                  Submission                                                                          2009                    2009      2009                 Prosima
PROSIMA Convention Panel - AUA                   PROS-268-10-5/12       PROS-268-10_AUA_Prosima_CA.pdf                                       PROSIMA Convention Panel - AUA           (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing   04 May     14 May      10       28 Apr 2010 17 May       19       Gyenecare                23 ETH.MESH.02233698   ETH.MESH.02233698
                                                                                                                                                                                            Submission                                                                2010      2010                              2010                 Prosima
Prosima Carey White Paper                        PROS-274-11-11/13      PROS-274-11_Prosima White Paper_CA.pdf                               Prosima Carey White Paper                (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 05 Jul 2011  11 Nov      129      30 Jun 2011 16 Nov       139      Gyenecare                23 ETH.MESH.02233699   ETH.MESH.02233710
                                                                                                                                                                                            Submission                                                                          2011                              2011                 Prosima
Prosima Objective Succes Rate Learning Guide     PROS-276-10-5/12       PROS-276-10_JEU_53899 Prosima Learning Guide_CA_FINAL.pdf            Prosima Objective Succes Rate Learning     (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing   11 May     28 May      17          11 May    02 Jun      22       Gyenecare                23 ETH.MESH.02233713   ETH.MESH.02233714
                                                                                                                                             Guide                                          Submission                                                                2010      2010                    2010      2010                 Prosima
PROSIMA Panel - AUGS                             PROS-292-11-8/13       PROS-292-11_PROSIMA Panel - AUGS_CA.pdf                              PROSIMA Panel - AUGS                     (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing 26 Jul 2011  03 Aug       8        25 Jul 2011 11 Aug      17       Gyenecare                23 ETH.MESH.02233715   ETH.MESH.02233715
                                                                                                                                                                                            Submission                                                                          2011                              2011                 Prosima
Prosima Cadaver Lab Invite                       PROS-0322-09-12/11 PROS-0322-09__485062A05.pdf                                              Prosima Cadaver Lab Invite               (ETHUS) Printed Material        Andrew Meek        (ETHUS) EWHU US Prof. Ed 08 Dec 2009  13 Jan      36       06 Dec 2009  14 Jan      39       Gyenecare                23 ETH.MESH.02233716   ETH.MESH.02233724
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
GYNECARE PROSIMA Product Page on Ethicon 360 PROS-0332-09-12/10 PROS-0332-09_Gynecare PROSIMA e360 PS.pdf                                    GYNECARE PROSIMA Product Page on          (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing 08 Dec 2009  22 Jan      45       07 Dec 2009  25 Jan      49       Gyenecare                23 ETH.MESH.02233726   ETH.MESH.02233727
                                                                                                                                             Ethicon 360                                    Submission                                                                          2010                              2010                 Prosima
Prosima Key Procedural Steps Brochure            PROS-0333-09-12/11 PROS-0333-09 Key Procedural Brochure.pdf                                 Prosima Key Procedural Steps Brochure    (ETHUS) Printed Material    Thomas (Tom) Affeld       (ETHUS) EWHU WW       08 Dec 2009  06 Jan      29       04 Dec 2009  07 Jan      34       Gyenecare                23 ETH.MESH.02233728   ETH.MESH.02233728
                                                                                                                                                                                            Submission                                           Marketing                      2010                              2010                 Prosima
Prosima Launch Slim Jim                          PROS-0334-09-12/11 PROS-0334-09 Prosima Professional Slim Jim.pdf                           Prosima Launch Slim Jim                  (ETHUS) Printed Material    Thomas (Tom) Affeld       (ETHUS) EWHU WW       08 Dec 2009  20 Jan      43       04 Dec 2009  20 Jan      47       Gyenecare                23 ETH.MESH.02233729   ETH.MESH.02233730
                                                                                                                                                                                            Submission                                           Marketing                      2010                              2010                 Prosima
Prosima Prof Ed Webinar Deck                     PROS-0335-09-12/11 PROS-0335-09_Prof_Ed_Webinar.pdf                                         Prosima Prof Ed Webinar Deck               (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       08 Dec 2009 23 Dec       15       04 Dec 2009 23 Dec       19       Gyenecare                23 ETH.MESH.02233731   ETH.MESH.02233750
                                                                                                                                                                                            Submission                                           Marketing                      2009                              2009                 Prosima
Prosima Professional Education Deck              PROS-0336-09-12/11 PROS-0336-09_Prosima_Prof_Ed.pdf                                         Prosima Professional Education Deck        (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       08 Dec 2009 23 Dec       15       04 Dec 2009 23 Dec       19       Gyenecare                23 ETH.MESH.02233751   ETH.MESH.02233833
                                                                                                                                                                                            Submission                                           Marketing                      2009                              2009                 Prosima
Prosima Sales Training Deck                      PROS-0337-09-12/11 PROS-0337-09_Prosima SalesTrngDeck PPTver2003.ppt                        Prosima Sales Training Deck                (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       08 Dec 2009  06 Jan      29       04 Dec 2009  07 Jan      34       Gyenecare                23 ETH.MESH.02233834   ETH.MESH.02233724
                                                                                                                                                                                            Submission                                           Marketing                      2010                              2010                 Prosima
Carey Webcast Invite                             PROS-378-11-11/13      PROS-378-11_Dr Carey Webcast Invite_CA.pdf                           Carey Webcast Invite                       (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 25 Oct 2011 11 Nov       17       25 Oct 2011 16 Nov       22       Gyenecare                23 ETH.MESH.02233836   ETH.MESH.02233836
                                                                                                                                                                                            Submission                                                                          2011                              2011                 Prosima
PROSIMA Preceptorship PE invitation              PROS-407-11-6/13       PROS-407-11_PROSIMA Preceptorship Invite_CA.pdf                      PROSIMA Preceptorship PE invitation       (ETHUS) Digital Content         Robert Zipfel     (ETHUS) EWHU US Prof. Ed 06 Dec 2011 16 Dec       10       05 Dec 2011  05 Jan      31       Gyenecare                23 ETH.MESH.02233837   ETH.MESH.02233837
                                                                                                                                                                                            Submission                                                                          2011                              2012                 Prosima
PROSIMA Proctorship PE invitation                PROS-408-11-6/13       PROS-408-11_PROSIMA Proctorship Invite_CA.pdf                        PROSIMA Proctorship PE invitation         (ETHUS) Digital Content         Robert Zipfel     (ETHUS) EWHU US Prof. Ed 05 Dec 2011 16 Dec       11       05 Dec 2011  05 Jan      31       Gyenecare                23 ETH.MESH.02233838   ETH.MESH.02233838
                                                                                                                                                                                            Submission                                                                          2011                              2012                 Prosima
PROSIMA cadaver lab invitation                   PROS-409-11-6/13       PROS-409-11_PROSIMA Cadaver Lab_CA.pdf                               PROSIMA cadaver lab invitation            (ETHUS) Digital Content         Robert Zipfel     (ETHUS) EWHU US Prof. Ed 06 Dec 2011 16 Dec       10       05 Dec 2011  05 Jan      31       Gyenecare                23 ETH.MESH.02233839   ETH.MESH.02233839
                                                                                                                                                                                            Submission                                                                          2011                              2012                 Prosima
Prosima MRI Flashcard 2                          PROS-411-10-9/12       PROS-411-10_Prosima MRI Flashcard_2_495974A01_CA.pdf                 Prosima MRI Flashcard 2                  (ETHUS) Printed Material    Thomas (Tom) Affeld       (ETHUS) EWHU WW       24 Aug 2010 10 Sep       17       24 Aug 2010 14 Sep       21       Gyenecare                23 ETH.MESH.02233840   ETH.MESH.02233841
                                                                                                                                                                                            Submission                                           Marketing                      2010                              2010                 Prosima
VRT Preceptor Registration                       PROS-420-10-9/12       PROS-420-10_Prosima_VRT_Regisration_Form_CA.pdf                      VRT Preceptor Registration               (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 31 Aug 2010 10 Sep       10       30 Aug 2010 14 Sep       15       Gyenecare                23 ETH.MESH.02233842   ETH.MESH.02233842
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
Prosima Audio File of 2 Year Data                PROS-436-10-9/12       PROS-436-10_PROSIMA Audio 2 Year Data_ Transcription_CA.pdf          Prosima Audio File of 2 Year Data         (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 14 Sep 2010 29 Sep       15       13 Sep 2010 30 Sep       17       Gyenecare                23 ETH.MESH.02233843   ETH.MESH.02233849
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
Prosima Audio File of MRI Flashcard              PROS-437-10-9/12       PROS-437-10_PROSIMA Audio File_MRI ADDRESS_CA.pdf                    Prosima Audio File of MRI Flashcard       (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 14 Sep 2010 29 Sep       15       13 Sep 2010 30 Sep       17       Gyenecare                23 ETH.MESH.02233850   ETH.MESH.02233850
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
Prosima Short Procedural Video                   PROS-438-10-9/12       PROS-438-10_PROSIMA Shortened Procedural Video_CA.pdf                Prosima Short Procedural Video            (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 14 Sep 2010 29 Sep       15       13 Sep 2010 29 Sep       16       Gyenecare                23 ETH.MESH.02233851   ETH.MESH.02233851
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Proisma MRI Flashcard Learning Guide             PROS-450-10-9/12       PROS-450-10_MRI Flashcard Learning Guide _CA.pdf                     Proisma MRI Flashcard Learning Guide       (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 21 Sep 2010  01 Oct      10       20 Sep 2010  04 Oct      14       Gyenecare                23 ETH.MESH.02233852   ETH.MESH.02233853
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
Prosima VRT Preceptors Teleconf Roadmap          PROS-491-10-10/12      PROS-491-10_Prosima VRT Preceptors Teleconf Roadmap_v1_CA.pdf        Prosima VRT Preceptors Teleconf          (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 05 Oct 2010  15 Oct      10       05 Oct 2010  20 Oct      15       Gyenecare                23 ETH.MESH.02233854   ETH.MESH.02233854
                                                                                                                                             Roadmap                                        Submission                                                                          2010                              2010                 Prosima
Prosima Preceptor Deck Distribution              PROS-492-10-10/12      PROS-492-10_Prosima VRT Preceptor participants Deck                  Prosima Preceptor Deck Distribution      (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 05 Oct 2010  15 Oct      10       05 Oct 2010  20 Oct      15       Gyenecare                23 ETH.MESH.02233855   ETH.MESH.02233855
                                                                        Distribution v1 CA.pdf                                                                                              Submission                                                                          2010                              2010                 Prosima
Prosima Trainee Deck Distribution                PROS-493-10-10/12      PROS-493-10_ Promsima VRT participants Deck Distribution v1_CA.pdf   Prosima Trainee Deck Distribution        (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 05 Oct 2010  20 Oct      15       05 Oct 2010  20 Oct      15       Gyenecare                23 ETH.MESH.02233856   ETH.MESH.02233856
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Gynecare Prosima AJOG Press Release              PROS-511-10-10/12      PROS-511-10_Gynecare Prosima AJOG Press Release_CA.pdf               Gynecare Prosima AJOG Press Release        (ETHUS) Presentation         Lindsay Froelich   (ETHUS) EWHU US Marketing 12 Oct 2010  27 Oct      15       12 Oct 2010 11 Nov       30       Gyenecare                23 ETH.MESH.02233857   ETH.MESH.02233859
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
Prosima 1 Yr Data Reprint Carrier                PROS-526-10-11/12      PROS-526-10_497813_Rprnt Carrier_CA.pdf                              Prosima 1 Yr Data Reprint Carrier        (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 19 Oct 2010 19 Nov       31       17 Oct 2010 29 Nov       43       Gyenecare                23 ETH.MESH.02233860   ETH.MESH.02233861
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
Prosima AAGL in booth presentation               PROS-535-10-11/12      PROS-535-10_Prosima AAGL in booth presentation_CA.pdf                Prosima AAGL in booth presentation       (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 19 Oct 2010 03 Nov       15       17 Oct 2010 03 Nov       17       Gyenecare                23 ETH.MESH.02233862   ETH.MESH.02233880
                                                                                                                                                                                            Submission                                                                          2010                              2010                 Prosima
Prosima 1 year clinical outcomes by Dr Zyczynski in PROS-550-10-11/12   PROS-550-10 One-year clinical outcomes after prolapse surgery with   Prosima 1 year clinical outcomes by Dr   (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 19 Oct 2010 03 Nov       15       17 Oct 2010 11 Nov       25       Gyenecare                23 ETH.MESH.02233881   ETH.MESH.02233888
AJOG                                                                    nonanchored mesh and vaginal support device - Zyczynski CA.pdf       Zyczynski in AJOG                              Submission                                                                          2010                              2010                 Prosima

Prosima Reisenaeur Clinical Article              PROS-551-10-11/12      PROS-551-10 Anatomic study of prolapse surgery with nonanchored      Prosima Reisenaeur Clinical Article      (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 19 Oct 2010   03 Nov     15       17 Oct 2010   11 Nov     25       Gyenecare                23 ETH.MESH.02233889   ETH.MESH.02233895
                                                                        mesh and a vaginal support device - Reisenauer CA.pdf                                                              Submission                                                                            2010                              2010                Prosima




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                  4/10/2012                                                                                                                                                                                                                                                                                                             SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
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                                                                                                                                                                                                        In re Pelvic Mesh Litigation
                                                                                                                                                                                                         In Use Copy Review Index
                                                                                                                                                                                                       2009-2011 (GGM Blue Files)




Task Name                                       Task Number         Name of File Pulled                                                       Path                                               Type                       Owner                   Role             Start Date   End Date Duration Start Date End Date        Duration      Brand       Production          Start Bates          End Bates
Prosima Journal Ad for AJOG                     PROS-571-10-11/12   PROS-571-10_498001_Ad ACOG_CA.pdf                                         Prosima Journal Ad for AJOG               (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 19 Oct 2010    10 Nov     22    17 Oct 2010 11 Nov            25       Gyenecare                  23 ETH.MESH.02233896   ETH.MESH.02233896
                                                                                                                                                                                              Submission                                                                            2010                            2010                    Prosima
GYNECARE PROSIMA content for ethicon360.com     PROS-575-10-12/11   PROS-575-10_PROSIMA 360com_CA.pdf                                         GYNECARE PROSIMA content for               (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing    09 Nov      17 Dec     38       09 Nov      20 Dec        41        Gyenecare                  23 ETH.MESH.02233897   ETH.MESH.02233901
                                                                                                                                              ethicon360.com                                  Submission                                                                 2010       2010                2010        2010                    Prosima
Prosima 2011 Sales Aid                          PROS-584-10-12/12   PROS-584-10_899053_Sales Aid_CA.pdf                                       Prosima 2011 Sales Aid                    (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 07 Dec 2010 22 Dec        15    06 Dec 2010    03 Jan        28        Gyenecare                  23 ETH.MESH.02233902   ETH.MESH.02233906
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PROSIMA Panel - ACOG                            PROS-080-11-2/13    PROS_080_11_ProsimaPanel.pdf                                              PROSIMA Panel - ACOG                      (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing 01 Feb 2011 09 Feb        8     28 Jan 2011    16 Feb        19        Gyenecare                  23 ETH.MESH.02233907   ETH.MESH.02233907
                                                                                                                                                                                              Submission                                                                            2011                            2011                    Prosima
Barber Summary/Positioning: Prosima             PROS-144-11-4/13    PROS-144-11_Barber Sum-Rep_CA.pdf                                         Barber Summary/Positioning: Prosima        (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 12 Apr 2011    22 Apr     10    11 Apr 2011 02 May           21        Gyenecare                  23 ETH.MESH.02233908   ETH.MESH.02233910
                                                                                                                                                                                              Submission                                                                            2011                            2011                    Prosima
Zycynski Summary/Positioning: Prosima           PROS-145-11-4/13    PROS-145-11_Zyczynski Sum-Rep_CA.pdf                                      Zycynski Summary/Positioning: Prosima      (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 12 Apr 2011 06 May        24    11 Apr 2011 09 May           28        Gyenecare                  23 ETH.MESH.02233911   ETH.MESH.02233913
                                                                                                                                                                                              Submission                                                                            2011                            2011                    Prosima
Boukerou Summary/Positioning: Prosima           PROS-146-11-4/13    PROS-146-11_Boukerrou Sum-Rep_CA.pdf                                      Boukerou Summary/Positioning:              (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 12 Apr 2011    22 Apr     10    11 Apr 2011 02 May           21        Gyenecare                  23 ETH.MESH.02233914   ETH.MESH.02233916
                                                                                                                                              Prosima                                         Submission                                                                            2011                            2011                    Prosima
Reisenauer Summary/Positioning: Prosima         PROS-147-11-4/13    PROS-147-11_Reisenauer Sum-Rep_CA.pdf                                     Reisenauer Summary/Positioning:            (ETHUS) Digital Content          Kevin Frost     (ETHUS) EWHU US Marketing 12 Apr 2011    22 Apr     10    11 Apr 2011 02 May           21        Gyenecare                  23 ETH.MESH.02233917   ETH.MESH.02233918
                                                                                                                                              Prosima                                         Submission                                                                            2011                            2011                    Prosima
Prosima Obj Success Learning Guide & Key for    PROS-283-10-5/12    PROS_283-10_Obj Success Rate Lrng Guide Keys for Success_CA.pdf           Prosima Obj Success Learning Guide &        (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing    11 May      28 May     17       11 May      03 Jun        23        Gyenecare                  23 ETH.MESH.02233919   ETH.MESH.02233955
Success Framework                                                                                                                             Key for Success Framework                       Submission                                                                 2010       2010                2010        2010                    Prosima
GYNECARE PROSIMA updates to ethicon360.com      PROS-314-11-8/12    PROS_314_11_GYNECARE PROSIMA updates to ethicon360_CA.pdf                 GYNECARE PROSIMA updates to                (ETHUS) Digital Content         Linda Linton     (ETHUS) EWHU US Marketing 16 Aug 2011 26 Aug        10    15 Aug 2011 01 Sep           17        Gyenecare                  23 ETH.MESH.02233956   ETH.MESH.02233956
                                                                                                                                              ethicon360.com                                  Submission                                                                            2011                            2011                    Prosima
Prosima Apical Support Learning Guide           PROS-366-10-8/12    PROS_366_10_Apical_Support_Learning_Guide_CA.pdf                          Prosima Apical Support Learning Guide     (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 20 Jul 2010    11 Aug     22     16 Jul 2010   13 Aug        28        Gyenecare                  23 ETH.MESH.02233957   ETH.MESH.02233958
                                                                                                                                                                                              Submission                                                                            2010                            2010                    Prosima
Prosima MRI Flashcard                           PROS-380-10-8/12    PROS_380_10_Flashcard Content_CA.pdf                                      Prosima MRI Flashcard                     (ETHUS) Printed Material    Thomas (Tom) Affeld        (ETHUS) EWHU WW       03 Aug 2010 18 Aug       15    02 Aug 2010 18 Aug           16        Gyenecare                  23 ETH.MESH.02233959   ETH.MESH.02233960
                                                                                                                                                                                              Submission                                            Marketing                       2010                            2010                    Prosima
VRT Deck Distirbution                           PROS-417-10-9/12    PROS_417_10_Prosima_VRT_Preceptor_Deck_Distribution_CA.pdf                VRT Deck Distirbution                     (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 31 Aug 2010 10 Sep        10    30 Aug 2010 14 Sep           15        Gyenecare                  23 ETH.MESH.02233961   ETH.MESH.02233961
                                                                                                                                                                                              Submission                                                                            2010                            2010                    Prosima
VRT Preceptor Confirmation                      PROS-418-10-9/12    PROS_418_10_Prosima VRT Preceptor Confirmation_CA.pdf                     VRT Preceptor Confirmation                (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 31 Aug 2010 10 Sep        10    30 Aug 2010 14 Sep           15        Gyenecare                  23 ETH.MESH.02233962   ETH.MESH.02233962
                                                                                                                                                                                              Submission                                                                            2010                            2010                    Prosima
VRT Preceptor Invite                            PROS-419-10-9/12    PROS_419_10_Prosima_VRT_Preceptor_Invite_CA - Copy.pdf                    VRT Preceptor Invite                      (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 31 Aug 2010 10 Sep        10    30 Aug 2010 14 Sep           15        Gyenecare                  23 ETH.MESH.02233963   ETH.MESH.02233963
                                                                                                                                                                                              Submission                                                                            2010                            2010                    Prosima
GYNECARE PROSIMA CD Label                       PROS-0104-09-7/11   Prosima CD_faceCA.jpg                                                     GYNECARE PROSIMA CD Label                 (ETHUS) Printed Material        Jonathan Meek          (ETHUS) EWHU WW       16 Jun 2009 01 Jul 2009  15    16 Jun 2009 02 Jul 2009      16        Gyenecare                  23 ETH.MESH.02233964   ETH.MESH.02233964
                                                                                                                                                                                              Submission                                            Marketing                                                                               Prosima
PROSIMA Convention Panel - ACOG                 PROS-148-10-4/12    Prosima Convention Panel ACOG PROS 148 10.pdf                             PROSIMA Convention Panel - ACOG           (ETHUS) Printed Material         Robin Osman      (ETHUS) EWHU US Marketing    23 Mar      07 Apr     15       22 Mar      09 Apr        18        Gyenecare                  23 ETH.MESH.02233965   ETH.MESH.02233965
                                                                                                                                                                                              Submission                                                                 2010       2010                2010        2010                    Prosima
Annual Review and Renewal of                    JJWM-188-10-11/11   REVISED_FLAT_FOR_COPY_APPROVAL_e360_092310_Master_2-                Annual Review and Renewal of                     (ETHUS) Digital Content        Michelle Zarish    (ETHUS) JJWM US Marketing   18 May      12 Oct    147       12 May      05 Nov        177        Gyencare                  23 ETH.MESH.02233966   ETH.MESH.02233966
www.ethicon360.com                                                  Up 452 to End.pdf                                                   www.ethicon360.com                                    Submission                                                                 2010       2010                2010        2010                   Gynemesh
EWHU Market Development Materials List 7-09     GPD-0117-09-7/11    SUBMISSION - EWHU Market Development Materials List - Updated 7-13- EWHU Market Development Materials               (ETHUS) Printed Material       Lauren Taveroni    (ETHUS) EWHU US Marketing 13 Jul 2009 14 Jul 2009   1      13 Jul 2009 14 Jul 2009      1        Gyenecare                  23 ETH.MESH.02233967   ETH.MESH.02233967
                                                                    09.pdf                                                              List 7-09                                             Submission                                                                                                                                     Prolift
SUI Press Kit                                   TVT-0073-09-4/11    SUI kit CA.pdf                                                      SUI Press Kit                                   (ETHUS) Printed Material       Devon Prutzman     (ETHUS) EWHU US Marketing    26 May     12 Jun       17       26 May      15 Jun       20       Gynecare TVT                23 ETH.MESH.02233968   ETH.MESH.02233977
                                                                                                                                                                                              Submission                                                                2009       2009                  2009        2009
Tensile properties of five commonly used        TVT-0062-09-6/11    Tensile properties of five commonly used midurethral slings relative to   Tensile properties of five commonly       (ETHUS) Printed Material        Melissa Chaves    (ETHUS) EWHU US Marketing    26 May     05 Jun       10       23 May      11 Jun       19       Gynecare TVT                23 ETH.MESH.02233978   ETH.MESH.02233987
midurethral slings relative to the TVT                              the TVT.pdf                                                               used midurethral slings relative to the         Submission                                                                2009       2009                  2009        2009
                                                                                                                                              TVT
Transobturator Tape Compared With TVT for the   TVT-0063-09-6/11    Transobturator Tape Compared With TVT for the Treatment of SUI.pdf        Transobturator Tape Compared With         (ETHUS) Printed Material        Melissa Chaves    (ETHUS) EWHU US Marketing   26 May      05 Jun       10       23 May      11 Jun       19       Gynecare TVT                23 ETH.MESH.02233988   ETH.MESH.02233999
Treatment of SUI                                                                                                                              TVT for the Treatment of SUI                    Submission                                                                2009       2009                   2009       2009
Prosima Backpack with Logos                     PROS-033-10-1/12    PROS-033-10_ProsimaProliftBag2.pdf                                        Prosima Backpack with Logos               (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 19 Jan 2010   27 Jan       8      19 Jan 2010   29 Jan       10        Gyenecare                  23 ETH.MESH.02234000   ETH.MESH.02234000
                                                                                                                                                                                              Submission                                                                           2010                              2010                    Prolift
Prosima Brand Story & Key Message               PROS-036-10-1/12    PROS-036-10_Prosima_OnePager_CA.pdf                                       Prosima Brand Story & Key Message         (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 26 Jan 2010   05 Feb       10     26 Jan 2010   10 Feb       15        Gyenecare                  23 ETH.MESH.02234001   ETH.MESH.02234002
                                                                                                                                                                                              Submission                                                                           2010                              2010                   Prosima
PROSIMA New Product Training FAQ's              PROS-038-10-2/12    PROS-038-10_Ongoing Trng PD Request Form-New Products.pdf                 PROSIMA New Product Training FAQ's          (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 26 Jan 2010   17 Feb       22     26 Jan 2010   19 Feb       24        Gyenecare                  23 ETH.MESH.02234003   ETH.MESH.02234004
                                                                                                                                                                                              Submission                                                                           2010                              2010                   Prosima
Final Prosima Sales Training Deck               PROS-042-10-2/12    PROS-042-10_Prosima GlobalSales PPTver2003.pdf                            Final Prosima Sales Training Deck           (ETHUS) Presentation      Thomas (Tom) Affeld       (ETHUS) EWHU WW       26 Jan 2010   05 Feb       10     26 Jan 2010   10 Feb       15        Gyenecare                  23 ETH.MESH.02234005   ETH.MESH.02234171
                                                                                                                                                                                              Submission                                           Marketing                       2010                              2010                   Prosima
Prosima Webex Presentation 2-10                 PROS-045-10-2/12    PROS-045-10_Prosima Marketing Rollout Presentation_CA.pdf                 Prosima Webex Presentation 2-10             (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 02 Feb 2010   12 Feb       10     02 Feb 2010   16 Feb       14        Gyenecare                  23 ETH.MESH.02234172   ETH.MESH.02234172
                                                                                                                                                                                              Submission                                                                           2010                              2010                    Prolift
Prosima Questions for Messaging Practice        PROS-051-10-2/12    PROS-051-10_Prosima Msgg Ques and Coaches Checklist v1 .pdf               Prosima Questions for Messaging             (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 02 Feb 2010   17 Feb       15     02 Feb 2010   19 Feb       17        Gyenecare                  23 ETH.MESH.02234173   ETH.MESH.02234177
                                                                                                                                              Practice                                        Submission                                                                           2010                              2010                   Prosima
Prosima NTM Opening Presentation 2011           PROS-063-11-1/13    PROS-063-11_NTM Opening Presentation_CA.pdf                               Prosima NTM Opening Presentation            (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 25 Jan 2011   02 Feb       8      24 Jan 2011   02 Feb        9        Gyenecare                  23 ETH.MESH.02234178   ETH.MESH.02234185
                                                                                                                                              2011                                            Submission                                                                           2011                              2011                   Prosima
Prosim Competitive Workshop on ELEVATE          PROS-064-11-1/13    PROS-064-11_ELEVATE Comp Wkshp_CA.pptx                                    Prosim Competitive Workshop on              (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 25 Jan 2011   04 Feb       10     25 Jan 2011   04 Feb       10        Gyenecare                  23 ETH.MESH.02234186   ETH.MESH.02234194
                                                                                                                                              ELEVATE                                         Submission                                                                           2011                              2011                   Prosima
Prosima See Workshop Key Takeaway               PROS-065-11-1/13    PROS-065-11_See_Worksheet_CA.pdf                                          Prosima See Workshop Key Takeaway           (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 25 Jan 2011   02 Feb       8      24 Jan 2011   02 Feb        9        Gyenecare                  23 ETH.MESH.02234195   ETH.MESH.02234196
                                                                                                                                                                                              Submission                                                                           2011                              2011                   Prosima
Prosima Touch Workshop Key Takeaway             PROS-066-11-1/13    PROS-066-11_Touch Leave Behind_CA.pdf                                     Prosima Touch Workshop Key Takeaway         (ETHUS) Presentation            Kevin Frost     (ETHUS) EWHU US Marketing 25 Jan 2011   02 Feb       8      24 Jan 2011   02 Feb        9        Gyenecare                  23 ETH.MESH.02234197   ETH.MESH.02234202
                                                                                                                                                                                              Submission                                                                           2011                              2011                   Prosima
Prosima Barber Article                          PROS-085-11-2/13    PROS-085-11_Barber_Define Success After POP_CA.pdf                        Prosima Barber Article                    (ETHUS) Printed Material          Kevin Frost     (ETHUS) EWHU US Marketing 01 Feb 2011   11 Feb       10     01 Feb 2011   18 Feb       17        Gyenecare                  23 ETH.MESH.02234203   ETH.MESH.02233999
                                                                                                                                                                                              Submission                                                                           2011                              2011                   Prosima




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                                                                                                                                                                                               In re Pelvic Mesh Litigation
                                                                                                                                                                                                In Use Copy Review Index
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Task Name                                       Task Number         Name of File Pulled                                               Path                                              Type                       Owner                       Role          Start Date End Date Duration Start Date End Date       Duration      Brand       Production          Start Bates          End Bates
Prosima Boukerrou Article                       PROS-086-11-2/13    PROS-086-11_Boukerrou_Tissue resist tensn-free proced_CA.pdf      Prosima Boukerrou Article                (ETHUS) Printed Material          Kevin Frost      (ETHUS) EWHU US Marketing 01 Feb 2011 09 Feb      8     01 Feb 2011 18 Feb           17       Gyenecare                  23 ETH.MESH.02234212   ETH.MESH.02234215
                                                                                                                                                                                     Submission                                                                            2011                          2011                    Prosima
GYNECARE TVT ABBREVO Combat training posters TVTA-046-11-1/13       TVTA-046-11_NTM Posters_CA.pdf                                    GYNECARE TVT ABBREVO Combat              (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 18 Jan 2011   28 Jan    10    17 Jan 2011   31 Jan        14       Gynecare TVT                23 ETH.MESH.02234617   ETH.MESH.02234621
                                                                                                                                      training posters                               Submission                                                                            2011                          2011
GYNECARE TVT ABBREVO Mesh placement ap          TVTA-054-11-1/13    TVTA-054-11_Mesh Placemnt App_CA.pdf                              GYNECARE TVT ABBREVO Mesh                 (ETHUS) Digital Content       Jennifer Paradise   (ETHUS) EWHU US Marketing 18 Jan 2011   28 Jan    10    18 Jan 2011   31 Jan        13       Gynecare TVT                23 ETH.MESH.02234622   ETH.MESH.02234630
                                                                                                                                      placement ap                                   Submission                                                                            2011                          2011
ABBREVO Panel - ACOG                            TVTA-077-11-2/13    TVTA-077-11_Abbrevo Panel-ACOG_CA.pdf                             ABBREVO Panel - ACOG                     (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 01 Feb 2011 11 Feb      10    28 Jan 2011   16 Feb        19       Gynecare TVT                23 ETH.MESH.02234631   ETH.MESH.02234631
                                                                                                                                                                                     Submission                                                                            2011                          2011
EWH&U Medical Request Postcard                  GPD035              GPD035_Medical Request Card_CA.pdf                                EWH&U Medical Request Postcard           (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 02 Feb 2010 12 Feb      10    29 Jan 2010   16 Feb        18         Gyencare                  23 ETH.MESH.02234632   ETH.MESH.02234633
                                                                                                                                                                                     Submission                                                                            2010                          2010                   Gynemesh
TVT Abbrevo 1Yr RCT Reprint Carrier V3          TVTA-084-11-2/13    TVTA-084-11_Reprint Carrier_CA.pdf                                TVT Abbrevo 1Yr RCT Reprint Carrier V3   (ETHUS) Printed Material        Sheelu Samuel           (ETHUS) EWHU WW        09 Mar      16 Mar    7       09 Mar      16 Mar         6       Gynecare TVT                23 ETH.MESH.02234634   ETH.MESH.02234635
                                                                                                                                                                                     Submission                                             Marketing           2011       2011               2011       2011
TVT ABBREVO Prof Ed Slides Revised              TVTA-088-11-2/13    TVTA-088-11_Prof Ed Deck_CA.pptx and TVTA-517-10_Live Procedure   TVT ABBREVO Prof Ed Slides Revised        (ETHUS) Digital Content        Sheelu Samuel           (ETHUS) EWHU WW      03 Feb 2011 11 Feb      8     03 Feb 2011 16 Feb          13       Gynecare TVT                23 ETH.MESH.02234636   ETH.MESH.02234681
                                                                    Riachi CA.wmv                                                                                                    Submission                                             Marketing                      2011                          2011
GYNECARE TVT ABBREVO Continence System: Key TVTA-096-11-3/13        TVTA-096-11_Abbrevo key value msgs_CA.pdf                         GYNECARE TVT ABBREVO Continence          (ETHUS) Printed Material         Heidi Waters              (ETHUS) HE&R        01 Mar      30 Mar    29    28 Feb 2011 30 Mar          29       Gynecare TVT                23 ETH.MESH.02234682   ETH.MESH.02234697
Value Messages                                                                                                                        System: Key Value Messages                     Submission                                                                 2011       2011                          2011
De Leval Article Summary                    TVTA-222-11-5/13        TVTA-222-11_DeLeval_Orig vs Mod IO Transob Sum_CA.pdf             De Leval Article Summary                  (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing   17 May      25 May    8       17 May      27 May        10       Gynecare TVT                23 ETH.MESH.02234698   ETH.MESH.02234699
                                                                                                                                                                                     Submission                                                                 2011       2011               2011       2011
Hinoul Anatomy Summary                          TVTA-223-11-5/13    TVTA-223-11_Hinoul_Ana comp orig vs mod IO transob Sum_CA.pdf     Hinoul Anatomy Summary                    (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing   17 May      25 May    8       17 May      27 May        10       Gynecare TVT                23 ETH.MESH.02234700   ETH.MESH.02234701
                                                                                                                                                                                     Submission                                                                 2011       2011               2011       2011
TVT ABBREVO Interactive Pelvic Model            TVTA-226-11-6/13    TVTA-226-11_Abbrevo_Interactive_3D_Model_CA.pdf                   TVT ABBREVO Interactive Pelvic Model      (ETHUS) Digital Content        Sheelu Samuel           (ETHUS) EWHU WW        31 May      15 Jun    15      27 May      17 Jun        21       Gynecare TVT                23 ETH.MESH.02234702   ETH.MESH.02234723
                                                                                                                                                                                     Submission                                             Marketing           2011       2011               2011       2011
TVT Anatomy Puzzle Leader Guide                 TVTA-230-11-6/13    TVTA-230-11_TVT Anatomy Puzzle Leader Guide_CA.pdf                TVT Anatomy Puzzle Leader Guide          (ETHUS) Printed Material         Davina Kullar       (ETHUS) EWHU WW Sales 07 Jun 2011 01 Jul 2011   24    06 Jun 2011 06 Jul 2011     30       Gynecare TVT                23 ETH.MESH.02234724   ETH.MESH.02234742
                                                                                                                                                                                     Submission                                              Training
TVT ABBREVO Annotated Anatomic Dissection       TVTA-257-11-7/13    TVTA-257-11_TVT Abbrevo Anntd Reprint.pdf                         TVT ABBREVO Annotated Anatomic           (ETHUS) Printed Material        Sheelu Samuel           (ETHUS) EWHU WW      21 Jun 2011 15 Jul 2011 24    20 Jun 2011 20 Jul 2011     30       Gynecare TVT                23 ETH.MESH.02234743   ETH.MESH.02234751
Reprint                                                                                                                               Dissection Reprint                             Submission                                             Marketing
TVT ABBREVO Anatomic Comparision of modified    TVTA-264-11-7/13    TVTA-264-11_Hinoul_Abbrevo Anatomic Comp to TVTO_CA.pdf           TVT ABBREVO Anatomic Comparision of      (ETHUS) Printed Material        Sheelu Samuel           (ETHUS) EWHU WW      21 Jun 2011 06 Jul 2011 15    20 Jun 2011 08 Jul 2011     18       Gynecare TVT                23 ETH.MESH.02234752   ETH.MESH.02234759
TVTO vs TVTO                                                                                                                          modified TVTO vs TVTO                          Submission                                             Marketing
GYNECARE TVT ABBREVO updates to                 TVTA-271-11-7/12    TVTA-271-11_GYNECARE TVT ABBREVO on e360_CA.pdf                   GYNECARE TVT ABBREVO updates to           (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 28 Jun 2011 13 Jul 2011 15    28 Jun 2011 14 Jul 2011     16       Gynecare TVT                23 ETH.MESH.02234760   ETH.MESH.02234816
ethicon360.com                                                                                                                        ethicon360.com                                 Submission
TVT ABBREVO Claims List                         TVTA-346-10-7/12    TVTA-346-10_TVT ABBREVO Claims List_CA.xlsx                       TVT ABBREVO Claims List                   (ETHUS) Digital Content        Sheelu Samuel           (ETHUS) EWHU WW        13 Jul 2010   11 Aug   29     12 Jul 2010   12 Aug      31       Gynecare TVT                23 ETH.MESH.02234817   ETH.MESH.02234824
                                                                                                                                                                                     Submission                                            Marketing                         2010                          2010
GYNECARE TVT ABBREVO Workshop Leader's          TVTA-350-11-10/13   TVTA-350-11_Abbrevo_Workshop_LeadersGuide_CA.docx                 GYNECARE TVT ABBREVO Workshop            (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales     04 Oct 2011   26 Oct   22     03 Oct 2011   26 Oct      23       Gynecare TVT                23 ETH.MESH.02234825   ETH.MESH.02234833
Guide                                                                                                                                 Leader's Guide                                 Submission                                             Training                         2011                          2011
ABBREVO Anatomy APP workshop                    TVTA-395-11-6/13    TVTA-395-11_ABBREVO Anatomy APP workshop_CA.pdf                   ABBREVO Anatomy APP workshop              (ETHUS) Digital Content        Mary O'Connell        (ETHUS) EWHU US Sales    06 Dec 2011   14 Dec   8      06 Dec 2011   14 Dec       8       Gynecare TVT                23 ETH.MESH.02234834   ETH.MESH.02234872
                                                                                                                                                                                     Submission                                             Training                         2011                          2011
Gynecare Abbrevo Preceptorship Invite           TVTA-401-11-6/13    TVTA-401-11_TVTA_Preceptorship_Invite_CA.pdf                      Gynecare Abbrevo Preceptorship Invite    (ETHUS) Printed Material         Mary Byerly        (ETHUS) EWHU US Prof. Ed   06 Dec 2011   16 Dec   10     05 Dec 2011   22 Dec      17       Gynecare TVT                23 ETH.MESH.02234873   ETH.MESH.02234873
                                                                                                                                                                                     Submission                                                                              2011                          2011
GYNECARE TVT ABBREVO Related Presentations at TVTA-402-10-8/12      TVTA-402-10_Related Presentations at ICS IUGA2010_CA.pdf          GYNECARE TVT ABBREVO Related               (ETHUS) Presentation          Sheelu Samuel          (ETHUS) EWHU WW       10 Aug 2010     20 Aug   10     09 Aug 2010   20 Aug      11       Gynecare TVT                23 ETH.MESH.02234874   ETH.MESH.02234910
ICS IUGA                                                                                                                              Presentations at ICS IUGA                      Submission                                            Marketing                         2010                          2010
GYNECARE TVT ABBREVO Convention Panel         TVTA-403-10-8/12      TVTA-403-10_TVT ABBREVO_Convention Panels_495544B01_CA .pdf       GYNECARE TVT ABBREVO Convention          (ETHUS) Printed Material        Sheelu Samuel          (ETHUS) EWHU WW       10 Aug 2010     20 Aug   10     09 Aug 2010   19 Aug      10       Gynecare TVT                23 ETH.MESH.02234911   ETH.MESH.02234912
                                                                                                                                      Panel                                          Submission                                            Marketing                         2010                          2010
TVT ABBREVO Introductory Learning Program       TVTA-407-10-8/12    TVTA-407-10_TVT ABBREVO Introductory Learning Program_CA.pdf      TVT ABBREVO Introductory Learning         (ETHUS) Digital Content        Sheelu Samuel          (ETHUS) EWHU WW       17 Aug 2010     19 Nov   94     17 Aug 2010   22 Nov      97       Gynecare TVT                23 ETH.MESH.02234913   ETH.MESH.02235118
                                                                                                                                      Program                                        Submission                                            Marketing                         2010                          2010
GYNECARE TVT ABBREVO Sell Sheet                 TVTA-412-10-9/12    TVTA-412-10_TVT_ABBREVO_Sell_Sheet_495978A01_CA.pdf               GYNECARE TVT ABBREVO Sell Sheet          (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 24 Aug 2010     03 Sep   10     24 Aug 2010   08 Sep      15       Gynecare TVT                23 ETH.MESH.02235119   ETH.MESH.02235120
                                                                                                                                                                                     Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Abbreviate Professional    TVTA-441-10-9/12    TVTA-441-10_GYNECARE TVT ABBREVO Abbreviate Professional          GYNECARE TVT ABBREVO Abbreviate            (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 14 Sep 2010     29 Sep   15     14 Sep 2010   30 Sep      16       Gynecare TVT                23 ETH.MESH.02235121   ETH.MESH.02235156
education deck                                                      education deck CA2.pdf                                            Professional education deck                    Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Targeting sales training   TVTA-465-10-10/12   TVTA-465_10_TVT_ABBREVO_Targeting_CA.pdf                          GYNECARE TVT ABBREVO Targeting sales       (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010     08 Oct   10     22 Sep 2010   11 Oct      19       Gynecare TVT                23 ETH.MESH.02235157   ETH.MESH.02235163
deck                                                                                                                                  training deck                                  Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Key Steps flashcard V2     TVTA-467-10-10/12   TVTA-467-10_GYNECARE_TVT ABBREVO_Key                              GYNECARE TVT ABBREVO Key Steps           (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010     13 Oct   15     28 Sep 2010   13 Oct      15       Gynecare TVT                23 ETH.MESH.02235164   ETH.MESH.02235165
                                                                    Steps CardV2 497107D01 CA.pdf                                     flashcard V2                                   Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Professional Education     TVTA-468-10-10/12   TVTA-468-10_ABBREVO PROFED10_6a_CA.pdf                            GYNECARE TVT ABBREVO Professional          (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010     13 Oct   15     28 Sep 2010   13 Oct      15       Gynecare TVT                23 ETH.MESH.02235166   ETH.MESH.02235221
Deck Ver 2                                                                                                                            Education Deck Ver 2                           Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Clinical Data review       TVTA-474-10-10/12   TVTA-474-10_GYNECARE TVT                                          GYNECARE TVT ABBREVO Clinical Data       (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010     08 Oct   10     22 Sep 2010   11 Oct      19       Gynecare TVT                23 ETH.MESH.02235222   ETH.MESH.02235223
Flashcard                                                           ABBREVO Clinical Flashcard 497107 A01 CA.pdf                      review Flashcard                               Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Internal FAQ               TVTA-475-10-10/12   TVTA-475-10_GYNECARE TVT ABBREVO_Internal                         GYNECARE TVT ABBREVO Internal FAQ        (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010     13 Oct   15     23 Sep 2010   13 Oct      20       Gynecare TVT                23 ETH.MESH.02235224   ETH.MESH.02235228
                                                                    FAQ 497107C01 CA.pdf                                                                                             Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO New Product Request        TVTA-537-10-11/12   TVTA-537-10_New Product Request Form_CA.pdf                       GYNECARE TVT ABBREVO New Product         (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 14 Oct 2010     29 Oct   15     18 Oct 2010   01 Nov      14       Gynecare TVT                23 ETH.MESH.02235229   ETH.MESH.02235229
Form                                                                                                                                  Request Form                                   Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Key Steps Flashcard Ver    TVTA-538-10-11/12   TVTA-538-10_TVT-Abbrevo_KeySteps_CA.pdf                           GYNECARE TVT ABBREVO Key Steps           (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 21 Oct 2010     12 Nov   22     21 Oct 2010   15 Nov      25       Gynecare TVT                23 ETH.MESH.02235230   ETH.MESH.02235231
3                                                                                                                                     Flashcard Ver 3                                Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Professional education     TVTA-539-10-11/12   TVTA-539-10_PROFED10_6d_CA.pdf                                    GYNECARE TVT ABBREVO Professional          (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 12 Oct 2010     22 Oct   10     12 Oct 2010   26 Oct      14       Gynecare TVT                23 ETH.MESH.02235232   ETH.MESH.02235273
deck version 3                                                                                                                        education deck version 3                       Submission                                                                              2010                          2010
GYNECARE TVT ABBREVO Compettive Overview        TVTA-542-10-11/12   TVTA-542-10_497991_Comp Flashcard_CA.pdf                          GYNECARE TVT ABBREVO Compettive          (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 26 Oct 2010     10 Nov   15     25 Oct 2010   11 Nov      17       Gynecare TVT                23 ETH.MESH.02235274   ETH.MESH.02235275
Flashcard                                                                                                                             Overview Flashcard                             Submission                                                                              2010                          2010




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Task Name                                        Task Number         Name of File Pulled                                             Path                                             Type                       Owner                    Role             Start Date End Date   Duration    Start Date End Date   Duration      Brand       Production          Start Bates          End Bates
GYNECARE TVT ABBREVO Professional Education      TVTA-556-10-11/12   TVTA-556-10_ABBREVO PROFEDver4_CA.pdf                           GYNECARE TVT ABBREVO Professional         (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing    02 Nov    17 Nov       15         02 Nov    19 Nov       17      Gynecare TVT                23 ETH.MESH.02235276   ETH.MESH.02235323
deck ver 4                                                                                                                           Education deck ver 4                          Submission                                                                 2010      2010                    2010      2010
GYNECARE TVT ABBREVO - Mesh Placement Slim       TVTA-564-10-11/12   TVTA-564-10_498412A_SJ_CA.pdf                                   GYNECARE TVT ABBREVO - Mesh             (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing    16 Nov    03 Dec      17          15 Nov    08 Dec      23       Gynecare TVT                23 ETH.MESH.02235324   ETH.MESH.02235325
Jim                                                                                                                                  Placement Slim Jim                            Submission                                                                 2010      2010                    2010      2010
GYNECARE TVT ABBREVO Sales Aid                   TVTA-580-10-12/12   TVTA-580-10_498416A_SalesAid_CA.pdf                             GYNECARE TVT ABBREVO Sales Aid          (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing    16 Nov    01 Dec      15          15 Nov    02 Dec      17       Gynecare TVT                23 ETH.MESH.02235326   ETH.MESH.02235329
                                                                                                                                                                                   Submission                                                                 2010      2010                    2010      2010
GYNECARE TVT ABBREVO Slim Jim                    TVTA-581-10-12/12   TVTA-581-10_498416B_SJ_CA.pdf                                   GYNECARE TVT ABBREVO Slim Jim           (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing    16 Nov    01 Dec      15          15 Nov    02 Dec      17       Gynecare TVT                23 ETH.MESH.02235330   ETH.MESH.02235345
                                                                                                                                                                                   Submission                                                                 2010      2010                    2010      2010
GYNECARE TVT ABBREVO Rep support materials       TVTA-587-10-12/12   TVTA-587-10_ABBREVO_NTM items_CA.pdf                            GYNECARE TVT ABBREVO Rep support        (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing    30 Nov    10 Dec      10          30 Nov    13 Dec      13       Gynecare TVT                23 ETH.MESH.02235346   ETH.MESH.02235348
                                                                                                                                     materials                                     Submission                                                                 2010      2010                    2010      2010
GYNECARE TVT ABBREVO content on                  TVTA-591-10-11/11   TVTA-591-10_TVT ABBREVO 360com_CA.pdf                           GYNECARE TVT ABBREVO content on          (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing    30 Nov    21 Dec      21          30 Nov    20 Dec      20       Gynecare TVT                23 ETH.MESH.02235349   ETH.MESH.02235353
ethicon360.com                                                                                                                       ethicon360.com                                Submission                                                                 2010      2010                    2010      2010
GYNECARE TVT ABBREVO Selling Guide               TVTA-607-10-12/12   TVTA-607-10_TVT ABBREVO selling guide_CA.pdf                    GYNECARE TVT ABBREVO Selling Guide      (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 07 Dec 2010 17 Dec       10       06 Dec 2010 21 Dec       15       Gynecare TVT                23 ETH.MESH.02235354   ETH.MESH.02235363
                                                                                                                                                                                   Submission                                                                           2010                              2010
TVT ABBREVO Panel - SUFU                         TVTA-031-11-1/13    TVTA_031_11_ABBREVO Panel_CA.pdf                                TVT ABBREVO Panel - SUFU                (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 11 Jan 2011  21 Jan      10       07 Jan 2011  26 Jan      19       Gynecare TVT                23 ETH.MESH.02235364   ETH.MESH.02235364
                                                                                                                                                                                   Submission                                                                           2011                              2011
GYNECARE TVT ABBREVO Combat Readiness            TVTA-047-11-1/13    TVTA_046_11_NTM Workbook_CA.pdf                                 GYNECARE TVT ABBREVO Combat             (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 18 Jan 2011  28 Jan      10       17 Jan 2011  31 Jan      14       Gynecare TVT                23 ETH.MESH.02235365   ETH.MESH.02235373
Assessment workbook                                                                                                                  Readiness Assessment workbook                 Submission                                                                           2011                              2011
ABBREVO Stand-Up Sign                            TVTA-075-11-2/13    TVTA_075_11_Stand-upSign_CA.pdf                                 ABBREVO Stand-Up Sign                   (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 25 Jan 2011  16 Feb      22       24 Jan 2011  16 Feb      23       Gynecare TVT                23 ETH.MESH.02235374   ETH.MESH.02235374
                                                                                                                                                                                   Submission                                                                           2011                              2011
TVT ABBREVO 1YR RCT Annotated Reprint            TVTA-083-11-2/13    TVTA_083_11_Anntd Reprint_CA.pdf                                  TVT ABBREVO 1YR RCT Annotated         (ETHUS) Printed Material        Sheelu Samuel          (ETHUS) EWHU WW       25 Jan 2011  09 Feb      15       24 Jan 2011  18 Feb      25       Gynecare TVT                23 ETH.MESH.02235375   ETH.MESH.02235387
                                                                                                                                       Reprint                                     Submission                                            Marketing                      2011                              2011
GYNECARE TVT ABBREVO Professional Education      TVTA-401-10-8/12    TVTA_401_10_TVTA_GYNECARE_TVT_ABBREVO_Professional_Education GYNECARE TVT ABBREVO Professional            (ETHUS) Presentation          Sheelu Samuel          (ETHUS) EWHU WW       10 Aug 2010 20 Aug       10       09 Aug 2010 20 Aug       11       Gynecare TVT                23 ETH.MESH.02235388   ETH.MESH.02235455
Slides                                                                 CA.pdf                                                          Education Slides                            Submission                                            Marketing                      2010                              2010
GYNECARE TVT ABBREVO Features & Benefits         TVTA-461-10-10/12   TVTA_461_10_TVT_ABBREVO_Features_and_Benefits_CA.pdf              GYNECARE TVT ABBREVO Features &         (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010  08 Oct      10       22 Sep 2010  11 Oct      19       Gynecare TVT                23 ETH.MESH.02235456   ETH.MESH.02235473
                                                                                                                                       Benefits                                    Submission                                                                           2010                              2010
GYNECARE TVT ABBREVO Key Procedure steps         TVTA-462-10-10/12   TVTA_462_10_TVT_ABBREVO_Key_Procedure_Step_CA.pdf                 GYNECARE TVT ABBREVO Key Procedure      (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010  08 Oct      10       22 Sep 2010  11 Oct      19       Gynecare TVT                23 ETH.MESH.02235474   ETH.MESH.02235502
presentation                                                                                                                           steps presentation                          Submission                                                                           2010                              2010
GYNECARE TVT ABBREVO Supporting Studies Sales    TVTA-464-10-10/12   TVTA_464_10_TVT_ABBREVO_Supporting_Studies_CA.pdf                 GYNECARE TVT ABBREVO Supporting         (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 28 Sep 2010  08 Oct      10       22 Sep 2010  11 Oct      19       Gynecare TVT                23 ETH.MESH.02235503   ETH.MESH.02235518
training deck                                                                                                                          Studies Sales training deck                 Submission                                                                           2010                              2010
de Leval - Original vs modified transobturator   TVTA-515-10-10/12   TVTA_515_10_de Leval - Original vs modified transobturator_CA.pdf de Leval - Original vs modified       (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 12 Oct 2010  22 Oct      10       12 Oct 2010  25 Oct      13       Gynecare TVT                23 ETH.MESH.02235519   ETH.MESH.02235532
procedure                                                                                                                              transobturator procedure                    Submission                                                                           2010                              2010
GYNECARE TVT ABBREVO Journal Ad                  TVTA-609-10-12/12   TVTA_609_10_899021_Jrnl Ad_CA.pdf                                 GYNECARE TVT ABBREVO Journal Ad       (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 07 Dec 2010 17 Dec       10       07 Dec 2010 17 Dec       10       Gynecare TVT                23 ETH.MESH.02235533   ETH.MESH.02235533
                                                                                                                                                                                   Submission                                                                           2010                              2010
TVT EXACT Panel - SUFU                           TVTE-032-11-1/13    TVTE-032-11_EXACT Panel-SUFU_CA.pdf                             TVT EXACT Panel - SUFU                  (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 11 Jan 2011  21 Jan      10       07 Jan 2011  26 Jan      19       Gynecare TVT                23 ETH.MESH.02235534   ETH.MESH.02235534
                                                                                                                                                                                   Submission                                                                           2011                              2011
TVT EXACT Panel - ACOG                           TVTE-078-11-2/13    TVTE-078-11_Exact Panel-ACOG_CA.pdf                             TVT EXACT Panel - ACOG                  (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 01 Feb 2011 11 Feb       10       28 Jan 2011  16 Feb      19       Gynecare TVT                23 ETH.MESH.02235535   ETH.MESH.02235535
                                                                                                                                                                                   Submission                                                                           2011                              2011
TVT EXACT Professional Education deck            TVTE-129-11-3/13    TVTE-129-11_Prof Ed Deck_CA.pdf                                 TVT EXACT Professional Education deck     (ETHUS) Presentation         Rhonda Peebles      (ETHUS) EWHU US Marketing   08 Mar     18 Mar      10         08 Mar     23 Mar      14       Gynecare TVT                23 ETH.MESH.02235536   ETH.MESH.02235567
                                                                                                                                                                                   Submission                                                                 2011      2011                    2011      2011
BARD Ajust Training Backgrounder                 TVTE-177-11-4/13    TVTE-177-11_Ajust_CompetitiveBackgrounder_CA.pdf                BARD Ajust Training Backgrounder          (ETHUS) Presentation         Rhonda Peebles      (ETHUS) EWHU US Marketing 12 Apr 2011 04 May       22       12 Apr 2011 04 May       22       Gynecare TVT                23 ETH.MESH.02235568   ETH.MESH.02235660
                                                                                                                                                                                   Submission                                                                           2011                              2011
TVT EXACT launch sales aid                       TVTE-187-10-4/12    TVTE-187-10_Exact Sales Aid_CA.pdf                              TVT EXACT launch sales aid               (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 13 Apr 2010  22 Apr       9       09 Apr 2010  23 Apr      14       Gynecare TVT                23 ETH.MESH.02235661   ETH.MESH.02235664
                                                                                                                                                                                   Submission                                                                           2010                              2010
TVT EXACT CLAIMS                                 TVTE-193-10-4/12    TVTE-193-10_TVT Exact Claims_CA.pdf                             TVT EXACT CLAIMS                         (ETHUS) Digital Content          Stale Kvitle         (ETHUS) EWHU WW         30 Mar     09 Apr      10         30 Mar     13 Apr      14       Gynecare TVT                23 ETH.MESH.02235665   ETH.MESH.02235667
                                                                                                                                                                                   Submission                                            Marketing            2010      2010                    2010      2010
TVT EXACT CLAIMS 2                               TVTE-198-10-4/12    TVTE-198-10_Claims 2_CA.pdf                                     TVT EXACT CLAIMS 2                       (ETHUS) Digital Content          Stale Kvitle         (ETHUS) EWHU WW       06 Apr 2010  21 Apr      15       06 Apr 2010  20 Apr      14       Gynecare TVT                23 ETH.MESH.02235668   ETH.MESH.02235670
                                                                                                                                                                                   Submission                                            Marketing                      2010                              2010
TVT EXACT Save the date card                     TVTE-200-10-4/12    TVTE-200-10_SaveDate040510_CA.pdf                               TVT EXACT Save the date card             (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 05 Apr 2010  09 Apr       4       05 Apr 2010  09 Apr       4       Gynecare TVT                23 ETH.MESH.02235671   ETH.MESH.02235671
                                                                                                                                                                                   Submission                                                                           2010                              2010
TVT EXACT Ob-Gyn backgrounder                    TVTE-201-10-4/12    TVTE-201-10_Gynecology_Toglia_CA.pdf                            TVT EXACT Ob-Gyn backgrounder            (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 05 Apr 2010  23 Jun      79       05 Apr 2010  23 Jun      79       Gynecare TVT                23 ETH.MESH.02235672   ETH.MESH.02235677
                                                                                                                                                                                   Submission                                                                           2010                              2010
TVT EXACT Professinal education presentation     TVTE-219-10-4/12    TVTE-219-10_Prof Ed Deck_CA.pdf                                 TVT EXACT Professinal education          (ETHUS) Digital Content          Stale Kvitle         (ETHUS) EWHU WW       13 Apr 2010 03 May       20       13 Apr 2010 03 May       20       Gynecare TVT                23 ETH.MESH.02235678   ETH.MESH.02235728
                                                                                                                                     presentation                                  Submission                                            Marketing                      2010                              2010
Bard Ajust backgrounder                          TVTE-219-11-6/13    TVTE-219-11_Ajust_CompetitiveBackgrounder_CA.pdf                Bard Ajust backgrounder                   (ETHUS) Presentation         Rhonda Peebles      (ETHUS) EWHU US Marketing   17 May     08 Jun      22         17 May     13 Jun      27       Gynecare TVT                23 ETH.MESH.02235729   ETH.MESH.02235820
                                                                                                                                                                                   Submission                                                                 2011      2011                    2011      2011
GYNECARE TVT EXACT HOMESTUDY DVD                 TVTE-221-10-4/12    TVTE-221-10_Home Study_CA.pdf                                   GYNECARE TVT EXACT HOMESTUDY DVD         (ETHUS) Digital Content          Stale Kvitle         (ETHUS) EWHU WW       16 Apr 2010  30 Apr      14       16 Apr 2010  29 Apr      13       Gynecare TVT                23 ETH.MESH.02235821   ETH.MESH.02235997
                                                                                                                                                                                   Submission                                            Marketing                      2010                              2010
TVT Exact Convention Panels                      TVTE-244-10-5/12    TVTE-244-10_491277ConvPnl_CA.pdf                                TVT Exact Convention Panels             (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 27 Apr 2010 07 May       10       23 Apr 2010 10 May       17       Gynecare TVT                23 ETH.MESH.02235998   ETH.MESH.02235999
                                                                                                                                                                                   Submission                                                                           2010                              2010
Gynecare TVT EXACT Webinar Invite                TVTE-245-10-5/12    TVTE-245-10_TVT EXACT Webinar invite_CA.pdf                     Gynecare TVT EXACT Webinar Invite        (ETHUS) Digital Content        Andrew Meek         (ETHUS) EWHU US Prof. Ed 27 Apr 2010 07 May       10       23 Apr 2010 12 May       19       Gynecare TVT                23 ETH.MESH.02236000   ETH.MESH.02236000
                                                                                                                                                                                   Submission                                                                           2010                              2010
TVT EXACT sales aid script                       TVTE-248-10-5/12    TVTE-248-10_Sales Aid Script_CA.pdf                             TVT EXACT sales aid script               (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 27 Apr 2010 07 May       10       26 Apr 2010 07 May       11       Gynecare TVT                23 ETH.MESH.02236001   ETH.MESH.02236002
                                                                                                                                                                                   Submission                                                                           2010                              2010
TVT EXACT launch meeting marketing slides        TVTE-249-10-5/12    TVTE-249-10_EXACTlaunchslides_CA.pdf                            TVT EXACT launch meeting marketing       (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 27 Apr 2010 07 May       10       26 Apr 2010 07 May       11       Gynecare TVT                23 ETH.MESH.02236003   ETH.MESH.02236029
                                                                                                                                     slides                                        Submission                                                                           2010                              2010




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Task Name                                       Task Number         Name of File Pulled                                                Path                                              Type                       Owner                   Role            Start Date End Date      Duration Start Date End Date       Duration      Brand       Production          Start Bates          End Bates
TVT EXACT Flash Card                            TVTE-250-10-5/12    TVTE-250-10_KeySteps Flashcard_CA.pdf                              TVT EXACT Flash Card                      (ETHUS) Digital Content          Stale Kvitle       (ETHUS) EWHU WW       27 Apr 2010 07 May           10    26 Apr 2010 07 May           11      Gynecare TVT                23 ETH.MESH.02236030   ETH.MESH.02236031
                                                                                                                                                                                      Submission                                          Marketing                      2010                              2010
TVT EXACT Claims list consolidated              TVTE-251-10-5/12    TVTE-251-10_TVT EXACT CLAIMS TOTAL_CA.pdf                          TVT EXACT Claims list consolidated        (ETHUS) Digital Content          Stale Kvitle       (ETHUS) EWHU WW       27 Apr 2010 14 May           17    26 Apr 2010 17 May          21       Gynecare TVT                23 ETH.MESH.02236032   ETH.MESH.02236033
                                                                                                                                                                                      Submission                                          Marketing                      2010                              2010
TVT EXACT Clinical data slides                  TVTE-256-10-5/12    TVTE-256-10_TVTEXACT_LIB_Clinical_Data_CA.pdf                      TVT EXACT Clinical data slides            (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 07 May           10    27 Apr 2010 07 May          10       Gynecare TVT                23 ETH.MESH.02236034   ETH.MESH.02236047
                                                                                                                                                                                      Submission                                                                         2010                              2010
TVT EXACT competition deck                      TVTE-257-10-5/12    TVTE-257-10_TVTEXACT_CoreCompetitors_CA.pdf                        TVT EXACT competition deck                (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 10 Dec          227    27 Apr 2010 13 Dec          230      Gynecare TVT                23 ETH.MESH.02236048   ETH.MESH.02236062
                                                                                                                                                                                      Submission                                                                         2010                              2010
TVT EXACT Complications Management deck         TVTE-258-10-5/12    TVTE-258-10_Complications Management_CA.pdf                        TVT EXACT Complications Management        (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 07 May           10    27 Apr 2010 07 May          10       Gynecare TVT                23 ETH.MESH.02236063   ETH.MESH.02236069
                                                                                                                                       deck                                           Submission                                                                         2010                              2010
TVT EXACT core competitors flashcard            TVTE-259-10-5/12    TVTE-259-10_Core Comp Flashcard_CA.pdf                             TVT EXACT core competitors flashcard      (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 07 May           10    27 Apr 2010 07 May          10       Gynecare TVT                23 ETH.MESH.02236070   ETH.MESH.02236070
                                                                                                                                                                                      Submission                                                                         2010                              2010
TVT EXACT FAQ slides                            TVTE-260-10-5/12    TVTE-260-10_Sales Trng_Obj and FAQs_v3_CA.pdf                      TVT EXACT FAQ slides                      (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 07 May           10    27 Apr 2010 07 May          10       Gynecare TVT                23 ETH.MESH.02236071   ETH.MESH.02236084
                                                                                                                                                                                      Submission                                                                         2010                              2010
TVT EXACT FEATURES & BENEFITS deck              TVTE-261-10-5/12    TVTE-261-10_TVTEXACT_LIB_FeaturesBenefits_CA.pdf                   TVT EXACT FEATURES & BENEFITS deck        (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 07 May           10    27 Apr 2010 07 May          10       Gynecare TVT                23 ETH.MESH.02236085   ETH.MESH.02236099
                                                                                                                                                                                      Submission                                                                         2010                              2010
TVT EXACT IFU product comparison                TVTE-262-10-5/12    TVTE-262-10_TVTEXACT_LIB_IFU_Product_Comparison_CA.pdf             TVT EXACT IFU product comparison          (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 07 May           10    27 Apr 2010 07 May          10       Gynecare TVT                23 ETH.MESH.02236100   ETH.MESH.02236111
                                                                                                                                                                                      Submission                                                                         2010                              2010
TVT EXACT Key Procedural Steps IFU              TVTE-263-10-5/12    TVTE-263-10_ProcedureKeyStepswVideo_CA.pdf                         TVT EXACT Key Procedural Steps IFU        (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 27 Apr 2010 07 May           10    27 Apr 2010 10 May          13       Gynecare TVT                23 ETH.MESH.02236112   ETH.MESH.02236121
                                                                                                                                                                                      Submission                                                                         2010                              2010
TVT EXACT PROCEDURAL DVD                        TVTE-264-10-5/12    TVTE-264-10_TVTEXACT_Video_CA.pdf                                  TVT EXACT PROCEDURAL DVD                  (ETHUS) Digital Content          Stale Kvitle       (ETHUS) EWHU WW       27 Apr 2010 07 May           10    27 Apr 2010 07 May          10       Gynecare TVT                23 ETH.MESH.02236122   ETH.MESH.02236127
                                                                                                                                                                                      Submission                                          Marketing                      2010                              2010
TVT EXACT Convention Panel - AUA                TVTE-267-10-5/12    TVTE-267-10_AUA_TVTExact_CA.pdf                                    TVT EXACT Convention Panel - AUA         (ETHUS) Printed Material         Robin Osman     (ETHUS) EWHU US Marketing   04 May     14 May          10    28 Apr 2010 17 May          19       Gynecare TVT                23 ETH.MESH.02236128   ETH.MESH.02236128
                                                                                                                                                                                      Submission                                                               2010      2010                              2010
TVT EXACT Prof Ed Launch                        TVTE-270-10-5/12    TVTE-270-10_TVT Exact NTM ProfEd_CA.pdf                            TVT EXACT Prof Ed Launch                   (ETHUS) Presentation          Andrew Meek       (ETHUS) EWHU US Prof. Ed   04 May     14 May          10    29 Apr 2010 17 May          18       Gynecare TVT                23 ETH.MESH.02236129   ETH.MESH.02236136
                                                                                                                                                                                      Submission                                                               2010      2010                              2010
TVT EXACT launch meeting opening video          TVTE-272-10-5/12    TVTE-272-10_Opening_Splash_Script-Screenshots_CA.pdf               TVT EXACT launch meeting opening           (ETHUS) Presentation         Rhonda Peebles    (ETHUS) EWHU US Marketing 30 Apr 2010 07 May           7     30 Apr 2010 07 May           7       Gynecare TVT                23 ETH.MESH.02236137   ETH.MESH.02236170
                                                                                                                                       video                                          Submission                                                                         2010                              2010
Proisma EBlast #3                               PROS-335-11-11/13   PROS-334-11_ProsimeEBlast_CA.pdf                                   Proisma EBlast #3                          (ETHUS) Presentation            Kevin Frost    (ETHUS) EWHU US Marketing    01 Nov    15 Nov          14    28 Oct 2011 16 Nov          19        Gyenecare                  23 ETH.MESH.02236171   ETH.MESH.02236172
                                                                                                                                                                                      Submission                                                               2011      2011                              2011                      Prosima
EWHU Clinical-Set 4-Tseng:Randomized            TVT-008-10-1/11     TVT-008-10_Tseng et al 2005 TVT vs Sparc_v3.pdf                    EWHU Clinical-Set 4-Tseng:Randomized      (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 05 Jan 2010  20 Jan          15    05 Jan 2010 20 Jan          15       Gynecare TVT                23 ETH.MESH.02236173   ETH.MESH.02236178
Comparison of the Suprapubic ARC Sling vs TVT                                                                                          Comparison of the Suprapubic ARC Sling         Submission                                                                         2010                              2010
                                                                                                                                       vs TVT
GYNECARE TVT Google Ad Campaign June 2009       TVT-0091-09-7/10    TVT-0091-09 GYNECARE TVT Google Text Ads_CA Final.pdf              GYNECARE TVT Google Ad Campaign           (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 09 Jun 2009 02 Jul 2009     23     09 Jun 2009 02 Jul 2009     23       Gynecare TVT                23 ETH.MESH.02236179   ETH.MESH.02236179
                                                                                                                                       June 2009                                      Submission
GYNECARE TVT Patient Brochure - 2011            TVT-039-11-1/13     TVT-039-11_Patient Brochure_CA.pdf                                 GYNECARE TVT Patient Brochure - 2011     (ETHUS) Printed Material       Lauren Taveroni   (ETHUS) EWHU US Marketing 25 Jan 2011    04 Feb       10     24 Jan 2011   07 Feb        14       Gynecare TVT                23 ETH.MESH.02236180   ETH.MESH.02236187
                                                                                                                                                                                      Submission                                                                           2011                              2011
Incontinence Web Article                        TVT-044-10-2/11     TVT-044-10_SUI Web article_CA.pdf                                  Incontinence Web Article                  (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 02 Feb 2010    19 Feb       17    02 Feb 2010    23 Feb        21       Gynecare TVT                23 ETH.MESH.02236188   ETH.MESH.02236191
                                                                                                                                                                                      Submission                                                                           2010                              2010
EWHU Clinical-Set 5-Hiscock: Effectiveness of   TVT-046-10-2/11     TVT-046-10_Hiscock_Effectiveness of Tensionfree Vag Tape Cmprd w   EWHU Clinical-Set 5-Hiscock:              (ETHUS) Digital Content         Joseph Lanza        (ETHUS) EWHU WW        28 Jan 2010   05 Feb        8     28 Jan 2010   05 Feb         8       Gynecare TVT                23 ETH.MESH.02236192   ETH.MESH.02236200
Tension-free Vaginal Tape Compared w                                Transobturator Tape.pdf                                            Effectiveness of Tension-free Vaginal          Submission                                         Marketing                         2010                              2010
Transobturator Tape                                                                                                                    Tape Compared w Transobturator Tape

TVT NTM breakout slides                         TVT-053-10-2/12     TVT-053-10_NTMbrkoutslidesrp_CA.pdf                                TVT NTM breakout slides                  (ETHUS) Digital Content        Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    26 Feb       10    16 Feb 2010    26 Feb        10       Gynecare TVT                23 ETH.MESH.02236201   ETH.MESH.02236214
                                                                                                                                                                                     Submission                                                                            2010                              2010
EWHU Summary/Positioning- Araco: TVT-O vs TVT TVT-058-10-3/12       TVT-058-10_Araco Summary_Positioning_CA.pdf                        EWHU Summary/Positioning- Araco: TVT-    (ETHUS) Digital Content        Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    24 Mar       36    16 Feb 2010    25 Mar        36       Gynecare TVT                23 ETH.MESH.02236215   ETH.MESH.02236217
                                                                                                                                       O vs TVT                                      Submission                                                                            2010                              2010
EWHU Summary/Positioning-                       TVT-061-10-03/12    TVT-061-10_Barber Summary_Positioning_3.pdf                        EWHU Summary/Positioning-                (ETHUS) Digital Content        Rhonda Peebles    (ETHUS) EWHU US Marketing 09 Feb 2010    10 Mar       29    09 Feb 2010    15 Mar        33       Gynecare TVT                23 ETH.MESH.02236218   ETH.MESH.02236220
Barber:Transobturator Tape Compared                                                                                                    Barber:Transobturator Tape Compared           Submission                                                                            2010                              2010

EWHU Summary/Positioning- Grier: Twelve Month TVT-063-10-3/12       TVT-063-10_Grier_Summary_Positioning_CA.pdf                        EWHU Summary/Positioning- Grier:         (ETHUS) Digital Content        Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    24 Mar       36    16 Feb 2010    25 Mar        36       Gynecare TVT                23 ETH.MESH.02236221   ETH.MESH.02236223
Objective                                                                                                                              Twelve Month Objective                        Submission                                                                            2010                              2010
EWHU Summary/Positioning- Kaelin-Gambirasio: TVT-064-10-3/12        TVT-064-10_Kaelin-Gambirasio Summary_Positioning_CA.pdf            EWHU Summary/Positioning- Kaelin-        (ETHUS) Digital Content        Rhonda Peebles    (ETHUS) EWHU US Marketing 09 Feb 2010    26 Mar       45    09 Feb 2010    02 Apr        51       Gynecare TVT                23 ETH.MESH.02236224   ETH.MESH.02236225
Complications Associated                                                                                                               Gambirasio: Complications Associated          Submission                                                                            2010                              2010

EWHU Summary/Positioning- Lee: Prospective      TVT-066-10-3/12     TVT-066-10_Lee Summary_Positioning_CA.pdf                          EWHU Summary/Positioning- Lee:            (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010   26 Mar        38    15 Feb 2010   02 Apr         45       Gynecare TVT                23 ETH.MESH.02236226   ETH.MESH.02236228
Comparison                                                                                                                             Prospective Comparison                         Submission                                                                          2010                              2010
EWHU Summary/Positioning- Liapis: Monarc vs     TVT-067-10-3/12     TVT-067-10_Liapis Summary_Positioning_CA.pdf                       EWHU Summary/Positioning- Liapis:         (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010   24 Mar        36    15 Feb 2010   25 Mar         37       Gynecare TVT                23 ETH.MESH.02236229   ETH.MESH.02236231
TVT-O                                                                                                                                  Monarc vs TVT-O                                Submission                                                                          2010                              2010
EWHU Summary/Positioning- Lord: A Randomized    TVT-070-10-3/12     TVT-070-10_Lord Summary_Positioning_CA.pdf                         EWHU Summary/Positioning- Lord: A         (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 09 Feb 2010 26 Mar          45    09 Feb 2010   02 Apr         51       Gynecare TVT                23 ETH.MESH.02236232   ETH.MESH.02236234
Controlled Equivalence                                                                                                                 Randomized Controlled Equivalence              Submission                                                                          2010                              2010
TVT Retropubic 1-pager                          ep-057              TVTR-028-10_Retropubic_Sell_Sheet_CA.pdf                           TVT Retropubic 1-pager                   (ETHUS) Printed Material       Rhonda Peebles    (ETHUS) EWHU US Marketing 12 Jan 2010   19 Feb        38    12 Jan 2010   23 Feb         42       Gynecare TVT                23 ETH.MESH.02236235   ETH.MESH.02236236
                                                                                                                                                                                      Submission                                                                          2010                              2010
Updates to PelvicHealthSolutions.com            GPD-284-11-7/12     updates to PHS for CA upload 8-2-11.pdf                            Updates to PelvicHealthSolutions.com      (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 12 Jul 2011   03 Aug        22    12 Jul 2011   04 Aug         23        Gyenecare                  23 ETH.MESH.02236237   ETH.MESH.02236254
                                                                                                                                                                                      Submission                                                                          2011                              2011                      Prolift
GYNECARE TVT AUGS Panel                         TVT-0109-09-7/11    TVT-0091-09_7 11 AUGS PANEL_CA FINAL.pdf                           GYNECARE TVT AUGS Panel                   (ETHUS) Digital Content         Robin Osman     (ETHUS) EWHU US Marketing 30 Jun 2009 10 Jul 2009     10    29 Jun 2009 14 Jul 2009      15       Gynecare TVT                23 ETH.MESH.02236255   ETH.MESH.02236255
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Task Name                                          Task Number         Name of File Pulled                                                 Path                                                 Type                      Owner                  Role            Start Date End Date Duration   Start Date End Date       Duration      Brand       Production          Start Bates          End Bates
GYNECARE TVT Patient E-Blast                       TVT-0114-09-7/10    TVT-0114-09_E1_TVT_eblast.pdf                                       GYNECARE TVT Patient E-Blast                (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 07 Jul 2009 17 Jul 2009 10     07 Jul 2009 22 Jul 2009     15       Gynecare TVT                23 ETH.MESH.02236256   ETH.MESH.02236258
                                                                                                                                                                                             Submission
GYNECARE TVT MESH PLACEMENT SHEET                  TVT-0130-09-7/11    TVT-0130-09_GYNECARE TVT Mesh Placement Sheet_CA.pdf                GYNECARE TVT MESH PLACEMENT                (ETHUS) Printed Material       Lauren Taveroni   (ETHUS) EWHU US Marketing 21 Jul 2009 31 Jul 2009   10   21 Jul 2009   03 Aug        13       Gynecare TVT                23 ETH.MESH.02236259   ETH.MESH.02236259
                                                                                                                                           SHEET                                             Submission                                                                                                        2009
GYNECARE TVT Patient EPI                           TVT-0138-09-8/11    TVT-0138-09_GYNECARE TVT Patient EPI draft.pdf                      GYNECARE TVT Patient EPI                      (ETHUS) Fair Balance        Lauren Taveroni   (ETHUS) EWHU US Marketing 06 Aug 2009    12 Aug     6    06 Aug 2009   14 Aug         8       Gynecare TVT                23 ETH.MESH.02236260   ETH.MESH.02236260
                                                                                                                                                                                             Submission                                                                          2009                          2009
New GYNECARE TVT Google Ad                         TVT-0158-09-9/10    TVT-0158-09_GYNECARE TVT Google Text Ad_CA.pdf                      New GYNECARE TVT Google Ad                  (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 25 Aug 2009    04 Sep     10   25 Aug 2009   09 Sep        15       Gynecare TVT                23 ETH.MESH.02236261   ETH.MESH.02236261
                                                                                                                                                                                             Submission                                                                          2009                          2009
GYNECARE TVT Symptom Check Ad                      TVT-0166-09-9/10    TVT-0166-09_TVT Symptoms Check Ad_CA.pdf                            GYNECARE TVT Symptom Check Ad               (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 31 Aug 2009    11 Sep     11   31 Aug 2009   14 Sep        14       Gynecare TVT                23 ETH.MESH.02236262   ETH.MESH.02236263
                                                                                                                                                                                             Submission                                                                          2009                          2009
GYNECARE TVT Skyscraper Ad                         TVT-0167-09-9/10    TVT-0167-09_TVT Skyscraper Ad_CA.pdf                                GYNECARE TVT Skyscraper Ad                  (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 31 Aug 2009    11 Sep     11   31 Aug 2009   14 Sep        14       Gynecare TVT                23 ETH.MESH.02236264   ETH.MESH.02236265
                                                                                                                                                                                             Submission                                                                          2009                          2009
GYNECARE TVT Banner Ad                             TVT-0168-09-9/10    TVT-0168-09_TVT Banner Ad_CA.pdf                                    GYNECARE TVT Banner Ad                      (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 01 Sep 2009    11 Sep     10   31 Aug 2009   14 Sep        14       Gynecare TVT                23 ETH.MESH.02236266   ETH.MESH.02236267
                                                                                                                                                                                             Submission                                                                          2009                          2009
EWHU Summary/Positioning- Meschia:                 TVT-074-10-3/12     TVT-074-10_Meschia_Summary_Positioning_CA.pdf                       EWHU Summary/Positioning- Meschia:          (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    26 Mar     38   16 Feb 2010   02 Apr        44       Gynecare TVT                23 ETH.MESH.02236268   ETH.MESH.02236270
Perioperative Morbidity                                                                                                                    Perioperative Morbidity                           Submission                                                                          2010                          2010
EWHU Summary/Positioning- Moalli: Tensile          TVT-075-10-3/12     TVT-075-10_Moalli_Summary_Positioning_CA.pdf                        EWHU Summary/Positioning- Moalli:           (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    26 Mar     38   16 Feb 2010   02 Apr        44       Gynecare TVT                23 ETH.MESH.02236271   ETH.MESH.02236272
Properties of 5                                                                                                                            Tensile Properties of 5                           Submission                                                                          2010                          2010
EWHU Summary/Positioning- Nillson: Eleven Year     TVT-077-10-3/12     TVT-077-10_Nilsson_Summary_Positioning_CA.pdf                       EWHU Summary/Positioning- Nillson:          (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    24 Mar     36   16 Feb 2010   25 Mar        36       Gynecare TVT                23 ETH.MESH.02236273   ETH.MESH.02236275
Prospective                                                                                                                                Eleven Year Prospective                           Submission                                                                          2010                          2010
EWHU Summary/Positioning- Ogah: Minimally          TVT-078-10-3/12     TVT-078-10_Ogah_Summary_Positioning_CA.pdf                          EWHU Summary/Positioning- Ogah:             (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    24 Mar     36   16 Feb 2010   25 Mar        36       Gynecare TVT                23 ETH.MESH.02236276   ETH.MESH.02236278
Invasive Synthetic                                                                                                                         Minimally Invasive Synthetic                      Submission                                                                          2010                          2010
EWHU Summary/Positioning- Rinne: A                 TVT-079-10-3/12     TVT-079-10_Rinne_Summary_Positioning_CA.pdf                         EWHU Summary/Positioning- Rinne: A          (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 16 Feb 2010    26 Mar     38   16 Feb 2010   02 Apr        44       Gynecare TVT                23 ETH.MESH.02236279   ETH.MESH.02236280
Randomized Trial                                                                                                                           Randomized Trial                                  Submission                                                                          2010                          2010
EWHU Summary/Positioning- Schierlitz:              TVT-083-10-3/12     TVT-083-10_Schierlitz_Summary_Positioning_CA.pdf                    EWHU Summary/Positioning- Schierlitz:       (ETHUS) Digital Content        Megan Osorio     (ETHUS) EWHU US Marketing 09 Feb 2010    24 Mar     43   09 Feb 2010   25 Mar        43       Gynecare TVT                23 ETH.MESH.02236281   ETH.MESH.02236283
Effectiveness of Tension-free Vaginal Tape                                                                                                 Effectiveness of Tension-free Vaginal             Submission                                                                          2010                          2010
                                                                                                                                           Tape
EWHU Summary/Positioning- Waltregny: TVT-O         TVT-087-10-3/12     TVT-087-10_Waltregny_Summary_Positioning_CA.pdf                     EWHU Summary/Positioning- Waltregny:        (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 09 Feb 2010    26 Mar     45   09 Feb 2010   02 Apr        51       Gynecare TVT                23 ETH.MESH.02236284   ETH.MESH.02236287
for the Treatment                                                                                                                          TVT-O for the Treatment                          Submission                                                                           2010                          2010
EWHU Summary/Positioning- Zullo: One-Year          TVT-088-10-3/12     TVT-088-10_Zullo_Summary_Positioning_CA.pdf                         EWHU Summary/Positioning- Zullo: One-       (ETHUS) Digital Content       Rhonda Peebles    (ETHUS) EWHU US Marketing 09 Feb 2010    24 Mar     43   09 Feb 2010   25 Mar        43       Gynecare TVT                23 ETH.MESH.02236288   ETH.MESH.02236290
Follow-up                                                                                                                                  Year Follow-up                                   Submission                                                                           2010                          2010
GYNECARE TVT Square Display Ad                     TVT-0169-09-9/10    TVT-0169-09_TVT Square Display Ad_CA.pdf                            GYNECARE TVT Square Display Ad              (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 01 Sep 2009    11 Sep     10   31 Aug 2009   14 Sep        14       Gynecare TVT                23 ETH.MESH.02236291   ETH.MESH.02236292
                                                                                                                                                                                            Submission                                                                           2009                          2009
TVT-SUI Animated Symptom Check Ad                  TVT-0193-09-10/10   TVT-0193-09_TVT animated symptom ad_CA.pdf                          TVT-SUI Animated Symptom Check Ad           (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 23 Sep 2009    02 Oct     9    23 Sep 2009   06 Oct        13       Gynecare TVT                23 ETH.MESH.02236293   ETH.MESH.02236294
                                                                                                                                                                                            Submission                                                                           2009                          2009
GYNECARE TVT Convention Panel                      TVT-0203-09-10/11   TVT-0203-09_TVT_CV_Panel.pdf                                        GYNECARE TVT Convention Panel               (ETHUS) Digital Content         Robin Osman     (ETHUS) EWHU US Marketing 13 Oct 2009    23 Oct     10   08 Oct 2009   26 Oct        18       Gynecare TVT                23 ETH.MESH.02236295   ETH.MESH.02236295
                                                                                                                                                                                            Submission                                                                           2009                          2009
TVT Banner Ad with Button                          TVT-0214-09-10/10   TVT-0214-09_TVT Banner Ad with button.pdf                           TVT Banner Ad with Button                   (ETHUS) Digital Content         Linda Linton    (ETHUS) EWHU US Marketing 13 Oct 2009    23 Oct     10   13 Oct 2009   26 Oct        13       Gynecare TVT                23 ETH.MESH.02236296   ETH.MESH.02236297
                                                                                                                                                                                            Submission                                                                           2009                          2009
Transobturator Tape Compared with Tension-Free TVT-024-10-1/12         TVT-024-10_Transobturator Tape Compared With TVT for SUI Ross.pdf   Transobturator Tape Compared with          (ETHUS) Printed Material       Rhonda Peebles    (ETHUS) EWHU US Marketing 12 Jan 2010    22 Jan     10   12 Jan 2010   22 Jan        10       Gynecare TVT                23 ETH.MESH.02236298   ETH.MESH.02236305
Vaginal Tape for Stress Incontinence                                                                                                       Tension-Free Vaginal Tape for Stress             Submission                                                                           2010                          2010
                                                                                                                                           Incontinence
Effectiveness of Tension-Free Vaginal Tape         TVT-025-10-1/12     TVT-025-10_SchierlitzOandG.pdf                                      Effectiveness of Tension-Free Vaginal      (ETHUS) Printed Material       Rhonda Peebles    (ETHUS) EWHU US Marketing 12 Jan 2010    22 Jan     10   12 Jan 2010   22 Jan        10       Gynecare TVT                23 ETH.MESH.02236306   ETH.MESH.02236314
Compared with Transobturator Tape in Women                                                                                                 Tape Compared with Transobturator               Submission                                                                            2010                          2010
with Stress Urinary Incontinence and Intrinsic                                                                                             Tape in Women with Stress Urinary
Sphincter Deficiency                                                                                                                       Incontinence and Intrinsic Sphincter
                                                                                                                                           Deficiency
Female Sexual Function after Surgery for Stress  TVT-026-10-1/12       TVT-026-10_TVT-OvsTOTsexualfunction.pdf                             Female Sexual Function after Surgery for   (ETHUS) Printed Material       Rhonda Peebles    (ETHUS) EWHU US Marketing 12 Jan 2010    22 Jan     10   12 Jan 2010   22 Jan        10       Gynecare TVT                23 ETH.MESH.02236315   ETH.MESH.02236321
Urinary Incontinence: Transobturator Suburethral                                                                                           Stress Urinary Incontinence:                    Submission                                                                            2010                          2010
Tape vs. Tension-Free Vaginal Tape Obturator                                                                                               Transobturator Suburethral Tape vs.
                                                                                                                                           Tension-Free Vaginal Tape Obturator
EWHU Clinical-Set 3-Lim: Suburethral Slingplasty   TVT-0284-09-12/10   TVT-0284-09_Rane_Suburethral Slingplasty_2.pdf                      EWHU Clinical-Set 3-Lim: Suburethral       (ETHUS) Digital Content          Joseph Lanza        (ETHUS) EWHU WW        08 Dec 2009   18 Dec     10   04 Dec 2009   30 Dec        26       Gynecare TVT                23 ETH.MESH.02236322   ETH.MESH.02236329
                                                                                                                                           Slingplasty                                     Submission                                          Marketing                         2009                          2009
EWHU Clinical-Set 2- Dallenbach: Complications     TVT-0285-09-12/10   TVT-0285-09_Dallenbach_Complication Rates.pdf                       EWHU Clinical-Set 2- Dallenbach:           (ETHUS) Digital Content          Joseph Lanza        (ETHUS) EWHU WW        01 Dec 2009   23 Dec     22   01 Dec 2009   30 Dec        29       Gynecare TVT                23 ETH.MESH.02236330   ETH.MESH.02236336
Associated with Transobturator                                                                                                             Complications Associated with                   Submission                                          Marketing                         2009                          2009
                                                                                                                                           Transobturator
EWHU Clinical-Set 3-Lord: A Randomized             TVT-0286-09-01/11   TVT-0286-09_Lord et al 2006 TVT vs Sparc_v3.pdf                     EWHU Clinical-Set 3-Lord: A Randomized     (ETHUS) Digital Content          Joseph Lanza        (ETHUS) EWHU WW        08 Dec 2009   15 Jan     38   04 Dec 2009   20 Jan        47       Gynecare TVT                23 ETH.MESH.02236337   ETH.MESH.02236347
Controlled Equivalence                                                                                                                     Controlled Equivalence                          Submission                                          Marketing                         2010                          2010
EWHU Clinical-Set 2-Vancaillie: Mechanical         TVT-0291-09-12/10   TVT-0291-09_Vancaillie_Mechanical Properties.pdf                    EWHU Clinical-Set 2-Vancaillie:            (ETHUS) Digital Content          Joseph Lanza        (ETHUS) EWHU WW        01 Dec 2009   23 Dec     22     28 Nov      30 Dec        32       Gynecare TVT                23 ETH.MESH.02236348   ETH.MESH.02236352
Properties of Urogynecologic                                                                                                               Mechanical Properties of Urogynecologic         Submission                                          Marketing                         2009              2009        2009

EWHU Clinical-Set 2-Kirkemo: Twelve Month          TVT-0298-09-12/10   TVT-0298-09_ICS TVT WORLD abstract.pdf                              EWHU Clinical-Set 2-Kirkemo: Twelve        (ETHUS) Digital Content          Joseph Lanza        (ETHUS) EWHU WW        01 Dec 2009   06 Jan     36     28 Nov      27 Jan        60       Gynecare TVT                23 ETH.MESH.02236353   ETH.MESH.02236354
Objective (Clinical Abstract)                                                                                                              Month Objective (Clinical Abstract)             Submission                                          Marketing                         2010              2009        2010
EWHU Clinical-Set 4-Rogerson: Minimally Invasive   TVT-0299-10-01/11   TVT-0299-10_Cochrane Review_Slings_w disclaimer.pdf                 EWHU Clinical-Set 4-Rogerson:              (ETHUS) Digital Content          Joseph Lanza        (ETHUS) EWHU WW        05 Jan 2010   27 Jan     22   28 Dec 2009   28 Jan        31       Gynecare TVT                23 ETH.MESH.02236355   ETH.MESH.02236559
Slingplasty (Cochran)                                                                                                                      Minimally Invasive Slingplasty (Cochran)        Submission                                          Marketing                         2010                          2010




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                  4/10/2012                                                                                                                                                                                                                                                                                                             SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
                                                                                                                Case 2:12-md-02327 Document 639-5 Filed 06/11/13 Page 47 of 50 PageID #: 7511
                                                                                                                                                                                      In re Pelvic Mesh Litigation
                                                                                                                                                                                       In Use Copy Review Index
                                                                                                                                                                                     2009-2011 (GGM Blue Files)




Task Name                                     Task Number         Name of File Pulled                                       Path                                              Type                        Owner                     Role              Start Date End Date    Duration   Start Date    End Date   Duration      Brand       Production          Start Bates          End Bates
EWHU Clinical-Set 2-deLeval: TVT-O for the    TVT-0300-09-12/10   TVT-0300-09_deLeval_TVT-O for the Treatment.pdf           EWHU Clinical-Set 2-deLeval: TVT-O for    (ETHUS) Digital Content          Joseph Lanza          (ETHUS) EWHU WW         01 Dec 2009 23 Dec         22        28 Nov       23 Dec       25      Gynecare TVT                23 ETH.MESH.02236560   ETH.MESH.02236569
Treatment                                                                                                                   the Treatment                                  Submission                                            Marketing                         2009                    2009         2009
EWHU Clinical-Set 2-Falconer: Eleven Years    TVT-0301-09-12/10   TVT-0301-09_Falconer 11 year.pdf                          EWHU Clinical-Set 2-Falconer: Eleven      (ETHUS) Digital Content          Joseph Lanza          (ETHUS) EWHU WW         01 Dec 2009 23 Dec        22         28 Nov       30 Dec      32       Gynecare TVT                23 ETH.MESH.02236570   ETH.MESH.02236574
Prospective (TVT114 Clinical Article)                                                                                       Years Prospective (TVT114 Clinical             Submission                                            Marketing                         2009                    2009         2009
                                                                                                                            Article)
TVT Convention Panel and Stand-Up Sign        TVT-0315-09-12/11   TVT-0315-09_TVT Panel.pdf                                 TVT Convention Panel and Stand-Up Sign    (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 01 Dec 2009   16 Dec        15       01 Dec 2009   16 Dec       15       Gynecare TVT                23 ETH.MESH.02236575   ETH.MESH.02236576
                                                                                                                                                                            Submission                                                                            2009                                 2009
Gynecare TVT Round Table Discussion           TVT-402-11-6/13     TVT-402-11_TVT_Roundtable_CA.pdf                          Gynecare TVT Round Table Discussion       (ETHUS) Printed Material         Mary Byerly        (ETHUS) EWHU US Prof. Ed 06 Dec 2011 16 Dec          10       05 Dec 2011   04 Jan       30       Gynecare TVT                23 ETH.MESH.02236577   ETH.MESH.02236577
                                                                                                                                                                            Submission                                                                            2011                                 2012
GYNECARE TVT Waiting Room Slim Jim            TVT-444-10-11/12    TVT-444-10-_497808B_WR SlimJim_CA.pdf                     GYNECARE TVT Waiting Room Slim Jim        (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 19 Oct 2010 03 Nov          15       18 Oct 2010   08 Nov       21       Gynecare TVT                23 ETH.MESH.02236578   ETH.MESH.02236579
                                                                                                                                                                            Submission                                                                            2010                                 2010
GYNECARE TVT Patient Brochure                 TVT016R9            TVT016R9_TVT_Patient Brochure_CA.pdf                      GYNECARE TVT Patient Brochure             (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 11 Jan 2011   21 Jan        10       11 Jan 2011   26 Jan       15       Gynecare TVT                23 ETH.MESH.02236580   ETH.MESH.02236595
                                                                                                                                                                            Submission                                                                            2011                                 2011
GYNECARE TVT O selling guide                  TVT0-360-10-8/12    TVTO-360-10_GYNECARE_TVTOSellingGuide_CA.pdf              GYNECARE TVT O selling guide              (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 20 Jul 2010 30 Jul 2010     10       19 Jul 2010   03 Aug       15       Gynecare TVT                23 ETH.MESH.02236596   ETH.MESH.02236603
                                                                                                                                                                            Submission                                                                                                                 2010
GYNECARE TVT-O Slim Jim                       TVT0-361-10-8/12    TVTO-361-10_494735A02_GYNECARE_TVT_O Slim Jim_CA.pdf      GYNECARE TVT-O Slim Jim                     (ETHUS) Presentation         Jennifer Paradise   (ETHUS) EWHU US Marketing 20 Jul 2010    18 Aug       29       19 Jul 2010   26 Aug       38       Gynecare TVT                23 ETH.MESH.02236604   ETH.MESH.02236609
                                                                                                                                                                            Submission                                                                             2010                                2010
PROSIMA Panel - SUFU                          PROS-060-11-1/13    PROS_060_11_SUFU_Prosima_Panel.pdf                        PROSIMA Panel - SUFU                      (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 25 Jan 2011    04 Feb       10       20 Jan 2011   07 Feb       18        Gyenecare                  23 ETH.MESH.02236610   ETH.MESH.02236610
                                                                                                                                                                            Submission                                                                             2011                                2011                   Prosima
TVT EXACT Competition Flash Card              TVT-396-11-6/13     TVT EXACT Competitive Flash Card.pdf                      TVT EXACT Competition Flash Card           (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 06 Dec 2011    16 Dec       10       05 Dec 2011   10 Jan       36       Gynecare TVT                23 ETH.MESH.02236611   ETH.MESH.02236611
                                                                                                                                                                            Submission                                                                             2011                                2012
Dr. Riachi NTM 2010 slides                    TVT-105-10-2/12     TVT-105-10_RiachiNTM0310_CA.pdf                           Dr. Riachi NTM 2010 slides                 (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 09 Feb 2010    19 Feb       10       08 Feb 2010   23 Feb       15       Gynecare TVT                23 ETH.MESH.02236612   ETH.MESH.02236632
                                                                                                                                                                            Submission                                                                             2010                                2010
Marketing NTM 2010 slides                     TVT-107-10-2/12     TVT-107-10_RPNTM10slides_CA.pdf                           Marketing NTM 2010 slides                  (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 09 Feb 2010    26 Feb       17       08 Feb 2010   26 Feb       18       Gynecare TVT                23 ETH.MESH.02236633   ETH.MESH.02236640
                                                                                                                                                                            Submission                                                                             2010                                2010
EWHU Summary/Positioning- Lim: Suburethral    TVT-112-10-3/12     TVT-112-10_Lim Sales Rep Positioning_CA.pdf               EWHU Summary/Positioning- Lim:             (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 16 Feb 2010    26 Mar       38       15 Feb 2010   02 Apr       45       Gynecare TVT                23 ETH.MESH.02236641   ETH.MESH.02236641
Slingplasty                                                                                                                 Suburethral Slingplasty                         Submission                                                                             2010                                2010
TVT Spanish ad template qtr                   TVT-116-11-3/13     TVT-116-11_TVT Span Ad-Qtr_CA.pdf                         TVT Spanish ad template qtr                (ETHUS) Digital Content       Jason Goodbody      (ETHUS) EWHU US Marketing 22 Feb 2011    16 Mar       22       22 Feb 2011   18 Mar       23       Gynecare TVT                23 ETH.MESH.02236642   ETH.MESH.02236642
                                                                                                                                                                            Submission                                                                             2011                                2011
EWHU Summary/Positioning- Dietz: Mechanical   TVT-123-10-3/12     TVT-123-10_Dietz_Sale Rep Positioning_CA.pdf              EWHU Summary/Positioning- Dietz:           (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 16 Feb 2010    24 Mar       36       16 Feb 2010   25 Mar       36       Gynecare TVT                23 ETH.MESH.02236643   ETH.MESH.02236643
Properties of Urogynecologic                                                                                                Mechanical Properties of Urogynecologic         Submission                                                                             2010                                2010

NTM Dr Jayne TVT-O                            TVT-130-10-2/12     TVT-130-10_JayneNTM_CA.pdf                                NTM Dr Jayne TVT-O                          (ETHUS) Presentation          Aaron Kirkemo       (ETHUS) EWHU US Medical 17 Feb 2010     26 Feb        9       17 Feb 2010   26 Feb        9       Gynecare TVT                23 ETH.MESH.02236644   ETH.MESH.02236657
                                                                                                                                                                            Submission                                             Affairs                         2010                                2010
Toglia NTM slides                             TVT-131-10-2/12     TVT-131-10_TogliaIT NTMrp_CA.pdf                          Toglia NTM slides                          (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 19 Feb 2010    26 Feb        7       19 Feb 2010   26 Feb        7       Gynecare TVT                23 ETH.MESH.02236658   ETH.MESH.02236666
                                                                                                                                                                            Submission                                                                             2010                                2010
Nilsson_TVT 11.5 year data                    TVT-136-11-3/13     TVT-136-11_Nilsson_11Yrs_Follow-Up_TVT_Trtmt_SUI_CA.pdf   Nilsson_TVT 11.5 year data                (ETHUS) Printed Material           Jon Salyer      (ETHUS) EWHU US Marketing     15 Mar     25 Mar       10         14 Mar      28 Mar       14       Gynecare TVT                23 ETH.MESH.02236667   ETH.MESH.02236671
                                                                                                                                                                            Submission                                                                  2011       2011                    2011        2011
Female Urinary Incontinence Primary Care      TVT-139-11-4/13     TVT-139-11_SUI PCP_CA.pdf                                 Female Urinary Incontinence Primary         (ETHUS) Presentation        Melissa Muguruza     (ETHUS) EWHU US Marketing     22 Mar     01 Apr       10         18 Mar      04 Apr       17       Gynecare TVT                23 ETH.MESH.02236672   ETH.MESH.02236687
Education Presentation                                                                                                      Care Education Presentation                     Submission                                                                  2011       2011                    2011        2011
Patient Event Poster - TVT                    TVT-142-10-3/12     TVT-142-10_488839_CA.pdf                                  Patient Event Poster - TVT                (ETHUS) Printed Material      Melissa Muguruza     (ETHUS) EWHU US Marketing     16 Mar     26 Mar       10         12 Mar      02 Apr       20       Gynecare TVT                23 ETH.MESH.02236688   ETH.MESH.02236688
                                                                                                                                                                            Submission                                                                  2010       2010                    2010        2010
TVT Convention Panel - ACOG                   TVT-150-10-4/12     TVT-150-10_ACOG_TVT-front_CA.pdf                          TVT Convention Panel - ACOG               (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing     23 Mar     07 Apr       15         22 Mar      09 Apr       18       Gynecare TVT                23 ETH.MESH.02236689   ETH.MESH.02236689
                                                                                                                                                                            Submission                                                                  2010       2010                    2010        2010
TVT Family of Products Convention Panel       TVT-151-10-4/12     TVT-151-10_EWHU_AUA_Panels_CA.pdf                         TVT Family of Products Convention         (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing     23 Mar     02 Apr       10         22 Mar      05 Apr       14       Gynecare TVT                23 ETH.MESH.02236690   ETH.MESH.02236690
                                                                                                                            Panel                                           Submission                                                                  2010       2010                    2010        2010
GYNECARE TVT Tension-free Support for         TVT-158-10-4/12     TVT-158-10_2010 TVT REIMBURSEMENT PRIMER_CA.pdf           GYNECARE TVT Tension-free Support for     (ETHUS) Printed Material         Scott Wolven            (ETHUS) HE&R            16 Mar     09 Apr       24         15 Mar      15 Apr       31       Gynecare TVT                23 ETH.MESH.02236691   ETH.MESH.02236692
Incontinence, GYNECARE TVT SECUR System -2010                                                                               Incontinence, GYNECARE TVT SECUR                Submission                                                                  2010       2010                    2010        2010
FACILITY AND PHYSICIAN BILLING GUIDE                                                                                        System -2010 FACILITY AND PHYSICIAN
                                                                                                                            BILLING GUIDE
AUA Slings Study Presentation                 TVT-159-11-4/13     TVT-159-11_Magee_AUA_presentation_CA.pdf                  AUA Slings Study Presentation               (ETHUS) Presentation           Heidi Waters            (ETHUS) HE&R          29 Mar       08 Apr       10         28 Mar      11 Apr       14       Gynecare TVT                23 ETH.MESH.02236693   ETH.MESH.02236707
                                                                                                                                                                             Submission                                                               2011         2011                    2011        2011
Female Urinary Incontinence PCE               TVT-162-11-4/13     TVT-162-11_Female Urinary Incont PCP_CA.pdf               Female Urinary Incontinence PCE             (ETHUS) Presentation        Melissa Muguruza     (ETHUS) EWHU US Marketing 04 Apr 2011    08 Apr        4       04 Apr 2011   11 Apr        7       Gynecare TVT                23 ETH.MESH.02236708   ETH.MESH.02236723
                                                                                                                                                                             Submission                                                                            2011                                2011
SUI Banner Ad                                 TVT-448-10-9/11     TVT-448-10_SUI Banner Ad_CA.pdf                           SUI Banner Ad                              (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 21 Sep 2010    01 Oct       10       20 Sep 2010   30 Sep       10       Gynecare TVT                23 ETH.MESH.02236724   ETH.MESH.02236725
                                                                                                                                                                             Submission                                                                            2010                                2010
SUI Symptom Check Ad                          TVT-454-10-10/11    TVT-454-10_TVT-0193-09_SUI Symptom Check                  SUI Symptom Check Ad                       (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 21 Sep 2010    01 Oct       10       20 Sep 2010   06 Oct       16       Gynecare TVT                23 ETH.MESH.02236726   ETH.MESH.02236727
                                                                  Ad Annual Review CA.pdf                                                                                    Submission                                                                            2010                                2010
SUI Banner Ad                                 TVT-487-10-10/11    TVT-487-10_SUI Banner Ad 101910_CA.pdf                    SUI Banner Ad                              (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 05 Oct 2010    20 Oct       15       04 Oct 2010   20 Oct       16       Gynecare TVT                23 ETH.MESH.02236728   ETH.MESH.02236728
                                                                                                                                                                             Submission                                                                            2010                                2010
TVT Family of Product EPI                     TVT-507-10-10/12    TVT-507-10_GYNECARE TVT_EPI_CA.pdf                        TVT Family of Product EPI                    (ETHUS) Fair Balance        Yiqun (Susan) Lin   (ETHUS) EWHU US Regulatory 12 Oct 2010   22 Oct       10       12 Oct 2010   15 Nov       34       Gynecare TVT                23 ETH.MESH.02236729   ETH.MESH.02236729
                                                                                                                                                                             Submission                                            Affairs                         2010                                2010
GYNECARE TVT Family Landing Page Update       TVT-612-10-12/11    TVT-612-10_TVT_Landing_Page_CA.pdf                        GYNECARE TVT Family Landing Page           (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing 07 Dec 2010    17 Dec       10       07 Dec 2010   20 Dec       13       Gynecare TVT                23 ETH.MESH.02236730   ETH.MESH.02236731
                                                                                                                            Update                                           Submission                                                                            2010                                2010
GYNECARE TVT Exam Room/Restroom Posters       TVT119              TVT119_TVT_ExamRm_Poster_CA.pdf                           GYNECARE TVT Exam Room/Restroom           (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing     29 Mar     06 Apr        8         28 Mar      15 Apr       18       Gynecare TVT                23 ETH.MESH.02236732   ETH.MESH.02236732
2009 (Size 24" x 36")                                                                                                       Posters 2009 (Size 24" x 36")                    Submission                                                                 2011       2011                    2011        2011




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                    4/10/2012                                                                                                                                                                                                                                                                                                  SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
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                                                                                                                                                                                                        In re Pelvic Mesh Litigation
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                                                                                                                                                                                                       2009-2011 (GGM Blue Files)




Task Name                                        Task Number         Name of File Pulled                                                    Path                                                 Type                      Owner                       Role           Start Date End Date Duration Start Date End Date         Duration      Brand       Production          Start Bates          End Bates
TVT Spanish ad template full                     TVT-115-11-3/13     TVT_115_11_TVT Span Ad-Full_CA.pdf                                     TVT Spanish ad template full                 (ETHUS) Digital Content       Jason Goodbody      (ETHUS) EWHU US Marketing 22 Feb 2011 16 Mar      22    22 Feb 2011 18 Mar             23      Gynecare TVT                23 ETH.MESH.02236733   ETH.MESH.02236733
                                                                                                                                                                                              Submission                                                                            2011                          2011
TVT Ad Template - full page                      TVT-601-10-12/12    TVT_601_10_899033_Full_CA.pdf                                          TVT Ad Template - full page                  (ETHUS) Digital Content       Jason Goodbody      (ETHUS) EWHU US Marketing 07 Dec 2010 17 Dec      10    07 Dec 2010 21 Dec            14       Gynecare TVT                23 ETH.MESH.02236734   ETH.MESH.02236734
                                                                                                                                                                                              Submission                                                                            2010                          2010
TVT Ad Template - quarter page                   TVT-602-10-12/12    TVT_602_10_899033_Qtr_CA.pdf                                           TVT Ad Template - quarter page               (ETHUS) Digital Content       Jason Goodbody      (ETHUS) EWHU US Marketing 07 Dec 2010 17 Dec      10    07 Dec 2010 21 Dec            14       Gynecare TVT                23 ETH.MESH.02236735   ETH.MESH.02236735
                                                                                                                                                                                              Submission                                                                            2010                          2010
TVT EXACT Book wrap                              TVTE-489-10-10/12   TVT Exact Book Wrap TVTE 489 10.pdf                                    TVT EXACT Book wrap                         (ETHUS) Printed Material       Rhonda Peebles      (ETHUS) EWHU US Marketing 05 Oct 2010 12 Nov      38    05 Oct 2010 15 Nov            41       Gynecare TVT                23 ETH.MESH.02236736   ETH.MESH.02236737
                                                                                                                                                                                              Submission                                                                            2010                          2010
GYNECARE TVT Procedural Steps                    TVTS007             TVT SECUR Pocket Guide.pdf                                             GYNECARE TVT Procedural Steps               (ETHUS) Printed Material       Jennifer Paradise   (ETHUS) EWHU US Marketing 27 Apr 2010 07 May      10    27 Apr 2010 07 May            10       Gynecare TVT                23 ETH.MESH.02236738   ETH.MESH.02236757
                                                                                                                                                                                              Submission                                                                            2010                          2010
SEO SUI Web Article                              TVT-178-10-4/11     TVT-178-10_SEO SUI Web article_CA.pdf                                  SEO SUI Web Article                          (ETHUS) Digital Content         Linda Linton      (ETHUS) EWHU US Marketing   23 Mar      07 Apr    15      23 Mar      08 Apr          16       Gynecare TVT                23 ETH.MESH.02236758   ETH.MESH.02236761
                                                                                                                                                                                              Submission                                                                 2010       2010               2010       2010
GYNECARE TVT Incontinence Screening Aid - 2010   TVT-182-10-4/12     TVT-182-10_ScreenAid_CA.pdf                                            GYNECARE TVT Incontinence Screening         (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 13 Apr 2010   30 Apr    17    07 Apr 2010   30 Apr          23       Gynecare TVT                23 ETH.MESH.02236762   ETH.MESH.02236763
                                                                                                                                            Aid - 2010                                        Submission                                                                            2010                          2010
GYNECARE TVT Patient EPI with Exact 2010         TVT‐191‐10‐4/12     TVT-191-10_TVT Family Patient EPI_CA.pdf                               GYNECARE TVT Patient EPI with Exact         (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing 13 Apr 2010   23 Apr    10    07 Apr 2010   28 Apr          21       Gynecare TVT                23 ETH.MESH.02236764   ETH.MESH.02236764
                                                                                                                                            2010                                              Submission                                                                            2010                          2010
TVT Product Ordering Sheet                       TVT-194-10-4/12     TVT-194-10_490010A01_CA.pdf                                            TVT Product Ordering Sheet                   (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing   30 Mar      09 Apr    10      30 Mar      13 Apr          14       Gynecare TVT                23 ETH.MESH.02236765   ETH.MESH.02236765
                                                                                                                                                                                              Submission                                                                 2010       2010               2010       2010
CARE study                                       TVT-197-11-5/13     TVT-197-11_Care study_CA.pdf                                           CARE study                                  (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales 26 Apr 2011 04 May        8     26 Apr 2011 05 May             9       Gynecare TVT                23 ETH.MESH.02236766   ETH.MESH.02236772
                                                                                                                                                                                              Submission                                             Training                       2011                          2011
TVT 11 year data                                 TVT-200-11-5/13     TVT-200-11_11 year data_CA.pdf                                         TVT 11 year data                            (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales 26 Apr 2011 06 May        10    26 Apr 2011 09 May            13       Gynecare TVT                23 ETH.MESH.02236773   ETH.MESH.02236777
                                                                                                                                                                                              Submission                                             Training                       2011                          2011
TVT versus SPARC: comparison of outcomes for     TVT-201-11-5/13     TVT-201-11_TVT vs AMS Sparc_CA.pdf                                     TVT versus SPARC: comparison of             (ETHUS) Printed Material        Mary O'Connell       (ETHUS) EWHU WW Sales 26 Apr 2011 06 May        10    26 Apr 2011 09 May            13       Gynecare TVT                23 ETH.MESH.02236778   ETH.MESH.02236783
two midurethral                                                                                                                             outcomes for two midurethral                      Submission                                             Training                       2011                          2011
TVT PCP education letter template                TVT-212-10-4/12     TVT-212-10_TVT_PCP Letter_CA FINAL.pdf                                 TVT PCP education letter template           (ETHUS) Printed Material       Jason Goodbody      (ETHUS) EWHU US Marketing 13 Apr 2010   30 Apr    17    13 Apr 2010 03 May            20       Gynecare TVT                23 ETH.MESH.02236784   ETH.MESH.02236785
                                                                                                                                                                                              Submission                                                                            2010                          2010
TVT On-Hold Message                              TVT-213-10-4/12     TVT-213-10_On Hold Message-TVT_CA.pdf                                  TVT On-Hold Message                         (ETHUS) Printed Material       Jason Goodbody      (ETHUS) EWHU US Marketing 13 Apr 2010   02 Jun    50    13 Apr 2010   02 Jun          50       Gynecare TVT                23 ETH.MESH.02236786   ETH.MESH.02236787
                                                                                                                                                                                              Submission                                                                            2010                          2010
Ross article compendium                          TVT-256-11-7/13     TVT-256-11_Ross article summary_CA.pdf                                 Ross article compendium                      (ETHUS) Digital Content           Jon Salyer      (ETHUS) EWHU US Marketing 21 Jun 2011 01 Jul 2011 10    20 Jun 2011   30 Jun          10       Gynecare TVT                23 ETH.MESH.02236788   ETH.MESH.02236789
                                                                                                                                                                                              Submission                                                                                                          2011
TVT Intel Update Q1-2                            TVT-283-11-7/13     TVT-283-11_Intel Update_CA.pdf                                         TVT Intel Update Q1-2                        (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 12 Jul 2011 27 Jul 2011 15    11 Jul 2011 27 Jul 2011       16       Gynecare TVT                23 ETH.MESH.02236790   ETH.MESH.02236790
                                                                                                                                                                                              Submission
GMD Backgrounder                                 TVT-287-11-8/13     TVT-287-11 GMD Backgrounder CA.pdf                                     GMD Backgrounder                              (ETHUS) Presentation         Rhonda Peebles      (ETHUS) EWHU US Marketing 19 Jul 2011   03 Aug      15    18 Jul 2011   04 Aug        17       Gynecare TVT                23 ETH.MESH.02236791   ETH.MESH.02236868
EWHU Summary- Araco: TVT-O vs TVT (REVISED)      TVT-291-10-7/12     TVT-291-10_TVT_Araco Summary_Revised_CA.pdf                            EWHU Summary- Araco: TVT-O vs TVT            (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 01 Jun 2010   25 Aug      85      28 May      25 Aug        89       Gynecare TVT                23 ETH.MESH.02236869   ETH.MESH.02236870
                                                                                                                                            (REVISED)                                         Submission                                                                            2010                 2010       2010
EWHU Summary- Grier: Twelve Month Objective      TVT-294-10-6/12     TVT-294-10_Grier_Summary_Revised_CA.pdf                                EWHU Summary- Grier: Twelve Month            (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 08 Jun 2010   18 Jun      10    04 Jun 2010   23 Jun        19       Gynecare TVT                23 ETH.MESH.02236871   ETH.MESH.02236872
(REVISED)                                                                                                                                   Objective (REVISED)                               Submission                                                                            2010                            2010
EWHU Summary- Kaelin-Gambirasio:                 TVTO-296-10-6/12    TVT-296-10_Kaelin-Gambirasio Summary_Revised2_CA.pdf                   EWHU Summary- Kaelin-Gambirasio:             (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 08 Jun 2010   18 Jun      10    04 Jun 2010   23 Jun        19       Gynecare TVT                23 ETH.MESH.02236873   ETH.MESH.02236873
Complications Associated (REVISED)                                                                                                          Complications Associated (REVISED)                Submission                                                                            2010                            2010
EWHU Summary- Meschia: Peri-operative            TVT-304-10-7/12     TVT-304-10-7-12_Meschia_Summary_Revised_2CA.pdf                        EWHU Summary- Meschia: Peri-                 (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 22 Jun 2010 14 Jul 2010   22    22 Jun 2010 16 Jul 2010     24       Gynecare TVT                23 ETH.MESH.02236874   ETH.MESH.02236875
Morbidity (REVISED)                                                                                                                         operative Morbidity (REVISED)                     Submission
EWHU Summary- Moalli: Tensile Properties         TVT-306-10-7/12     TVT-306-10_Moalli_Summary_Revised_2.pdf                                EWHU Summary- Moalli: Tensile                (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 22 Jun 2010 14 Jul 2010   22    22 Jun 2010 15 Jul 2010     23       Gynecare TVT                23 ETH.MESH.02236876   ETH.MESH.02236876
(REVISED)                                                                                                                                   Properties (REVISED)                              Submission
EWHU Summary- Ogah: Minimally Invasive           TVT-308-10-7/12     TVT-308-10_EWHU_Summary_Ogah_Revised_CA_FINAL.pdf                      EWHU Summary- Ogah: Minimally                (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 13 Jul 2010 30 Jul 2010   17    12 Jul 2010 30 Jul 2010     18       Gynecare TVT                23 ETH.MESH.02236877   ETH.MESH.02236878
Synthetic (REVISED)                                                                                                                         Invasive Synthetic (REVISED)                      Submission
EWHU Summary- Rinne: A Randomized Trial          TVT-309-10-7/12     TVT-309-10_EWHU Summary_Rinne_Revised_CA_FINAL.pdf                     EWHU Summary- Rinne: A Randomized            (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 13 Jul 2010 30 Jul 2010   17    12 Jul 2010 30 Jul 2010     18       Gynecare TVT                23 ETH.MESH.02236879   ETH.MESH.02236880
Comparing (REVISED)                                                                                                                         Trial Comparing (REVISED)                         Submission

SUI Patient Letter Template                      TVT-309-11-9/13     TVT-309-11_SUI patient_letter_CA.pdf                                   SUI Patient Letter Template                 (ETHUS) Digital Content        Jason Goodbody      (ETHUS) EWHU US Marketing 16 Aug 2011   07 Sep      22    16 Aug 2011   09 Sep        24       Gynecare TVT                23 ETH.MESH.02236881   ETH.MESH.02236881
                                                                                                                                                                                             Submission                                                                             2011                            2011
EWHU Summary- Schierlitz: Effectiveness of       TVTR-310-10-07/12   TVT-310-10_EWHU_Summary_Schierlitz_Revised_CA_FINAL.pdf                EWHU Summary- Schierlitz:                   (ETHUS) Digital Content        Rhonda Peebles      (ETHUS) EWHU US Marketing 13 Jul 2010 30 Jul 2010   17    12 Jul 2010 30 Jul 2010     18       Gynecare TVT                23 ETH.MESH.02236882   ETH.MESH.02236883
Tension-free Tape (REVISED)                                                                                                                 Effectiveness of Tension-free Tape               Submission
                                                                                                                                            (REVISED)
EWHU Summary- Zullo: One Year Follow-up          TVT-313-10-08/12    TVT-313-10_EWHU_Summary_Zullo_Revised_CA_FINAL.pdf                     EWHU Summary- Zullo: One Year Follow-        (ETHUS) Digital Content       Rhonda Peebles      (ETHUS) EWHU US Marketing 20 Jul 2010 30 Jul 2010   10    16 Jul 2010 30 Jul 2010     14       Gynecare TVT                23 ETH.MESH.02236884   ETH.MESH.02236885
(REVISED)                                                                                                                                   up (REVISED)                                      Submission
SUI Patient Education Presentation               TVT-336-11-12/13    TVT-336-11_SUI Patient 2011_CA.pdf                                     SUI Patient Education Presentation            (ETHUS) Presentation         Jason Goodbody      (ETHUS) EWHU US Marketing 04 Oct 2011   09 Dec      66    04 Oct 2011   13 Dec        70       Gynecare TVT                23 ETH.MESH.02236886   ETH.MESH.02236911
                                                                                                                                                                                              Submission                                                                            2011                            2011
TVT EXACT & TVT ABBREVO Stand-Up Sign            TVT-351-10-7/12     TVT-351-10_Stand-Up Sign_CA.pdf                                        TVT EXACT & TVT ABBREVO Stand-Up            (ETHUS) Printed Material         Robin Osman       (ETHUS) EWHU US Marketing 20 Jul 2010   04 Aug      15    15 Jul 2010   06 Aug        22       Gynecare TVT                23 ETH.MESH.02236912   ETH.MESH.02236912
                                                                                                                                            Sign                                              Submission                                                                            2010                            2010
Nilsson: Eleven Years Prospective Follow-up of the TVT-367-10-8/12   TVT-367-10_Nilsson 11 Yrs Prospective Follow-Up of TVT for Treatment   Nilsson: Eleven Years Prospective Follow-   (ETHUS) Printed Material       Rhonda Peebles      (ETHUS) EWHU US Marketing 20 Jul 2010 30 Jul 2010   10    16 Jul 2010   02 Aug        17       Gynecare TVT                23 ETH.MESH.02236913   ETH.MESH.02236917
Tension-Free Vaginal Tape Procedure for                              of SUI_CA_FINAL.pdf                                                    up of the Tension-Free Vaginal Tape               Submission                                                                                                            2010
Treatment of Stree Urinary Incontinence                                                                                                     Procedure for Treatment of Stree
                                                                                                                                            Urinary Incontinence
GYNECARE TVT content update for                  TVT-376-10-8/11     TVT-376-10_TVT Updates 360_CA.pdf                                      GYNECARE TVT content update for             (ETHUS) Digital Content          Linda Linton      (ETHUS) EWHU US Marketing 27 Jul 2010    17 Sep     52    27 Jul 2010   23 Sep        58       Gynecare TVT                23 ETH.MESH.02236918   ETH.MESH.02236939
Ethicon360.com                                                                                                                              Ethicon360.com                                   Submission                                                                              2010                           2010




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Task Name                                       Task Number         Name of File Pulled                                                 Path                                                Type                      Owner                      Role             Start Date End Date      Duration Start Date End Date       Duration      Brand       Production          Start Bates         End Bates
GYNECARE TVT Spanish Exam Room Poster -         TVT-378-10-8/12     TVT-378-10_TVT exam Poster CA.pdf                                   GYNECARE TVT Spanish Exam Room             (ETHUS) Printed Material       Lauren Taveroni      (ETHUS) EWHU US Marketing 03 Aug 2010 20 Aug           17    02 Aug 2010 20 Aug           18      Gynecare TVT                23 ETH.MESH.02236940   ETH.MESH.02236940
Translated from English Version                                                                                                         Poster - Translated from English Version        Submission                                                                             2010                              2010

TVT ABBREVO Competitor Flash Card               TVT-397-11-6/13     TVT-391-11_Abbrevo_Competitor_Flash_Card_CA.pdf                     TVT ABBREVO Competitor Flash Card           (ETHUS) Digital Content          Scott Jones       (ETHUS) EWHU US Marketing 05 Dec 2011   16 Dec        11    05 Dec 2011    05 Jan        31       Gynecare TVT                23 ETH.MESH.02236941   ETH.MESH.02236942
                                                                                                                                                                                         Submission                                                                             2011                               2012
TVT EXACT New Product Request Form              TVTE-281-10-5/12    TVTE-281-10_New Product Request Form TVTEXACT_CA.pdf                TVT EXACT New Product Request Form         (ETHUS) Printed Material       Rhonda Peebles       (ETHUS) EWHU US Marketing   11 May      21 May        10       10 May      27 May        17       Gynecare TVT                23 ETH.MESH.02236943   ETH.MESH.02236943
                                                                                                                                                                                         Submission                                                                  2010       2010                    2010       2010
TVT EXACT journal ad                            TVTE-282-10-5/12    TVTE-282-10_TVT_Exact_Ad_CA.pdf                                     TVT EXACT journal ad                       (ETHUS) Printed Material       Rhonda Peebles       (ETHUS) EWHU US Marketing   11 May      02 Jun        22       10 May      02 Jun        23       Gynecare TVT                23 ETH.MESH.02236944   ETH.MESH.02236944
                                                                                                                                                                                         Submission                                                                  2010       2010                    2010       2010
TVT EXACT Quiz                                  TVTE-322-10-6/12    TVTE-322-10_GYNECARE TVT EXACT QUIZ_CA.pdf                          TVT EXACT Quiz                             (ETHUS) Printed Material      ANN WASSERMAN         (ETHUS) EWHU US Marketing 15 Jun 2010 14 Jul 2010     29     11 Jun 2010 15 Jul 2010     34       Gynecare TVT                23 ETH.MESH.02236945   ETH.MESH.02236946
                                                                                                                                                                                         Submission
TVT EXACT procedure video                       TVTE-324-10-7/12    TVTE-324-10_TVTEXACT_Procedure-Animation Video_CA.pdf               TVT EXACT procedure video                   (ETHUS) Digital Content       Rhonda Peebles       (ETHUS) EWHU US Marketing 22 Jun 2010 16 Jul 2010     24     21 Jun 2010 20 Jul 2010     29       Gynecare TVT                23 ETH.MESH.02236947   ETH.MESH.02236951
                                                                                                                                                                                         Submission
TVT EXACT slim jim                              TVTE-325-10-6/12    TVTE-325-10_493711 Slim Jim_CA.pdf                                  TVT EXACT slim jim                         (ETHUS) Printed Material       Rhonda Peebles       (ETHUS) EWHU US Marketing 15 Jun 2010 09 Jul 2010     24     15 Jun 2010 14 Jul 2010     29       Gynecare TVT                23 ETH.MESH.02236952   ETH.MESH.02236967
                                                                                                                                                                                         Submission
TVT Procedural Flashcard                        TVTE-326-10-6/12    TVTE-326-10_493710 Flashcard_CA.pdf                                 TVT Procedural Flashcard                   (ETHUS) Printed Material       Rhonda Peebles       (ETHUS) EWHU US Marketing 15 Jun 2010 09 Jul 2010     24     15 Jun 2010 14 Jul 2010     29       Gynecare TVT                23 ETH.MESH.02236968   ETH.MESH.02236969
                                                                                                                                                                                         Submission
TVT EXACT Professional Education deck           TVTE-327-10-6/12    TVTE-327-10_GYNECARE TVT Prof Ed Deck_CA.pdf                        TVT EXACT Professional Education deck      (ETHUS) Printed Material       Rhonda Peebles       (ETHUS) EWHU US Marketing 15 Jun 2010 16 Jul 2010     31     15 Jun 2010 23 Jul 2010     38       Gynecare TVT                23 ETH.MESH.02236970   ETH.MESH.02237022
                                                                                                                                                                                         Submission
TVT EXACT Webinar Professional Education Deck   TVTE-338-10-7/12    TVTE-338-10_ GYNECARE TVT Prof Ed Webinar Deck_CA.pdf               TVT EXACT Webinar Professional              (ETHUS) Digital Content       Rhonda Peebles       (ETHUS) EWHU US Marketing 29 Jun 2010 14 Jul 2010     15     29 Jun 2010 13 Jul 2010     14       Gynecare TVT                23 ETH.MESH.02237023   ETH.MESH.02237061
                                                                                                                                        Education Deck                                   Submission
TVT EXACT Press Release                         TVTE-339-10-7/12    TVTE-339-10_TVT Press Release with References_CA.pdf                TVT EXACT Press Release                      (ETHUS) Presentation         Lindsay Froelich     (ETHUS) EWHU US Marketing 30 Jun 2010 14 Jul 2010     14     30 Jun 2010 13 Jul 2010     13       Gynecare TVT                23 ETH.MESH.02237062   ETH.MESH.02237063
                                                                                                                                                                                         Submission
TVT EXACT Stand-Up Sign                         TVTE-076-11-2/13    TVTE_076_11_Stand-upSign_CA.pdf                                     TVT EXACT Stand-Up Sign                    (ETHUS) Printed Material         Robin Osman        (ETHUS) EWHU US Marketing 01 Feb 2011   16 Feb        15     24 Jan 2011  16 Feb         23       Gynecare TVT                23 ETH.MESH.02237064   ETH.MESH.02237064
                                                                                                                                                                                         Submission                                                                             2011                              2011
GYNECARE TVT ABBREVO Lab invitation             TVTA-386-10-8/12    TVT_386_10_Abbrevo_Invite_v2g_mk_CA.pdf                             GYNECARE TVT ABBREVO Lab invitation        (ETHUS) Printed Material       Jennifer Paradise    (ETHUS) EWHU US Marketing 03 Aug 2010 20 Aug          17    02 Aug 2010 20 Aug           18       Gynecare TVT                23 ETH.MESH.02237065   ETH.MESH.02237065
                                                                                                                                                                                         Submission                                                                             2010                              2010
TVT Obturator 1-pager                           TVTO-027-10-2/12    TVTO-027-10_Obturator_Sell_Sheet_CA.pdf                             TVT Obturator 1-pager                      (ETHUS) Printed Material       Rhonda Peebles       (ETHUS) EWHU US Marketing 12 Jan 2010   19 Feb        38    12 Jan 2010   23 Feb         42       Gynecare TVT                23 ETH.MESH.02237066   ETH.MESH.02237067
                                                                                                                                                                                         Submission                                                                             2010                              2010
EWHU Summary- Waltregny: TVT-O for the        TVTO-312-10-08/12     TVTO-312-10_Waltregny_Summary_revised_CA.pdf                        EWHU Summary- Waltregny: TVT-O for          (ETHUS) Digital Content       Jennifer Paradise    (ETHUS) EWHU US Marketing 20 Jul 2010   11 Aug        22     16 Jul 2010  13 Aug         28       Gynecare TVT                23 ETH.MESH.02237068   ETH.MESH.02237070
Treatment (REVISED)                                                                                                                     the Treatment (REVISED)                          Submission                                                                             2010                              2010
Anatomical considerations flip chart GYNECARE TVTO-385-10-8/12      TVTO-385-10_TVT_O_flipchart_CA.pdf                                  Anatomical considerations flip chart       (ETHUS) Printed Material       Jennifer Paradise    (ETHUS) EWHU US Marketing 03 Aug 2010 13 Aug          10    02 Aug 2010 25 Aug           23       Gynecare TVT                23 ETH.MESH.02237071   ETH.MESH.02237095
TVT-O                                                                                                                                   GYNECARE TVT-O                                   Submission                                                                             2010                              2010
GYNECARE TVT Obturator AUGS convention panel TVTO-442-10-9/12       TVTO-442-10_GYNECARE TVTO_AUGS_Panels_CA.pdf                        GYNECARE TVT Obturator AUGS                (ETHUS) Printed Material       Jennifer Paradise    (ETHUS) EWHU US Marketing 16 Sep 2010 24 Sep           8    17 Sep 2010 23 Sep            6       Gynecare TVT                23 ETH.MESH.02237096   ETH.MESH.02237098
                                                                                                                                        convention panel                                 Submission                                                                             2010                              2010
EWHU Summary- Barber: Transobturator Tape       TVTR-292-10-6/12    TVTR-292-10_Barber Summary_Revised_CA.pdf                           EWHU Summary- Barber:                       (ETHUS) Digital Content       Rhonda Peebles       (ETHUS) EWHU US Marketing 01 Jun 2010   16 Jun        15       28 May     15 Jun         18       Gynecare TVT                23 ETH.MESH.02237099   ETH.MESH.02237100
(REVISED)                                                                                                                               Transobturator Tape (REVISED)                    Submission                                                                             2010                   2010       2010
EWHU Summary- Lord: A Randomized Controlled     TVTR-300-10-6/12    TVTR-300-10-7-12_TVT_Lord Summary_Revised_2CA.pdf                   EWHU Summary- Lord: A Randomized            (ETHUS) Digital Content       Rhonda Peebles       (ETHUS) EWHU US Marketing 15 Jun 2010 14 Jul 2010     29    14 Jun 2010 15 Jul 2010      31       Gynecare TVT                23 ETH.MESH.02237101   ETH.MESH.02237102
(REVISED)                                                                                                                               Controlled (REVISED)                             Submission
TVT Family 1-pager                              TVTS-029-10-1/12    TVTS-029-10_TVT Family_CA.pdf                                       TVT Family 1-pager                         (ETHUS) Printed Material       Rhonda Peebles       (ETHUS) EWHU US Marketing 12 Jan 2010     26 Feb      45     12 Jan 2010   26 Feb        45       Gynecare TVT                23 ETH.MESH.02237103   ETH.MESH.02237104
                                                                                                                                                                                         Submission                                                                               2010                             2010
EWHU Sales Bag                                  GPD031              GPD031_bagpicts.pdf                                                 EWHU Sales Bag                             (ETHUS) Printed Material       Jennifer Paradise    (ETHUS) EWHU US Marketing 08 Dec 2009     18 Dec      10    04 Dec 2009    21 Dec        17        Gyenecare                  23 ETH.MESH.02237105   ETH.MESH.02237106
                                                                                                                                                                                         Submission                                                                               2009                             2009                     Prolift
PROSIMA Launch Excellence Presentation          PROS-316-10-6/12    PROS-316-10_Prosima Virtual Environment v1_CA.pdf                   PROSIMA Launch Excellence                    (ETHUS) Presentation       Jacqueline Jankewicz   (ETHUS) EWHU US Marketing   25 May        11 Jun      17      24 May       16 Jun        23        Gyenecare                  23 ETH.MESH.02237107   ETH.MESH.02237115
                                                                                                                                        Presentation                                     Submission                                                                 2010          2010                2010         2010                    Prosima
GYNECARE TVT EXACT - Mesh Placement Slim Jim    TVTE-565-10-11/12   TVT Exact Mesh Placement Slim Jim TVTE 565 10.pdf                   GYNECARE TVT EXACT - Mesh Placement        (ETHUS) Printed Material       Lauren Taveroni      (ETHUS) EWHU US Marketing   16 Nov        08 Dec      22      15 Nov       09 Dec        24       Gynecare TVT                23 ETH.MESH.02237658   ETH.MESH.02237659
                                                                                                                                        Slim Jim                                         Submission                                                                 2010          2010                2010         2010
GYNECARE TVT Kaiser One Pager                   WH-TVT-0072-09-     TVT KaiserCA.pdf                                                    GYNECARE TVT Kaiser One Pager              (ETHUS) Printed Material         Robin Osman        (ETHUS) EWHU US Marketing   26 May        05 Jun      10      26 May       10 Jun        15       Gynecare TVT                23 ETH.MESH.02237660   ETH.MESH.02237660
                                                6/11                                                                                                                                     Submission                                                                 2009          2009                2009         2009
ONE YEAR RESULTS FROM A WORLD-WIDE              WH-TVT-0014-09-     TVT-0014-09 1YR RESULTS FROM A WW REG TVTSECUR.pdf                  ONE YEAR RESULTS FROM A WORLD-             (ETHUS) Printed Material        Melissa Chaves      (ETHUS) EWHU US Marketing 21 Apr 2009     08 May      17    21 Apr 2009    27 May        36       Gynecare TVT                23 ETH.MESH.02237661   ETH.MESH.02237662
REGISTRY OF TVTSECUR                            4/11                                                                                    WIDE REGISTRY OF TVTSECUR                        Submission                                                                               2009                             2009
Urology Newsletter Subscription Form            WH-TVT-0015-09-     TVT-0015-09 Poster_layout.pdf                                       Urology Newsletter Subscription Form       (ETHUS) Printed Material        Melissa Chaves      (ETHUS) EWHU US Marketing 21 Apr 2009     08 May      17    21 Apr 2009    14 May        23       Gynecare TVT                23 ETH.MESH.02237663   ETH.MESH.02237664
                                                4/11                                                                                                                                     Submission                                                                               2009                             2009
Spanish GYNECARE TVT Patient Brochure,          TVT-0140-09-9/11    TVT-0140-09_TVT_Span-Eng_Bro_CA.pdf                                 Spanish GYNECARE TVT Patient               (ETHUS) Printed Material       Lauren Taveroni      (ETHUS) EWHU US Marketing 25 Aug 2009     04 Sep      10    24 Aug 2009    09 Sep        16       Gynecare TVT                23 ETH.MESH.02237665   ETH.MESH.02237696
Translated from GYNECARE TVT English Patient                                                                                            Brochure, Translated from GYNECARE               Submission                                                                               2009                             2009
Brochure                                                                                                                                TVT English Patient Brochure
TVT Exact Internal Employee Presentation        TVTE-365-10-8/12    TVTE-365-10_TVT Exact Internal Employee Presentation_CA_FINAL.ppt   TVT Exact Internal Employee                  (ETHUS) Presentation         Lindsay Froelich     (ETHUS) EWHU US Marketing 20 Jul 2010 30 Jul 2010     10     20 Jul 2010   03 Aug        14       Gynecare TVT                23 ETH.MESH.02237697   ETH.MESH.02237706
                                                                                                                                        Presentation                                     Submission                                                                                                                2010
Revised TVT Exact Press Release                 TVTE-373-10-8/12    TVTE-373-10_TVT Exact Press Release_CA.doc                          Revised TVT Exact Press Release              (ETHUS) Presentation         Lindsay Froelich     (ETHUS) EWHU US Marketing 27 Jul 2010     06 Aug      10     26 Jul 2010   09 Aug        14       Gynecare TVT                23 ETH.MESH.02237707   ETH.MESH.02237708
                                                                                                                                                                                         Submission                                                                               2010                             2010
2010 TVT EXACT IUGA deck                        TVTE-393-10-8/12    TVTE-393-10TVT EXACT ICS_IUGA_Prof_CA.pptx                          2010 TVT EXACT IUGA deck                     (ETHUS) Presentation         Rhonda Peebles       (ETHUS) EWHU US Marketing 03 Aug 2010     18 Aug      15    03 Aug 2010    19 Aug        16       Gynecare TVT                23 ETH.MESH.02237709   ETH.MESH.02237751
                                                                                                                                                                                         Submission                                                                               2010                             2010
Gynecare Exact Preceptorship Invite             TVTE-400-11-6/13    TVTE-400-11_Preceptorship_Invite_CA.pptx                            Gynecare Exact Preceptorship Invite        (ETHUS) Printed Material         Mary Byerly         (ETHUS) EWHU US Prof. Ed   06 Dec 2011   16 Dec      10    05 Dec 2011    22 Dec        17       Gynecare TVT                23 ETH.MESH.02237752   ETH.MESH.02237752
                                                                                                                                                                                         Submission                                                                               2011                             2011
TVT Preceptorship                               TVTO-0042-09-4/11   TVTO-0042-09 TVT Obturator Preceptorship.pdf                        TVT Preceptorship                          (ETHUS) Printed Material        Eric Globerman       (ETHUS) EWHU US Prof. Ed     19 May      06 Jun      18       19 May      15 Jun        27       Gynecare TVT                23 ETH.MESH.02237753   ETH.MESH.02237753
                                                                                                                                                                                         Submission                                                                   2009        2009                 2009        2009




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                 4/10/2012                                                                                                                                                                                                                                                                                                                  SUBJECT TO STIPULATION AND ORDER OF CONFIDENTIALITY
                                                                                                                   Case 2:12-md-02327 Document 639-5 Filed 06/11/13 Page 50 of 50 PageID #: 7514
                                                                                                                                                                                                    In re Pelvic Mesh Litigation
                                                                                                                                                                                                     In Use Copy Review Index
                                                                                                                                                                                                   2009-2011 (GGM Blue Files)




Task Name                                           Task Number         Name of File Pulled                                             Path                                                 Type                       Owner                    Role              Start Date    End Date   Duration    Start Date   End Date    Duration      Brand       Production          Start Bates            End Bates
Monarc vs TVTO for the treatment of primary         TVTO-0060-09-6/11   TVTO-0060-09_Monarc vs TVTO Trtmnt primary stress.pdf           Monarc vs TVTO for the treatment of         (ETHUS) Printed Material        Melissa Chaves     (ETHUS) EWHU US Marketing    26 May        09 Jun       14        23 May       11 Jun        19      Gynecare TVT                23 ETH.MESH.02237754     ETH.MESH.02237760
stress                                                                                                                                  primary stress                                   Submission                                                                   2009         2009                    2009        2009
Prospective comparison of the inside out and        TVTO-0061-09-6/11   TVTO-0061-09_Prospective comparison inside out and outside in   Prospective comparison of the inside out    (ETHUS) Printed Material        Melissa Chaves     (ETHUS) EWHU US Marketing    26 May        06 Jun      11         23 May       11 Jun       19       Gynecare TVT                23 ETH.MESH.02237761     ETH.MESH.02237767
outside in transobturator tape procedures for the                       transobturator tape procedures treatment SUI.pdf                and outside in transobturator tape               Submission                                                                   2009         2009                    2009        2009
treatment of SUI                                                                                                                        procedures for the treatment of SUI
TVT Obturator Key Selling-Objection Handling        TVTO-0085-09-6/11   TVTO-0085-09_Key Selling Msg Obj Handling.ppt                   TVT Obturator Key Selling-Objection         (ETHUS) Printed Material        Melissa Chaves     (ETHUS) EWHU US Marketing 09 Jun 2009     24 Jun       15       09 Jun 2009   25 Jun        16       Gynecare TVT                23 ETH.MESH.02237768     ETH.MESH.02237769
                                                                                                                                        Handling                                          Submission                                                                              2009                                2009
TVT Obturator Execution Grid                        TVTO-0086-09-6/11   TVTO-0086-09_TVT Obturator Execution Grid.xls                   TVT Obturator Execution Grid                (ETHUS) Printed Material        Melissa Chaves     (ETHUS) EWHU US Marketing 09 Jun 2009     24 Jun       15       09 Jun 2009   25 Jun        16       Gynecare TVT                23 ETH.MESH.02237770     ETH.MESH.02237777
                                                                                                                                                                                          Submission                                                                              2009                                2009
TVT Obturator Communication Plan                    TVTO-0087-09-6/11   TVTO-0087-09_TVT Obturator Comm Plan.ppt                        TVT Obturator Communication Plan            (ETHUS) Printed Material        Melissa Chaves     (ETHUS) EWHU US Marketing 09 Jun 2009     24 Jun       15       09 Jun 2009   30 Jun        21       Gynecare TVT                23 ETH.MESH.02237778     ETH.MESH.02237796
                                                                                                                                                                                          Submission                                                                              2009                                2009
TVT Obturator Local Awareness Dinner                TVTO-0113-09-8/11   TVTO-0113-09_TVTO Local Awareness Prof Ed Deck 6_19_09.ppt      TVT Obturator Local Awareness Dinner          (ETHUS) Presentation          Melissa Chaves     (ETHUS) EWHU US Marketing 07 Jul 2009     05 Aug       29       07 Jul 2009   06 Aug        30       Gynecare TVT                23 ETH.MESH.02237797     ETH.MESH.02237823
                                                                                                                                                                                          Submission                                                                              2009                                2009
TVT-O for the Treatment of Female Stress Urinary TVTO-169-10-4/11       TVTO-169-10_Waltregny_TVTO 3Yr Data_CA.pdf                      TVT-O for the Treatment of Female           (ETHUS) Printed Material       Rhonda Peebles      (ETHUS) EWHU US Marketing     23 Mar      07 Apr       15         22 Mar      08 Apr        17       Gynecare TVT                23 ETH.MESH.02237824     ETH.MESH.02237833
Incontinence: Results of a Prospective Study after                                                                                      Stress Urinary Incontinence: Results of a         Submission                                                                  2010        2010                    2010        2010
a 3-Year Minimum Follow-Up                                                                                                              Prospective Study after a 3-Year
                                                                                                                                        Minimum Follow-Up
GYNECARE TVT-O - Mesh Placement Slim Jim            TVTO-567-10-11/12   TVTO-567-10_498412D02.pdf                                       GYNECARE TVT-O - Mesh Placement Slim        (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing   16 Nov      08 Dec         22         15 Nov      09 Dec        24       Gynecare TVT                23 ETH.MESH.02237834     ETH.MESH.02237835
                                                                                                                                        Jim                                               Submission                                                                 2010       2010                       2010       2010
TVT Obturator Patient DVD Components: cover,        TVTO-097-11-2/13    TVTO_097_11_TVTO_PatientDVDLabel.pdf                            TVT Obturator Patient DVD                    (ETHUS) Digital Content       Lauren Taveroni     (ETHUS) EWHU US Marketing 15 Feb 2011   02 Mar         15       14 Feb 2011   03 Mar        17       Gynecare TVT                23 ETH.MESH.02237836     ETH.MESH.02237836
sleeve, interface                                                                                                                       Components: cover, sleeve, interface              Submission                                                                            2011                                  2011
TVT Obturator Patient DVD Components: cover,        TVTO-097-11-2/13    TVTO_097_11_TVTO_PatientDVDSleeve.pdf                           TVT Obturator Patient DVD                    (ETHUS) Digital Content       Lauren Taveroni     (ETHUS) EWHU US Marketing 16 Feb 2011 3 Mar 2011       16       15 Feb 2011 4 Mar 2011      18       Gynecare TVT                23 ETH.MESH.02237837     ETH.MESH.02237837
sleeve, interface                                                                                                                       Components: cover, sleeve, interface              Submission
TVT Retropubic Patient DVD Components: cover,       TVTR-098-11-2/13    TVTR-098-11_DVD Components_CA.pdf                               TVT Retropubic Patient DVD                   (ETHUS) Digital Content       Lauren Taveroni     (ETHUS) EWHU US Marketing 15 Feb 2011     02 Mar       15       14 Feb 2011   03 Mar        17       Gynecare TVT                23 ETH.MESH.02237838     ETH.MESH.02237840
sleeve, interface                                                                                                                       Components: cover, sleeve, interface              Submission                                                                              2011                                2011
GYNECARE TVT RETROPUBIC - Mesh Placement            TVTR-566-10-11/12   TVTR-566-10_498412C01.pdf                                       GYNECARE TVT RETROPUBIC - Mesh              (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing   16 Nov        08 Dec       22         15 Nov      09 Dec        24       Gynecare TVT                23 ETH.MESH.02237841     ETH.MESH.02237842
Slim Jim for Patients                                                                                                                   Placement Slim Jim for Patients                   Submission                                                                 2010         2010                     2010       2010
Dr. Pickens Single Incision Sling Article           TVTS-104-11-3/13    TVTS-104-11_Pickens_SIS Trtmt Female SUI_CA.pdf                 Dr. Pickens Single Incision Sling Article    (ETHUS) Digital Content          Scott Jones      (ETHUS) EWHU US Marketing 15 Feb 2011     25 Feb       10       15 Feb 2011   01 Mar        14       Gynecare TVT                23 ETH.MESH.02237843     ETH.MESH.02237847
                                                                                                                                                                                          Submission                                                                              2011                                2011
GYNECARE TVT SECUR - Mesh Placement Slim Jim        TVTS-568-10-11/12   TVTS-568-10_498412E01.pdf                                       GYNECARE TVT SECUR - Mesh Placement         (ETHUS) Printed Material       Lauren Taveroni     (ETHUS) EWHU US Marketing     16 Nov      08 Dec       22         15 Nov      09 Dec        24       Gynecare TVT                23 ETH.MESH.02237848     ETH.MESH.02237849
                                                                                                                                        Slim Jim                                          Submission                                                                  2010        2010                    2010        2010
Prosima Sales Training Deck - Sales Aid Review      PROS-0337-09-12/11 PROS-0337-09_Prosima GlobalSales PPTver2003 NOTES.pdf            Prosima Sales Training Deck - Sales Aid       (ETHUS) Presentation      Thomas (Tom) Affeld        (ETHUS) EWHU WW         08 Dec 2009   20 Jan       43       08 Dec 2009   25 Jan        48        Gyenecare                  23 ETH.MESH.02237850     ETH.MESH.02238016
                                                                                                                                        Review                                            Submission                                            Marketing                         2010                                2010                    Prosima
TVT Retropubic Patient Video "What to Expect        TVTR-098-11-3/13    TVTR-098-11_Preparing_RETROPUBIC_V6_CA.wmv                      TVT Retropubic Patient Video "What to        (ETHUS) Digital Content       Lauren Taveroni     (ETHUS) EWHU US Marketing 22 Feb 2011     09 Mar       15       21 Feb 2011   09 Mar        16       Gynecare TVT                23 ETH.MESH.02238017     ETH.MESH.02238017
from Your Procedure"                                                                                                                    Expect from Your Procedure"                       Submission                                                                              2011                                2011
                                                     WH-GPD-0025-09-                                                                                                                (ETHUS) Printed Material                                                                     15 May                              14 May                  Gyenecare                  25
Find-A-Doctor Permission Fax                              4/11                   FAD Permission Fax 5-11-09 w CR0025 comments.pdf       Find-A-Doctor Permission Fax                      Submission                 Linda Linton      (ETHUS) EWHU US Marketing 28 Apr 2009      2009        17       28 Apr 2009    2009         16          Prolift                       ETH.MESH.02330766   ETH.MESH.02330766
                                                                                                                                        Prosima Marketing Material Roll-out         (ETHUS) Printed Material                                                                     05 Feb                              10 Feb                  Gyenecare                  25
Prosima Marketing Material Roll-out Letter           PROS-040-10-2/12            PROS-040-10_Prosima Mktg Matl roll-out letter.docx     Letter                                            Submission                  Kevin Frost      (ETHUS) EWHU US Marketing 26 Jan 2010      2010        10       26 Jan 2010    2010         15         Prosima                        ETH.MESH.02330767   ETH.MESH.02330767
                                                                                                                                                                                      (ETHUS) Presentation                                                                       17 Feb                              19 Feb                  Gyenecare                  25
Prosima NTM Presentation                             PROS-052-10-2/12         PROS-052-10_Prosima Mktg Material Presentation-NTM.ppt    Prosima NTM Presentation                          Submission                  Kevin Frost      (ETHUS) EWHU US Marketing 02 Feb 2010      2010        15       02 Feb 2010    2010         17         Prosima                        ETH.MESH.02330768   ETH.MESH.02330768
                                                                                                                                                                                      (ETHUS) Presentation                                                                       19 Feb                              23 Feb                  Gyenecare                  25
Prosima Surgical Procedure Questions                 PROS-098-10-2/12          PROS-098-10_Prosima Surgical Procedure Ques_CA.docx      Prosima Surgical Procedure Questions              Submission                  Kevin Frost      (ETHUS) EWHU US Marketing 09 Feb 2010      2010        10       08 Feb 2010    2010         15         Prosima                        ETH.MESH.02330769   ETH.MESH.02330769
                                                                                                                                        Prosima Testimonial for NTM 2010             (ETHUS) Digital Content                                                                     26 Feb                              26 Feb                  Gyenecare                  25
Prosima Testimonial for NTM 2010 Video               PROS-125-10-2/12               PROS-125-10_PROSIMA_NTM VIDEO_CA.wmv                Video                                             Submission                  Kevin Frost      (ETHUS) EWHU US Marketing 16 Feb 2010      2010        10       16 Feb 2010    2010         10         Prosima                        ETH.MESH.02330770   ETH.MESH.02330770
                                                                                                                                                                                    (ETHUS) Printed Material                                                       09 Mar        31 Mar                  04 Mar      02 Apr                  Gyenecare                  25
PROSIMA New Product Listing                          PROS-137-10-3/12            PROS-137-10_PROSIMA New Product Listing_CA.doc         PROSIMA New Product Listing                       Submission                 Robin Osman       (ETHUS) EWHU US Marketing     2010         2010        22           2010       2010         28         Prosima                        ETH.MESH.02330771   ETH.MESH.02330771
                                                                                                                                                                                     (ETHUS) Digital Content                                                                     16 Mar                              16 Mar                                             25
Post NTM TVT ABBREVO Video                           TVTA-110-11-3/13                TVTA-110-11_Abbrevo_Intel_Update_CA.flv            Post NTM TVT ABBREVO Video                        Submission                  Scott Jones      (ETHUS) EWHU US Marketing 22 Feb 2011      2011        22       21 Feb 2011    2011         22       Gynecare TVT                     ETH.MESH.02330772   ETH.MESH.02330772
                                                                                                                                                                                     (ETHUS) Digital Content                                                       29 Mar        06 Apr                  29 Mar      07 Apr                                             25
TVT Abbrevo Intel Update 2                           TVTA-158-11-4/13                    TVTA-158-11_Intel Update2_CA.flv               TVT Abbrevo Intel Update 2                        Submission                  Scott Jones      (ETHUS) EWHU US Marketing     2011         2011         8           2011       2011          9       Gynecare TVT                     ETH.MESH.02330773   ETH.MESH.02330773
                                                                                                                                                                                     (ETHUS) Digital Content                                                                     10 Nov                              11 Nov                                             25
Competitive elearning Module - TVT                  TVTA-519-10-11/11                TVTA-519-10_Competitive_EModule_CA.pdf             Competitive elearning Module - TVT                Submission               Jennifer Paradise   (ETHUS) EWHU US Marketing 19 Oct 2010      2010        22       14 Oct 2010    2010         28       Gynecare TVT                     ETH.MESH.02330774   ETH.MESH.02330774
                                                                                                                                                                                      (ETHUS) Presentation                                                                                                                                                              25
TVT EXACT Press Release Q&A                          TVTE-340-10-7/12                    TVTE-340-10_TVT EXACT QA_CA.doc                TVT EXACT Press Release Q&A                       Submission               Lindsay Froelich    (ETHUS) EWHU US Marketing 30 Jun 2010 14 Jul 2010      14       30 Jun 2010 14 Jul 2010     14       Gynecare TVT                     ETH.MESH.02330775   ETH.MESH.02330775
GYNECARE TVT Obturator system professional                                                                                              GYNECARE TVT Obturator system                 (ETHUS) Presentation                                                                     13 Aug                                16 Aug                                             25
education presentation                               TVTO-384-10-8/12         TVTO-384-10_TVTO Local Awareness Prof Ed Deck_CA.pptx     professional education presentation               Submission               Jennifer Paradise   (ETHUS) EWHU US Marketing 03 Aug 2010    2010          10       02 Aug 2010    2010         14       Gynecare TVT                     ETH.MESH.02330776   ETH.MESH.02330776
                                                                                                                                                                                     (ETHUS) Digital Content                                                                   19 Feb                                23 Feb                                             25
Van Raalte 2010 Retropubic NTM slides                TVTR-106-10-2/12                TVTR-106-10_vanRaalteNTM0217rp_CA.ppt              Van Raalte 2010 Retropubic NTM slides             Submission               Rhonda Peebles      (ETHUS) EWHU US Marketing 12 Feb 2010    2010           7       12 Feb 2010    2010         11       Gynecare TVT                     ETH.MESH.02330777   ETH.MESH.02330777




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